                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                Case No. 23-43403-mlo
                                                    Chapter 11
            Debtor.                                 Hon, Maria L. Oxholm
____________________________________/




                                 CORRECTED
                                    EXHIBIT
                                PLAN SUPPLEMENT


   Prepared By:
   By: /s/ Robert N. Bassel
   Robert N. Bassel (P 48420)
   Attorneys for Debtor
   P.O. Box T
   Clinton, MI 49236
   248.677.1234
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Committee Support Letter and Stipulated Order Authorizing Debtor To Mail
Committee Letter Supporting Confirmation Of Plan With Its Plan
Supplement To All Creditors And Parties In Interest [ECF 295]




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                           The Official Committee of Unsecured Creditors of Ark
                                Laboratory, LLC. d/b/a Helix Diagnostics

                                              October 13, 2023

          To:     The General Unsecured Creditors of Ark Laboratory, LLC, d/b/a Helix
                  Diagnostics (“Ark Laboratory” or the “Debtor”), Case No. 23-43403

          Re:     Combined Disclosure Statement and Plan of Liquidation of the Debtor

Dear Creditor:

         This letter is being sent to you from the Official Committee of Unsecured Creditors of Ark
Laboratory, LLC. (the “Committee”). Recently, the Debtor filed the Combined Disclosure Statement
and Plan of Liquidation, which sets forth how and to what extent various creditors, including unsecured
creditors (designated as Class 6 under the Plan of Liquidation), are to be repaid. The Plan of
Liquidation (“Plan”) also includes a Disclosure Statement (“Disclosure Statement”), which describes
in detail the Plan and provides background information relating to the Plan and the Debtor. In addition,
following the filing of the Plan and the Disclosure Statement, the Debtor filed a Plan Supplement
(“Plan Supplement”). We write to encourage you to review the enclosed Plan, Disclosure Statement,
the Plan Supplement and the Ballot (the was included with the Plan) with your legal advisors and to
promptly return the Ballot. Our recommendation to vote in favor of the Plan is on page 3 of this letter.

        Generally, the Plan contemplates that Ark Laboratory will liquidate following confirmation of
the Plan. Under the Plan, all of the remaining assets, not otherwise sold to Auxo Investment Partners,
LLC (“Auxo”), the Successful Purchaser and primary secured creditor of the Debtor, will be assigned
to a Liquidating Trust pursuant to a Liquidating Trust Agreement under which Paul R. Hage will serve
as the Liquidating Trustee (the “Liquidating Trustee”) to collect and disburse those funds that Auxo
and the unsecured creditors are entitled to receive under the Plan.

        If the Plan is confirmed by the Bankruptcy Court, the holders of Allowed Unsecured Claims1
will receive payment on account of their pre-petition claims from two potential sources: (i) the net
recoveries from the Covid Testing Claims, and (ii) the net recoveries from the Causes of Action pursued
by the Liquidating Trustee, each as more specifically described below.

          (i)     The Covid Testing Claims:

         One of the assets disclosed by the Debtor in its schedules filed in the Chapter 11 Case is the
Covid-19 Testing Claims with each of the Debtor’s health insurance providers and governmental
entities that are being pursued by Special Counsel retained by the Debtor. According to the Debtor’s
amended schedules filed in the Bankruptcy Court: “The [Covid Testing] Claims are valued at no less
than $4.0 million to the bankruptcy estate (exclusive of contingent fees owed to special counsel to be
retained by the Debtor, in the amount of 30% of the amount recovered). The face amount of the claims
may be over $40 million, however, that amount does not take into account collectability nor the
contingent fee that will be owed to special counsel.”



1
    Unless otherwise defined herein, all capitalized terms shall have the meanings contained in the Plan.
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         Even though the Covid Testing Claims were excluded from the Debtor’s sale of substantially all
of its assets, the Covid Testing Claims constitute collateral of Auxo, as a secured creditor. What that
means is that until Auxo is paid in full on its allowed secured claim – estimated to be in excess of $20
million – the unsecured creditors would not receive any funds on account of the recovery from the
Covid Testing Claims.

      Prior to the Plan having been filed, the Committee, Auxo and the Debtor reached an agreement
regarding the distribution of the proceeds of the Covid Testing Claims under the Plan and the
Liquidating Trust (the “Agreement”) that provides: The net recoveries from the Covid Testing Claims,
after payment of such amounts owed to Special Counsel, if recovered prior to the Effective Date,2 shall
be distributed by the Debtor and, if recovered after the Effective Date, shall be distributed by the
Liquidating Trustee, as follows: (a) the first $9.2 million shall be distributed to Auxo, (b) the next $1.0
million to the Liquidating Trustee for payment of the Allowed Claims of the Unsecured Creditors, (c)
then, once Auxo receives 80% of the amount owed on its Allowed Secured Claim, each dollar received
thereafter by the Liquidating Trustee shall be split with 15% of such recoveries for payment of the
Allowed Claims of the Unsecured Creditors and 85% of such recoveries for payment of the Allowed
Secured Claim of Auxo until Auxo is paid in full on its Allowed Secured Claim. Thereafter, all such
recoveries, net of fees and expenses of the Liquidating Trust, shall be paid to the Allowed Claims of the
Unsecured Creditors.

        Thus, under this Agreement, holders of Allowed Unsecured Claims will have the opportunity to
share in the net recoveries of the Covid Testing Claims before Auxo is paid in full on its Allowed
Secured Claim, and once Auxo is paid in full on its Allowed Secured Claim, all of the remaining net
recoveries from the Covid Testing Claims will go to the holders of Allowed Unsecured Claims under
the Plan and the Liquidating Trust Agreement.

        (ii)    Causes of Action:

       The other asset that is being distributed to the Liquidating Trustee under the Plan and not part
of the collateral securing Auxo’s allowed secured claim, is the Preserved Causes of Action that
include, among other things, Avoidance Actions (that includes any and all avoidance, recovery,
subordination or other actions or remedies that may be brought on behalf of the Debtor or their estates
under the Bankruptcy Code or applicable non-bankruptcy law, including, without limitation, actions or
remedies under sections 510 and 542 through 553 of the Bankruptcy Code).

         Under the terms of the Plan, the Liquidation Trustee has the right to “commence, continue,
prosecute, litigate, and/or settle and compromise Claims, Causes of Action and the Covid Test Claims,
by or against the Debtor and third parties on behalf of the Liquidating Trust and for the benefit of the
Beneficiaries thereof (except as expressly provided in the Plan or any order entered in the Chapter 11
Case (including the Confirmation Order) . . . will have and shall retain after the Confirmation Date any
and all rights and defenses that the Debtor had with respect to any Claim as of the Petition Date. All



2
  “Effective Date” under the Plan is defined as the first date that is a Business Day thirty (30) days after
the entry of the Confirmation Order on which no stay of the Confirmation Order is in effect and the
appeal period has expired, or, if an appeal has been filed, entry of a Final Order affirming entry of the
Confirmation Order.

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Claims of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed disallowed as
of the Effective Date unless and until such Entity pays in full the amount that it owes the Debtor or the
Estate.”

        A list of the Preserved Causes of Action and the potential Avoidance Actions are attached as
Exhibit B to the Plan and the Plan Supplement, each of which has been filed with the Court and
provided to every Unsecured Creditor. Recognize, however, just because a Cause of Action or an
Avoidance Action is listed on Exhibit B to the Plan or the Plan Supplement does not mean that the
Liquidating Trustee will pursue such action as ultimately that will depend on an analysis of each
potential action and a determination by the Liquidating Trustee, in the exercise of his business
judgment, whether he believes that there is a basis in fact and law to justify pursuing the Cause of
Action or Avoidance Action. While it is impossible at this juncture to predict or to estimate with any
certainty what actions will be pursued or the likely recoveries therefrom, net of fees and costs incurred
in connection therewith, these Causes of Action and Avoidance Actions represent another source of
recovery for the holders of Allowed Unsecured Claims under the Plan.

       (iii)   Impact of Unsecured Creditors Not Voting in Favor of the Plan:

        If the Unsecured Creditors do not vote in favor of the Plan, the Plan will not be confirmed and
Auxo, as the Secured Creditor, will have the right to receive all the net recoveries from the Covid
Testing Claims until its Allowed Secured Claim is paid in full, thereby depriving the Unsecured
Creditors of the opportunity to participate in these recoveries before Auxo is paid in full. Moreover, if
the Plan is not confirmed, either the Debtor can file a new plan or the Chapter 11 Case will be dismissed
or converted to a chapter 7 case, with a chapter 7 trustee appointed by the Office of the United States
Trustee, to pursue the Causes of Action.

       Committee Recommendation:

        When the Chapter 11 Case was commenced by the Debtor, the Unsecured Creditors were
substantially “under water,” with little hope of ever receiving a distribution on account of their Allowed
Unsecured Claims. The Committee, both prior to and subsequent to the filing of the Plan, has provided
the Debtor significant input and has reached a significant compromise with Auxo regarding the terms of
the Plan. It is unknown at this time how much will ultimately be distributed to the holders of Allowed
Unsecured Claims under the Plan. Much depends on the ability to successfully liquidate the Covid Test
Claims, as well as whether the Preserved Causes of Action, if pursued, will result in net recoveries for
the holders of Allowed Unsecured Claims under the Plan. Nevertheless, the Committee believes that
the Plan provides the best opportunity for a return to the holders of Allowed Unsecured Creditors under
the circumstances of this Chapter 11 Case.

        Therefore, this letter is to advise you of the Committee’s support for the Plan and of the
Committee’s recommendation that you vote in favor of the Plan. Please note that all Ballots in
favor of or against the Plan must be transmitted to Ark Laboratory’s counsel via mail, via email
or via facsimile such that it is actually received on or before October 26, 2023 at the following:

               Robert N. Bassel                OR              Via Email to Robert N. Bassel
               Counsel for Debtor                              rbassel@gmail.com
               P.O. Box T
               Clinton, Michigan 49236                         Via Facsimile to (248) 928-0656

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     THIS LETTER IS NOT MEANT TO SUBSTITUTE FOR YOUR OWN LEGAL
ADVICE AND YOUR INDEPENDENT REVIEW OF THE ENCLOSED PLAN. THE
COMMITTEE URGES YOU TO CAREFULLY READ THE PLAN, THE DISCLOSURE
STATEMENT, THE PLAN SUPPLEMENT AND THE BALLOT AND CONSULT WITH
YOUR LEGAL ADVISORS.

        The Committee would be pleased to respond to any questions that you or your counsel has
regarding the Plan, the Disclosure Statement, the Plan Supplement, the Ballot or this letter. If you have
any questions, please contact Judith Greenstone Miller or Kim Ross Clayson, counsel for the
Committee, at (248) 351-3000 or email them at jgmiller@taftlaw.com or kclayson@taftlaw.com.
Please note, however, that counsel for the Committee is unable to represent the interests of any
individual creditor.

                                           Very truly yours,


                          The Official Committee of Unsecured Creditors of
                                        Ark Laboratory, LLC

cc:    Judith Greenstone Miller, Esq.
       Kim Ross Clayson, Esq.
       The Members of the Committee (Via Email)




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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

In the Matter of:

           ARK LABORATORY, LLC,                                                    Case No. 23-43403-mlo
                                                                                   Chapter 11
                    Debtor.                                                        Hon, Maria L. Oxholm
                                                                   /

    STIPULATED ORDER AUTHORIZING DEBTOR TO MAIL COMMITTEE LETTER
       SUPPORTING CONFIRMATION OF PLAN WITH ITS PLAN SUPPLEMENT
                TO ALL CREDITORS AND PARTIES IN INTEREST

           THIS MATTER is before the Court on the Stipulation For Entry Of Order Authorizing

Debtor To Mail Committee Letter Supporting Confirmation Of Plan With Its Plan Supplement To

All Creditors And Parties In Interest [ECF No. 294] (the “Stipulation”) entered into by and among

Debtor1 and the Committee, and without objection by the U.S. Trustee, the Court having read same

and being otherwise fully and duly advised in the premises;

           NOW, THEREFORE, the Court orders as follows:

           IT IS HEREBY ORDERED that the Debtor is authorized to serve the Support Letter in the

form attached as Exhibit 2 to the Stipulation [ECF No. 294], together with its Plan Supplement,

on all creditors and parties in interest.

Signed on October 6, 2023




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    Capitalized terms shall have the same meaning as ascribed to them in the Stipulation.
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STIPULATED ORDER TO PERMIT BALLOTING FOR PLAN OF
LIQUIDATION VIA EMAIL AND FACSIMILE IN ADDITION TO MAIL
BALLOTING [ECF 285]




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                    UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                  Case No. 23-43403-mlo
                                                      Chapter 11
               Debtor.                                Hon, Maria L. Oxholm
                                               /

                     STIPULATED ORDER
      TO PERMIT BALLOTING FOR PLAN OF LIQUIDATION VIA
     EMAIL AND FACSIMILE IN ADDITION TO MAIL BALLOTING

      This matter came to be considered on the above-captioned STIPULATION

TO ENTRY OF STIPULATED ORDER TO PERMIT BALLOTING FOR PLAN

OF LIQUIDATION VIA EMAIL AND FACSIMILE IN ADDITION TO MAIL

BALLOTING, and sufficient cause existing for the relief requested:

      IT IS HEREBY ORDERED THAT:

      1.     Claimants are hereby authorized to vote on Debtor’s Combined

Disclosure Statement and Plan by mail to Robert Bassel, PO BOX T, CLINTON MI

49236, or via email to bbassel@gmail.com, or by facsimile to 248-928-0656 in

addition to voting by mail. Ballots must be received by Debtor’s counsel no later

than October 26, 2023 in order to be counted, absent further Order of the Court.

      2.     The Debtor shall serve all creditors with this Order as part of the Plan

Supplement to be transmitted to creditors, as provided under the Plan.



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Signed on October 4, 2023




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EXHIBIT A: LIQUIDATING TRUST AGREEMENT




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                  LIQUIDATING TRUST AGREEMENT AND DECLARATION OF TRUST

          This Liquidating Trust Agreement and Declaration of Trust (the “Agreement” or

“Trust Agreement”), dated as of November 2, 2023, is made by and between Ark

Laboratory, LLC, d/b/a Helix Diagnostics (the “Debtor”), in the chapter 11 bankruptcy

case (the “Chapter 11 Case”), pending in the United States Bankruptcy Court for the

Eastern District of Michigan (the “Bankruptcy Court”) and Paul R. Hage (the

“Trustee,” and together with the Debtor, each, a “Party” and collectively, the “Parties”).

                                              RECITALS

          1.     On April 12, 2023, the Debtor filed a voluntary petition for relief under

chapter 11 of title 11 of the United States Code.               The Chapter 11 Case is being

administered as In re Ark Laboratory, LLC. Case 23-43403-MLO.

          2.     On May 1, 2023, the Office of the United States Trustee for the Eastern

District of Michigan (the “U.S. Trustee”) appointed the Official Committee of

Unsecured Creditors (the “Committee”) in the Chapter 11 Case pursuant to 11 U.S.C.

§ 1103 [ECF No. 68], and thereafter, on May 2, 2023, filed an Amended Appointment of

Unsecured Creditors Committee [ECF No 70].                   The members of the Committee

consisted of: (1) Matthew George of Gemini Labor Group, LLC; (2) Dorian Wright, CFO

of The Sports Marketing Agency; and (3) Maribeth Thomas, Esq., counsel to Fisher

Healthcare.

          3.     On September 19, 2023, the Debtor filed its Combined Disclosure

Statement and Chapter 11 Plan of Liquidation [ECF No. 249] (as may be amended,

supplemented or modified from time to time, the “Plan”).1




1
      All capitalized terms
    23-43403-mlo            used inFiled
                       Doc 303      this Agreement
                                         10/16/23 but not otherwise
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      meanings set forth in the Plan.

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       4.    On November __, 2023, the Bankruptcy Court entered the Order

Confirming the Debtor’s Plan of Liquidation [ECF No. __] (the “Confirmation Order”).

Pursuant to the Confirmation Order, the Plan became effective on November __, 2023

(the “Effective Date”).

       5.    The Plan provides for the establishment of the Creditor Trust (the

“Trust”) on the Effective Date.

       6.    The Confirmation Order provides for the appointment of the Trustee as

the Creditor Trustee of the Trust, and the Plan and this Agreement provide for the

appointment as necessary of any successor Creditor Trustee of the Trust.

       7.    The Trust is established for the benefit of Auxo Investment Partners,

LLC, the secured creditor (“Auxo”), the unsecured creditors of the Debtor’s estate, and

the Retained Professionals approved by the Bankruptcy Court (each a “Beneficiary”

and collectively, the “Beneficiaries”). For the avoidance of doubt, as of the Effective

Date of the Plan and in accordance therewith, each Beneficiary is entitled to a

distribution from the Trust, if applicable, as provided under the Plan confirmed by the

Bankruptcy Court.

       8.    The Trust is established for the purpose of liquidating the remaining

assets of the Debtor which, pursuant to the Plan are hereby transferred to the Trust

together with all other property held from time to time by the Trust under this

Agreement and any proceeds thereof and earnings thereon (collectively, “Trust

Assets”), maximizing recoveries for the benefit of the Beneficiaries, and making

distributions in accordance with the Plan, Confirmation Order and this Agreement,

with no objective to continue or engage in the conduct of a trade or business, except to

the extent reasonably necessary to, and consistent with, the liquidating purposes of

the Trust.
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       9.    The Trust Assets consist primarily of (i) the cash in the Professional Fee

Escrow Account for payment of the Retained Professionals on their Allowed

Professional Compensation approved by the Bankruptcy Court, (ii) Causes of Action,

including the Avoidance Actions, and (iii) the Covid Testing Claims. The Trust Assets

shall be distributed to the Beneficiaries as provided in Article III of this Agreement, in

accordance with the Plan.

       10.   The Trust Assets specifically exclude any assets purchased by Auxo as

provided under the Order: (I) Authorizing The Sale Of Substantially All Of The

Debtor’s Assets Pursuant To § 363 Of The Bankruptcy Code, Free And Clear Of All

Liens, Claims, Interests And Encumbrances; (Ii) Authorizing And Approving The

Terms Of The Debtor’s Asset Purchase Agreement And Related Agreements And

Authorizing Consummation Of The Transactions Contemplated Therein Including The

Assumption And Assignment Of Certain Specified Executory Contracts And

Unexpired Leases; And (Iii) Granting Related Relief entered on September 28, 2023

as well as any assets arising or covered by that certain Management and Transition

Services Agreement dated as of October 12, 2023 by and between MSU Health Care

Lab, LLC and the Debtor (the “Transition Services Agreement”).              Further, the

Transition Services Agreement shall expressly survive confirmation of the Plan and

remain in full force and effect for the duration of its term and the Liquidating Trustee

shall not take any action inconsistent with the Transition Services Agreement or that

would preclude the Debtor from being able to fulfill its obligations under the

Transition Services Agreement.

       11.   Pursuant to the Plan, the Debtor, the Trustee, and the Beneficiaries are

required to treat the transfer of assets to the Trust in accordance with the terms of the



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Plan as a transfer to the Beneficiaries, followed by a transfer by such Beneficiaries to

the Trust, and the Beneficiaries will be treated as the grantors and owners thereof.

       12.   Pursuant to the Plan, the Trust is intended to qualify as a “grantor trust”

for federal income tax purposes and, to the extent permitted by applicable law, for

state and local income tax purposes, with the Beneficiaries treated as grantors and

owners of the Trust.

       13.   Pursuant to section 1145 of the Bankruptcy Code, the Trust is intended to

be exempt from the requirements of the Securities Act of 1933, as amended, and any

applicable state and local laws requiring registration of securities.

      NOW, THEREFORE, in accordance with the Plan and the Confirmation Order,

and in consideration of the promises, and the mutual covenants and agreements of the

Parties contained in the Plan and herein, and other good and valuable consideration,

the receipt and sufficiency of which are hereby acknowledged and affirmed, the Parties

agree and declare as follows:

                                 DECLARATION OF TRUST

      The Parties enter into this Agreement to effectuate the creation of the Trust and

the distribution of the Trust Assets to the Beneficiaries pursuant to, and to the extent

set forth in, the Plan and the Confirmation Order, it being understood that the Trust

Assets shall first be used to pay the Beneficiaries as provided in the Plan and Article

III of this Agreement.

      Pursuant to Article IV, Section 8(6) of the Plan and Section 2.3 of this

Agreement, on the Effective Date, pursuant to sections 1141(b) and 1141(c) of the

Bankruptcy Code, the Trust Assets shall vest in the Trust free and clear of all Claims,

Liens, encumbrances, charges, and other interests except as otherwise expressly

provided in the Plan and the Confirmation Order; and
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       The Trust Assets are to be held by the Trust and applied on behalf of the Trust

by the Trustee on the terms and conditions set forth herein, for the benefit of the

Beneficiaries and for no other party as provided in this Agreement and in accordance

with the Plan.

                                      ARTICLE I

                    RECITALS, PLAN DEFINITIONS, OTHER
             DEFINITIONS, INTERPRETATION, AND CONSTRUCTION

       I.1    Recitals.   The Recitals are incorporated into and made terms of this

 Agreement.

       I.2    Definitions. For purposes of this Agreement, unless otherwise defined

 herein, the terms of this Agreement shall have the meanings set forth in the Plan.b

             I.2.1 “Trust Claim(s)” shall mean a claim or interest that has been

scheduled as not disputed, contingent or unliquidated, filed as a proof of claim or

interest, or whose allowance has been granted by the Bankruptcy Court pursuant to a

Final Order, without regard to whether such claim or interest was Disputed on the

Effective Date, by a Beneficiary of this Agreement that is making a request for

payment from the Trust Assets, to the extent that it remains unpaid.


              1.2.2 “Trust Interest(s)” shall mean each Beneficiary’s interest in

Creditor Trust Assets.

       I.3    Interpretation; Headings. All references herein to specific provisions of

 the Plan or Confirmation Order are without exclusion or limitation of other applicable

 provisions of the Plan or Confirmation Order. Words denoting the singular number

 shall include the plural number and vice versa, and words denoting one gender shall



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 include the other gender. The headings in this Agreement are for convenience of

 reference only and shall not limit or otherwise affect the provisions of this Agreement.

       I.4    Construction of Agreement. This Agreement shall not be construed to

 impair or limit in any way the rights of any Person under the Plan.

       I.5    Conflict Between Plan Documents.       In the event of any inconsistency

 between the Plan and the Confirmation Order, as applicable, on the one hand, and

 this Agreement, on the other hand, the Plan or the Confirmation Order, as applicable,

 shall control and take precedence.

                                      Article II

                            ESTABLISHMENT OF TRUST

       II.1   Effectiveness of Agreement; Name of Trust.         This Agreement shall

 become effective on the Effective Date. The Trust shall be officially known as the

 “Ark Laboratory Trust.”

       II.2   Purpose of Trust. The Parties, pursuant to the Plan and in accordance

 with Bankruptcy Code, hereby create the Trust for the primary purpose of liquidating

 its assets, maximizing recoveries for the benefit of the Beneficiaries, and making

 distributions to the Beneficiaries in accordance with the Plan, Confirmation Order,

 and this Agreement, with no objective to continue or engage in the conduct of a trade

 or business, except to the extent reasonably necessary to, and consistent with, the

 liquidating purposes of the Trust.

       II.3   Transfer of Trust Assets.

              II.3.1 Transfer of Trust Assets.     Pursuant to section 1141 of the

Bankruptcy Code and the Plan, the Debtor and its Estate hereby grant, release, assign,

transfer, convey and deliver, on behalf of the Beneficiaries, the Trust Assets to the
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Trust, as of the Effective Date, free and clear of Claims, Liens, encumbrances, charges,

and other interests except as otherwise provided in the Plan, in trust for the benefit of

the Beneficiaries to be administered and applied as specified in this Agreement, the

Plan, and the Confirmation Order.

             II.3.2 Prior to the Effective Date and to the extent required following the

Effective Date, the Debtor shall, as and when reasonably requested by the Trustee,

execute and deliver or cause to be executed and delivered all necessary documents (in

recordable form where necessary or appropriate) and take or cause to be taken any

action that Trustee may reasonably deem necessary or appropriate to vest or perfect in

the Trust or confirm to the Trustee title to and possession of the Trust Assets with such

fees, expenses and costs to be paid by the Trust. The Trustee shall have no duty to

arrange for any of the transfers contemplated under this Agreement or by the Plan or

to ensure their compliance with the terms of the Plan and the Confirmation Order and

shall be conclusively entitled to rely on the legality and validity of such transfers.

             II.3.3 Title to Trust Assets. Pursuant to the Plan, all of the Debtor’s and

its Estate’s right, title, and interest in and to the Trust Assets, including all such assets

held or controlled by third parties, are automatically vested in the Trust on the

Effective Date, free and clear of Claims, Liens, encumbrances, charges, and other

interests except as otherwise provided in the Plan, and such transfer is on behalf of the

Beneficiaries to establish the Trust. The Trust shall be authorized to obtain possession

or control of, liquidate, and collect all of the Trust Assets in the possession or control of

third parties, consistent with the provisions of the Plan and Confirmation Order. To

the extent any law or regulation prohibits the transfer of ownership of any of the Trust

Assets from the Debtor and its Estate to the Trust and such law is not superseded by

the Bankruptcy Code, the Trust’s interest shall be a lien upon and security interest in
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such Trust Assets, in trust, nevertheless, for the sole use and purposes set forth in

Section 2.2 of this Agreement, and this Agreement shall be deemed a security

agreement granting such interest thereon without need to file financing statements or

mortgages. By executing this Agreement, the Trustee on behalf of the Trust hereby

accepts all of such property as Trust Assets, to be held in trust for the Beneficiaries,

subject to the terms of this Agreement, the Plan, and Confirmation Order.

       II.4   Capacity of Trust.   Notwithstanding any state or federal law to the

 contrary or anything herein, the Trust shall itself have the capacity, in its own right

 and name, to act or refrain from acting, including the capacity to sue and be sued and

 to enter into contracts. The Trust may alone be the named movant, respondent or

 party plaintiff or defendant, or the like in all adversary proceedings, contested

 matters, and other state or federal proceedings brought by or against it, and may

 settle and compromise all such matters in its own name.

       II.5   Acceptance by Trustee. The Trustee accepts its appointment as Creditor

 Trustee of the Trust.

                                      Article III

              PAYMENT OF ACCRUED PROFESSIONAL COMPENSATION CLAIMS OF
              RETAINED PROFESSIONALS, ALLOWED SECURED CLAIM OF AUXO,
                    AND ALLOWED CLAIMS OF UNSECURED CREDITORS


       III.1 Administrative Expense Claims of Retained Professionals.

              III.1.1 On the Effective Date, cash in the Professional Fee Account shall

 be transferred to the Trustee for the benefit of the Retained Professionals. Upon the

 entry of a Final Order by the Bankruptcy Court approving the Accrued Professional

 Compensation Claims of the Retained Professionals, the Trustee shall pay each

 Retained Professional such pro rata amounts as authorized by the Bankruptcy Court

 and as providedDoc
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 less than the Accrued Professional Compensation Claims of the Retained

 Professionals, prior to any distribution of the net proceeds of the Causes of Action to

 the Holders of Allowed Unsecured Claims, to the extent that a Retained Professional

 has not been paid in full on its Accrued Professional Compensation Claims approved

 by the Bankruptcy Court from the Professional Fee Escrow Account, the net proceeds

 of the Causes of Action shall first be used to pay the administrative expenses of the

 Trustee and his professionals to administer the Trust, and then to the Retained

 Professionals for outstanding Accrued Professional Compensation Claims.

             III.1.2 Without limiting the foregoing, and notwithstanding anything to

the contrary herein, the Trustee shall maintain a Professional Fee Escrow Account for

the benefit of Retained Professionals (i.e., in a separate bank account). On or before the

Effective Date, the Debtor shall provide the Trustee with an open register of how much

money is escrowed for each Retained Professional.         The Professional Fee Escrow

Account and amounts funded therein for a Retained Professional are and shall continue

to be maintained in trust solely for each Retained Professional and as specifically

allocated for each Retained Professional in the First Amended Cash Collateral Order

[ECF No. 269] and the Order Approving Employment of Special Counsel [ECF No. 229].

Notwithstanding anything to the contrary in this Agreement, the funds in the

Professional Fee Escrow Account shall not be considered property of the Debtor, its

Estate, or the Trust; provided, however, the Trust shall have a reversionary interest in

any Cash remaining in the Professional Fee Escrow Account after payment in full of all

Accrued Professional Compensation Claims without any further notice, action or order

of the Bankruptcy Court.      Unless otherwise agreed to (1) by the Debtor and the

Retained Professional prior to the Effective Date, or (2) by the Trustee and the

Retained Professional after the Effective Date, the amount of Professional Fee Claims
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owing to the Retained Professionals shall be paid in Cash to such Retained

Professionals by the Trustee as soon as reasonably practicable after such Professional

Fee Claims are Allowed by final order of the Bankruptcy Court, first from the

Professional Fee Escrow Account and second, as provided in Section 3.1.1 of this

Agreement. For the avoidance of doubt, the amount escrowed for each Retained

Professional on the Effective Date is not a cap on such Retained Professional’s

Professional Fee Claim.

       3.2   Allowed Secured Claim of Auxo.        The net recoveries from the Covid

      Testing Claims, after payment of such amounts owed to Special Counsel, plus the

      actual and necessary fees of the Trustee in recovering or compromising such

      recoveries, shall be distributed by the Trustee, as follows: (a) the first $9.2

      million shall be distributed to Auxo as a Beneficiary under the Trust, (b) the next

      $1.0 million to the Trustee for the pro rata payment of the Allowed Claims of the

      Unsecured Creditors, as Beneficiaries under the Trust, (c) then, once Auxo

      receives eighty percent (80%) of the amount owed on its Allowed Secured Claim,

      each dollar received thereafter by the Liquidating Trustee shall be split with

      fifteen percent (15%) of such recoveries for pro rata payment of the Allowed

      Claims of the Unsecured Creditors and eighty-five percent (85%) of such

      recoveries for payment of the Allowed Secured Claim of Auxo until Auxo is paid

      in full on its Allowed Secured Claim. Thereafter, all such recoveries, net of fees

      and expenses of the Trust, shall be paid pro rata to the Allowed Unsecured

      Claims, in accordance with the Plan.

       3.3   Allowed Claims of Unsecured Creditors. The Allowed Unsecured Claims

shall be paid as provided in Section 3.2 of this Agreement. Additionally, the Allowed

Unsecured Claims shall receive, on a pro rata basis, the proceeds of the Causes of
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Action, including the Avoidance Actions, after payment in full of the and his

professionals and all Accrued Professional Compensation Claims owed to the Retained

Professionals to the extent of any deficiency owed to them beyond the Professional Fee

Escrow.

                                     ARTICLE IV

                            ADMINISTRATION OF TRUST

      4.1    Rights, Powers, and Privileges of Trustee Generally. Except as otherwise

provided in this Agreement, the Plan, or the Confirmation Order, as of the date that

the Trust Assets are transferred to the Trust, the Trustee on behalf of the Trust may

control and exercise authority over the Trust Assets, over the acquisition,

management, settlement and disposition thereof, and over the management and

conduct of the affairs of the Trust. In administering the Trust Assets, the Trustee

shall endeavor not to unduly prolong the Trust’s duration, with due regard that undue

haste in the administration of the Trust Assets may fail to maximize value for the

benefit of the Beneficiaries and otherwise be imprudent and not in the best interests of

the Beneficiaries.

              4.1.1 Power to Contract. In furtherance of the purpose of the Trust, and

except as otherwise specifically restricted in the Plan, Confirmation Order, or this

Agreement, the Trustee shall have the right and power on behalf of the Trust, and

also may cause the Trust, to enter into any covenants or agreements binding the

Trust, and to execute, acknowledge, and deliver any and all instruments that are

necessary or deemed by the Trustee to be consistent with and advisable in furthering

the purpose of the Trust.

              4.1.2 Ultimate Right to Act Based on Advice of Counsel or Other

Professionals. Nothing in this Agreement shall be deemed to prevent the Trustee
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from taking or refraining to take any action on behalf of the Trust that, based upon

the advice of counsel or other professionals, the Trustee determines it is obligated to

take or to refrain from taking in the performance of any duty that the Trustee may

owe the Beneficiaries or any other Person under the Plan, Confirmation Order, or this

Agreement.

             4.1.3 Compromise and Settlement of the Covid Testing Claims. Before

the Trustee can compromise or settle the Covid Testing Claims for less than their face

value, the Trustee shall consult with the Post-Confirmation Committee, Auxo and

Special Counsel over the risks and benefits associated with settling the Covid Testing

Claims.     Until the Covid Testing Claims have resulted in a net recovery of $9.2

million, the Trustee shall take into special consideration Auxo’s position and its

Allowed Secured Claim in the Covid Testing Claims with respect to any compromise

or settlement of the Covid Testing Claims, after consultation with Auxo and the

Post-Confirmation Committee. Once the Covid Testing Claims have resulted in a net

recovery of at least $10.2 million, the Trustee shall give consideration to Auxo’s

position with respect to any compromise proposed by Special Counsel until Auxo has

received eighty percent (80%) on account of its Allowed Secured Claim, but prior to

that time, the Trustee shall exercise his business judgment in deciding whether to

compromise the Covid Testing Claims. If a dispute arises as to whether the Covid

Testing Claims should be compromised, the Trustee or Auxo may seek a ruling from

the Bankruptcy Court.

      4.2    Powers of Trustee. Without limiting the generality of the above Section

4.1, in addition to the powers granted in the Plan, the Trustee shall have the power to

take the following actions on behalf of the Trust and any powers reasonably incidental

thereto that the Trustee, in its reasonable discretion, deems necessary or appropriate
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to fulfill the purpose of the Trust, unless otherwise specifically limited or restricted by

the Plan or this Agreement:

             4.2.1 To act on behalf of the Trust, including the right to effectuate all

actions and execute all agreements, instruments and other documents, and exercise

all rights and privileges previously held by the Debtor, necessary or convenient to

implement the provisions of the Plan and this Trust Agreement;

             4.2.2 Except as provided in Section 4.1.3, with respect to any Trust

Assets, to exercise in a manner not inconsistent with the Plan all power and authority

that may be or could have been exercised, commenced or continued and take all

actions that may be or could have been taken by any officer, director, or shareholder of

the Debtor with like effect as if authorized, exercised and taken by unanimous action

of such officers, directors and shareholder;

             4.2.3   To manage, monitor and enforce all of the Debtor’s and the

Estate’s rights and interests under the Plan, the Confirmation Order, the Trust

Agreement, any other agreements of the Debtor, and any other Orders of the

Bankruptcy Court;

             4.2.4 To authorize and make distribution to holders of Allowed Claims

provided for or contemplated under the Plan or Trust Agreement, including, without

limitation, Section 3 of the Trust Agreement;

             4.2.5 Except to the extent set forth in the Plan, to object to any Trust

Claims regardless of whether such Claim was Disputed on the Effective Date, to

compromise or settle any Trust Claim regardless of whether such Claim was Disputed

on the Effective Date, subject to the terms of Section 4.1.3 as relates to the Covid

Testing Claims, it being understood that prior to an objection to a Trust Claim, the

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Trustee may act without supervision or approval of the Bankruptcy Court, free of any

restriction of the Bankruptcy Code, the Bankruptcy Rules, and the guidelines and

requirements of the U.S. Trustee, other than those restrictions expressly imposed by

the Plan, the Confirmation Order or the Trust Agreement;

             4.2.6 To make decisions, without further Bankruptcy Court approval,

regarding the retention or engagement of professionals, employees, and consultants

by the Trust and the Trustee and to pay the fees and charges incurred by the Trustee

or the Trust’s behalf on or after the Effective Date;

             4.2.7 To (a) file, if necessary, any and all tax and information returns

required with respect to the Trust as a grantor trust pursuant to Treas. Reg.

1.671-4(a) or otherwise, (b) make tax elections by and on behalf of the Trust, and (c)

pay taxes, if any, payable by the Trust;

             4.2.8 To take all other actions not inconsistent with the provisions of the

Plan that the Trustee deems reasonably necessary or desirable with respect to

administering the Plan;

             4.2.9 To implement and/or enforce all provisions of the Plan, including

entering into any agreement or executing any document required by or consistent

with the Plan, the Confirmation Order or the Trust Agreement;

             4.2.10         To abandon in any commercially reasonable manner,

including abandonment or donation to a charitable organization of its choice, any

Trust Assets in the reasonable business judgment of the Trustee;

             4.2.11          Except as otherwise set forth herein, to prosecute and/or

settle any Causes of Action, with or without approval of the Bankruptcy Court, and

exercise, participate in or initiate any proceeding before the Bankruptcy Court or any

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other court of appropriate jurisdiction and participate as a party or otherwise in any

administrative, arbitrative or other nonjudicial proceeding and pursue to settlement

or judgment such Causes of Action;

             4.2.12         To purchase or create and carry all insurance policies and

pay all insurance premiums and costs the Trustee deems necessary or advisable, and

to exercise any and all rights held by the holder of such insurance policies;

             4.2.13         To collect and liquidate and/or distribute all Trust Assets

pursuant to the Plan, the Confirmation Order, and the Trust Agreement;

             4.2.14          To calculate and make all distributions on behalf of the

Trust to holders of Allowed Claims provided for in, or contemplated by, the Plan and

this Agreement, including, without limitation, all Accrued Professional Compensation

Claim, Allowed Secured Claims, and Allowed Unsecured Claims;

             4.2.15    To establish, adjust and maintain any reserves for Disputed

Trust Claims administered by the Trust;

            4.2.16 To hold legal title to any and all of the Trust Assets;

             4.2.17    If any of the Trust Assets are situated in any state or other

jurisdiction in which the Trustee is not qualified to act as trustee, to nominate and

appoint a Person duly qualified to act as trustee in such state or jurisdiction in

accordance with Section 9.9 of this Agreement;

             4.2.18          To retain any and all insurance policies of the Debtor

providing coverage with respect to Causes of Action and exercise any and all rights

held by the holder of such insurance policies;

             4.2.19 In reliance upon the Debtor’s Schedules and the Claims Register

maintained
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interest herein held by each Beneficiary and, in accordance with Section 4.8 of this

Agreement, such register may be the official Claims register maintained in the

Chapter 11 Case to the extent of any Trust Claim is reflected thereon;

             4.2.20            Exercise such other powers as may be vested in or

assumed by the Trustee pursuant to the Plan, the Trust Agreement, the Confirmation

Order, other orders of the Bankruptcy Court, or as may be necessary and proper to

carry out the provisions of the Plan. Solely with respect to any Trust Asset, the

Trustee shall stand in the same position as the Debtor with respect to any claim the

Debtor may have to an attorney-client privilege, the work-product doctrine, or any

other privilege, and the Trustee shall have the ability to raise all of the Debtor’s

rights to preserve, or assert any such privilege; and succeed to all of the Debtor’s

rights to preserve or assert any such privilege; and

             4.2.21         To file an application for entry by the Bankruptcy Court of a

final decree closing the Chapter 11 Case.

            4.3     Authority. No Person dealing with the Trust shall be obligated to

     inquire into the Trustee’s authority in connection with the receipt, preservation,

     management, or disposition of Trust Assets.

            4.4     Abandonment.      If, in the Trustee’s reasonable judgment, any

     non-cash Trust Assets cannot be sold in a commercially reasonable manner (if

     applicable) or the Trustee believes in good faith that such property has

     inconsequential value to the Trust or its Beneficiaries, the Trustee shall have

     the right to cause the Trust to abandon or otherwise dispose of such property,

     without further authority or approval of the Bankruptcy Court, including by

     donation of such property to a charitable organization.

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            4.5     Responsibility for Administration of Trust Claims. From and after

      the Effective Date, the Trust shall be responsible for, among other things,

      administering and paying distributions provided for under the Plan to Trust

      Beneficiaries. Except as expressly provided otherwise in the Plan, and except to

      the extent the applicable Trust Claims have been previously Allowed prior to

      the Effective Date, the Trust shall control and effectuate the Trust Claims

      reconciliation process, including to compromise or settle any Trust Claim

      without any further notice to or action, order or approval by the Bankruptcy

      Court, or to object to or seek to subordinate any Trust Claim, except as

      otherwise provided in this Agreement. The Trust shall be entitled to assert all

      of the Debtor’s and the Estate’s rights, without limitation, under section 558 of

      the Bankruptcy Code. The Trust may also seek estimation of any Trust Claims

      under and subject to section 502(c) of the Bankruptcy Code.

            4.6     Post-Confirmation Committee. In accordance with the Plan, on the

      Effective Date, a Post-Confirmation Committee, consisting of those members of

      the Official Committee of Unsecured Creditors appointed by the U.S. Trustee in

      the Chapter 11 Case [ECF Nos. 68 and 70] that are willing to serve shall be

      appointed to the Post-Confirmation Committee. The Trustee shall consult with

      the Post-Confirmation Committee as relates to any material action to be taken

      under the Trust and, as he may deem further necessary or appropriate, before

      taking action under this Agreement in accordance with the Plan.

      4.7   Agents and Professionals. The Trustee may, but shall not be required to,

consult with and retain attorneys, financial advisors, accountants, appraisers, and

other professionals the Trustee believes have qualifications necessary to assist in the

administration of the Trust, including professionals previously retained by the
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Committee or by the Debtor. For the avoidance of doubt, and without limitation of

applicable law, nothing in this Agreement shall limit the Trustee from engaging

counsel or other professionals, including the Trustee’s firm or their affiliates, to do

work for the Trust. The Trustee may pay the reasonable salaries, fees and expenses of

such Persons in the ordinary course of business.

      4.8    Safekeeping and Investment of Trust Assets. All Trust Assets received by

the Trustee shall, until liquidated, if necessary, and distributed or paid over time as

provided herein and in the Plan, be held in trust for the benefit of the Beneficiaries,

but need not be segregated in separate accounts from other Trust Assets (except for

the Professional Fee Escrow Account and the account for the Covid Testing Claims, as

provided in Article III of this Agreement), unless and to the extent required by law or

the Plan.   The Trustee shall not be under any obligation to invest Trust Assets.

Neither the Trust nor the Trustee shall have any liability for interest or producing

income on any Cash received by them and held for distribution or payment to the

Beneficiaries, except as such interest shall actually be received by the Trust or

Trustee, which shall be distributed consistent with the Plan. Except as otherwise

provided by the Plan, the powers of the Trustee to invest any Cash held by the Trust,

other than those powers reasonably necessary to maintain the value of the assets and

to further the Trust’s Creditor purpose, shall be limited to powers to invest in demand

and time deposits, such as short-term certificates of deposit, in banks or other savings

institutions, or other temporary liquid investments, such as treasury bills and

short-term money market funds; provided, however, that the scope of permissible

investments shall be limited to include only those investments that a liquidating trust,

within the meaning of Treas. Reg. § 3.01.7701-4(d), may be permitted to hold pursuant

to the Treasury Regulations, or any modification of the IRS guidelines, whether set
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forth in IRS rulings, IRS pronouncements, or otherwise.           Notwithstanding the

foregoing, the Trustee shall not be prohibited from engaging in any trade or business

on its own account, provided that such activity does not interfere or conflict with the

Trustee’s administration of the Trust.

        4.9      Maintenance and Disposition of Trust and Debtor Records. The Trustee

shall maintain accurate records of the administration of Trust Assets, including

receipts and disbursements and other activity of the Trust. The Trust may, but has no

obligation to, engage a claims agent to continue to maintain and update the Claims

Register maintained in the Chapter 11 Case throughout the administration of the

Trust. In any case, to the extent of any Trust Claims reflected thereon, the Claims

Register may serve as the Trustee’s register of beneficial interests held by

Beneficiaries.   Except as provided in the Order to Sale of Substantially All of the

Debtor’s Assets; (2) The Sale of Substantially All of the Debtor’s Assets Free and Clear

of Liens, Claims, Interests and Encumbrances Pursuant to 11 U.S.C. §§ 105(A) and

363; (3) Assumption and Assignment of Executory Contracts and Unexpired Leases

Pursuant to 11 U.S.C. § 365; and (4) Granting Related Relief [ECF No. 279] and the

Confirmation Order, the books and records maintained by the Trustee and any records

of the Debtor transferred to the Trust may be disposed of by the Trustee at the later of

(i) such time as the Trustee determines that the continued possession or maintenance

of such books and records is no longer necessary for the benefit of the Trust or its

Beneficiaries and (ii) upon the termination and completion of the winding down of the

Trust. For the avoidance of doubt, nothing herein creates an independent right for

Beneficiaries to obtain such books and records.

      4.10    Reporting Requirements and Payment of Statutory Fees.


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              4.10.1         The Trustee shall provide the U.S. Trustee and the

Bankruptcy Court the information and reports they may reasonably request

concerning Trust administration.

              4.10.2         The Trustee shall file with the Bankruptcy Court and submit

to the U.S. Trustee regular post-confirmation quarterly disbursement reports, on or

before the twenty-first (21st) day of each of January, April, July, and October, as

appropriate, until the Chapter 11 Case is closed, converted, or dismissed, whichever

happens earlier.

              4.10.3         The Trustee shall file with the Bankruptcy Court and submit

to the U.S. Trustee the final reports for the Debtor.

              4.10.4         The Trustee shall pay all statutory fees from the Trust

Assets as such fees become due and payable.

      4.11   No Bond Required; Procurement of Insurance.             Notwithstanding any

state or other applicable law to the contrary, the Trustee (including any successor

Trustee) shall be exempt from giving any bond or other security in any jurisdiction and

shall serve hereunder without bond.            The Trustee is hereby authorized, but not

required to obtain all reasonable insurance coverage for itself, its agents,

representatives, employees or independent contractors, including, without limitation,

coverage with respect to the liabilities, duties and obligations of the Trustee and its

agents, representatives, employees or independent contractors under this Agreement.

The cost of any such insurance coverage shall be an expense of the Trust and paid out

of Trust Assets.




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                                      ARTICLE V

                                   DISTRIBUTIONS

        5.1   Distribution and Reserve of Trust Assets. Following the transfer of Trust

Assets to the Trust, the Trustee shall make continuing efforts on behalf of the Trust to

collect, liquidate, and distribute all Trust Assets to Beneficiaries (subject to any

reserves administered by the Trust) as well as to holders of Accrued Professional

Compensation Claims, Secured Claims, and Unsecured Claims in accordance with the

Plan.

              5.1.1 Distributions to Beneficiaries. In accordance with the Plan and

Article III of this Agreement, the Trustee shall cause the Trust to distribute, when

practicable, the Trust’s net Cash income and net Cash proceeds from the liquidation

of the Trust Assets to the Beneficiaries, except the Trust may retain an amount of net

income and other Trust Assets reasonably necessary to maintain the value of the

Trust Assets or to meet expenses, claims and contingent liabilities of the Trust and

Trustee; provided that the Trustee shall have no obligation to make a distribution on

account of an Allowed Claim if the amount to be distributed to the holder of such

Claim is less than $50.00, which shall be treated as a De Minimis Distribution under

Article VI, Section B(3)(c) of the Plan.

              5.1.2 Reserves; Pooling of Reserved Funds. Before any distribution can

be made, the Trustee may, in its reasonable discretion, establish, supplement, and

maintain reserves in an amount sufficient to meet any and all reasonable expenses

and liabilities of the Trust, including, but not limited to, reasonable attorneys’ fees

and expenses and the fees and expenses of other professionals. In accordance with

Section 4.2.15 of this Agreement, the Trust may also maintain, as necessary, a reserve

for Disputed Trust Claims. For the avoidance of doubt, the Trustee may withhold any
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distribution pending the Trust’s determination of whether to object to a Trust Claim.

Except as otherwise provided in this Agreement, the Trustee need not maintain the

Trust’s reserves in segregated bank accounts and may pool funds in the reserves with

each other and other funds of the Trust; provided, however, the Trust shall treat all

such reserved funds as being held in a segregated manner in its books and records.

             5.1.3 Distributions Net of Reserves and Costs.              Distributions to

Beneficiaries shall be made net of reserves in accordance with the Plan and this

Agreement, and also net of the actual and reasonable out-of-pocket costs of making

the distributions to Beneficiaries.

             5.1.4 Right to Rely on Professionals. Without limitation of the generality

of Section 7.6 of this Agreement, in determining the amount of any distribution or

reserves, the Trustee may rely on the advice and opinion of the Trust’s financial

advisors, accountants, or other professionals.

      5.2   Method and Timing of Distributions. Distributions to Beneficiaries shall

be made from the Trust in accordance with the terms of the Plan (in particular,

Articles III and V) and this Agreement. The Trust may engage a Disbursing Agent or

other Person to help make distributions. For the avoidance of doubt, Beneficiaries will

only be entitled to a distribution from the Trust as provided in Article III and in

accordance with the Plan.

      5.3   Withholding from Distributions. The Trustee, in its discretion, may cause

the Trust to withhold from amounts distributable from the Trust to any Beneficiary,

any and all amounts as may be sufficient to pay the maximum amount of any tax or

other charge that has been or might be assessed or imposed by any law, regulation,

rule, ruling, directive, or other governmental requirement on such Beneficiary or the

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Trust with respect to the amount to be distributed to such Beneficiary. The Trustee

shall determine such maximum amount to be withheld by the Trust in its sole,

reasonable discretion and shall cause the Trust to distribute to the Beneficiary any

excess amount withheld.

      5.4    Tax Identification Numbers. The Trustee may require any Beneficiary to

furnish an executed IRS Form and may condition any distribution upon receipt of such

executed IRS Form.     If a Beneficiary does not timely provide the Trustee with an

executed IRS Form, then their Allowed Claim shall be deemed disallowed and

expunged, and any Claim in respect thereof shall be discharged and barred from

assertion against the Trustee, the Trust or the Trust Assets.

      5.5    Unclaimed and Undeliverable Distributions.         If any distribution to a

Beneficiary is returned to the Trustee as undeliverable or is otherwise unclaimed, no

further distribution(s) to such Beneficiary shall be made unless and until Beneficiary

claims the distribution(s) by timely notifying the Trustee in writing of any information

necessary, including such Beneficiary’s then-current address, to make the distribution

in accordance with the Plan.       If a Beneficiary timely provides the Trustee the

necessary information under Article VII Section 7.4 of the Plan, all missed

distributions shall be made as soon as is practicable, without interest. Undeliverable

or unclaimed distributions shall be administered in accordance with Article VI, Section

B(3)(a) of the Plan.

              5.5.1 No Responsibility to Attempt to Locate Beneficiaries. The Trustee

may, in its sole discretion, attempt to determine a Beneficiary’s current address or

otherwise locate a Beneficiary, but nothing in this Agreement or the Plan shall

require the Trustee to do so.

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               5.5.2 Inapplicability   of    Unclaimed   Property   or    Escheat   Laws.

Unclaimed property held by the Trust shall not be subject to the unclaimed property

or escheat laws of any state.

         5.6   Voided Checks; Request for Reissuance. Distribution checks issued to

Beneficiaries shall be null and void if not negotiated within 6 months after the date of

issuance thereof.     Distributions in respect of voided checks shall be treated as

unclaimed distributions and administered under Article VI, Section B(3)(a) and

Section 5.5 of this Agreement. Requests for reissuance of any check shall be made in

writing directly to the Trustee by the Beneficiary that was originally issued such

check.    All such requests shall be made promptly and in time for the check to be

reissued and cashed before the funds for the checks become unrestricted Trust Assets,

provided that such timing can be satisfied by the Trustee using commercially

reasonable efforts.

         5.7   Conflicting Claims. If any conflicting claims or demands are made or

asserted with respect to an Allowed Trust Claim under this Agreement, or if there is

any disagreement between the assignees, transferees, heirs, representatives or

legatees succeeding to all or a part of such an Allowed Trust Claim resulting in

adverse claims or demands being made in connection with such Allowed Trust Claim,

then, in any of such events, the Trustee shall be entitled, in its sole discretion, to

refuse to comply with any such conflicting claims or demands.

               5.7.1 The Trustee may elect to cause the Trust to make no payment or

distribution with respect to the beneficial interest subject to the conflicting claims or

demand, or any part thereof, and to refer such conflicting claims or demands to the

Bankruptcy Court, which shall have continuing jurisdiction over resolution of such

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Neither the Trust nor the Trustee shall be or become liable to any of such parties for

their refusal to comply with any such conflicting claims or demands, nor shall the

Trust or Trustee be liable for interest on any funds which may be so withheld.

              5.7.2 The Trustee shall be entitled to refuse to act until either (i) the

rights of the adverse claimants have been adjudicated by a Final Order of the

Bankruptcy Court; or (ii) all differences have been resolved by a valid written

agreement among all such parties to the satisfaction of the Trustee, which agreement

shall include a complete release of the Trust and Trustee. Until the Trustee receives

written notice that one of the conditions of the preceding sentence is met, the Trustee

may deem and treat Beneficiaries identified as the owner of that interest in the books

and records maintained by the Trustee, as the absolute owner under this Agreement,

of an Allowed Trust Claim. The Trustee may deem and treat such Beneficiary as the

absolute owner for purposes of receiving distributions and any payments on account

thereof for federal and state income tax purposes, and for all other purposes

whatsoever.

              5.7.3 In acting or refraining from acting under and in accordance with

this Section 5.7 of the Agreement, the Trust and Trustee shall be fully protected and

incur no liability to any purported claimant or any other Person pursuant to Article

VII of this Agreement.

                                      ARTICLE VI

                                   BENEFICIARIES

      6.1     Interest Beneficial Only. The ownership of a beneficial interest in the

Trust shall not entitle any Beneficiary to any title in or to the Trust Assets or to any

right to call for a partition or division of such assets or to require an accounting.

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      6.2    Ownership of Beneficial Interests Hereunder. Each Beneficiary shall own

a beneficial interest herein which shall, subject to Section 5.1 of this Agreement and

the Plan, be entitled to a distribution in the amounts, and at the times, set forth in the

Plan and this Agreement.

      6.3    Evidence of Beneficial Interest. Ownership of a beneficial interest in the

Trust Assets shall not be evidenced by any certificate, security, or receipt or in any

other form or manner whatsoever, except as maintained on the books and records of

the Trust by the Trustee.

      6.4    No Right to Accounting. Neither the Beneficiaries nor their successors,

assigns, creditors, nor any other Person shall have any right to an accounting by the

Trustee, and the Trustee shall not be obligated to provide any accounting to any

Person. Nothing in this Agreement is intended to require the Trustee at any time or

for any purpose to file any accounting or seek approval of any court with respect to the

administration of the Trust or as a condition for making any advance, payment, or

distribution out of proceeds of Trust Assets.

      6.5    No Standing.      Except as expressly provided in this Agreement, a

Beneficiary shall not have standing to direct or to seek to direct the Trust or Trustee to

do or not to do any act or to institute any action or proceeding at law or in equity

against any Person upon or with respect to the Trust Assets.

      6.6    Requirement of Undertaking. The Trustee may request the Bankruptcy

Court to require, in any suit for the enforcement of any right or remedy under this

Agreement, or in any suit against the Trustee for any action taken or omitted by it as

Trustee, the filing by any party litigant in such suit of an undertaking to pay the costs

of such suit, including reasonable attorneys’ fees, against any party litigant in such

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suit; provided, however, the provisions of this Section 6.6 shall not apply to any suit by

the Trustee.

      6.7      Limitation on Transferability.   It is understood and agreed that the

beneficial interests herein shall be non-transferable and non-assignable during the

term of this Agreement except by operation of law, provided, however, each Beneficiary

shall have the right to transfer some or all of its Trust Interests one (1) time each

calendar year and shall give the Trustee prompt written notice thereof (each, a

“Permitted Transfer”). The Trustee shall not have any obligation to recognize any

transfer of a Trust Interest occurring after the Effective Date other than a Permitted

Transfer, and only holders of Trust Interests of record as of the Effective Date, and

transferees of a Permitted Transfer, shall be entitled to be recognized for all purposes

hereunder. An assignment by operation of law shall not be effective until appropriate

notification and proof thereof is submitted to the Trustee along with the identity and

address of the proper Person to succeed the Beneficiary’s interest, and the Trustee may

continue to cause the Trust to pay all amounts to or for the benefit of the assigning

Beneficiaries until receipt of proper notification and proof of assignment by operation

of law. The Trustee may fully rely upon any such proof and shall have no duty to

investigate.

      6.8      Exemption from Registration.     The rights of the Beneficiaries arising

under this Agreement may be deemed “securities” under applicable law. However,

such rights have not been defined as “securities” under the Plan because (i) the parties

hereto intend that such rights shall not be securities and (ii) if the rights arising under

this Agreement in favor of the Beneficiaries are deemed to be “securities,” the

exemption from registration under section 1145 of the Bankruptcy Code is intended to


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be applicable to such securities. No party to this Agreement shall make a contrary or

different contention.

      6.9    Delivery of Distributions. Subject to the terms of this Agreement, the

Trustee shall cause the Trust to make distributions to Beneficiaries in the manner

provided in the Plan and in this Agreement.

                                    ARTICLE VII

            THIRD PARTY RIGHTS AND LIMITATION OF LIABILITY

      7.1    Parties Dealing with the Trustee. In the absence of actual knowledge to

the contrary, any Person dealing with the Trust or the Trustee shall be entitled to rely

on the authority of the Trustee or any of the Trustee’s agents to act in connection with

the Trust Assets. There is no obligation of any Person dealing with the Trustee to

inquire into the validity or expediency or propriety of any transaction by the Trustee or

any agent of the Trustee.

      7.2    Limitation of Trustee’s Liability. In exercising the rights granted herein,

the Trustee shall exercise the Trustee’s best judgment, and, to that end, the affairs of

the Trust shall be properly managed and the interests of all of the Beneficiaries

safeguarded. However, notwithstanding anything herein to the contrary, neither the

Trustee nor its firms, companies, affiliates, partners, officers, directors, members,

employees, professionals, advisors, attorneys, financial advisors, investment bankers,

disbursing agents, or agents, and any of such Person’s successors and assigns

(collectively, the “Trustee Parties”) shall incur any responsibility or liability, and no

Holder of a Claim or Interest or any other party in interest shall have, or otherwise

pursue, any claim or Cause of Action against the Trustee or the Trustee Parties, by

reason of or relating to any error of law or fact or of any matter or thing done or

suffered or omitted to be done under or in connection with this Agreement, whether
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sounding in tort, contract, or otherwise, except for fraud, gross negligence, or willful

misconduct that is found by a Final Order (not subject to further appeal or review) to

be the direct and primary cause of loss, liability, damage, or expense suffered by the

Trust.

         7.3   No Liability for Acts of Other Persons. None of the Persons identified in

the immediately preceding Section 7.2 of this Agreement shall be liable for the act or

omission of any other Person identified in that Section.

         7.4   No Liability for Acts of Predecessors. No successor Trustee shall be in

any way responsible for the acts or omissions of any Trustee in office prior to the date

on which such successor becomes the Trustee, unless a successor Trustee expressly

assumes such responsibility.

         7.5   No Liability for Good Faith Error of Judgment. The Trustee shall not be

liable for any error of judgment made in good faith, unless it shall be finally

determined by a Final Order that the Trustee was grossly negligent in ascertaining

the pertinent facts before exercising such judgment.

         7.6   Reliance by Trustee on Documents and Advice of Counsel or Other

Persons. Except as otherwise provided herein, the Trustee may rely in acting upon

any resolution, certificate, statement, instrument, opinion, report, notice, request,

consent, order or other paper or document believed by the Trustee to be genuine and to

have been signed or presented by the proper party or parties. The Trustee also may

engage and consult with its legal counsel and other agents and advisors, and may rely

upon the advice of such counsel, agents, or advisors for any action taken, omitted, or

suffered by the Trustee.



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      7.7    No Liability for Acts Approved by Bankruptcy Court. The Trustee shall

have the right at any time to seek instructions from the Bankruptcy Court concerning

the administration or disposition of the Trust Assets and Trust Claims required to be

administered by the Trust. The Trust and Trustee shall not be liable for any act or

omission that has been approved by the Bankruptcy Court, and all such actions or

omissions shall conclusively be deemed not to constitute fraud, gross negligence, or

willful misconduct.

      7.8    No Personal Obligation for Trust Liabilities. Persons dealing with the

Trustee shall have recourse only to the Trust Assets to satisfy any liability incurred by

the Trustee to any such Person in carrying out the terms of this Agreement, and the

Trustee shall have no personal, individual obligation to satisfy any such liability.

      7.9    Indemnification.    The Trustee and its consultants, agents, attorneys,

accountants, financial advisors, beneficiaries, estates, employees, officers, directors,

principals, professionals, and other representatives, each in their representative

capacity as such, and any of such parties’ successors and assigns (collectively, the

“Indemnified Parties” and each, an “Indemnified Party”) shall, to the fullest extent

permitted by applicable law, be defended, held harmless, and indemnified by the Trust

from time to time and receive reimbursement from and against any and all loss,

liability, expense (including reasonable counsel fees), or damage of any kind, type or

nature, whether sounding in tort, contract, or otherwise, that the Indemnified Parties

may incur or sustain in connection with the exercise or performance of any of the

Trust’s or Trustee’s powers and duties under this Agreement or in rendering services

by the Indemnified Party to the Trust or Trustee (the “Indemnified Conduct”),

including, without limitation, the reasonable costs of counsel or others in

investigating, preparing, defending, or settling any action or claim (whether or not
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litigation has been initiated against the Indemnified Party) or in enforcing this

Agreement (including its indemnification provisions), except if such loss, liability,

expense, or damage is finally determined by a Final Order (not subject to further

appeal or review) to result directly and primarily from the fraud, gross negligence, or

willful misconduct of the Indemnified Party asserting this provision.

             7.9.1 Expense     of    Trust;   Limitation   on        Source   of   Payment   of

Indemnification. All indemnification liabilities of the Trust under this Section 7.9

shall be expenses of the Trust. The amounts necessary for such indemnification and

reimbursement shall be paid by the Trust after reserving for all actual and

anticipated expenses and liabilities of the Trust. The Trustee shall not be personally

liable for the payment of any Trust expense or claim or other liability of the Trust,

and no Person shall look to the Trustee or other Indemnified Parties personally for

the payment of any such expense or liability.

             7.9.2 Procedure       for   Current   Payment      of    Indemnified    Expenses;

Undertaking to Repay.       The Trust shall reasonably promptly pay an Indemnified

Party all amounts subject to indemnification under this Section 7.9 on submission of

invoices for such amounts by the Indemnified Party. The Trustee shall approve the

indemnification of any Indemnified Party and thereafter shall approve any monthly

bills of such Indemnified Party for indemnification. All invoices for indemnification

shall be subject to the approval of the Trustee. By accepting any indemnification

payment, the Indemnified Party undertakes to repay such amount promptly if it is

determined that the Indemnified Party is not entitled to be indemnified under this

Agreement.      The Bankruptcy Court shall hear and finally determine any dispute

arising out of this Section 7.9.


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      7.10   No Implied Obligations. The Trustee shall not be liable except for the

performance of such duties and obligations as are specifically set forth herein, and no

implied covenants or obligations shall be read into this Agreement against the Trustee.

      7.11   Confirmation of Survival of Provisions. Without limitation in any way of

any provision of this Agreement, the provisions of this Article VII shall survive the

death, dissolution, liquidation, resignation, replacement, or removal, as may be

applicable, of the Trustee, or the termination of the Trust or this Agreement, and shall

inure to the benefit of the Trustee’s and the Indemnified Parties’ heirs and assigns.

ARTICLE VIII

TAX MATTERS

      8.1    Tax Treatment of Trust. Pursuant to and in accordance with the Plan, for

all federal income tax purposes, the Debtor, the Beneficiaries, the Trustee and the

Trust shall treat the Trust as a liquidating trust within the meaning of Treasury

Income Tax Regulation Section 301.7701-4(d) and IRS Revenue Procedure 94-45 and

transfer of the Trust Assets to the Trust shall be treated as a transfer of the Trust

Assets by the Debtor to the Beneficiaries in satisfaction of their Allowed Trust Claims,

followed by a transfer of the Trust Assets by the Beneficiaries to the Trust in exchange

for their Pro Rata beneficial interests in the Trust. The Beneficiaries shall be treated

as the grantors and owners of the Trust for federal income tax purposes.

      8.2    Annual Reporting and Filing Requirements.            Pursuant to and in

accordance with the terms of the Plan and this Agreement, the Trustee shall file tax

returns for the Trust as a grantor trust pursuant to Treasury Income Tax Regulation

Section 1.671-4(a).

      8.3    Tax Treatment of Reserves for Disputed Trust Claims. The Trustee may

timely elect to treat any Trust Assets allocable to Disputed Trust Claims as a
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“disputed ownership fund” (“DOF”) governed by Treasury Regulation Section 1.468B-9.

If an election is made to report any reserve for disputed claims as a DOF, the Trust

shall comply with all federal and state tax reporting and tax compliance requirements

of the DOF, including but not limited to the filing of a separate federal tax return for

the DOF and the payment of federal and/or state income tax due.

      8.4    Valuation of Trust Assets. After the Effective Date, but in no event later

than the due date for timely filing of the Trust’s first federal income tax return (taking

into account applicable tax filing extensions), the Trustee shall (a) determine the fair

market value of the Trust Assets as of the Effective Date, based on the Trustee’s good

faith determination and (b) establish appropriate means to apprise the Beneficiaries of

such valuation.    The valuation shall be used consistently by all parties (including,

without limitation, the Debtor, the Trust, the Trustee, and the Beneficiaries) for all

federal income tax purposes.

                                     ARTICLE IX

                    SELECTION, REMOVAL, REPLACEMENT
                      AND COMPENSATION OF TRUSTEE

      9.1    Initial Trustee. As of the Effective Date, the initial trustee shall be Paul

R. Hage, as provided in the Plan and the Confirmation Order.

      9.2    Term of Service. The Trustee shall serve until (a) the completion of the

administration of the Trust Assets and the Trust, including the winding up of the

Trust, in accordance with this Agreement and the Plan; (b) termination of the Trust in

accordance with the terms of this Agreement and the Plan; or (c) the Trustee’s

resignation, death, incapacity or removal. In the event that the Trustee’s appointment

terminates by reason of death, dissolution, liquidation, resignation or removal, the

Trustee shall be immediately compensated for all reasonable fees and expenses
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accrued but unpaid through the effective date of termination, whether or not

previously invoiced. The provisions of Article VII of this Agreement shall survive the

resignation or removal of any Trustee.

      9.3    Removal of Trustee. Any Person serving as Trustee may be removed at

any time for cause.       Any party in interest, on notice and hearing before the

Bankruptcy Court, may seek removal of the Trustee for cause. The Bankruptcy Court

shall hear and finally determine any dispute arising out of this Section.

      9.4    Resignation of Trustee. The Trustee may resign at any time on written

notice to the U.S. Trustee and the Bankruptcy Court.           The resignation shall be

effective on the later of (i) the date specified in the notice of resignation and (ii) the

date that is thirty (30) days after the date such notice is filed with the Bankruptcy

Court and served on the U.S. Trustee, Auxo (until it is paid in full on its Secured

Claim), and the Post-Confirmation Committee.         In the event of a resignation, the

resigning Trustee shall render to the U.S. Trustee a full and complete accounting of

monies and assets received, disbursed, and held during the term of office of that

Trustee.

      9.5    Appointment of Successor Trustee.           Upon the resignation, death,

incapacity, or removal of a Trustee, the Bankruptcy Court shall appoint a successor

Trustee on its own motion. Any successor Trustee so appointed (a) shall consent to and

accept its appointment as successor Trustee, which may be done by e-mail or through

acquiescence in not objecting to a motion for approval of its appointment as successor

Trustee and (b) shall not have any liability or responsibility for the acts or omissions of

any of its predecessor(s). Any successor Trustee may be appointed to serve only on an

interim basis.

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      9.6    Powers and Duties of Successor Trustee. A successor Trustee shall have

all the rights, privileges, powers, and duties of its predecessor under this Agreement,

the Plan, and Confirmation Order.

      9.7    Trust Continuance. The resignation, death, incapacitation, dissolution,

liquidation, or removal of the Trustee shall not terminate the Trust or revoke any

existing agency created pursuant to this Agreement or invalidate any action

theretofore taken by the Trustee.

      9.8    Compensation of Trustee and Costs of Administration. The Trustee shall

be paid on an hourly basis based on his then current hourly rate. The Trustee shall

receive fair and reasonable compensation for its services in accordance with the terms

and conditions of the Plan. All costs, expenses, and obligations incurred by the Trustee

(or professionals who may be employed by the Trustee in administering the Trust, in

carrying out their other responsibilities under this Agreement, or in any manner

connected, incidental, or related thereto) shall be paid or reserved for by the Trust

from Trust Assets prior to any distribution to the Beneficiaries. A successor Trustee

shall also be entitled to reasonable and fair compensation in connection with its

services, which compensation may be different from the terms provided herein, plus

the reimbursement of reasonable and documented out-of-pocket expenses.

      9.9    Appointment of Supplemental Trustee. If the Trustee has a conflict or

any of the Trust Assets are situated in any state or other jurisdiction in which the

Trustee is not qualified to act as trustee, the Trustee shall nominate and appoint a

Person duly qualified to act as trustee (the “Supplemental Trustee”) with respect to

such conflict, or in such state or jurisdiction, and require from each such Supplemental

Trustee such security as may be designated by the Trustee in its discretion. In the

event the Trustee
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                Doc   unwilling
                          Filed or unable to
                                10/16/23     appoint
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Supplemental Trustee to handle any such matter, the Bankruptcy Court, on notice and

hearing, may do so. The Trustee or the Bankruptcy Court, as applicable, may confer

upon such Supplemental Trustee any or all of the rights, powers, privileges and duties

of the Trustee hereunder, subject to the conditions and limitations of this Agreement,

except as modified or limited by the laws of the applicable state or other jurisdiction

(in which case, the laws of the state or other jurisdiction in which such Supplemental

Trustee is acting shall prevail to the extent necessary).            To the extent the

Supplemental Trustee is appointed by the Trustee, the Trustee shall require such

Supplemental Trustee to be answerable to the Trustee for all monies, assets and other

property that may be received in connection with the administration of all property.

The Trustee or the Bankruptcy Court, as applicable, may remove such Supplemental

Trustee, with or without cause, and appoint a successor Supplemental Trustee at any

time by executing a written instrument declaring such Supplemental Trustee removed

from office and specifying the effective date and time of removal.

                                        ARTICLE X

                                DURATION OF TRUST

      10.1   Duration. Once the Trust becomes effective upon the Effective Date of

the Plan, the Trust and this Agreement shall remain and continue in full force and

effect until the Trust is terminated.

      10.2   Termination on Distribution of Trust Assets. Upon the distribution of all

Trust Assets in accordance with the provisions of the Plan, the Confirmation Order,

and this Agreement, the Trust shall terminate, and the Trustee shall have no further

responsibility in connection therewith except as may be required to effectuate such

termination under relevant law.


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      10.3   Termination after Five Years.      If the Trust has not been previously

terminated pursuant to Section 10.2 hereof, on the fifth (5th) anniversary of the

Effective Date, unless the Trust term has been extended by the Bankruptcy Court,

upon motion of the Trustee, the Trustee shall distribute all of the Trust Assets to the

Beneficiaries in accordance with the Plan and this Agreement, and immediately

thereafter the Trust shall terminate and the Trustee shall have no further

responsibility in connection therewith except to the limited extent set forth in Section

10.5 of this Agreement.

      10.4   No Termination by Beneficiaries. The Trust may not be terminated at

any time by the Beneficiaries.

      10.5   Continuance of Trust for Winding Up; Discharge and Release of Trustee.

After the termination of the Trust and solely for the purpose of liquidating and

winding up the affairs of the Trust, the Trustee shall continue to act as such until its

responsibilities have been fully performed. Except as otherwise specifically provided

herein, upon the distribution of the Trust Assets including all excess reserves, the

Trustee, the Trust’s professionals and agents shall be deemed discharged and have no

further duties or obligations hereunder.        Upon a motion by the Trustee, the

Bankruptcy Court may enter an order relieving the Trustee, its employees,

professionals, and agents of any further duties, discharging and releasing the Trustee,

its employees, professionals, agents from all liability related to the Trust, and

releasing the Trustee’s bond, if any.




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                                       ARTICLE XI

                                    MISCELLANEOUS

       11.1     Cumulative Rights and Remedies. The rights and remedies provided in

this Agreement are cumulative and not exclusive of any rights and remedies under law

or in equity.

       11.2     Notices. All notices to be given to Beneficiaries may be given by ordinary

mail, or may be delivered personally, to the Beneficiaries at the addresses appearing

on the books and records kept by the Trustee. Any notice or other communication

which may be or is required to be given, served, or sent to the Trustee shall be in

writing and shall be sent by registered or certified United States mail, return receipt

requested, postage prepaid, or transmitted by hand delivery or facsimile (if receipt is

confirmed) addressed as follows:

                     Paul R. Hage
                     Taft Stettinius & Hollister, LLP
                     27777 Franklin Road, Suite 2500
                     Southfield, Michigan 48034
                     phage@taftlaw.com
                     (248) 351-3000 (M) or (248) 727-1543 (D)


or to such other address as may from time to time be provided in written notice by the

Trustee.

       11.3     Governing Law. This Agreement shall be governed by and construed in

accordance with the laws of the State of Michigan, without giving effect to rules

governing the conflict of laws.

       11.4     Successors and Assigns. This Agreement shall inure to the benefit of and

shall be binding upon the Parties and their respective successors and assigns.



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      11.5   Particular Words. Reference in this Agreement to any Section or Article

is, unless otherwise specified, to that such Section or Article under this Agreement.

The words “hereof,” “herein,” and similar terms shall refer to this Agreement and not

to any particular Section or Article of this Agreement.

      11.6   Execution. All funds in the Trust shall be deemed in custodia legis until

such times as the funds have actually been paid to or for the benefit of a Beneficiary,

and no Beneficiary or any other Person can execute upon, garnish or attach the Trust

Assets or the Trustee in any manner or compel payment from the Trust except by

Final Order of the Bankruptcy Court. Payments will be solely governed by the Plan

and this Agreement.

      11.7   Amendment.         This Agreement may be amended by order of the

Bankruptcy Court; provided, however, such amendment may not be inconsistent with

the Plan or the Confirmation Order.

      11.8   No Waiver.     No failure or delay of any party to exercise any right or

remedy pursuant to this Agreement shall affect such right or remedy or constitute a

waiver thereof.

      11.9   No Relationship Created. Nothing contained herein shall be construed to

constitute any relationship created by this Agreement as an association, partnership,

or joint venture of any kind.

      11.10 Severability. If any term, provision covenant or restriction contained in

this Agreement is held by a court of competent jurisdiction or other authority to be

invalid, void, unenforceable or against its regulatory policy, the remainder of the

terms, provisions, covenants and restrictions contained in this Agreement shall

remain in full force and effect and shall in no way be affected, impaired or invalidated.
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      11.11 Counterparts. This Agreement may be executed simultaneously in one or

more counterparts, each of which shall be deemed an original and all of which together

shall constitute one and the same instrument.

      11.12 Jurisdiction. The Bankruptcy Court shall have jurisdiction regarding the

Debtor, Trust, Trustee, and Trust Assets, including, without limitation, the

determination of all disputes arising out of or related to administration of the Trust.

The Bankruptcy Court shall have continuing jurisdiction and venue to hear and finally

determine all disputes and related matters among the Parties arising out of or related

to this Agreement or the administration of the Trust. The Parties expressly consent to

the Bankruptcy Court hearing and exercising such judicial power as is necessary to

finally determine all such disputes and matters. If the Bankruptcy Court abstains

from exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction

over any matter arising in, arising under, or related to the Chapter 11 Case, including

the matters set forth in this Agreement, the provisions of this Agreement shall have no

effect on and shall not control, limit or prohibit the exercise of jurisdiction by any other

court having competent jurisdiction with respect to such matter, and all applicable

references in this Agreement to an order or decision of the Bankruptcy Court shall

instead mean an order or decision of such other court of competent jurisdiction.

      IN WITNESS WHEREOF, the Parties have or are deemed to have executed this

Agreement as of the day and year written above.



                                             ARK LABORATORY, LLC

                                             By:


                                             Name: James Grossi

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                                          THE LIQUIDATING TRUSTEE

                                          By:


                                          Name: Paul R. Hage

                                          Title: Trustee




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                        EXHIBIT B TO PLAN SUPPLEMENT

                   NON-EXCLUSIVE LIST OF CAUSES OF ACTION
                      AND AVOIDANCE ACTIONS RESERVED
                       UNDER THE DEBTOR’S COMBINED
                      DISCLOSURE STATEMENT AND PLAN2

      Pursuant to Article IV, Section B. of the Plan, on the Effective Date3 any and all
Causes of Action including, without limitation, Avoidance Actions arising under
Chapter 5 of the Bankruptcy Code (specifically, §§544, 545, 546, 547, 548, 549, 550
and 553 of the Bankruptcy Code) in connection with any transfers described in
Debtor’s Schedules, and any and all claims discovered or which may be discovered
by the Committee or the Liquidating Trustee through investigation of the Debtor,
whether or not such claims are specifically described in this Exhibit B to the Plan
Supplement, shall be reserved and preserved by, and for the benefit of, the Debtor’s
Estate and thereafter, the Liquidating Trust and the Causes of Action and the net
proceeds of such Causes of Action and collection rights and proceeds collectable
under any applicable insurance policies including directors and officers policies of the
Debtor shall be assigned and transferred to the Liquidating Trust for distribution
subject to all of the terms and conditions of the Plan. Following the Effective Date,
Causes of Action may be prosecuted only by the Liquidating Trustee.

       The Liquidating Trustee has the full power to bring and prosecute any Causes
of Action against any party, including, but not limited to, those parties and Causes of
Action specifically identified below. Such power shall include the power to sue on
behalf of the Estate, to compromise any claim and to collect amounts due on any
Cause of Action or pending Cause of Action. Except as otherwise provided in the
Plan, in accordance with section 1123(b) of the Bankruptcy Code, the Liquidating
Trust, through the Liquidating Trustee shall retain and may in its discretion and
business judgment (except as otherwise limited by the Plan and Liquidating Trust
Agreement) enforce Causes of Action, including Avoidance Actions, claims and
defenses and counterclaims to all Claims asserted against the Debtor and its Estate,
including but not limited to, setoff, recoupment, and any rights under section 502(d)
of the Bankruptcy Code.



2
 This list supplements and is in addition to the preserved Causes of Action, including
avoidance actions, delineated in the Debtor’s Combined Disclosure Statement and
Plan (collectively, the “Plan”) and described in Exhibit B to the Plan [ECF No. 249].

3
 All capitalized terms
 23-43403-mlo          contained
                  Doc 303         herein shall
                           Filed 10/16/23      have the
                                            Entered     meanings
                                                     10/16/23     ascribed
                                                              21:39:58     to them
                                                                         Page  53 of in
                                                                                      231
the Plan, unless otherwise stated to the contrary.
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Potential Adverse Parties                 Potential Claim or Cause of Action


Former and current members and/or
officers and directors of the Debtor: Claims, including claims under the
                                      Directors and Officers Liability Policy
1. Brian Tierney (“Tierney”)          for breach of fiduciary duties

2. Nameer Kiminaia (“Kiminaia”)     Claims arising under the January 19,
                                    2021 Membership Interest Redemption
3.The Tierney Family Trust, Dated Agreement (“MIRA”) by and among
December 21, 2018 (“Tierney Trust”) the Debtor, Tierney, Kiminaia, Grossi,
                                    the Tierney Trust and the Kiminaia
                                    Trust, that include, among other things,
4. The Nameer Kiminaia Living Trust
                                    that the transfers made thereon are (i)
Dated May 31, 2019 (“Kiminaia
                                    avoidable as fraudulent conveyances
Trust”)
                                    and preferences under the Bankruptcy
                                    Code and the Michigan Voidable
5. James Grossi (“Grossi”)          Transactions       Act      (“Avoidable
                                    Transfer(s)”), (ii) constitute an
6. Lou Perez                        unlawful redemption, (iii) constitute a
                                    breach of contract, (iv) constitute a
7. Jay Wolgin                       usurpation of corporate opportunities,
                                    and (v) are a breach of fiduciary duties
8. Rachel Brown                     and breach of contract of any
                                    noncompete        or    non-solicitation
                                    agreements with the Debtor
9. Liam Dillion
                                      In addition to claims arising under the
10. Any other unnamed current or past
                                      MIRA, claims for any transaction
officers or directors
                                      between the Debtor and current and
                                      former members and/or directors and
                                      officers for any Avoidable Transfer(s)
                                      including excessive compensation or
11. Noticing party:                   unlawful distribution, breach of
Nationwide Management Liability & contract, usurpation of corporate
Specialty                             opportunities, breach of fiduciary
7 World Trade Center, 37th Floor      duties and breach of contract including
250 Greenwich Street                  breach of any noncompete or
New York, NY 10007                    non-solicitation agreements



Vendors and/or Doc
23-43403-mlo   contractors of the
                   303 Filed   10/16/23 Entered 10/16/23 21:39:58 Page 54 of 231


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Debtor:                                     Breach of contract

1. Randy Bierman                            Breach of noncompete agreement

2. Graham Pocic                             Breach of non-solicitation agreements

3. Brett Nagel                              Tortious interference of contract or
                                            business opportunity
4. Any entities of the above named
individuals who contracted with the
Debtor



Billing vendors and/or contractors of
the Debtor:                           Breach of contract,               disgorgement,
                                      unjust enrichment
1. Coronis Health RCM, LLC
                                      Negligence
2. MedCare, LLC



Payroll and employee benefits vendors
and/or contractors of the Debtor:        Breach of contract,            disgorgement,
                                         unjust enrichment
Vensure     Employer      Services as
successor in interest of/or f/k/a Access
Point




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Entities formerly owned in whole or in
part by the Debtor:                    Usurpation of corporate opportunities

Ion Diagnostics, LLC                      Breach of noncompete agreement

                                          Breach of non-solicitation agreements

                                          Avoidable Transfers



Diesel Funding, LLC                       Potential    Avoidable    Postpetition
                                          Transfer(s), Usury, Fraud, Breach of
                                          Contract,    Disgorgement,     Unjust
                                          Enrichment,      Lender     Liability,
                                          Disallowance of Claim, Predatory
                                          Lending Practices, Subordination of
                                          Claim under Section 510 of the
                                          Bankruptcy Code




Auxo Investment Partners, LLC             Any potential claims under the Sale as
                                          approved by the Court [ECF No. 279]
                                          or under the Plan


Current or former professionals and       Malpractice claims
accountants of the Debtor



See Schedule A of Plan Supplement         Potential Avoidable Transfers for
                                          transfers that occurred after the
                                          Petition Date



See Schedule B(1) and (2) of Plan         Potential Avoidable Transfers within 90
Supplement                                days prior to the Petition Date
                                          (“Preferences”)
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See Schedule C of the Plan                Potential Avoidable Transfers within 2
Supplement                                years prior to the Petition Date
                                          (“Fraudulent Transfers”)



See Schedule D of the Plan                List of Debtor’s outstanding Covid-19
Supplement                                Testing Claims with each health
                                          insurance payer and governmental
                                          entity which are being pursued by
                                          appointed Special Counsel, Amy
                                          Thomas, Esq. and Only One Hub d/b/a
                                          Primus Health




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United States Bankurptcy Court                         Ark Laboratory, LLC
Eastern District of Michigan                                Schedule A
Case No. 23-43403                                Avoidable Post Petition Payments


 Date                 Name                           Purpose              Amount
 4/13/23 The Sports Marketing Agency                 Marketing          $ 30,000.00
 4/18/23 James Grossi                                Unknown                3,750.00
 4/19/23 James Grossi                                Unknown                7,000.00
 4/20/23 James Grossi                                Unknown                2,500.00
 4/13/23 O'Keefe                                     Retainer              10,000.00

                                                                        $   53,250.00




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United States Bankruptcy Court                                    Ark Laboratory, LLC
Eastern District of Michigan                                          Schedule B1
Case No: 23-43403                                               Transfers within 90 Days


                             Payee                     Payment Date                No.           Total


6600 Highland, LLC                                 02/01/2023         02012023             $             26,688.39
6600 Highland, LLC                                 03/01/2023         03012023                           26,688.39
AB Sciex, LLC                                      02/01/2023         210204785                          12,502.71
AB Sciex, LLC                                      02/01/2023         210204807                           3,129.10
AB Sciex, LLC                                      02/10/2023         02102023                            2,000.00
AB Sciex, LLC                                      03/01/2023         210206920                           1,714.61
AB Sciex, LLC                                      03/01/2023         210206739                           3,129.10
AB Sciex, LLC                                      03/01/2023         210206713                          12,502.71
AB Sciex, LLC                                      04/01/2023         210208974                           3,129.10
AB Sciex, LLC                                      04/01/2023         210208942                          12,502.71
Abbott Laboratories                                01/13/2023         830896654                           1,130.80
Abbott Laboratories                                01/18/2023         616376570                           1,170.19
Abbott Laboratories                                01/18/2023         616386391                            611.28
Abbott Laboratories                                01/18/2023         616376569                           1,958.35
Abbott Laboratories                                02/01/2023         830877897                           1,028.00
Abbott Laboratories                                02/01/2023         616398645                           6,361.38
Abbott Laboratories                                02/01/2023         616391992                            611.28
Abbott Laboratories                                02/06/2023         830901369                           2,510.92
Abbott Laboratories                                02/13/2023         830902664                           1,170.38
Abbott Laboratories                                03/01/2023         830904306                           1,063.98
Abbott Laboratories                                03/05/2023         830907021                           1,213.00
Abbott Laboratories                                03/06/2023         830907315                           2,510.92
Abbott Laboratories                                03/13/2023         830908729                           1,170.38
Abbott Laboratories                                03/23/2023         830911502                           3,648.16
Abbott Laboratories                                03/24/2023         616653077                            586.39
Abbott Laboratories                                04/01/2023         616673163                           7,211.67
Adobe (ACH)                                        03/07/2023         2398611428                           306.20
Adobe (ACH)                                        04/01/2023         04012023                             306.20
Agena Bioscience, Inc.                             02/15/2023         INV-599980                          5,479.07
Agena Bioscience, Inc.                             03/01/2023         INV-64958                          23,676.18
Allscripts Healthcare, LLC                         02/01/2023         4004195075                           636.00
Allscripts Healthcare, LLC                         02/01/2023         1000176326                          2,865.00
Allscripts Healthcare, LLC                         03/01/2023         1000179400                          2,865.00
Amazing Charts                                     03/07/2023         00000000056935                      1,060.00
Amazon                                             01/12/2023         01122023B                            166.92
Amazon                        23-43403-mlo        01/12/2023
                                             Doc 303                01122023
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United States Bankruptcy Court                                       Ark Laboratory, LLC
Eastern District of Michigan                                             Schedule B1
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                            Payee                         Payment Date              No.                Total
Amazon                                                01/18/2023         01182023                               153.16
Amazon                                                01/18/2023         01182023                                79.62
Amazon                                                01/22/2023         01222023                               122.94
Amazon                                                01/23/2023         01232023                               376.15
Amazon                                                02/01/2023         02012023                                84.23
Amazon                                                02/01/2023         01312023                               633.88
Amazon                                                02/01/2023         02012023                               180.19
Amazon                                                02/01/2023         01312023                                61.36
Amazon                                                02/02/2023         02022023                               160.51
Amazon                                                02/02/2023         02022023                                31.79
Amazon                                                02/03/2023         02032023                                67.84
Amazon                                                02/07/2023         02072023                               281.65
Amazon                                                02/07/2023         02072023                               130.42
Amazon                                                02/10/2023         02102023                               123.43
Amazon                                                02/14/2023         02142023                               100.45
Amazon                                                02/17/2023         02172023                               116.59
Amazon                                                02/17/2023         02172023                                20.13
Amazon                                                02/17/2023         02172023                               318.51
Amazon                                                02/17/2023         02172023                                73.14
Amazon                                                02/17/2023         02172023                                65.68
Amazon                                                02/20/2023         02202023                               102.79
Amazon                                                03/01/2023         02242023                              1,144.82
Amazon                                                03/03/2023         03032023                                40.26
Amazon                                                03/09/2023         03092023                               421.26
Amazon                                                03/11/2023         03112023                                69.84
Amazon                                                03/12/2023         03122023                               117.54
Amazon                                                03/16/2023         03162023                                63.56
Amazon                                                03/20/2023         03172023                                87.93
Amazon                                                03/21/2023         03202023                               206.67
Amazon                                                03/21/2023         03202023                                49.91
Amazon                                                03/22/2023         03222023                               317.50
Amazon                                                03/26/2023         03262023                               145.21
American Proficiency Institute                        02/16/2023         650761                                3,733.00
Amro Almradi MDPC PLLC                                01/18/2023         01182023                              9,000.00
Amro Almradi MDPC PLLC                                03/01/2023         02272023                              3,000.00
Applied Capital, LLC                                  02/01/2023         33337181                               366.27
Applied Capital, LLC             23-43403-mlo        03/01/2023
                                                Doc 303                33539438
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United States Bankruptcy Court                                   Ark Laboratory, LLC
Eastern District of Michigan                                         Schedule B1
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                           Payee                      Payment Date                No.             Total
Applied Capital, LLC                             03/01/2023          33366104                               216.24
Applied Capital, LLC                             03/02/2023          33567925                               216.24
Applied Capital, LLC                             04/01/2023          33743816                               366.27
Applied Capital, LLC                             04/03/2023          33770900                               216.24
Applied Innovation                               01/12/2023          2124142                                339.20
Applied Innovation                               01/27/2023          2134116                                554.32
Applied Innovation                               02/01/2023          2137313                                853.30
Applied Innovation                               02/01/2023          2136568                                446.47
Applied Innovation                               02/08/2023          2145454                                870.46
Applied Innovation                               02/10/2023          2147200                                339.20
Applied Innovation                               03/01/2023          2159363                                853.30
Applied Innovation                               03/01/2023          2158954                                446.47
Applied Innovation                               03/01/2023          2156683                                471.84
Applied Innovation                               03/10/2023          2168651                               4,280.73
Applied Innovation                               03/13/2023          2168953                                339.20
Applied Innovation                               04/01/2023          2178012                                328.36
Applied Innovation                               04/01/2023          799432-1                               572.08
Applied Innovation                               04/03/2023          2182375                                853.30
Applied Innovation                               04/03/2023          2181907                                446.47
Arkstone Medical                                 02/01/2023          22779                                10,625.00
Arkstone Medical                                 03/01/2023          22911                                10,975.00
Arkstone Medical                                 03/01/2023          22842                                11,400.00
Arkstone Medical                                 04/01/2023          22982                                11,650.00
Athenahealth, Inc.                               01/13/2023          INV-332807                            1,059.00
Athenahealth, Inc.                               02/16/2023          INV-342918                            1,481.00
Athenahealth, Inc.                               03/15/2023          INV-349799                            1,660.00
Atlassian                                        01/25/2023          AT-219882810                          1,223.95
Atlassian                                        02/04/2023          AT-221577819                            73.50
Atlassian                                        02/25/2023          AT-225738685                           601.50
Atlassian                                        03/04/2023          AT-227426661                            49.00
Atlassian                                        03/25/2023          AT-231782495                           784.75
Atlassian                                        04/04/2023          AT-233481573                            56.00
Auburn Hills Medical Properties, LLC             02/01/2023                                                 991.00
Auburn Hills Medical Properties, LLC             03/01/2023                                                 991.00
Auburn Hills Medical Properties, LLC             04/01/2023                                                 991.00
Avairis, Inc.                                    02/01/2023          1539                                  3,166.00
Avairis, Inc.                23-43403-mlo        03/01/2023
                                            Doc 303                1544 Entered 10/16/23 21:39:58
                                                        Filed 10/16/23                                     8,450.00
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United States Bankruptcy Court                                   Ark Laboratory, LLC
Eastern District of Michigan                                         Schedule B1
Case No: 23-43403                                              Transfers within 90 Days


                           Payee                      Payment Date                No.              Total
Avairis, Inc.                                     04/03/2023         1548                                   6,666.00
Avis                                              02/01/2023         01302023                                198.33
Avis                                              03/17/2023         03172023                                118.72
Barcode Factory                                   01/24/2023         209538                                  508.32
Barcode Factory                                   04/04/2023         04042023                                508.32
Beckman Coulter                                   03/01/2023         4483797                                4,916.63
Beckman Coulter                                   03/01/2023         4474731                                4,916.63
Bett Kimutai                                      01/15/2023         01202023                               2,423.20
Bett Kimutai                                      02/01/2023         01292023                               2,423.20
Bett Kimutai                                      02/12/2023         01302023/02122023                      2,432.20
Bett Kimutai                                      02/13/2023         02132023/02262023                      2,432.20
Bett Kimutai                                      03/01/2023         02/27/23-03/12/23                      1,817.40
Bett Kimutai                                      03/31/2023         03262023                               2,423.20
Bett Kimutai                                      04/09/2023         03272023/04092023                      2,423.20
BillionToOne, Inc.                                02/01/2023         8242013123                            35,919.00
BillionToOne, Inc.                                04/01/2023         8242022823                            25,366.00
BioPathogenix                                     01/17/2023         2144                                   3,180.00
BioPathogenix                                     01/24/2023         2159                                  21,200.00
BioPathogenix                                     02/02/2023         2174                                  13,780.00
BioPathogenix                                     02/08/2023         2191                                  10,600.00
BioPathogenix                                     02/09/2023         2193                                  21,200.00
BioPathogenix                                     02/16/2023         2212                                  15,900.00
BioPathogenix                                     02/22/2023         2218                                   9,010.00
BioPathogenix                                     03/02/2023         1901                                  15,900.00
BioPathogenix                                     03/06/2023         1906                                  13,780.00
BioPathogenix                                     03/14/2023         2241                                   1,325.00
BioPathogenix                                     03/20/2023         2250                                  15,900.00
Blue Care Network                                 02/01/2023         230380038556                          18,459.73
Blue Care Network                                 03/01/2023         230660036082                          16,047.91
Blue Care Network                                 04/01/2023         230970025811                          22,623.83
Blue Cross Blue Shield of Michigan                02/01/2023         157204268                              5,583.88
Blue Cross Blue Shield of Michigan                02/01/2023         157204553                             34,804.90
Blue Cross Blue Shield of Michigan                03/01/2023         158071112                             47,522.41
Blue Cross Blue Shield of Michigan                04/01/2023         159794766                              4,673.17
Blue Cross Blue Shield of Michigan                04/01/2023         159795022                             30,439.22
Brehob CORPORATION                                03/28/2023         212033                                  960.00
Brian Corso                  23-43403-mlo        04/04/2023
                                            Doc 303                04042023
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United States Bankruptcy Court                                         Ark Laboratory, LLC
Eastern District of Michigan                                               Schedule B1
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                           Payee                            Payment Date                No.              Total
Cardinal Health                                         01/12/2023         7157065111                             223.46
Cardinal Health                                         01/13/2023         7157125577                              81.89
Cardinal Health                                         02/01/2023         7157555194                             539.13
Cardinal Health                                         02/06/2023         02062023                               272.56
Cardinal Health                                         02/09/2023         7158116051                             407.43
Cardinal Health                                         02/10/2023         7158154524                            1,438.12
Cardinal Health                                         02/18/2023         7158439560                            1,673.39
Cardinal Health                                         03/01/2023         7124642936                             864.61
Cardinal Health                                         03/01/2023         7124571668                            1,046.59
Cardinal Health                                         03/01/2023         7124571667                            5,581.81
Cardinal Health                                         03/01/2023         7147224546                            1,823.07
Cardinal Health                                         03/01/2023         7148272887                             146.03
Cardinal Health                                         03/01/2023         7147210379                             192.69
Cardinal Health                                         03/01/2023         7158628001                             283.74
Cardinal Health                                         03/01/2023         7158573135                             721.55
Cardinal Health                                         03/01/2023         7158218254                              49.99
Cardinal Health                                         03/02/2023         7158910044                            1,260.54
Cardinal Health                                         03/17/2023         7159459692                             722.02
Cardinal Health                                         03/21/2023         7159553985                            1,909.76
Cardinal Health                                         03/23/2023         7159650662                             903.72
Careviso, Inc.                                          02/01/2023         2456                                  3,500.00
Careviso, Inc.                                          03/01/2023         2501                                  3,500.00
Careviso, Inc.                                          04/01/2023         2548                                  3,500.00
Carolina Coastal Paper & Janitorial Supply, LLC         01/18/2023         29280                                 2,832.48
Cerilliant Corporation                                  01/19/2023         01192023                              2,454.40
Cerilliant Corporation                                  01/20/2023         581400                                 515.60
Cerilliant Corporation                                  01/20/2023         581392                                4,771.30
Cerilliant Corporation                                  01/26/2023         581749                                  43.40
Cerilliant Corporation                                  02/07/2023         582584                                9,755.30
Cerilliant Corporation                                  02/20/2023         583438                                5,434.20
Cerilliant Corporation                                  03/24/2023         567540B                               1,410.40
Cerilliant Corporation                                  03/28/2023         585721                                5,938.70
Cerilliant Corporation                                  04/07/2023         586409                                  26.90
Charter Communications                                  02/01/2023         0422386011123                           77.97
Charter Communications                                  02/11/2023         0422386021123                           77.97
Charter Communications                                  03/11/2023         0422386031123                           77.97
Charter Communications       23-43403-mlo              04/11/2023
                                                  Doc 303                0422386041123
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CheckRun                                       01/25/2023         9FE97E7A-0024                           50.00
CheckRun                                       02/25/2023         9FE97E7A-0025                           50.00
CheckRun                                       03/25/2023         9FE97E7A-0026                           50.00
CI Web Design, Inc                             01/21/2023         10182                                  940.00
CI Web Design, Inc                             02/21/2023         10289                                  940.00
CI Web Design, Inc                             03/21/2023         10388                                  940.00
Cintas Corp. (ACH)                             01/13/2023         4143412159                              81.24
Cintas Corp. (ACH)                             01/13/2023         4143410775                             892.41
Cintas Corp. (ACH)                             01/20/2023         4144116166                             159.36
Cintas Corp. (ACH)                             01/20/2023         4144114754                             899.72
Cintas Corp. (ACH)                             02/01/2023         4144814297                              81.24
Cintas Corp. (ACH)                             02/01/2023         4144813135                             892.41
Cintas Corp. (ACH)                             02/03/2023         4145508277                             159.36
Cintas Corp. (ACH)                             02/03/2023         4145506962                             899.72
Cintas Corp. (ACH)                             02/10/2023         4146203705                              81.24
Cintas Corp. (ACH)                             02/10/2023         4146202457                             892.41
Cintas Corp. (ACH)                             02/17/2023         4146948300                             159.36
Cintas Corp. (ACH)                             02/17/2023         4146947035                             899.72
Cintas Corp. (ACH)                             02/24/2023         4147605111                              81.24
Cintas Corp. (ACH)                             02/24/2023         4147603678                             892.41
Cintas Corp. (ACH)                             03/03/2023         4148310160                             159.36
Cintas Corp. (ACH)                             03/03/2023         4148308599                             899.72
Cintas Corp. (ACH)                             03/10/2023         4149013744                              81.24
Cintas Corp. (ACH)                             03/10/2023         4149012109                             892.41
Cintas Corp. (ACH)                             03/17/2023         4149722123                             159.36
Cintas Corp. (ACH)                             03/17/2023         4149720706                             899.72
Cintas Corp. (ACH)                             03/24/2023         4150415689                              81.24
Cintas Corp. (ACH)                             03/24/2023         4150414213                             892.41
Cintas Corp. (ACH)                             04/01/2023         4151116709                             159.36
Cintas Corp. (ACH)                             04/01/2023         4151115282                             899.72
Cintas Corp. (ACH)                             04/07/2023         4151832499                              81.24
Cintas Corp. (ACH)                             04/07/2023         4151831336                             892.41
Clean Air Testing, Inc                         03/20/2023         116727                                 729.63
ClickUp                                        01/13/2023         T14387243-011223                         9.81
ClickUp                                        01/16/2023         T14387243-011423                         3.68
ClickUp                                        01/20/2023         T14387243-011923                       418.00
ClickUp                   23-43403-mlo        02/01/2023
                                         Doc 303                T14387243-012623
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ClickUp                                             02/19/2023         T14387243-021923                        418.00
ClickUp                                             03/19/2023         T14387243-031923                        418.00
College of American Pathologists                    02/14/2023         2679188                                1,054.44
Comcast                                             01/17/2023         001000612333                            644.91
Comcast                                             01/17/2023         01172023/0808982                        168.50
Comcast                                             01/22/2023         01222023/0945842                        169.90
Comcast                                             01/27/2023         01272023/0670846                        121.90
Comcast                                             02/10/2023         02102023/0687196                        273.64
Comcast                                             02/15/2023         001000633184                            610.35
Comcast                                             02/17/2023         02172023/0808982                        168.50
Comcast                                             02/22/2023         02222023/0945842                        169.90
Comcast                                             03/10/2023         03102023/0687196                        273.64
Comcast                                             03/17/2023         03172023/0808982                        168.50
Comcast                                             04/01/2023         001000679885                           1,082.87
Comcast                                             04/01/2023         03222023/0945842                        168.50
Comcast                                             04/10/2023         04102023/0687196                        273.53
Comerica                                            02/13/2023         02132023                               2,428.82
Comerica                                            02/13/2023         02132023                              12,496.24
Comerica                                            02/21/2023         02212023                              24,129.87
Comerica                                            02/28/2023         02282023                              19,808.40
Comerica                                            03/07/2023         03072023                              25,469.21
Comerica                                            03/13/2023         03132023                               2,284.68
Comerica                                            03/14/2023         03142023                              32,778.67
Comerica                                            03/21/2023         03212023                              34,307.75
Comerica                                            03/27/2023         03272023                              25,011.29
Comerica Bank - Cost Center 048-95890               03/07/2023         017591-000002 RJD                     15,000.00
Costco                                              02/07/2023         02072023                                182.51
Costco                                              03/01/2023         03012023                                189.02
Costco                                              03/15/2023         03152023                                224.45
Costco                                              04/07/2023         04072023                                124.81
Cotiviti Inc.                                       01/20/2023         01202023                               2,275.00
Cotiviti Inc.                                       02/01/2023         01202023                                100.00
Credential Check Corporation                        01/15/2023         291544                                  156.00
Credential Check Corporation                        02/01/2023         291987                                  257.40
Credential Check Corporation                        02/15/2023         292588                                   52.00
Credential Check Corporation                        03/15/2023         293636                                  117.00
Credential Check Corporation 23-43403-mlo          04/01/2023
                                              Doc 303                294124 Entered 10/16/23 21:39:58
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De Lage Landen Financial Services, Inc.                       01/13/2023         78770705                               301.49
De Lage Landen Financial Services, Inc.                       01/27/2023         78904132                               301.49
De Lage Landen Financial Services, Inc.                       02/10/2023         78953051                               301.49
De Lage Landen Financial Services, Inc.                       03/01/2023         79171766                               301.49
De Lage Landen Financial Services, Inc.                       04/12/2023         79593263                               301.49
Denny's Heating, Cooling & Refrigeration Service Inc.         02/01/2023         S27894                                 394.00
Denny's Heating, Cooling & Refrigeration Service Inc.         02/01/2023         Q13196                                7,370.00
Denny's Heating, Cooling & Refrigeration Service Inc.         02/01/2023         Q13123                                1,315.00
Denny's Heating, Cooling & Refrigeration Service Inc.         02/10/2023         S28093                                 469.00
Detroit Athletic Club                                         03/15/2023         03152023                              1,837.98
Dianne Longoria                                               04/04/2023         04042023                                16.40
Diesel Funding                                                03/27/2023         03272023                              3,747.50
Diesel Funding                                                03/28/2023         03282023                              3,747.50
Diesel Funding                                                03/29/2023         03292023                              3,747.50
Diesel Funding                                                03/30/2023         03302023                              3,747.50
Diesel Funding                                                04/03/2023         04032023                              3,747.50
Diesel Funding                                                04/04/2023         04042023                              3,747.50
Diesel Funding                                                04/05/2023         04052023                              3,747.50
Diesel Funding                                                04/06/2023         04062023                              3,747.50
Diesel Funding                                                04/07/2023         04072023                              3,747.50
Digital Check Corp                                            01/19/2023         SLS264604                               39.52
DoorDash                                                      02/14/2023         02142023                                  9.99
Dorene Guarnieri                                              03/21/2023         03212023                                10.56
DTE Energy                                                    01/12/2023         01122023/41356                        1,186.94
DTE Energy                                                    01/12/2023         01122023/05876                        2,580.27
DTE Energy                                                    01/12/2023         01122023/42246                        2,047.74
DTE Energy                                                    01/12/2023         01122023/42341                         520.26
DTE Energy                                                    01/12/2023         01122023/27118                         105.34
DTE Energy                                                    01/12/2023         01122023/14064                          14.79
DTE Energy                                                    01/24/2023         01242023/41394                          69.83
DTE Energy                                                    02/02/2023         02022023/29742                         166.38
DTE Energy                                                    02/02/2023         02022023/29726                         110.42
DTE Energy                                                    02/02/2023         02022023/29783                          92.62
DTE Energy                                                    02/02/2023         02022023/29635                          77.47
DTE Energy                                                    02/02/2023         02022023/29833                          77.05
DTE Energy                                                    02/02/2023         02022023/29866                          20.22
DTE Energy                    23-43403-mlo                   02/13/2023
                                                        Doc 303                02132023/41356
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DTE Energy                                          02/13/2023         02132023/42341                          485.95
DTE Energy                                          02/13/2023         02132023/05876                         2,452.32
DTE Energy                                          02/13/2023         02132023/42248                         1,885.21
DTE Energy                                          02/13/2023         02132023/27118                           97.08
DTE Energy                                          02/13/2023         02132023/14064                           14.79
DTE Energy                                          02/21/2023         02212023/41394                           54.70
DTE Energy                                          03/03/2023         03032023/29742                          174.73
DTE Energy                                          03/03/2023         03032023/29726                          149.17
DTE Energy                                          03/03/2023         03032023/29783                           99.27
DTE Energy                                          03/03/2023         03032023/29833                           79.53
DTE Energy                                          03/03/2023         03032023/29635                           76.18
DTE Energy                                          03/03/2023         03032023/29866                           19.74
DTE Energy                                          03/14/2023         03142023/05876                         2,441.29
DTE Energy                                          03/14/2023         03142023/42246                         1,848.26
DTE Energy                                          03/14/2023         03142023/41356                         1,104.69
DTE Energy                                          03/14/2023         03142023/42341                          495.37
DTE Energy                                          03/14/2023         03142023/27118                           97.88
DTE Energy                                          03/14/2023         03142023/14054                           15.79
DTE Energy                                          03/23/2023         03232023/41394                           66.29
DTE Energy                                          04/03/2023         04032023/29742                          142.29
DTE Energy                                          04/03/2023         04032023/29635                           71.37
DTE Energy                                          04/03/2023         04032023/29726                           70.32
DTE Energy                                          04/03/2023         04032023/29783                           69.72
DTE Energy                                          04/03/2023         04032023/29833                           68.29
DTE Energy                                          04/03/2023         04032023/29866                           23.24
DTE Energy                                          04/04/2023         04212023/41394                           42.72
eClinicalWorks, LLC                                 02/01/2023         0002438944                             5,300.00
eClinicalWorks, LLC                                 04/01/2023         0002617469                             5,300.00
Eden Software Solutions, LLC                        03/01/2023         0003                                    400.00
Edge Solutions                                      01/28/2023         624575                                 1,214.57
Edge Solutions                                      02/28/2023         640436                                 1,111.96
Edge Solutions                                      04/01/2023         654799                                 1,216.82
Elio Bucciarelli                                    03/21/2023         03212023                                 52.61
Ellkay, LLC                                         03/22/2023         204147                                 4,340.00
Ellkay, LLC                                         04/01/2023         157902                                 1,440.00
Empirical Biosciences                               02/01/2023         5677                                  16,503.45
Esker Inc                      23-43403-mlo        02/01/2023
                                              Doc 303                460238066
                                                          Filed 10/16/23    Entered 10/16/23 21:39:58         1,141.50
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Esker Inc                                       03/01/2023         460239189                             937.80
Esker Inc                                       04/01/2023         460242644                            1,009.05
Evoqua Water Technologies LLC                   02/01/2023         905711739                            1,508.83
Evoqua Water Technologies LLC                   03/01/2023         905756058                            1,508.83
Evoqua Water Technologies LLC                   04/01/2023         905811689                            1,508.83
Exagen Inc.                                     04/01/2023         000040-202301                        1,045.76
Exagen Inc.                                     04/01/2023         000040-202212                        2,652.80
Exagen Inc.                                     04/01/2023         000040-202211                        1,141.12
Exagen Inc.                                     04/01/2023         000040-202210                        1,218.56
Exagen Inc.                                     04/01/2023         000040-202208                        3,559.88
Fast Fingerprints                               02/01/2023         02012023                               99.00
FastSpring                                      01/17/2023         ZEB230117-4113-73202                  365.70
Fed Ex                                          01/18/2023         8-0011-95443                          428.92
Fed Ex                                          01/25/2023         8-018-21691                           296.20
Fed Ex                                          02/01/2023         8-025-51433                           297.00
Fed Ex                                          02/08/2023         8-032-25920                           355.51
Fed Ex                                          02/15/2023         8-040-41640                           330.37
Fed Ex                                          02/22/2023         8-046-86773                           316.65
Fed Ex                                          03/01/2023         8-054-24720                           290.90
Fed Ex                                          03/08/2023         8-061-51429                           284.49
Fed Ex                                          03/15/2023         8-069-39034                           564.00
Fed Ex                                          03/22/2023         7682-7534-3                           236.12
Fed Ex                                          03/29/2023         8-083-61740                           316.78
Fed Ex                                          03/29/2023         8-083-61741                            14.81
Fed Ex                                          04/05/2023         8-090-57884                           356.41
Fed Ex                                          04/05/2023         8-090-57885                            17.77
Fed Ex                                          04/12/2023         8-098-39089                           149.47
Fink Bressack PLLC                              02/03/2023         FBHELIX-1016                         2,759.50
Fink Bressack PLLC                              04/01/2023         FBHELIX-1018                          491.25
Fink Bressack PLLC                              04/01/2023         FBHELIX-1017                         2,128.50
First Insurance Funding                         02/10/2023         02282023                             7,159.54
First Insurance Funding                         03/10/2023         03102023                             7,159.54
First Insurance Funding                         04/10/2023         04102023                             7,159.54
First Insurance Funding                         04/11/2023         04112023                             3,400.46
Fisher Healthcare                               01/12/2023         0432121A                            31,556.15
Fisher Healthcare                               01/13/2023         9494968/9454411B                      252.09
Fisher Healthcare          23-43403-mlo        01/13/2023
                                          Doc 303                9271121/9341111B
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Fisher Healthcare                                01/13/2023         9649135/9682145/9909A                2,956.29
Fisher Healthcare                                01/13/2023         9717082/9649136A                    19,974.91
Fisher Healthcare                                01/17/2023         9792159A                            15,975.00
Fisher Healthcare                                01/23/2023         9909335/0066246A                    16,099.24
Fisher Healthcare                                01/25/2023         9649135/9682145/9909B                 159.52
Fisher Healthcare                                02/01/2023         9989434                              4,900.47
Fisher Healthcare                                02/01/2023         9909335/0066246B                      198.50
Fisher Healthcare                                02/06/2023         0432121B                              117.15
Fisher Healthcare                                02/16/2023         0633242/0596375A                    11,144.16
Fisher Healthcare                                02/20/2023         0633243                             10,642.90
Fisher Healthcare                                02/21/2023         0670551                             21,268.40
Fisher Healthcare                                02/24/2023         0784945                              3,625.08
Fisher Healthcare                                03/01/2023         0903276                              1,165.23
Fisher Healthcare                                03/01/2023         0903275                              1,038.88
Fisher Healthcare                                03/01/2023         0820471                              2,972.68
Fisher Healthcare                                03/01/2023         0633242/0596375B                      233.22
Fisher Healthcare                                03/03/2023         0988783                              6,916.96
Fisher Healthcare                                03/08/2023         1108587                              2,896.70
Fisher Healthcare                                03/09/2023         9792159B                              172.89
Fisher Healthcare                                03/21/2023         1465444                              1,284.11
Fisher Healthcare                                03/23/2023         1547871                              3,089.96
Fisher Healthcare                                03/23/2023         1547870                              5,715.58
Fisher Healthcare                                04/03/2023         1827266                             10,515.20
Fisher Healthcare                                04/03/2023         1827265                               745.21
Fisher Healthcare                                04/04/2023         1863517                               219.42
Fisher Healthcare                                04/12/2023         2088904                               669.26
FrontRunnerHC Inc                                02/01/2023         20162651                             1,900.00
FrontRunnerHC Inc                                03/01/2023         20162880                             1,900.00
FrontRunnerHC Inc                                03/01/2023         20162193                             1,900.00
FrontRunnerHC Inc                                03/01/2023         20161477                            15,423.73
FrontRunnerHC Inc                                03/01/2023         20162421                             1,900.00
FrontRunnerHC Inc                                04/01/2023         20163099                             1,900.00
Gaylen Curtis                                    03/17/2023         03172023                              600.00
Gemini Lab Group                                 02/01/2023                                            245,000.00
Gemini Lab Group                                 03/01/2023                                            206,000.00
Gemini Lab Group                                 04/01/2023         04012023                           206,000.00
Gena's Timeless Cleaning, LLC
                            23-43403-mlo        01/15/2023
                                           Doc 303                017
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Gena's Timeless Cleaning, LLC                    02/01/2023         018                                  6,000.00
Gena's Timeless Cleaning, LLC                    02/15/2023         019                                  6,000.00
Gena's Timeless Cleaning, LLC                    03/01/2023         020                                  6,000.00
Gena's Timeless Cleaning, LLC                    03/15/2023         021                                  6,000.00
Gena's Timeless Cleaning, LLC                    04/01/2023         022                                  6,000.00
Generac Power                                    03/16/2023         03162023                               69.99
Gimbel, Reilly, Guerin & Brown LLP               02/22/2023                                              5,000.00
Google                                           02/01/2023         4652943166                             79.20
Google                                           03/01/2023         4673318813                             79.20
Google                                           04/01/2023         4691140425                             79.20
Great Lakes Express Delivery, LLC                02/01/2023         4753                                17,248.26
Great Lakes Express Delivery, LLC                02/01/2023         4684                                20,677.27
Great Lakes Express Delivery, LLC                02/01/2023         4525                                 8,675.00
Great Lakes Express Delivery, LLC                02/01/2023         4603                                 7,267.70
Great Lakes Express Delivery, LLC                04/03/2023         4838                                 1,485.00
Great Lakes Express Delivery, LLC                04/10/2023         4865                                  475.00
Health Equity                                    01/27/2023         01272023                               28.62
Health Equity                                    03/09/2023         03092023                              581.25
Health Equity                                    03/27/2023         03272023                              193.75
Health Equity                                    04/03/2023         04032023                              193.75
Henry Schein                                     01/12/2023         32827368                             1,722.45
Henry Schein                                     01/12/2023         32994313                             1,745.91
Henry Schein                                     01/13/2023         32989316                              200.46
Henry Schein                                     01/17/2023         32994315                              747.76
Henry Schein                                     01/17/2023         33172408                              729.15
Henry Schein                                     01/18/2023         33221058                              576.44
Henry Schein                                     01/18/2023         33221033                              417.94
Henry Schein                                     01/18/2023         33172199                              500.52
Henry Schein                                     01/18/2023         33172161                              662.18
Henry Schein                                     01/19/2023         33237570                            10,319.10
Henry Schein                                     01/19/2023         33237564                            15,804.27
Henry Schein                                     01/19/2023         33058405                              191.13
Henry Schein                                     01/24/2023         33172409                              144.56
Henry Schein                                     01/25/2023         33665013                              305.13
Henry Schein                                     01/26/2023         33665014                              249.39
Henry Schein                                     02/01/2023         34034883                             8,993.33
Henry Schein                23-43403-mlo        02/01/2023
                                           Doc 303                33682451
                                                       Filed 10/16/23    Entered 10/16/23 21:39:58       1,802.61
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                    Payee                     Payment Date              No.             Total
Henry Schein                              02/01/2023         33668373                           10,477.69
Henry Schein                              02/01/2023         33500900                             594.87
Henry Schein                              02/01/2023         33247019                             243.69
Henry Schein                              02/02/2023         34070540                            3,642.82
Henry Schein                              02/02/2023         34035671                            1,640.52
Henry Schein                              02/03/2023         34087735                            3,131.80
Henry Schein                              02/03/2023         33693815                             210.34
Henry Schein                              02/07/2023         34046742                             616.23
Henry Schein                              02/09/2023         34377132                             697.06
Henry Schein                              02/09/2023         34361191                             503.63
Henry Schein                              02/09/2023         34318106                            1,528.22
Henry Schein                              02/09/2023         33518069                             133.26
Henry Schein                              02/09/2023         33135517                             357.84
Henry Schein                              02/10/2023         34386641                            2,744.40
Henry Schein                              02/10/2023         34381162                           24,681.19
Henry Schein                              02/13/2023         34409302                            1,443.30
Henry Schein                              02/13/2023         34435399                             346.06
Henry Schein                              02/15/2023         33346271                             863.41
Henry Schein                              02/23/2023         34840009                             859.55
Henry Schein                              02/24/2023         34840010                             510.79
Henry Schein                              02/24/2023         34924801                             214.11
Henry Schein                              02/24/2023         34902414                             181.56
Henry Schein                              03/01/2023         34938697                             363.60
Henry Schein                              03/01/2023         34935268                            1,401.31
Henry Schein                              03/01/2023         34896214                           10,694.09
Henry Schein                              03/01/2023         34892624                            3,316.60
Henry Schein                              03/01/2023         34892598                             835.43
Henry Schein                              03/01/2023         34840020                             320.84
Henry Schein                              03/01/2023         34801995                            1,444.76
Henry Schein                              03/01/2023         34795504                            8,669.01
Henry Schein                              03/01/2023         34791668                              75.62
Henry Schein                              03/01/2023         34745947                            1,871.80
Henry Schein                              03/01/2023         34361192                             338.06
Henry Schein                              03/01/2023         34097758                            1,524.26
Henry Schein                              03/02/2023         35120624                             344.60
Henry Schein                              03/07/2023         34948089                             714.86
Henry Schein         23-43403-mlo        03/09/2023
                                    Doc 303                28232057
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                          Payee                     Payment Date                No.              Total
Henry Schein                                    03/10/2023         204147                                12,594.71
Henry Schein                                    03/10/2023         35466711                                197.59
Henry Schein                                    03/13/2023         35535324                                213.02
Henry Schein                                    03/13/2023         35500148                               1,088.02
Henry Schein                                    03/14/2023         35552507                                822.51
Henry Schein                                    03/17/2023         35749076                               4,821.76
Henry Schein                                    03/17/2023         35723715                               1,818.57
Henry Schein                                    03/20/2023         35795002                               1,302.78
Henry Schein                                    03/20/2023         35752372                                811.11
Henry Schein                                    03/21/2023         35795003                                 59.35
Henry Schein                                    03/21/2023         35789212                                538.80
Henry Schein                                    03/22/2023         35866537                                363.60
Henry Schein                                    04/01/2023         36108524                                531.72
Henry Schein                                    04/03/2023         36108525                                556.62
Henry Schein                                    04/04/2023         36288973                               4,698.83
Hogan Lovells US LLP                            02/01/2023         22200212564                           55,341.39
Hogan Lovells US LLP                            04/01/2023         22200218109                           22,648.87
Hogan Lovells US LLP                            04/01/2023         22200215490                           17,785.88
I Care MI, LLC                                  04/01/2023         INV-2022280                             409.00
IMCS, Inc.                                      01/16/2023         133059                                 3,700.00
IMCS, Inc.                                      02/09/2023         133393                                 3,704.00
IMCS, Inc.                                      02/22/2023         133566                                 3,708.00
IMCS, Inc.                                      04/01/2023         133955                                 3,709.00
Immunalysis Corporation                         01/16/2023         0198292-IN                             4,230.75
Immunalysis Corporation                         01/17/2023         0198338-IN                               65.35
Immunalysis Corporation                         01/17/2023         0198347-IN                             5,481.69
Immunalysis Corporation                         01/19/2023         0198463-IN                             2,062.61
Immunalysis Corporation                         01/24/2023         0198619-IN                             5,537.85
Immunalysis Corporation                         01/24/2023         0198608-IN                             5,497.35
Immunalysis Corporation                         02/01/2023         0198910-IN                             3,709.14
Immunalysis Corporation                         02/01/2023         0198948-IN                            10,613.34
Immunalysis Corporation                         02/01/2023         0198770-IN                              145.56
Immunalysis Corporation                         02/01/2023         0198725-IN                             1,639.29
Immunalysis Corporation                         02/01/2023         0198664-IN                              147.37
Immunalysis Corporation                         02/01/2023         0198556-IN                              348.80
Immunalysis Corporation                         02/03/2023         0198860-IN                              147.63
Immunalysis Corporation    23-43403-mlo        02/14/2023
                                          Doc 303                0199415-IN
                                                      Filed 10/16/23    Entered 10/16/23 21:39:58         4,549.33
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Immunalysis Corporation                          02/14/2023         01994414-IN                           5,780.53
Immunalysis Corporation                          02/20/2023         0199677-IN                            7,035.55
Immunalysis Corporation                          02/23/2023         0199831-IN                            3,876.80
Immunalysis Corporation                          03/01/2023         0200016-IN                             192.24
Immunalysis Corporation                          03/01/2023         0199837-IN                            5,280.89
Immunalysis Corporation                          03/01/2023         0199916-IN                             318.00
Immunalysis Corporation                          03/01/2023         0199829-IN                               42.40
Immunalysis Corporation                          03/08/2023         0200349-IN                            4,659.16
Immunalysis Corporation                          03/09/2023         0200449-IN                             201.14
Immunalysis Corporation                          03/13/2023         0200429-IN                            5,683.76
Immunalysis Corporation                          03/20/2023         0200713-IN                            7,730.55
Immunalysis Corporation                          03/22/2023         0200944-IN                             159.00
Immunalysis Corporation                          03/22/2023         35866537                               636.00
Immunalysis Corporation                          03/24/2023         0200959-IN                            1,485.54
Immunalysis Corporation                          03/27/2023         0201034-IN                            4,235.12
Immunalysis Corporation                          03/28/2023         0201096-IN                            1,899.35
Immunalysis Corporation                          04/01/2023         0201204-IN                               42.40
Immunalysis Corporation                          04/03/2023         0201321-IN                             188.22
INTEGRA Biosciences Corp.                        01/12/2023         233401064                             1,570.43
INTEGRA Biosciences Corp.                        02/01/2023         233403102                             1,770.53
INTEGRA Biosciences Corp.                        03/06/2023         233407673                             2,338.00
iOpen World Inc.                                 02/01/2023         02012023                             45,000.00
iOpen World Inc.                                 02/15/2023         02152023                            100,000.00
iOpen World Inc.                                 02/16/2023         02162023                             11,000.00
iOpen World Inc.                                 02/21/2023         02212023                             32,000.00
iOpen World Inc.                                 02/24/2023         02242023                             45,000.00
iOpen World Inc.                                 02/28/2023         02282023                             40,000.00
iOpen World Inc.                                 03/03/2023         03032023                             40,000.00
iOpen World Inc.                                 03/10/2023         03102023                             40,000.00
iOpen World Inc.                                 03/21/2023         03212023                             50,000.00
iOpen World Inc.                                 03/23/2023         03232023                             50,000.00
Iron Mountain                                    02/01/2023         HGJJ476                               1,634.74
Iron Mountain                                    03/01/2023         HHYR550                                942.62
James Grossi                                     01/13/2023         01132023                              1,527.80
James Grossi                                     01/17/2023         01172023                              5,212.67
James Grossi                                     01/18/2023         01182023                              2,500.00
James Grossi                23-43403-mlo        01/21/2023
                                           Doc 303                01212023
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                     Payee                     Payment Date              No.              Total
James Grossi                               01/23/2023         01232023                              103.69
James Grossi                               01/24/2023         01242023                             5,000.00
James Grossi                               01/25/2023         01252023                             2,500.00
James Grossi                               01/27/2023         01272023                               98.87
James Grossi                               01/27/2023                                              3,482.30
James Grossi                               01/28/2023         01312023                            11,589.39
James Grossi                               01/28/2023         01282023                             1,837.32
James Grossi                               02/09/2023         02092023                             2,500.00
James Grossi                               02/10/2023         02102023                              750.00
James Grossi                               02/13/2023         02132023                             5,000.00
James Grossi                               02/14/2023         02142023                             2,500.00
James Grossi                               02/21/2023         02212023                             5,000.00
James Grossi                               02/21/2023         02212023                             2,500.00
James Grossi                               02/24/2023         02242023                             1,836.32
James Grossi                               02/27/2023         02272023                              826.93
James Grossi                               03/01/2023         02282023                            13,000.00
James Grossi                               03/06/2023         03062023                             2,500.00
James Grossi                               03/06/2023         03062023                             5,000.00
James Grossi                               03/10/2023         03102023                             2,163.39
James Grossi                               03/15/2023         03152023                             7,500.00
James Grossi                               03/16/2023         03162023                             2,500.00
James Grossi                               03/24/2023         03242023                             7,500.00
James Grossi                               03/24/2023         03242023                             2,500.00
James Grossi                               03/31/2023         03312023                             2,500.00
James Pinckney                             03/21/2023         03212023                               10.88
Jeffrey Williamson                         01/12/2023         01122023                              461.43
Jobs Core Inc.                             01/19/2023         01192023                              449.00
Jobs Core Inc.                             02/21/2023         02212023                              449.00
Jobs Core Inc.                             03/19/2023         03192023                              449.00
La Marsa                                   02/10/2023         02102023                              249.63
Labcorp                                    02/01/2023         75333481                            32,528.88
LabPath Consulting                         02/01/2023         1404                                 1,500.00
LabPath Consulting                         03/01/2023         1411                                 1,500.00
LabPath Consulting                         04/01/2023         1399                                 3,000.00
LabPath Consulting                         04/01/2023         1417                                 1,500.00
LabSoft, Inc.                              01/16/2023         23116-1227-5467                       200.00
LabSoft, Inc.         23-43403-mlo        02/01/2023
                                     Doc 303                452-27088
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LabSoft, Inc.                                03/01/2023         452-27345                              95.00
LabSoft, Inc.                                04/01/2023         452-27615                            1,140.00
Labtek, Incorporated                         01/16/2023         13636                                1,789.78
Labtek, Incorporated                         01/16/2023         13637                                1,847.58
Labtek, Incorporated                         01/18/2023         13651                                 197.16
Labtek, Incorporated                         01/20/2023         13666                                  25.44
Labtek, Incorporated                         01/20/2023         13662                                 368.88
Labtek, Incorporated                         01/20/2023         13663                                 412.34
Labtek, Incorporated                         01/20/2023         13664                                2,010.26
Labtek, Incorporated                         01/20/2023         13665                                  63.60
Labtek, Incorporated                         02/01/2023         13694                                  18.02
Labtek, Incorporated                         02/01/2023         13686                                 184.44
Labtek, Incorporated                         02/01/2023         13685                                 696.92
Labtek, Incorporated                         02/06/2023         13717                                1,847.58
Labtek, Incorporated                         02/06/2023         13713                                2,221.20
Labtek, Incorporated                         02/10/2023         13737                                 395.88
Labtek, Incorporated                         02/10/2023         13738                                 957.18
Labtek, Incorporated                         02/12/2023         13740                                 179.14
Labtek, Incorporated                         02/18/2023         13766                                 263.94
Labtek, Incorporated                         02/18/2023         13765                                 368.88
Labtek, Incorporated                         02/18/2023         13764                                1,610.64
Labtek, Incorporated                         02/18/2023         13763                                 358.28
Labtek, Incorporated                         03/02/2023         13809                                1,847.58
Labtek, Incorporated                         03/02/2023         13808                                 184.44
Labtek, Incorporated                         03/02/2023         13807                                2,480.90
Labtek, Incorporated                         03/04/2023         13816                                 189.74
Labtek, Incorporated                         03/04/2023         13815                                 206.14
Labtek, Incorporated                         03/11/2023         13831                                 189.74
Labtek, Incorporated                         03/11/2023         13830                                 385.28
Labtek, Incorporated                         03/11/2023         13832                                 162.18
Labtek, Incorporated                         03/14/2023         13839                                 171.72
Labtek, Incorporated                         03/20/2023         13853                                1,874.58
Labtek, Incorporated                         03/20/2023         13855                                 190.80
Labtek, Incorporated                         03/20/2023         13854                                 630.43
Labtek, Incorporated                         03/27/2023         13884                                 571.84
Labtek, Incorporated                         04/02/2023         1392                                  190.80
Labtek, Incorporated    23-43403-mlo        04/02/2023
                                       Doc 303                13903
                                                   Filed 10/16/23       Entered 10/16/23 21:39:58    1,676.36
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Labtek, Incorporated                                  04/03/2023         13909                                   189.74
Labtek, Incorporated                                  04/03/2023         13908                                   179.14
Labtek, Incorporated                                  04/11/2023         13936                                   358.28
Labtek, Incorporated                                  04/11/2023         13940                                    33.92
Labtek, Incorporated                                  04/11/2023         13939                                   153.70
Labtek, Incorporated                                  04/11/2023         13937                                  1,874.58
Labtek, Incorporated                                  04/11/2023         13938                                   189.74
Landaal Packaging Systems                             03/27/2023         213196                                 1,490.27
Leasing Associates of Barrington, INC.                02/01/2023         1677234                                2,406.20
Leasing Associates of Barrington, INC.                03/01/2023         1680016                                2,406.20
Leasing Associates of Barrington, INC.                04/01/2023         1685524                                2,406.20
LGC Clinical Diagnostics, Inc.                        02/01/2023         90211985                               3,270.76
Liam Dillon                                           04/12/2023         04122023                              48,377.38
Life Technologies Corporation                         01/13/2023         77185592                               1,206.66
Life Technologies Corporation                         01/17/2023         40632466                              13,920.00
Life Technologies Corporation                         02/13/2023         77187553                               1,206.66
Life Technologies Corporation                         03/13/2023         77189432                               1,206.66
Lifepoint Informatics                                 02/01/2023         1184499                                 125.00
Lifepoint Informatics                                 02/01/2023         1184481                                 125.00
Lifepoint Informatics                                 02/01/2023         1184007                                1,125.00
Lifepoint Informatics                                 02/01/2023         1183997                                 200.00
Lifepoint Informatics                                 02/02/2023         1184461                                 500.00
Lifepoint Informatics                                 03/01/2023         1184558                                1,375.00
Lifepoint Informatics                                 03/01/2023         1184559                                 200.00
Lifepoint Informatics                                 04/01/2023         1185571                                 350.00
Lifepoint Informatics                                 04/01/2023         1185100                                 200.00
Lifepoint Informatics                                 04/01/2023         1185097                                1,500.00
Lippitt O'Keefe, PLLC                                 02/01/2023         13378                                 13,560.00
Lippitt O'Keefe, PLLC                                 02/01/2023         13273                                  1,452.50
Lisa Slagle                                           03/21/2023         03212023                                 12.95
Little Sonia Real Estate LLC                          02/01/2023                                                1,698.75
Little Sonia Real Estate LLC                          03/01/2023                                                1,698.75
Little Sonia Real Estate LLC                          04/01/2023                                                1,698.75
Lynne Dalius                                          04/04/2023         04042023                                129.25
MAC Pizza, LLC                                        02/01/2023                                                1,310.00
MAC Pizza, LLC                                        03/01/2023                                                1,310.00
MAC Pizza, LLC                   23-43403-mlo        04/01/2023
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Mark Beauchamp                                     03/14/2023         03012023                              25,000.00
Mass Mutual                                        01/28/2023                                                 811.28
Mass Mutual                                        02/28/2023                                                 811.28
Mass Mutual                                        03/28/2023                                                 811.28
Mclaren Medical Laboratory                         02/01/2023         MLMHEL123122                          17,292.73
Mclaren Medical Laboratory                         02/01/2023         MLMHEL013123                          16,680.42
Mclaren Medical Laboratory                         03/01/2023         MLMHEL022823                           3,359.64
Mclaren Medical Laboratory                         04/01/2023         MLMHEL033123                          34,766.54
MCW Partners, LLC                                  02/01/2023         63651                                     47.70
MCW Partners, LLC                                  02/28/2023         65339                                   302.10
MCW Partners, LLC                                  02/28/2023         65059                                     47.70
MCW Partners, LLC                                  03/31/2023         65501                                     47.70
Med Water Systems                                  01/12/2023         INV/2023/0130                             64.72
Med Water Systems                                  01/16/2023         INV/2023/0165                           355.00
Med Water Systems                                  02/16/2023         INV/2023/0561                           355.00
Med Water Systems                                  03/16/2023         INV/2023/0925                           355.00
Medcare MSO                                        03/01/2023         2779                                  84,367.97
Medcare MSO                                        03/01/2023         2759                                 137,832.01
Medcare MSO                                        04/01/2023         2848                                 101,733.61
Medcare MSO                                        04/01/2023         2833                                  33,694.09
Medicare                                           01/17/2023         01172023                                688.00
MedSpeed, LLC                                      02/03/2023         27877                                114,257.33
MedSpeed, LLC                                      02/03/2023         27877                                114,257.33
MedSpeed, LLC                                      03/07/2023         28166                                113,215.61
MedSpeed, LLC                                      04/05/2023         28330                                111,695.64
Mercedes Scientific                                01/16/2023         2670724                                 604.20
Mercedes Scientific                                01/16/2023         2670715                                1,812.60
Mercedes Scientific                                01/18/2023         2671783                                3,743.81
Mercedes Scientific                                01/23/2023         2673211                                 540.60
Mercedes Scientific                                01/25/2023         2674031                                 381.60
Mercedes Scientific                                02/01/2023         2675896                                 271.36
Mercedes Scientific                                02/01/2023         2675448                                 407.04
Mercedes Scientific                                02/01/2023         2675834                                2,759.95
Mercedes Scientific                                02/01/2023         2675201                                1,722.50
Mercedes Scientific                                02/01/2023         2675128                                 604.20
Mercedes Scientific                                02/07/2023         2678625                                 117.63
Mercedes Scientific           23-43403-mlo        02/13/2023
                                             Doc 303                2680082Entered 10/16/23 21:39:58
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Mercedes Scientific                                02/16/2023         2682030                               1,722.50
Mercedes Scientific                                02/16/2023         2681658                                311.10
Mercedes Scientific                                02/17/2023         2682059                               2,606.54
Mercedes Scientific                                02/20/2023         2682736                                254.40
Mercedes Scientific                                02/21/2023         2683261                                 16.94
Mercedes Scientific                                03/03/2023         2686978                               1,305.92
Mercedes Scientific                                03/10/2023         2689455                               1,927.04
Mercedes Scientific                                03/13/2023         2689657                               1,722.50
Mercedes Scientific                                03/15/2023         2690853                                380.90
Mercedes Scientific                                03/15/2023         2690897                                247.16
Mercedes Scientific                                03/16/2023         2691411                                 14.96
Mercedes Scientific                                03/16/2023         2691515                               2,092.79
Mercedes Scientific                                03/30/2023         2696773                                508.80
Mercedes Scientific                                04/03/2023         2697732                                 50.84
Mettler-Toledo Rainin, LLC                         03/01/2023         678911134                              441.61
Mettler-Toledo Rainin, LLC                         03/01/2023         678916676                             1,324.82
Mettler-Toledo Rainin, LLC                         03/01/2023         678937328                             1,970.46
Microgenics Corporation                            01/17/2023         976608                                2,305.64
Microgenics Corporation                            02/01/2023         977846                                2,305.97
Microgenics Corporation                            03/01/2023         983204                                5,923.91
Microsoft                                          02/09/2023         G019265007                             176.17
Microsoft                                          02/09/2023         G019148992                            1,402.59
Microsoft                                          02/10/2023         02102023                               245.23
Microsoft                                          02/10/2023         E0400M0F13                              49.95
Microsoft                                          02/10/2023         E0400M058M                              57.24
Microsoft                                          02/10/2023         E0400M083N                             302.40
Microsoft                                          02/10/2023         E0400M083M                             174.90
Microsoft                                          02/10/2023         E0400M0F14                              45.00
Microsoft                                          02/10/2023         E0400M0FY5                              23.32
Microsoft                                          02/10/2023         E0400M0F12                                8.00
Microsoft                                          02/10/2023         E0400M083L                                4.00
Microsoft                                          03/13/2023         E0400MEOQT                              57.24
Microsoft                                          03/13/2023         E0400MEOT7                             285.68
Microsoft                                          03/13/2023         G020578500                             160.29
Microsoft                                          03/13/2023         E0400MEPM8                              52.09
Microsoft                                          03/13/2023         E0400MEPSL                              45.00
Microsoft                     23-43403-mlo        03/13/2023
                                             Doc 303                E0400MEA6U
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                          Payee                         Payment Date                No.           Total
Microsoft                                           03/13/2023         E0400MEMLK                              8.00
Microsoft                                           03/13/2023         G020421376                          1,278.62
Microsoft                                           03/13/2023         E0400MEOT5                              4.00
Microsoft                                           04/09/2023         G021754075                           175.06
Microsoft                                           04/09/2023         G021419142                          1,405.72
Microsoft                                           04/10/2023         E0400MSNB1                            76.70
Mutual of Omaha                                     01/17/2023         001477736099                       10,054.04
Mutual of Omaha                                     01/17/2023         001477736098                         475.81
Mutual of Omaha                                     02/01/2023         001493925406                       10,309.31
Mutual of Omaha                                     03/01/2023         001493925407                         458.68
Mutual of Omaha                                     04/01/2023         001508962081                         458.68
Mutual of Omaha                                     04/01/2023         001508962080                        8,885.38
Netalytics                                          02/01/2023         2023-761                             750.00
Netalytics                                          03/01/2023         2023-1690                            750.00
Netalytics                                          04/01/2023         2023-2711                            750.00
Newbsknob, LLC                                      02/01/2023                                             2,875.00
Newbsknob, LLC                                      03/01/2023                                             2,875.00
Newbsknob, LLC                                      04/01/2023                                             2,875.00
O'Keefe LLC                                         04/12/2023         04122023                           10,000.00
OMG & The A Team Consulting, LLC                    03/01/2023         001                                 2,500.00
OMG & The A Team Consulting, LLC                    03/17/2023         002                                 1,000.00
Orchard Software Corporation                        02/01/2023         2021-14535                         13,320.00
Orchard Software Corporation                        02/01/2023         2020-12128                         12,000.00
Orchard Software Corporation                        02/01/2023         2021-14539                          7,685.00
Orchard Software Corporation                        02/01/2023         2020-12132                         12,720.00
Orchard Software Corporation                        02/03/2023         2021-14534B                         5,635.00
Orchard Software Corporation                        02/07/2023         2022-26274                          6,063.20
Orchard Software Corporation                        03/01/2023         2021-14540                          7,685.00
Orchard Software Corporation                        03/01/2023         2020-12133                         12,720.00
Orchard Software Corporation                        04/01/2023         2021-14541                          7,685.00
Paylocity                                           01/20/2023         INV1249575                          3,302.99
Paylocity                                           02/23/2023         INV1280665                          5,117.27
Paylocity                                           02/24/2023         02242023                             193.75
Paylocity                                           03/20/2023         INV1321322                          3,356.76
Payroll 02-03-2023                                  03/01/2023                                            49,765.96
Payroll 02-03-2023                                  03/01/2023         02032023                           85,195.99
Payroll 03-03-2023             23-43403-mlo        03/06/2023
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                     Payee                     Payment Date              No.               Total
Payroll 03-03-2023                         03/06/2023                                               28,320.68
Payroll 03-17-2023                         03/15/2023                                              134,562.35
Payroll 03-17-2023                         03/17/2023                                                 500.00
Payroll 03-31-2023                         03/31/2023         03312023                                252.38
Payroll 03-31-2023                         03/31/2023         03312023                              10,912.62
Phenomenex, Inc                            02/01/2023         CIUS-22050938                          8,045.40
Phenomenex, Inc                            02/01/2023         CIUS-22034812B                          345.77
Phenomenex, Inc                            04/01/2023         CIUS-23018689                         12,600.00
Pipedrive, Inc.                            01/25/2023         2427208                                   21.37
Pipedrive, Inc.                            02/05/2023         2438684                                 479.20
Pipedrive, Inc.                            03/05/2023         2470415                                 479.20
Pipedrive, Inc.                            04/07/2023         2502689                                 599.00
Pitney Bowes                               02/01/2023         01312023                                100.00
Polar Ice                                  01/13/2023         79558                                   170.00
Polar Ice                                  01/17/2023         79571                                   170.00
Polar Ice                                  01/24/2023         38169                                   170.00
Polar Ice                                  01/27/2023         38190                                   170.00
Polar Ice                                  02/01/2023         79588                                   170.00
Polar Ice                                  02/01/2023         38205                                   170.00
Polar Ice                                  02/03/2023         38226                                   170.00
Polar Ice                                  02/07/2023         79606                                   170.00
Polar Ice                                  02/10/2023         79626                                   170.00
Polar Ice                                  02/14/2023         79635                                   170.00
Polar Ice                                  02/21/2023         79671                                   170.00
Polar Ice                                  02/24/2023         79695                                   170.00
Polar Ice                                  03/01/2023         79711                                   170.00
Polar Ice                                  03/01/2023         79656                                   170.00
Polar Ice                                  03/03/2023         79727                                   170.00
Polar Ice                                  03/07/2023         79738                                   170.00
Polar Ice                                  03/10/2023         79754                                   170.00
Polar Ice                                  03/14/2023         79769                                   170.00
Polar Ice                                  03/17/2023         79786                                   170.00
Polar Ice                                  03/24/2023         79812                                   170.00
Polar Ice                                  03/28/2023         79823                                   170.00
Polar Ice                                  04/01/2023         79839                                   170.00
Polar Ice                                  04/01/2023         79798                                   170.00
Polar Ice             23-43403-mlo        04/04/2023
                                     Doc 303                79851
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Polar Ice                                          04/07/2023         79873                                 170.00
Polar Ice                                          04/11/2023         79886                                 170.00
Practice Fusion                                    01/19/2023         5500025099                            810.00
Practice Fusion                                    02/22/2023         5500025593                            946.00
Practice Fusion                                    04/01/2023         5500026016                           1,008.00
Predictive Health Diagnostics, Inc.                02/01/2023         2022-12-0527                         3,900.00
Principal Financial Group                          01/23/2023         01232023                             3,546.10
Principal Financial Group                          01/25/2023         01252023                             5,888.55
Principal Financial Group                          01/27/2023         01272023                             6,198.55
Principal Financial Group                          02/10/2023         02102023                             3,048.77
Principal Financial Group                          02/13/2023         02132023                             2,793.86
Principal Financial Group                          02/21/2023         02212023                             2,957.35
Principal Financial Group                          02/24/2023         02242023                             4,287.01
Principal Financial Group                          03/03/2023         03032023                             3,083.51
Principal Financial Group                          03/13/2023         03132023                             4,373.16
Principal Financial Group                          03/24/2023         03242023                             2,993.75
Principal Financial Group                          03/27/2023         03272023                             4,433.16
Principal Financial Group                          03/28/2023         03282023                              223.85
Principal Financial Group                          04/04/2023         04042023                             3,441.39
Recovery Pathways                                  02/01/2023                                               887.45
Recovery Pathways                                  03/01/2023                                               887.45
Recovery Pathways                                  04/01/2023                                               887.45
Regner Limited Trust Fund                          01/23/2023         01232023                             5,000.00
Rhoda Yoder                                        03/15/2023         03152023                               40.13
Robert N. Bassel, ESQ                              04/05/2023         04052023                             7,500.00
Rusas Printing, Inc.                               01/24/2023         2390                                  127.20
Rusas Printing, Inc.                               02/10/2023         2423                                   31.80
SAR Consulting Services, LLC                       02/01/2023                                              5,000.00
SAR Consulting Services, LLC                       03/01/2023                                              5,000.00
SAR Consulting Services, LLC                       04/01/2023                                              5,000.00
Sarah Markie                                       03/27/2023         03272023                               16.80
Shawna Willaeys                                    01/16/2023         1                                      29.97
Shelly Donovan                                     03/14/2023         03152023                               20.00
Siemens Healthcare Diagnostics                     02/03/2023         952903858                            1,190.04
Siemens Healthcare Diagnostics                     03/03/2023         952922594                            1,190.04
Siemens Healthcare Diagnostics                     04/03/2023         952944019                            1,190.04
Sigma-Aldrich Inc.            23-43403-mlo        01/12/2023
                                             Doc 303                558952593
                                                         Filed 10/16/23    Entered 10/16/23 21:39:58       1,991.66
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Silverman Consulting Inc.                         01/24/2023         SIL110944                            14,000.00
Silverman Consulting Inc.                         02/03/2023         SIL110945                            14,000.00
Silverman Consulting Inc.                         02/10/2023         SIL110946                            14,000.00
Silverman Consulting Inc.                         02/17/2023         SIL110948                            14,000.00
Silverman Consulting Inc.                         02/24/2023         SIL110953                            14,000.00
Silverman Consulting Inc.                         03/03/2023         SIL110954                            14,000.00
Silverman Consulting Inc.                         03/10/2023         SIL110959                            14,000.00
Silverman Consulting Inc.                         03/24/2023         SIL110977                            14,000.00
Solaris Diagnostics                               02/06/2023         4989                                   120.00
Solaris Diagnostics                               04/10/2023         5174                                   120.00
Spartan Wealth Management Inc.                    03/01/2023         03012023                              2,035.98
Square                                            04/01/2023         04012023                               140.00
Staples                                           01/18/2023         3528094545                             272.50
State of Michigan                                 02/09/2023         02092023                                25.00
Stericycle Inc                                    02/01/2023         4011524584                             157.94
Stericycle Inc                                    03/01/2023         4011593950                             186.84
Stericycle Inc                                    04/01/2023         4011662373                             186.84
StrengthPoint Advisors                            01/16/2023         CA-0577                              12,700.00
Superior Medical Waste Disposal                   02/01/2023         22673                                 2,977.00
Superior Medical Waste Disposal                   02/28/2023         22993                                 2,239.00
Superior Medical Waste Disposal                   04/01/2023         23262                                 2,428.00
Suzanne Diller                                    03/21/2023         03212023                                14.82
Sysmex America, Inc.                              01/12/2023         94580410                               580.13
Sysmex America, Inc.                              01/12/2023         94580169                               206.68
Sysmex America, Inc.                              01/13/2023         94581671                               703.12
Sysmex America, Inc.                              01/25/2023         94595359                              1,835.53
Sysmex America, Inc.                              02/02/2023         94607111                               206.98
Sysmex America, Inc.                              02/03/2023         94609182                               324.99
Sysmex America, Inc.                              02/12/2023         94625507                               580.13
Sysmex America, Inc.                              02/22/2023         94641807                               206.25
Sysmex America, Inc.                              02/23/2023         94643530                               759.35
Sysmex America, Inc.                              02/25/2023         94646875                              1,835.53
Sysmex America, Inc.                              03/10/2023         94665538                               208.94
Sysmex America, Inc.                              03/11/2023         94667143                               324.80
Sysmex America, Inc.                              03/12/2023         94667867                               580.13
Sysmex America, Inc.                              03/25/2023         94687707                              1,835.53
Sysmex America, Inc.         23-43403-mlo        04/12/2023
                                            Doc 303                94716677
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TASC                                                 01/25/2023         IN2651324                               693.59
TASC                                                 02/23/2023         IN2679225                               814.75
TASC                                                 03/25/2023         IN2707512                               707.80
Team Financial Group (ACH)                           02/06/2023         02062023/702691                        6,732.00
Tek-Pette                                            03/16/2023         TPA4943-44-45                          2,031.00
The Hartford                                         02/01/2023                                                6,265.50
The Hartford                                         02/14/2023         02142023                              12,558.00
The Hartford                                         03/28/2023         03282023                               5,912.06
The Hartford                                         03/28/2023         03282023                               6,262.50
The Medical Real Estate Group                        02/01/2023                                               47,828.06
The Medical Real Estate Group                        03/01/2023         03012023                              47,828.06
The Medical Real Estate Group                        04/01/2023                                               47,828.06
The Sports Marketing Agency, INC                     02/01/2023         02012023                             150,000.00
The Sports Marketing Agency, INC                     03/01/2023         03012023                             150,000.00
The Sports Marketing Agency, INC                     04/01/2023         04012023                             150,000.00
Translational Software, Inc.                         02/01/2023         7940                                   6,741.00
Translational Software, Inc.                         02/07/2023         7838B                                     60.15
Translational Software, Inc.                         03/01/2023         8016                                  10,670.00
Translational Software, Inc.                         04/01/2023         8085                                   9,970.00
Tri-City Treatment                                   02/01/2023                                                 308.58
Tri-City Treatment                                   03/01/2023                                                 308.58
Tri-City Treatment                                   04/01/2023                                                 308.58
Tricon Services LLC                                  02/20/2023         3506                                   3,135.00
UHY, LLP                                             02/21/2023         640444337                              2,690.00
UPS                                                  01/14/2023         00000604W0023                           529.15
UPS                                                  01/14/2023         0000070R21023                           964.84
UPS                                                  01/14/2023         000053XF87023                             18.00
UPS                                                  01/14/2023         0000W352F1023                             30.00
UPS                                                  01/14/2023         00005299W9023                             30.00
UPS                                                  01/14/2023         000005F64R023                             30.00
UPS                                                  01/14/2023         00003R5378023                             30.00
UPS                                                  01/28/2023         00000604W0043                           783.45
UPS                                                  01/28/2023         0000070R21043                          1,049.84
UPS                                                  01/28/2023         000053XF87043                             18.00
UPS                                                  01/28/2023         0000W352F1043                             30.00
UPS                                                  01/28/2023         00005299W9043                             30.00
UPS                             23-43403-mlo        01/28/2023
                                               Doc 303                000005F64R043
                                                           Filed 10/16/23    Entered 10/16/23 21:39:58          30.00 83 of 231
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UPS                                       01/28/2023         00003R5378043                        30.00
UPS                                       02/01/2023         0000W352F1033                        30.00
UPS                                       02/01/2023         00005299W9033                        30.00
UPS                                       02/01/2023         00000604W0033                       549.83
UPS                                       02/01/2023         000053XF87033                        18.00
UPS                                       02/01/2023         000005F64R033                        30.00
UPS                                       02/01/2023         00003R5378033                        30.00
UPS                                       02/01/2023         0000070R21033                      1,198.87
UPS                                       02/04/2023         0000W352F1053                        30.00
UPS                                       02/04/2023         00000604W0053                       720.88
UPS                                       02/04/2023         0000070R21053                      1,222.93
UPS                                       02/04/2023         000053XF87053                        18.00
UPS                                       02/04/2023         00005299W9053                        30.00
UPS                                       02/04/2023         000005F64R053                        30.00
UPS                                       02/04/2023         00003R5378053                        30.00
UPS                                       02/11/2023         00000604W0063                       677.55
UPS                                       02/11/2023         0000070R21063                      1,694.44
UPS                                       02/11/2023         000053XF87063                        18.00
UPS                                       02/11/2023         0000W352F1063                        30.00
UPS                                       02/11/2023         00005299W9063                        30.00
UPS                                       02/11/2023         000005F64R063                        30.00
UPS                                       02/11/2023         00003R5378063                        30.00
UPS                                       02/18/2023         00000604W0073                       641.39
UPS                                       02/18/2023         0000070R21073                      1,183.23
UPS                                       02/18/2023         000053XF87073                        18.00
UPS                                       02/18/2023         0000W352F1073                        30.00
UPS                                       02/18/2023         00005299W9073                        30.00
UPS                                       02/18/2023         000005F64R073                        30.00
UPS                                       02/18/2023         00003R5378073                        30.00
UPS                                       02/25/2023         00000604W0083                       371.60
UPS                                       02/25/2023         0000070R21083                      1,117.64
UPS                                       02/25/2023         000053XF87083                        18.00
UPS                                       02/25/2023         00005299W9083                        30.00
UPS                                       02/25/2023         0000W352F1083                        30.00
UPS                                       02/25/2023         000005F64R083                        30.00
UPS                                       02/25/2023         00003R5378083                        30.00
UPS                  23-43403-mlo        03/04/2023
                                    Doc 303                00000604W0093
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UPS                                       03/04/2023         0000070R21093                      1,841.52
UPS                                       03/04/2023         000053XF87093                        18.00
UPS                                       03/04/2023         0000W352F1093                        30.00
UPS                                       03/04/2023         00005299W9093                        30.00
UPS                                       03/04/2023         000005F64R093                        30.00
UPS                                       03/04/2023         00003R5378093                        30.00
UPS                                       03/11/2023         00000604W0103                       459.53
UPS                                       03/11/2023         0000070R21103                      1,285.48
UPS                                       03/11/2023         000053XF87103                        18.00
UPS                                       03/11/2023         0000W352F1103                        30.00
UPS                                       03/11/2023         00005299W9103                        30.00
UPS                                       03/11/2023         000005F64R103                        30.00
UPS                                       03/11/2023         00003R5378103                        30.00
UPS                                       03/18/2023         00000604W0113                       518.90
UPS                                       03/18/2023         0000070R21113                      1,099.62
UPS                                       03/18/2023         000053XF87113                        18.00
UPS                                       03/18/2023         0000W352F1113                        30.00
UPS                                       03/18/2023         00005299W9113                        30.00
UPS                                       03/18/2023         000005F64R113                        30.00
UPS                                       03/18/2023         00003R5378113                        30.00
UPS                                       03/25/2023         00000604W0123                       691.80
UPS                                       03/25/2023         0000070R21123                      1,520.40
UPS                                       03/25/2023         000053XF87123                        18.00
UPS                                       03/25/2023         0000W352F1123                        30.00
UPS                                       03/25/2023         00005299W9123                        30.00
UPS                                       03/25/2023         000005F64R123                        30.00
UPS                                       03/25/2023         00003R5378123                        30.00
UPS                                       04/01/2023         00000604W0133                       308.52
UPS                                       04/01/2023         0000070R21133                      1,072.08
UPS                                       04/01/2023         000053XF87133                        18.00
UPS                                       04/01/2023         00005299W9133                        30.00
UPS                                       04/01/2023         0000W352F1133                        30.00
UPS                                       04/01/2023         000005F64R133                        30.00
UPS                                       04/01/2023         00003R5378133                        30.00
UPS                                       04/08/2023         00000604W0143                       494.00
UPS                                       04/08/2023         0000070R21143                      1,189.81
UPS                  23-43403-mlo        04/08/2023
                                    Doc 303                000053XF87143
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UPS                                               04/08/2023          0000W352F1143                        30.00
UPS                                               04/08/2023          00005299W9143                        30.00
UPS                                               04/08/2023          000005F64R143                        30.00
UPS                                               04/08/2023          00003R5378143                        30.00
USA Scientific                                    03/01/2023          4801921846                         5,233.38
Verizon                                           02/12/2023          9925764962                          386.93
Verizon                                           03/01/2023          9928146355                          376.63
Vernon Yoder                                      03/15/2023          03152023                             30.42
Vistaprint                                        01/18/2023          01182023                           1,315.45
Viviano Flower Shop                               01/24/2023          01242023                            182.60
Wells Fargo Financial Leasing, Inc.               01/12/2023          5023467160                          103.86
Wells Fargo Financial Leasing, Inc.               01/13/2023          5023484634                          593.60
Wells Fargo Financial Leasing, Inc.               01/24/2023          5023606826                          669.35
Wells Fargo Financial Leasing, Inc.               01/25/2023          5023619186                          138.43
Wells Fargo Financial Leasing, Inc.               02/02/2023          5023728467                          488.21
Wells Fargo Financial Leasing, Inc.               02/09/2023          5023875164                           92.44
Wells Fargo Financial Leasing, Inc.               02/10/2023          5023887287                          717.53
Wells Fargo Financial Leasing, Inc.               02/21/2023          5024015113                          675.85
Wells Fargo Financial Leasing, Inc.               02/22/2023          5024027375                           68.76
Wells Fargo Financial Leasing, Inc.               03/02/2023          5024131506                          345.83
Wells Fargo Financial Leasing, Inc.               03/10/2023          5024266612                          103.86
Wells Fargo Financial Leasing, Inc.               03/14/2023          5024301392                          712.32
Wells Fargo Financial Leasing, Inc.               04/01/2023          5024511260                          380.42
Wells Fargo Financial Leasing, Inc.               04/01/2023          5024426347                           68.76
Wells Fargo Financial Leasing, Inc.               04/01/2023          5024426346                          669.35
Wells Fargo Financial Leasing, Inc.               04/11/2023          5024686622                          103.86
Wendy Hutton                                      03/01/2023          03012023                            181.56
Xavier Barber                                     03/06/2023          03062023                            111.36
Younis Enterprises                                02/01/2023                                             5,001.95
Younis Enterprises                                03/01/2023                                             5,001.95
Younis Enterprises                                04/01/2023                                             5,001.95


                                                                                           $     5,613,918.37




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United States Bankruptcy Court                  Ark Laboratory, LLC
Eastern District of Michigan                        Schedule B2
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                        Payee                  Payment Date               No.       Amount          Total


Bett Kimutai                                11/09/2022         11092022                2,423.20
Bett Kimutai                                11/17/2022         11-7                    1,211.60
Bett Kimutai                                12/03/2022         11222022                2,423.20
Bett Kimutai                                12/17/2022         12172022                2,423.20
Bett Kimutai                                01/01/2023         01012023                2,423.20
Bett Kimutai                                01/15/2023         01202023                2,423.20
Bett Kimutai                                02/01/2023         01292023                2,423.20
Bett Kimutai                                02/12/2023         01302023/02122023       2,432.20
Bett Kimutai                                02/13/2023         02132023/02262023       2,432.20
Bett Kimutai                                03/01/2023         02/27/23-03/12/23       1,817.40
Bett Kimutai                                03/31/2023         03262023                2,423.20
Bett Kimutai                                04/09/2023         03272023/04092023       2,423.20     27,279.00
Detroit Athletic Club                       08/01/2022         08282022                   507.00
Detroit Athletic Club                       08/01/2022         07282022                   448.00
Detroit Athletic Club                       11/01/2022         11012022                   473.00
Detroit Athletic Club                       12/08/2022         12082022                   498.00
Detroit Athletic Club                       03/15/2023         03152023                1,837.98      3,763.98
Eric Vasseur                                09/01/2022         000019                  2,685.00
Eric Vasseur                                11/22/2022         000036                  2,464.00      5,149.00
Hogan Lovells US LLP                        07/01/2022         22200189461             6,149.15
Hogan Lovells US LLP                        08/01/2022         22200192865            49,685.30
Hogan Lovells US LLP                        08/19/2022         22200195919            29,242.27
Hogan Lovells US LLP                        10/01/2022         22200198674            38,872.19
Hogan Lovells US LLP                        11/01/2022         22200203113            45,244.72
Hogan Lovells US LLP                        12/01/2022         22200206284            22,855.63
Hogan Lovells US LLP                        12/15/2022         22200208749            47,335.46
Hogan Lovells US LLP                        02/01/2023         22200212564            55,341.39
Hogan Lovells US LLP                        04/01/2023         22200218109            22,648.87
Hogan Lovells US LLP                        04/01/2023         22200215490            17,785.88    335,160.86
James Grossi                                04/14/2022         04142022                6,758.42
James Grossi                                04/22/2022         04222022                3,127.99
James Grossi                                05/02/2022         05022022                4,673.21
James Grossi                                05/20/2022         05202022                3,375.31
James Grossi                                06/01/2022         06012022                   800.00
James Grossi                                06/07/2022         06072022                2,362.46
James Grossi                                06/08/2022         06082022               12,826.21
James Grossi                                06/17/2022         06172022                4,893.22
James Grossi                                06/21/2022         06212022                3,310.91
James Grossi                                06/30/2022         06302022                3,893.65
James Grossi                                07/01/2022         07012022                1,836.41
James Grossi                                07/15/2022         07152022                2,190.00
James Grossi                                08/01/2022         08012022                   836.33
James Grossi                                08/11/2022         08112022                5,000.00
James Grossi                                08/30/2022         08302022                3,750.00
James Grossi                                12/09/2022         12092022                   816.67
James Grossi                                12/20/2022         12202022                5,000.00
James Grossi                                12/21/2022         12212022                4,978.00
James Grossi                                12/30/2022         12302022                4,738.84
James Grossi                                01/01/2023         12192022                5,000.00
James Grossi                                01/04/2023         01042023                5,000.00
James Grossi                                01/05/2023         01052023                2,500.00


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James Grossi                                  01/10/2023         01102023B               2,500.00
James Grossi                                  01/10/2023         01102023                2,000.00
James Grossi                                  01/11/2023         01112023                3,000.00
James Grossi                                  01/11/2023         01112023                1,147.64
James Grossi                                  01/13/2023         01132023                1,527.80
James Grossi                                  01/17/2023         01172023                5,212.67
James Grossi                                  01/18/2023         01182023                2,500.00
James Grossi                                  01/21/2023         01212023                   225.75
James Grossi                                  01/23/2023         01232023                   103.69
James Grossi                                  01/24/2023         01242023                5,000.00
James Grossi                                  01/25/2023         01252023                2,500.00
James Grossi                                  01/27/2023         01272023                    98.87
James Grossi                                  01/27/2023                                 3,482.30
James Grossi                                  01/28/2023         01312023               11,589.39
James Grossi                                  01/28/2023         01282023                1,837.32
James Grossi                                  02/09/2023         02092023                2,500.00
James Grossi                                  02/10/2023         02102023                   750.00
James Grossi                                  02/13/2023         02132023                5,000.00
James Grossi                                  02/14/2023         02142023                2,500.00
James Grossi                                  02/21/2023         02212023                5,000.00
James Grossi                                  02/21/2023         02212023                2,500.00
James Grossi                                  02/24/2023         02242023                1,836.32
James Grossi                                  02/27/2023         02272023                   826.93
James Grossi                                  03/01/2023         02282023               13,000.00
James Grossi                                  03/06/2023         03062023                2,500.00
James Grossi                                  03/06/2023         03062023                5,000.00
James Grossi                                  03/10/2023         03102023                2,163.39
James Grossi                                  03/15/2023         03152023                7,500.00
James Grossi                                  03/16/2023         03162023                2,500.00
James Grossi                                  03/24/2023         03242023                7,500.00
James Grossi                                  03/24/2023         03242023                2,500.00
James Grossi                                  03/31/2023         03312023                2,500.00    196,469.70
Law Offices of Brian M. Legghio               04/26/2022         04262022                7,500.00      7,500.00
Liam Dillon                                   10/01/2022         09142022                    90.00
Liam Dillon                                   04/12/2023         04122023               48,377.38     48,467.38
Lippitt O'Keefe, PLLC                         05/01/2022         12547                   3,910.00
Lippitt O'Keefe, PLLC                         06/01/2022         12461                   5,612.50
Lippitt O'Keefe, PLLC                         07/01/2022         12727                   1,020.00
Lippitt O'Keefe, PLLC                         07/01/2022         12649                   3,612.50
Lippitt O'Keefe, PLLC                         08/01/2022         12828                      356.00
Lippitt O'Keefe, PLLC                         10/01/2022         13011                   1,667.50
Lippitt O'Keefe, PLLC                         10/01/2022         12915                      489.64
Lippitt O'Keefe, PLLC                         02/01/2023         13378                  13,560.00
Lippitt O'Keefe, PLLC                         02/01/2023         13273                   1,452.50     31,680.64
Little Sonia Real Estate LLC                  12/01/2022         12012022                1,698.75
Little Sonia Real Estate LLC                  12/01/2022         11012022                1,698.75
Little Sonia Real Estate LLC                  01/01/2023                                 1,698.75
Little Sonia Real Estate LLC                  02/01/2023                                 1,698.75
Little Sonia Real Estate LLC                  03/01/2023                                 1,698.75
Little Sonia Real Estate LLC                  04/01/2023                                 1,698.75     10,192.50
Mark Beauchamp                                09/29/2022         09292022                7,000.00
Mark Beauchamp                                03/14/2023         03012023               25,000.00     32,000.00


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Life Technologies Corporation                      04/12/2021         79294438                $                2,096.15
OMG & The A Team Consulting, LLC                   04/12/2021                                                  1,000.00
StreamlineHR Services, LLC                         04/12/2021         HD-1061                                  1,512.34
Fisher Healthcare                                  04/13/2021         0523156                                  1,394.13
IMCS, Inc.                                         04/13/2021         125066                                   5,898.00
Detroit Free Press                                 04/14/2021         3376416                                 18,870.00
Edge Solutions                                     04/14/2021         5809                                      114.00
The Medical Real Estate Group                      04/14/2021                                                 29,700.00
BioPathogenix                                      04/15/2021         1207                                    67,500.00
Fisher Healthcare                                  04/15/2021         0849155                                  2,312.27
M-4 Enterprise                                     04/15/2021                                                 15,000.00
Robert Skalski                                     04/15/2021                                                  7,500.00
Unifirst Corporation                               04/15/2021         088 2292850                                 87.00
The Medical Real Estate Group                      04/16/2021         04162021                                45,855.67
Blue Care Network                                  04/19/2021         210970021864                            34,084.38
Blue Cross Blue Shield of Michigan                 04/19/2021         121540948                               10,142.47
Blue Cross Blue Shield of Michigan                 04/19/2021         121541220                               23,332.02
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       04/19/2021         10474332780                             11,228.87
Gerald Cain                                        04/19/2021                                                 20,000.00
OMG & The A Team Consulting, LLC                   04/19/2021                                                  1,000.00
Orchard Software Corporation                       04/19/2021         211405                                   3,823.50
Raghad Lepley, M.D.                                04/19/2021                                                 11,250.00
StrengthPoint Advisors                             04/19/2021         CA-0284                                 27,200.00
The Sports Marketing Agency, INC                   04/19/2021                                                 75,000.00
Ion Diagnostics Laboratories                       04/20/2021         Inv 0007                                 9,823.91
The Peninsula Fund VII, LP                         04/22/2021                                                114,657.53
Charbel Abou-Diwan                                 04/27/2021                                                   123.44
OMG & The A Team Consulting, LLC                   04/27/2021                                                  1,000.00
AB Sciex, LLC                                      04/28/2021         210159759                                 508.71
AB Sciex, LLC                                      04/28/2021         210162069                               11,687.97
BioPathogenix                                      04/28/2021         1211                                    61,250.00
BioPathogenix                                      04/28/2021         1198                                    38,000.00
BioPathogenix                                      04/28/2021         1192                                    32,000.00
Shore Pointe Services, LLC                         04/28/2021         264958                                   6,731.00
Deidra Denee Marshall                              04/30/2021                                                  5,000.00
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United States Bankruptcy Court                                     ARK LABORATORY, LLC
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Gemini Lab Group                                      04/30/2021                                                 176,000.00
Medline Industries, Inc.                              04/30/2021         1943657413                                1,050.31
Medline Industries, Inc.                              04/30/2021         1943495902                               29,173.57
Medline Industries, Inc.                              04/30/2021         1943421627                                1,554.19
Medline Industries, Inc.                              04/30/2021         1943421625                                 583.72
Medline Industries, Inc.                              04/30/2021         1943352616                                6,364.31
Medline Industries, Inc.                              04/30/2021         1943263676                                1,004.11
OMG & The A Team Consulting, LLC                      04/30/2021         Weekly                                    1,000.00
Optimal Care Associates LLC                           04/30/2021         Recurring                                20,000.00
Radar Consulting                                      04/30/2021                                                  60,000.00
Raghad Lepley, M.D.                                   04/30/2021         Recurring                                 3,750.00
The Sports Marketing Agency, INC                      04/30/2021                                                  75,000.00
AB Sciex, LLC                                         05/01/2021         210163852                                11,687.97
Abbott Laboratories                                   05/01/2021         830769656                                 1,060.00
Advance II                                            05/01/2021         51106                                     3,402.04
Advance II                                            05/01/2021         51083                                     1,306.91
Advance II                                            05/01/2021         51034                                      650.36
Amro Almradi MDPC PLLC                                05/01/2021                                                   2,000.00
BCC Distribution, Inc.                                05/01/2021         SOI0012141                                8,819.73
Bultynck & Co. CPA                                    05/01/2021         222098612                                 2,000.00
Change Healthcare                                     05/01/2021         1290323                                      79.00
Change Healthcare                                     05/01/2021         1359297                                      79.00
CI Web Design, Inc                                    05/01/2021         8462                                     20,275.75
College of American Pathologists                      05/01/2021         2521253                                   4,386.67
Edge Solutions                                        05/01/2021         5866                                       114.00
Evoqua Water Technologies LLC                         05/01/2021         904881717                                14,781.42
Fisher Healthcare                                     05/01/2021         6441831                                   5,086.73
Florida Healthcare Alliance, LLC                      05/01/2021                                                  48,000.00
Holly Manssur                                         05/01/2021         24                                        2,000.00
Kerkstra                                              05/01/2021         173003                                     141.30
Kerkstra                                              05/01/2021         171809                                     141.30
Labtek, Incorporated                                  05/01/2021         11491                                    19,107.00
Labtek, Incorporated                                  05/01/2021         11490                                     8,957.00
Med Water Systems                                     05/01/2021         2021/0936                                  355.00
Medcare MSO                                           05/01/2021         1872                                    148,732.60
Medline Industries, Inc.                              05/01/2021         1947431325                                 629.37
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Medline Industries, Inc.                           05/01/2021         1947281909                                 851.17
Medline Industries, Inc.                           05/01/2021         1947152831                                4,264.17
Medline Industries, Inc.                           05/01/2021         1947068293                                2,953.54
Medline Industries, Inc.                           05/01/2021         1946972686                                 169.59
Medline Industries, Inc.                           05/01/2021         1946972684                                2,306.54
Medline Industries, Inc.                           05/01/2021         1946972681                                 415.52
Medline Industries, Inc.                           05/01/2021         1946907139                                1,792.24
Medline Industries, Inc.                           05/01/2021         1946834264                                 661.47
Medline Industries, Inc.                           05/01/2021         1946834265                                 832.09
Nofar Law PLLC                                     05/01/2021         161727                                    4,730.00
Orchard Software Corporation                       05/01/2021         2021-12022                                1,251.25
Orchard Software Corporation                       05/01/2021         2021-12085                                4,647.50
Orchard Software Corporation                       05/01/2021         2021-12066                                7,425.00
Orchard Software Corporation                       05/01/2021         2021-12084                                4,000.00
Orchard Software Corporation                       05/01/2021         2020-12111                               12,720.00
Orchard Software Corporation                       05/01/2021         2021-12086                                3,000.00
Orchard Software Corporation                       05/01/2021         2021-11705                                3,832.50
Ottenwess, Taweel & Ottenwess, PLC                 05/01/2021                                                   2,110.00
Reliable Delivery                                  05/01/2021         218926                                     199.50
Restek Corporation                                 05/01/2021         Cd50173738                                 303.72
Restek Corporation                                 05/01/2021         CD50174107                                 564.77
Robert Skalski                                     05/01/2021         Recurring                                15,000.00
Rockford Leasing LLC                               05/01/2021         HELI 4.30.21                              1,165.10
StreamlineHR Services, LLC                         05/01/2021         HD-1062                                   1,379.50
TASC                                               05/01/2021         IN2012608                                  237.00
Uline                                              05/01/2021         133021064                                 1,082.75
Uline                                              05/01/2021         133082438                                 1,607.42
Uline                                              05/01/2021         132809481                                  200.62
Unifirst Corporation                               05/01/2021         088-2296558                                  89.62
Unifirst Corporation                               05/01/2021         088-2292850                                  87.00
Wells Fargo Financial Leasing, Inc.                05/01/2021         5014898354                                 470.83
Wells Fargo Financial Leasing, Inc.                05/01/2021         5014814292                                 557.80
Zef Scientific, Inc.                               05/01/2021         11212                                    22,381.00
Zef Scientific, Inc.                               05/01/2021         10547                                   133,200.00
AB Sciex, LLC                                      05/02/2021         21063895                                   508.71
Benkoff Health Law, PLLC                           05/02/2021         1975                                       504.00
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Dell Marketing LP c/o Lam, Lyn & Philip P.C.       05/02/2021         10481486832                              1,091.46
IMCS, Inc.                                         05/02/2021         124773                                   5,898.00
Advance II                                         05/03/2021         51007                                     484.13
Benkoff Health Law, PLLC                           05/03/2021         1916                                     2,556.00
Benkoff Health Law, PLLC                           05/03/2021         1855                                     2,916.00
Block Scientific, Inc.                             05/03/2021         68615                                    3,125.00
Cardinal Health                                    05/03/2021         1603156101                                114.55
Cerilliant Corporation                             05/03/2021         543160                                   1,540.70
Cerilliant Corporation                             05/03/2021         542977                                    267.00
Cerilliant Corporation                             05/03/2021         542161                                    133.10
Cerilliant Corporation                             05/03/2021         542165                                   3,438.10
Cerilliant Corporation                             05/03/2021         541462                                    480.40
Detroit Athletic Club                              05/03/2021         P598IR                                    301.00
Downey Brand                                       05/03/2021         559181                                   3,848.00
Downey Brand                                       05/03/2021         558889                                   3,864.00
Downey Brand                                       05/03/2021         557401                                   6,780.00
Downey Brand                                       05/03/2021         556610                                   8,382.00
Empirical Biosciences                              05/03/2021         4030                                    80,899.20
EZ Pro DElivery                                    05/03/2021         HLX0421B                                  136.87
I Care MI, LLC                                     05/03/2021         inv/2021/0267                              99.00
JSW Consulting, LLC                                05/03/2021         1067                                    12,500.00
JSW Consulting, LLC                                05/03/2021         1062                                    12,824.14
LabPath Consulting                                 05/03/2021         1270                                    13,000.00
StreamlineHR Services, LLC                         05/03/2021         HD-1064                                  1,120.96
Tri-City Treatment                                 05/03/2021         Recurring                                 925.74
UNUM Life Insurance Company of America             05/03/2021         0617343-701 0                              40.22
UNUM Life Insurance Company of America             05/03/2021         0648847-001 6                            1,134.70
UNUM Life Insurance Company of America             05/03/2021         0617343-002 6                            4,932.25
UNUM Life Insurance Company of America             05/03/2021         0617343-001 9                            6,042.68
V & C Investments                                  05/03/2021         Recurring                                1,100.00
AB Sciex, LLC                                      05/04/2021         210162140                                 508.71
AB Sciex, LLC                                      05/04/2021         210159706                               11,687.97
Axiom Diagnostics                                  05/04/2021         210223                                   2,366.94
Edge Solutions                                     05/04/2021         318724                                    838.16
Edge Solutions                                     05/04/2021         5710                                      114.00
Empirical Biosciences                              05/04/2021         3922                                    80,899.20
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Newbsknob, LLC                                     05/04/2021         Recurring                                 8,625.00
Orchard Software Corporation                       05/04/2021         2020-12109                               12,720.00
Orchard Software Corporation                       05/04/2021         2020-15768                                9,546.94
Restek Corporation                                 05/04/2021         CD50176703                                2,835.70
The Sports Marketing Agency, INC                   05/04/2021         Recurring                                75,000.00
The Sports Marketing Agency, INC                   05/04/2021         Replacement                              75,000.00
Uline                                              05/04/2021         133312821                                   54.17
Abbott Laboratories                                05/05/2021         830772350                                 1,213.00
Brian O. Tierney Living Trust                      05/05/2021         Recurring                                10,333.33
Cerilliant Corporation                             05/05/2021         544276                                    2,663.90
Concur Technologies, Inc                           05/05/2021         101600138456                              1,146.58
Concur Technologies, Inc                           05/05/2021         101100166526                              1,184.80
Fire Defense Equipment Company                     05/05/2021         092668                                     526.30
Global Office Solutions                            05/05/2021         PINV239916                                1,007.00
Henry Schein                                       05/05/2021         93339037                                 10,049.73
MedMatch                                           05/05/2021         11598                                    16,000.00
Nameer Kiminaia Trust                              05/05/2021         Recurring                                10,333.33
Change Healthcare                                  05/06/2021         1307908                                     79.00
Henry Schein                                       05/06/2021         93381136                                  4,539.03
Lisa Lindsay, C.F.N.P., MSN                        05/06/2021         Recurring                                 2,463.55
Medline Industries, Inc.                           05/06/2021         1947431326                               26,443.92
Superior Medical Waste Disposal                    05/06/2021         9016                                       336.00
The Medical Real Estate Group                      05/06/2021         Recurring                                31,323.42
Unifirst Corporation                               05/06/2021         088-2298428                                 87.00
Henry Schein                                       05/07/2021         93432352                                  1,463.58
Medline Industries, Inc.                           05/07/2021         1947842324                                 415.52
Medline Industries, Inc.                           05/07/2021         1947530978                                 335.36
Medline Industries, Inc.                           05/07/2021         1947530975                                 627.09
Medline Industries, Inc.                           05/07/2021         197530972                                  892.56
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       05/08/2021         10482350438                               5,810.17
Henry Schein                                       05/08/2021         92881563                                   321.58
Henry Schein                                       05/08/2021         92873395                                  3,868.98
Henry Schein                                       05/08/2021         92158856                                   534.14
Life Technologies Corporation                      05/10/2021         79428437                                 13,689.90
OMG & The A Team Consulting, LLC                   05/10/2021         Recurring                                 1,000.00
Peachstate Health Management                       05/10/2021         April-2021                                3,150.00
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                             Payee                    Payment Date                 No.               Total
StreamlineHR Services, LLC                         05/10/2021         HD-1065                                  1,243.11
Superior Medical Waste Disposal                    05/10/2021         9033                                        56.00
Superior Medical Waste Disposal                    05/10/2021         9037                                      364.00
Life Technologies Corporation                      05/11/2021         79438455                                67,456.28
StreamlineHR Services, LLC                         05/11/2021         HD-1063                                  1,501.88
BCC Distribution, Inc.                             05/12/2021         SOI0012234                               5,952.58
BioPathogenix                                      05/12/2021         1219                                    30,627.38
Blue Cross Blue Shield of Michigan                 05/12/2021         122811399                                9,958.05
Blue Cross Blue Shield of Michigan                 05/12/2021         122811642                               31,478.67
Empirical Biosciences                              05/12/2021         3988                                   161,798.40
Henry Schein                                       05/12/2021         93584460                                  283.71
Henry Schein                                       05/12/2021         93671728                                  698.40
Med Water Systems                                  05/12/2021         2021/0653                                 355.00
Mettler-Toledo Rainin, LLC                         05/12/2021         678623566                                   23.50
Recovery Pathways                                  05/12/2021                                                  2,662.35
Abbott Laboratories                                05/13/2021         830767499                                1,100.00
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       05/13/2021         10479812217                              7,379.82
Edge Solutions                                     05/13/2021         331493                                   2,063.71
Henry Schein                                       05/13/2021         93673747                                 1,396.83
Henry Schein                                       05/13/2021         93063248                                 1,251.60
Superior Medical Waste Disposal                    05/13/2021         9087                                        28.00
Superior Medical Waste Disposal                    05/13/2021         9089                                      596.00
Superior Medical Waste Disposal                    05/13/2021         9090                                        48.00
Unifirst Corporation                               05/13/2021         088-2300266                                 87.00
Advance II                                         05/14/2021         51149                                    2,127.85
Axiom Diagnostics                                  05/14/2021         210400                                   4,034.82
Comcast                                            05/14/2021         123031051                                 986.04
Labtek, Incorporated                               05/14/2021         11588                                     438.78
Medline Industries, Inc.                           05/14/2021         1948471704                               4,341.13
Medline Industries, Inc.                           05/15/2021         1948637451                                322.07
Alpha Cleaners LLC                                 05/16/2021         1172511                                  1,600.00
Alpha Cleaners LLC                                 05/16/2021         1172510                                  2,700.00
Cerilliant Corporation                             05/17/2021         546052                                   1,221.30
EZ Pro DElivery                                    05/17/2021         HED0521A                                    12.72
Fisher Healthcare                                  05/17/2021         6184458                                  1,383.93
StrengthPoint Advisors                             05/17/2021         CA-0301                                 26,200.00
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                             Payee                            Payment Date                 No.                Total
Deidra Denee Marshall                                      05/18/2021         Todd Roy request                          348.00
OMG & The A Team Consulting, LLC                           05/18/2021         Recurring                                1,000.00
Superior Medical Waste Disposal                            05/18/2021         9101                                      392.00
BioPathogenix                                              05/19/2021         1220                                    15,000.00
Downey Brand                                               05/19/2021         560663                                   2,568.00
Henry Schein                                               05/19/2021         93653401                                 8,642.10
Medline Industries, Inc.                                   05/19/2021         1948936843                                948.31
Medline Industries, Inc.                                   05/19/2021         1948933842                               5,329.71
UNUM Life Insurance Company of America                     05/19/2021         0617343-001 9 June 21                    6,568.48
Abbott Laboratories                                        05/20/2021         830774665                                1,000.00
American Express                                           05/20/2021                                                      3.06
BioPathogenix                                              05/20/2021         1222                                    21,000.00
Gerald Cain                                                05/20/2021         Recurring                               20,000.00
Life Technologies Corporation                              05/20/2021         79490150                                 3,708.45
Medline Industries, Inc.                                   05/20/2021         1949128464                                966.85
SeraCare Life Sciences, Inc dba LGC Clinical Diagnostics   05/20/2021         90147053                                 1,859.31
Superior Medical Waste Disposal                            05/20/2021         9141                                      280.00
Unifirst Corporation                                       05/20/2021         088-2302118                               123.68
Cerilliant Corporation                                     05/21/2021         546427                                    572.00
M-4 Enterprise                                             05/21/2021         Recurring                               15,000.00
Medline Industries, Inc.                                   05/21/2021         1949213129                                787.64
Medline Industries, Inc.                                   05/22/2021         1949381711                                786.15
Immunalysis Corporation                                    05/24/2021         0175605                                  3,266.18
James Grossi                                               05/24/2021         Reimbursement                           15,000.00
Life Technologies Corporation                              05/24/2021         79502644                                 2,904.93
OMG & The A Team Consulting, LLC                           05/24/2021         Recurring                                1,000.00
StreamlineHR Services, LLC                                 05/24/2021         HD-1067                                   972.77
Superior Medical Waste Disposal                            05/24/2021         9143                                      280.00
Wells Fargo Financial Leasing, Inc.                        05/24/2021         5015235616                               1,115.58
Aetna Better Health of Michigan                            05/25/2021         20202391                                50,370.53
Easter Seals of Michigan                                   05/25/2021         05252021                                  500.00
Fisher Healthcare                                          05/25/2021         7819513                                   449.04
Henry Schein                                               05/25/2021         93946916                                 7,775.21
Shore Pointe Services, LLC                                 05/25/2021         265048                                   2,358.50
Tek-Pette                                                  05/25/2021         TPC3220                                  1,980.00
George King Bio-Medical, Inc.                              05/26/2021         99465                                    1,503.75
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IMCS, Inc.                                          05/26/2021         125620                                     5,899.00
Life Technologies Corporation                       05/26/2021         79002538                                   5,715.52
Life Technologies Corporation                       05/26/2021         77145648                                  13,930.08
Life Technologies Corporation                       05/26/2021         79002547                                   5,862.37
Life Technologies Corporation                       05/26/2021         79280795                                  67,456.28
Life Technologies Corporation                       05/26/2021         79199959                                   1,454.85
Life Technologies Corporation                       05/26/2021         79162349                                    298.92
Life Technologies Corporation                       05/26/2021         79169619                                   1,055.76
Wells Fargo Financial Leasing, Inc.                 05/26/2021         5015245922                                  193.76
Abbott Laboratories                                 05/27/2021         830740978                                  1,213.00
Abbott Laboratories                                 05/27/2021         830768218                                  1,100.00
Blue Care Network                                   05/27/2021         211270032607                              26,900.61
Mettler-Toledo Rainin, LLC                          05/27/2021         678633813                                  1,535.85
Notre Dame Preparatory School                       05/27/2021                                                   10,000.00
TASC                                                05/27/2021         IN2030900                                   237.00
Unifirst Corporation                                05/27/2021         088-2303950                                 123.68
UNUM Life Insurance Company of America              05/27/2021         0617343-701 0 June 20                         40.22
UNUM Life Insurance Company of America              05/27/2021         0648847-001 6 July 21                       993.86
UNUM Life Insurance Company of America              05/27/2021         0617343-002 6 June                         4,653.87
AB Sciex, LLC                                       05/28/2021         210165502                                 11,480.99
AB Sciex, LLC                                       05/28/2021         210165524                                 53,194.81
Airport Boulevard Associates                        05/28/2021         Recurring                                  1,000.00
Auburn Hills Medical Properties, LLC                05/28/2021         Recurring                                   991.00
Darren Cain                                         05/28/2021         Recurring                                 26,000.00
Deidra Denee Marshall                               05/28/2021         Monthly                                    5,000.00
Edge Solutions                                      05/28/2021         344797                                     1,181.38
First Congregational Church                         05/28/2021         Monthly                                     200.00
Gemini Lab Group                                    05/28/2021         Monthly                                  176,000.00
Gerald Cain                                         05/28/2021         Bi Monthly                                20,000.00
Lapeer Health Properties, LLC                       05/28/2021         Recurring                                  1,500.00
Lisa Lindsay, C.F.N.P., MSN                         05/28/2021         Monthly                                     492.71
Michigan Institute of Medicine                      05/28/2021         Recurring                                  1,700.00
Michigan Pain Management Consultants, PC            05/28/2021         Recurring                                   581.25
Newbsknob, LLC                                      05/28/2021         Monthly                                    2,875.00
OMG & The A Team Consulting, LLC                    05/28/2021         Weekly                                     1,000.00
Optimal Care Associates LLC                         05/28/2021         Monthly                                   20,000.00
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Radar Consulting                                    05/28/2021         Monthly                                   60,000.00
Raghad Lepley, M.D.                                 05/28/2021         Monthly                                    3,750.00
Robert Skalski                                      05/28/2021         Monthly                                    7,500.00
Southgate Medical Group                             05/28/2021         Recurring                                   864.00
The Peninsula Fund VII, LP                          05/28/2021                                                  118,479.45
The Sports Marketing Agency, INC                    05/28/2021         Bi Monthly                                75,000.00
Unasource Health, LLC                               05/28/2021         Recurring                                   891.00
V & C Investments                                   05/28/2021         Recurring                                  1,100.00
WMSC                                                05/28/2021         Recurring                                   500.00
Zuehlke Iliades                                     05/28/2021         Recurring                                  4,050.00
Change Healthcare                                   05/31/2021         1376721                                       79.00
Detroit Athletic Club                               05/31/2021         3474350/51                                  301.00
LabPath Consulting                                  05/31/2021         1275                                       8,000.00
MCW Partners, LLC                                   05/31/2021         48045                                         47.70
StreamlineHR Services, LLC                          05/31/2021         HD-1068                                    1,133.20
Superior Medical Waste Disposal                     05/31/2021         8971                                          48.00
AB Sciex, LLC                                       06/01/2021         21065617                                  11,687.97
Abbott Laboratories                                 06/01/2021         830774665                                     60.00
Adrian College Athletics                            06/01/2021         1                                          1,300.00
American Proficiency Institute                      06/01/2021         583198                                      589.00
Arkstone Medical                                    06/01/2021         22064                                      3,875.00
Benkoff Health Law, PLLC                            06/01/2021         2022                                       2,736.00
Brian O. Tierney Living Trust                       06/01/2021         Recurring                                 10,333.33
Cash                                                06/01/2021                                                     225.00
CI Web Design, Inc                                  06/01/2021         8488                                        279.00
COLA Inc.                                           06/01/2021         A0078912                                   9,921.00
Fed Ex                                              06/01/2021         3-381-52837                                 142.18
Henry Schein                                        06/01/2021         EQ20123100139                             31,778.80
Holly Manssur                                       06/01/2021         25                                         2,000.00
JSW Consulting, LLC                                 06/01/2021         1073                                      12,500.00
Katt Medical                                        06/01/2021         HELIX 1002                                 1,939.80
Katt Medical                                        06/01/2021         HELIX 1001                                 1,421.84
Katt Medical                                        06/01/2021         HELIX 100masks                             5,300.00
Mettler-Toledo Rainin, LLC                          06/01/2021         678617356                                  1,535.85
Mettler-Toledo Rainin, LLC                          06/01/2021         678615916                                  2,937.26
Nameer Kiminaia Trust                               06/01/2021         Recurring                                 10,333.33
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Nofar Law PLLC                                      06/01/2021         1252                                     3,105.00
Orchard Software Corporation                        06/01/2021         2020-12112                              12,720.00
Practice Fusion                                     06/01/2021         5500014074                                690.00
Practice Fusion                                     06/01/2021         5500013395                                756.00
Practice Fusion                                     06/01/2021         5500012980                                728.00
Practice Fusion                                     06/01/2021         5500012595                                792.00
Practice Fusion                                     06/01/2021         5500012253                               1,524.00
Practice Fusion                                     06/01/2021         1000146538                               5,000.00
Recovery Pathways                                   06/01/2021         Recurring                                 887.45
Superior Medical Waste Disposal                     06/01/2021         8977                                       28.00
Superior Medical Waste Disposal                     06/01/2021         9155                                      428.00
Superior Medical Waste Disposal                     06/01/2021         9158                                       28.00
The Medical Real Estate Group                       06/01/2021         Recurring                               31,323.42
Thyssenkrupp Elevator Corporation                   06/01/2021         6000503088                               2,826.78
Tri-City Treatment                                  06/01/2021         Recurring                                 308.58
Uline                                               06/01/2021         135414046                                  89.24
Unifirst Corporation                                06/01/2021         1392294708                                 87.00
AB Sciex, LLC                                       06/02/2021         210165674                                 508.71
Advance II                                          06/02/2021                                                  3,545.82
EZ Pro DElivery                                     06/02/2021         HLX0521B                                   50.88
LaTorle Clark                                       06/02/2021                                                   116.59
Nofar Law PLLC                                      06/02/2021         161762                                   5,280.00
Superior Medical Waste Disposal                     06/02/2021         9194                                      336.00
Wells Fargo Financial Leasing, Inc.                 06/02/2021         5015350624                                816.66
BioPathogenix                                       06/03/2021         1230                                    50,000.00
Bridgeton Area Brothers United                      06/03/2021         email                                    5,800.00
Restek Corporation                                  06/03/2021         CD50184089                               1,670.45
Unifirst Corporation                                06/03/2021         1390001294                                121.77
Blue Cross Blue Shield of Michigan                  06/04/2021         124506543                               26,883.95
Blue Cross Blue Shield of Michigan                  06/04/2021         124506213                               19,441.89
Rusas Printing, Inc.                                06/04/2021         1432                                      492.90
Uline                                               06/04/2021         134573015                                1,399.96
Wheaton Partners (dba) CodeMap                      06/04/2021         17575                                     225.00
UPS                                                 06/05/2021         00003R378231                              132.00
Cerilliant Corporation                              06/07/2021         547305                                   1,635.30
Henry Schein                                        06/07/2021         94598143                                   48.35
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OMG & The A Team Consulting, LLC                      06/07/2021                                                 1,000.00
People 2.0 Global LP                                  06/07/2021         53300952                                7,696.00
StreamlineHR Services, LLC                            06/07/2021         HD-1069                                 1,012.38
Superior Medical Waste Disposal                       06/07/2021         9198                                     308.00
Blue Care Network                                     06/08/2021         211590066847                           28,909.49
Uline                                                 06/08/2021         134722109                                 48.94
BioPathogenix                                         06/09/2021         1234                                   95,000.00
Henry Schein                                          06/09/2021         94731507                                  59.38
Superior Medical Waste Disposal                       06/09/2021         9232                                      56.00
PODS Enterprises, LLC                                 06/10/2021         ZA67000134130                            220.94
Superior Medical Waste Disposal                       06/10/2021         9239                                     428.00
Superior Medical Waste Disposal                       06/10/2021         9240                                      48.00
Superior Medical Waste Disposal                       06/10/2021         9242                                      28.00
Uline                                                 06/10/2021         134813968                                901.02
Uline                                                 06/10/2021         134813906                                104.91
Unifirst Corporation                                  06/10/2021         1390003217                               121.77
Advance II                                            06/11/2021         51242                                   2,743.04
Henry Schein                                          06/11/2021         94842913                                  69.73
Abbott Laboratories                                   06/13/2021         830777470                               1,100.00
Axiom Diagnostics                                     06/14/2021         210497                                  4,056.99
Henry Schein                                          06/14/2021         94909797                                 194.78
Internal Revenue Service                              06/14/2021         CP162-12/31/19                           616.06
People 2.0 Global LP                                  06/14/2021         511004008                              35,000.00
StreamlineHR Services, LLC                            06/14/2021         HD-1070                                  623.00
Superior Medical Waste Disposal                       06/14/2021         9272                                     336.00
Superior Medical Waste Disposal                       06/14/2021         9266                                     256.00
Uline                                                 06/14/2021         134912608                                176.49
UNUM Life Insurance Company of America                06/14/2021         0617343-011-9 July21                    6,335.80
UNUM Life Insurance Company of America                06/14/2021         0617343-002-6 July                      4,813.92
UNUM Life Insurance Company of America                06/14/2021         0617343-701-0                             40.22
UNUM Life Insurance Company of America                06/14/2021         0648847-001-6                           1,044.16
Florida Healthcare Alliance, LLC                      06/15/2021                                                48,000.00
Gerald Cain                                           06/15/2021                                                20,000.00
OMG & The A Team Consulting, LLC                      06/15/2021                                                 1,000.00
The Sports Marketing Agency, INC                      06/15/2021                                                75,000.00
The Sports Marketing Agency, INC                      06/15/2021                                                75,000.00
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Alpha Cleaners LLC                                06/16/2021         1172547                                 1,600.00
Alpha Cleaners LLC                                06/16/2021         1172546                                 2,700.00
Med Water Systems                                 06/16/2021         INV/2021/1522                            355.00
TASC                                              06/16/2021         IN2044094                                100.00
TASC                                              06/17/2021         IN2048101                                237.00
Unifirst Corporation                              06/17/2021         1390005016                               121.77
Advance II                                        06/18/2021         51264                                    307.50
Allscripts Healthcare, LLC                        06/18/2021         4003665841                              1,289.81
Evoqua Water Technologies LLC                     06/18/2021         904953489                                460.79
Henry Schein                                      06/18/2021         95103763                                 386.40
Orchard Software Corporation                      06/18/2021         Quote6/18/21                            3,125.00
StrengthPoint Advisors                            06/20/2021         CA-0311                                26,800.00
Agena Bioscience, Inc.                            06/21/2021         9000135354                             23,340.94
Henry Schein                                      06/21/2021         95165596                                1,112.94
OMG & The A Team Consulting, LLC                  06/21/2021                                                 1,000.00
StreamlineHR Services, LLC                        06/21/2021         HD-1071                                  712.00
Superior Medical Waste Disposal                   06/21/2021         9346                                     224.00
Downey Brand                                      06/22/2021         561718                                  9,826.80
The Peninsula Fund VII, LP                        06/22/2021                                               114,657.53
Advanced Communication Technologies, Inc.         06/23/2021         Est 773                                 2,389.00
Amro Almradi MDPC PLLC                            06/24/2021         June 2021                               3,000.00
De Lage Landen Financial Services, Inc.           06/24/2021         72837163                                 300.21
Henry Schein                                      06/24/2021         95322209                                2,471.47
Unifirst Corporation                              06/24/2021         1390006861                               121.77
Wells Fargo Financial Leasing, Inc.               06/24/2021         5015654053                                 68.76
XPO Logistics                                     06/24/2021         607-545960                                 73.75
Advance II                                        06/25/2021         51285                                   3,156.00
Out of the Box Technologies, LLC (ACH)            06/25/2021         9944208                                  617.50
PODS Enterprises, LLC                             06/26/2021         ZA67000135641                            195.50
MIcroscope Solutions, Inc.                        06/27/2021         9989-MSI                                9,478.52
MIcroscope Solutions, Inc.                        06/27/2021         9990-MSI                                7,944.10
A-Fordable Plumbing & Mechanical                  06/28/2021         25136173                                1,400.00
Edge Solutions                                    06/28/2021         6136                                    3,543.86
Edge Solutions                                    06/28/2021         358082                                   996.38
Henry Schein                                      06/28/2021         95387613                                 701.37
Henry Schein                                      06/28/2021         95385936                                 553.25
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Mettler-Toledo Rainin, LLC                         06/28/2021         678651785                               1,535.85
OMG & The A Team Consulting, LLC                   06/28/2021                                                 1,000.00
StreamlineHR Services, LLC                         06/28/2021         HD-1072                                  623.00
Broadmoor Office, LLC                              06/29/2021         Lease Agreement                         6,000.00
Abbott Laboratories                                06/30/2021         830783416                               1,213.00
Detroit Athletic Club                              06/30/2021         June 2021                                914.32
EZ Pro DElivery                                    06/30/2021         HLX0621B                                   42.40
PODS Enterprises, LLC                              06/30/2021         ZA67000136085                            206.10
Reliable Delivery                                  06/30/2021         220944                                  9,906.26
Superior Medical Waste Disposal                    06/30/2021         9359                                     692.00
WTI Global, Inc.                                   06/30/2021         3679                                     700.00
6600 Highland, LLC                                 07/01/2021         101                                    17,057.87
AB Sciex, LLC                                      07/01/2021         210167545                              11,687.97
Airport Boulevard Associates                       07/01/2021                                                 1,000.00
Arkstone Medical                                   07/01/2021         22072                                   3,925.00
Auburn Hills Medical Properties, LLC               07/01/2021                                                  991.00
Benkoff Health Law, PLLC                           07/01/2021         2086                                   10,476.00
Brian O. Tierney Living Trust                      07/01/2021                                                10,333.33
Bultynck & Co. CPA                                 07/01/2021         222101725                               2,000.00
Cerilliant Corporation                             07/01/2021         535422                                   809.60
Darren Cain                                        07/01/2021                                                26,000.00
Deidra Denee Marshall                              07/01/2021                                                 5,000.00
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       07/01/2021         10499599569                             5,263.27
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       07/01/2021         10485270768                             1,165.83
Fire Alarm Services                                07/01/2021         FA210053                                 316.41
Fire Alarm Services                                07/01/2021         FA209969                                 566.50
Fire Alarm Services                                07/01/2021         FA209968                                 390.00
Gemini Lab Group                                   07/01/2021                                               176,000.00
Gerald Cain                                        07/01/2021                                                20,000.00
Holly Manssur                                      07/01/2021         26                                      2,000.00
John M. Peters, PLC                                07/01/2021         301                                     2,700.00
JSW Consulting, LLC                                07/01/2021         1078                                   12,500.00
LabPath Consulting                                 07/01/2021         1280                                    7,800.00
Labtek, Incorporated                               07/01/2021         11746                                    885.60
Labtek, Incorporated                               07/01/2021         11685                                    100.20
Labtek, Incorporated                               07/01/2021         11641                                   2,944.20
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Labtek, Incorporated                               07/01/2021         11426                                     2,973.80
Labtek, Incorporated                               07/01/2021         11298                                    24,804.00
Labtek, Incorporated                               07/01/2021         11297                                     2,539.20
Labtek, Incorporated                               07/01/2021         11245                                     2,247.70
Lapeer Health Properties, LLC                      07/01/2021                                                   1,500.00
Lisa Lindsay, C.F.N.P., MSN                        07/01/2021                                                    492.71
Medcare MSO                                        07/01/2021         1765                                    196,759.52
Michigan Pain Management Consultants, PC           07/01/2021                                                    581.25
Molecular BioProducts, Inc.                        07/01/2021         1193228                                    271.47
Molecular BioProducts, Inc.                        07/01/2021         1146372                                   2,760.30
Molecular BioProducts, Inc.                        07/01/2021         1134083                                    138.86
Molecular BioProducts, Inc.                        07/01/2021         1106748                                   2,467.00
Nameer Kiminaia Trust                              07/01/2021                                                  10,333.33
Netalytics                                         07/01/2021         2021-6623                                  500.00
Netalytics                                         07/01/2021         2021-6048                                  400.00
Netalytics                                         07/01/2021         2021-1255                                  500.00
Netalytics                                         07/01/2021         2021-0693                                  500.00
Newbsknob, LLC                                     07/01/2021                                                   2,875.00
Optimal Care Associates LLC                        07/01/2021                                                  20,000.00
Orchard Software Corporation                       07/01/2021         2021-13442                                 187.50
Orchard Software Corporation                       07/01/2021         2020-12113                               12,720.00
Peachstate Health Management                       07/01/2021         MAY 2021                                  2,100.00
PODS Enterprises, LLC                              07/01/2021         ZA67000133184                              206.10
PODS Enterprises, LLC                              07/01/2021         ZA67000132820                              195.50
PODS Enterprises, LLC                              07/01/2021         ZA67000131308                              220.94
PODS Enterprises, LLC                              07/01/2021         ZA67000130359                              206.10
PODS Enterprises, LLC                              07/01/2021         ZA67000130012                              195.50
PODS Enterprises, LLC                              07/01/2021         ZA67000128634                              220.94
PODS Enterprises, LLC                              07/01/2021         ZA67000127823                              206.10
PODS Enterprises, LLC                              07/01/2021         ZA67000127522                              195.50
PODS Enterprises, LLC                              07/01/2021         ZA67000126327                              220.94
Poleck Family Medicine                             07/01/2021                                                    500.00
Pure Psychiatry of Michigan PLLC                   07/01/2021         July 2021                                  705.70
Radar Consulting                                   07/01/2021                                                  60,000.00
Raghad Lepley, M.D.                                07/01/2021                                                   3,750.00
Recovery Pathways                                  07/01/2021                                                    887.45
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Robert Skalski                                     07/01/2021                                                7,500.00
StreamlineHR Services, LLC                         07/01/2021         HD-1066                                1,082.91
Superior Medical Waste Disposal                    07/01/2021         9359-1                                   28.00
Superior Medical Waste Disposal                    07/01/2021         9321                                    224.00
The Medical Real Estate Group                      07/01/2021                                               31,323.42
The Sports Marketing Agency, INC                   07/01/2021                                               75,000.00
Tri-City Treatment                                 07/01/2021                                                 308.58
Unasource Health, LLC                              07/01/2021                                                 891.00
Unifirst Corporation                               07/01/2021         1390008735                              121.77
Wachler and Associates, P.C.                       07/01/2021         18289-1                                1,356.00
Wachler and Associates, P.C.                       07/01/2021         18094-1                                1,862.50
Wachler and Associates, P.C.                       07/01/2021         18025-1                                1,750.44
Wachler and Associates, P.C.                       07/01/2021         18517                                  2,959.90
Wachler and Associates, P.C.                       07/01/2021         18426                                  3,532.93
Wachler and Associates, P.C.                       07/01/2021         18315                                  1,370.00
WMSC                                               07/01/2021                                                1,000.00
Zuehlke Iliades                                    07/01/2021                                                4,050.00
AB Sciex, LLC                                      07/02/2021         210167648                               508.71
Wells Fargo Financial Leasing, Inc.                07/02/2021         501576834                               691.66
UPS                                                07/03/2021         00003R5378271                           139.92
Waterford Township Treasurer                       07/03/2021         W-99-19-000-180                         680.03
Waterford Township Treasurer                       07/03/2021         W-99-17-000-390                         816.04
Blue Cross Blue Shield of Michigan                 07/04/2021         125982580                             32,350.23
Blue Cross Blue Shield of Michigan                 07/04/2021         125982291                             11,725.27
OMG & The A Team Consulting, LLC                   07/05/2021                                                1,000.00
StreamlineHR Services, LLC                         07/05/2021         HD-1073                                 645.25
AB Sciex, LLC                                      07/06/2021         210167785                              2,496.46
Abbott Laboratories                                07/06/2021         830782500                              1,213.00
BioPathogenix                                      07/06/2021         1254                                  22,500.00
Uline                                              07/06/2021         135766858                               213.63
6600 Highland, LLC                                 07/07/2021         102                                    1,415.75
CI Web Design, Inc                                 07/07/2021         8595                                    250.00
Formulatrix                                        07/07/2021         8859                                   2,106.95
Labtek, Incorporated                               07/07/2021         11759                                  1,000.00
Peachstate Health Management                       07/07/2021         June-2021                              3,450.00
Uline                                              07/07/2021         135852584                               265.55
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Uline                                                       07/07/2021         135842143                               222.27
Cole-Parmer                                                 07/08/2021         2724005                                 249.52
Downey Brand                                                07/08/2021         562232                                 7,232.06
Flow Business Solutions                                     07/08/2021         0003                                  40,000.00
James Grossi                                                07/08/2021         Reimb-2                               32,000.00
Uline                                                       07/08/2021         135902763                                99.59
Unifirst Corporation                                        07/08/2021         1390010577                              121.77
Advance II                                                  07/09/2021         51353                                  1,230.00
Advance II                                                  07/09/2021         51328                                  2,846.65
Blue Care Network                                           07/09/2021         211900076615                          34,651.67
Florida Healthcare Alliance, LLC                            07/10/2021                                               48,000.00
Gerald Cain                                                 07/10/2021                                               20,000.00
PODS Enterprises, LLC                                       07/10/2021         ZA67000137056                           220.94
Global Office Solutions                                     07/12/2021         PINV242832                             7,775.00
IMCS, Inc.                                                  07/12/2021         126188                                 5,899.00
Mercedes Scientific                                         07/12/2021         2479579                                 159.00
OMG & The A Team Consulting, LLC                            07/12/2021                                                1,000.00
Ottenwess, Taweel & Ottenwess, PLC                          07/12/2021         22618                                   490.00
StreamlineHR Services, LLC                                  07/12/2021         HD-1074                                 534.00
BioPathogenix                                               07/13/2021         1261                                  47,000.00
Henry Schein                                                07/13/2021         95961423                                958.15
Life Technologies Corporation                               07/13/2021         79744387                                744.12
TASC                                                        07/13/2021         IN2068422                               225.00
Uline                                                       07/13/2021         136057365                               850.67
Global Office Solutions                                     07/14/2021         PINV242965                              318.00
Henry Schein                                                07/14/2021         96086301                                817.44
Henry Schein                                                07/14/2021         95960271                                823.01
Abbott Laboratories                                         07/15/2021         830785545                              1,100.00
Comcast                                                     07/15/2021         126842014                              1,829.80
Denny's Heating, Cooling & Refrigeration Service Inc.       07/15/2021         S21141                                 1,310.01
Flow Business Solutions                                     07/15/2021         2nd Installment                       20,000.00
Henry Schein                                                07/15/2021         94985058                               1,298.67
James Grossi                                                07/15/2021         Reimb-3                               26,493.90
Life Technologies Corporation                               07/15/2021         79759919                                693.45
M-4 Enterprise                                              07/15/2021                                               15,000.00
MedMatch                                                    07/15/2021         11609                                 15,000.00
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Milestone Development & Construction              07/15/2021         21-85                                     2,800.00
The Sports Marketing Agency, INC                  07/15/2021                                                  75,000.00
Unifirst Corporation                              07/15/2021         1390012547                                 121.77
Wells Fargo Financial Leasing, Inc.               07/15/2021         5015929387                                 201.30
Alpha Cleaners LLC                                07/16/2021         1172571                                   1,600.00
Alpha Cleaners LLC                                07/16/2021         1172570                                   3,600.00
Henry Schein                                      07/16/2021         96237461                                   105.64
Med Water Systems                                 07/16/2021         INV/2021/1830                              355.00
TASC                                              07/18/2021         IN2075880                                  237.00
Henry Schein                                      07/19/2021         96237462                                  1,035.41
OMG & The A Team Consulting, LLC                  07/19/2021                                                   1,000.00
Thomas Scientific                                 07/19/2021         2339173                                    881.38
Abbott Laboratories                               07/20/2021         830786844                                 1,060.00
Anteater Pest Control                             07/20/2021         201576                                     200.00
Cole-Parmer                                       07/20/2021         2738292                                    228.49
Henry Schein                                      07/20/2021         96287532                                   426.71
Team Financial Group (ACH)                        07/20/2021         Agreement                                12,208.00
Mettler-Toledo Rainin, LLC                        07/21/2021         678666435                                 4,968.13
James Grossi                                      07/22/2021         Reimb-4                                  62,894.21
Petersen International Underwriters               07/22/2021         818785                                   49,250.00
The Peninsula Fund VII, LP                        07/22/2021                                                 118,479.45
Uline                                             07/22/2021         136459314                                  610.44
Advance II                                        07/23/2021         51379                                     3,052.74
Henry Schein                                      07/23/2021         96470667                                  1,696.27
Labtek, Incorporated                              07/23/2021         11806                                     6,466.00
Labtek, Incorporated                              07/23/2021         11805                                     1,848.50
Labtek, Incorporated                              07/23/2021         11804                                      364.64
Progressive Counters and Remodeling               07/23/2021         1334                                       750.00
StrengthPoint Advisors                            07/23/2021         CA-0328                                  14,500.00
Wells Fargo Financial Leasing, Inc.               07/23/2021         5016062400                                   68.76
Wells Fargo Financial Leasing, Inc.               07/23/2021         5016062399                                 557.78
Deborah Sabo                                      07/26/2021         July 2021                                  400.00
Henry Schein                                      07/26/2021         96546562                                  2,006.50
LabSoft, Inc.                                     07/26/2021         PO211213                                  1,750.00
OMG & The A Team Consulting, LLC                  07/26/2021                                                   1,000.00
Orchard Software Corporation                      07/26/2021         2021-14244                               35,300.00
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Uline                                              07/26/2021         136547085                                688.04
Beckman Coulter                                    07/27/2021         31291575                                5,165.13
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       07/27/2021         10506622465                             2,746.57
Flow Business Solutions                            07/27/2021         3rd Payment                            20,000.00
Global Office Solutions                            07/27/2021         PINV243578                              1,139.50
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       07/28/2021         10507141864                            13,483.37
Edge Solutions                                     07/28/2021         371901                                   995.39
Orchard Software Corporation                       07/28/2021         2021-14475                              2,502.50
Henry Schein                                       07/29/2021         96609273                                3,607.60
James Grossi                                       07/29/2021         reimb-5                                29,868.39
American Recycling                                 07/30/2021         105410                                   425.00
BioPathogenix                                      07/30/2021         1272                                   78,000.00
Uline                                              07/30/2021         136775514                                366.54
JSW Consulting, LLC                                07/31/2021         1083                                   12,500.00
MCW Partners, LLC                                  07/31/2021         48926                                      47.70
Reliable Delivery                                  07/31/2021         221870                                  7,896.27
Superior Medical Waste Disposal                    07/31/2021         9429                                    2,178.00
6600 Highland, LLC                                 08/01/2021                                                14,323.87
AB Sciex, LLC                                      08/01/2021         210169371                              11,687.97
Advanced Communication Technologies, Inc.          08/01/2021         1417                                    2,982.54
Airport Boulevard Associates                       08/01/2021                                                 1,000.00
Auburn Hills Medical Properties, LLC               08/01/2021                                                  991.00
Benkoff Health Law, PLLC                           08/01/2021         2142                                    3,564.00
Brian O. Tierney Living Trust                      08/01/2021                                                10,333.33
Cerilliant Corporation                             08/01/2021         550428                                  3,339.70
Cerilliant Corporation                             08/01/2021         550054                                  1,204.90
Cerilliant Corporation                             08/01/2021         546526                                   506.60
Cerilliant Corporation                             08/01/2021         543615                                   383.00
Cerilliant Corporation                             08/01/2021         543549                                  3,552.30
Cerilliant Corporation                             08/01/2021         543450                                   641.00
Cerilliant Corporation                             08/01/2021         535580                                  2,591.00
Darren Cain                                        08/01/2021                                                26,000.00
Deidra Denee Marshall                              08/01/2021                                                 5,000.00
Evoqua Water Technologies LLC                      08/01/2021         905013465                               1,287.00
Gemini Lab Group                                   08/01/2021                                               176,000.00
Gerald Cain                                        08/01/2021                                                20,000.00
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Henry Schein                                       08/01/2021         94446771                                   510.01
Henry Schein                                       08/01/2021         941529885                                 2,650.97
Lapeer Health Properties, LLC                      08/01/2021                                                   1,500.00
Lisa Lindsay, C.F.N.P., MSN                        08/01/2021                                                    492.71
Medcare MSO                                        08/01/2021                                                 194,483.82
Medcare MSO                                        08/01/2021         1657                                    125,818.05
Mutual of Omaha                                    08/01/2021         001239841954                               619.95
Nameer Kiminaia Trust                              08/01/2021                                                  10,333.33
Newbsknob, LLC                                     08/01/2021                                                   2,875.00
Optimal Care Associates LLC                        08/01/2021                                                  20,000.00
Orchard Software Corporation                       08/01/2021         2020-12114                               12,720.00
Pure Psychiatry of Michigan PLLC                   08/01/2021         August 2021                                705.70
Radar Consulting                                   08/01/2021                                                  60,000.00
Raghad Lepley, M.D.                                08/01/2021                                                   3,750.00
Recovery Pathways                                  08/01/2021                                                    887.45
Robert Skalski                                     08/01/2021                                                   7,500.00
Shalini Muralidhar                                 08/01/2021         8/01/2021                                  126.95
The Medical Real Estate Group                      08/01/2021                                                  31,323.42
The Sports Marketing Agency, INC                   08/01/2021                                                  75,000.00
Tri-City Treatment                                 08/01/2021                                                    308.58
Unasource Health, LLC                              08/01/2021                                                    891.00
WMSC                                               08/01/2021                                                    750.00
Zuehlke Iliades                                    08/01/2021         March 20, 2021                             592.96
Zuehlke Iliades                                    08/01/2021                                                   1,530.00
AB Sciex, LLC                                      08/02/2021         210169430                                  508.71
LabPath Consulting                                 08/02/2021         1286                                      3,000.00
OMG & The A Team Consulting, LLC                   08/02/2021                                                   1,000.00
Arkstone Medical                                   08/03/2021         22090                                     4,150.00
Orchard Software Corporation                       08/03/2021         2021-14521                               15,000.00
Axiom Diagnostics                                  08/04/2021         210648                                    3,662.90
Blue Cross Blue Shield of Michigan                 08/04/2021         127285253                                59,196.94
Blue Cross Blue Shield of Michigan                 08/04/2021         127284992                                15,314.09
Detroit Athletic Club                              08/04/2021         July 2021                                  348.02
Peachstate Health Management                       08/04/2021         JULY-2021                                 3,600.00
Restek Corporation                                 08/04/2021         CD50199480                                5,655.51
Uline                                              08/04/2021         136997959                                  645.17
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Abbott Laboratories                                         08/05/2021         830789913                               1,213.00
Healthcare Appraisers                                       08/05/2021         342569                                  2,000.00
Henry Schein                                                08/05/2021         97080132                                 444.76
Henry Schein                                                08/05/2021         97080050                                1,225.68
Henry Schein                                                08/05/2021         97079710                                 161.41
Henry Schein                                                08/05/2021         97079610                                2,756.00
Henry Schein                                                08/05/2021         97079465                                 271.72
Henry Schein                                                08/05/2021         97079510                                 321.17
Henry Schein                                                08/05/2021         97052944                                1,195.15
Medical Laboratory Solutions                                08/05/2021         0048357-IN                               994.71
Advance II                                                  08/06/2021         51426                                   1,967.58
eClinicalWorks, LLC                                         08/06/2021         0002195708                              5,300.00
Ottenwess, Taweel & Ottenwess, PLC                          08/06/2021         22658                                    315.00
Axiom Diagnostics                                           08/09/2021         210660                                   354.04
Cerilliant Corporation                                      08/09/2021         550879                                  5,500.50
Eye Fight for Kids                                          08/09/2021                                                10,000.00
Henry Schein                                                08/09/2021         97052946                                   10.29
Holly Manssur                                               08/09/2021         27                                      2,000.00
OMG & The A Team Consulting, LLC                            08/09/2021                                                 1,000.00
Blue Care Network                                           08/10/2021         212230028731                           26,178.38
Fisher Healthcare                                           08/10/2021         8025659                                 1,663.40
Gerald Cain                                                 08/10/2021                                                20,000.00
Mutual of Omaha                                             08/10/2021         001240854884                           12,545.19
Uline                                                       08/10/2021         137204732                                443.58
Denny's Heating, Cooling & Refrigeration Service Inc.       08/11/2021         Q12720                                 21,900.00
Fisher Healthcare                                           08/11/2021         8373123                                  893.19
James Grossi                                                08/11/2021         reimb-6                                 6,477.92
Life Technologies Corporation                               08/12/2021         77152280                                7,440.00
Mettler-Toledo Rainin, LLC                                  08/12/2021         678679421                               1,234.15
Wells Fargo Financial Leasing, Inc.                         08/12/2021         5016346661                                 76.30
Abbott Laboratories                                         08/13/2021         830717285                               1,100.00
BioPathogenix                                               08/13/2021         1283                                  130,000.00
James Grossi                                                08/13/2021         reimb-7                                 5,000.00
Sysmex America, Inc.                                        08/13/2021         93819450                                 389.03
Wells Fargo Financial Leasing, Inc.                         08/13/2021         5016356927                               718.60
Sysmex America, Inc.                                        08/14/2021         93822054                                1,324.48
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Sysmex America, Inc.                               08/14/2021         93822053                                647.58
Comcast                                            08/15/2021         128773379                               645.42
M-4 Enterprise                                     08/15/2021                                               15,000.00
The Sports Marketing Agency, INC                   08/15/2021                                               75,000.00
Alpha Cleaners LLC                                 08/16/2021         1172598                                 780.00
Mettler-Toledo Rainin, LLC                         08/16/2021         678680339                               341.00
OMG & The A Team Consulting, LLC                   08/16/2021                                                1,000.00
Out of the Box Technologies, LLC (ACH)             08/16/2021         9946973                                 526.50
The Medical Real Estate Group                      08/16/2021                                                9,069.36
Uline                                              08/16/2021         137416756                               525.72
Alex Scherle                                       08/17/2021                                                 800.00
Billy Newman                                       08/17/2021                                                 800.00
Brian Lopez                                        08/17/2021                                                 800.00
Chris Galle                                        08/17/2021                                                 800.00
Evan Noga                                          08/17/2021                                                 800.00
Henry Schein                                       08/17/2021         97543675                                452.14
James Grossi                                       08/17/2021         reimb-8                                5,450.00
John Dreer                                         08/17/2021                                                 800.00
Joseph Grossi                                      08/17/2021                                                 800.00
Life Technologies Corporation                      08/17/2021         77152535                               7,440.00
Nick Long                                          08/17/2021                                                 800.00
TASC                                               08/17/2021         IN2095242                               237.00
Thomas Scientific                                  08/17/2021         2371351                               73,438.30
Zack Stegmeyer                                     08/17/2021                                                 800.00
Downey Brand                                       08/19/2021         563842                                 3,576.00
Henry Schein                                       08/19/2021         97543676                                743.86
Life Technologies Corporation                      08/19/2021         79936515                               8,001.73
Abbott Laboratories                                08/20/2021         830780768                              1,060.00
Advance II                                         08/20/2021         51475                                   781.42
Henry Schein                                       08/20/2021         97597727                                856.62
Henry Schein                                       08/20/2021         97740889                                176.05
Henry Schein                                       08/20/2021         97740806                                950.29
Henry Schein                                       08/20/2021         97740683                                446.79
Henry Schein                                       08/20/2021         97740595                                339.20
Henry Schein                                       08/20/2021         97740494                               3,045.78
Henry Schein                                       08/20/2021         97740353                               2,316.15
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Henry Schein                                       08/20/2021         97739791                              20,224.98
Henry Schein                                       08/20/2021         97732561                              27,465.01
Out of the Box Technologies, LLC (ACH)             08/20/2021         9947560                                 292.50
Polar Ice                                          08/20/2021         76494B                                  110.00
Edge Solutions                                     08/22/2021         6388                                    622.77
StrengthPoint Advisors                             08/22/2021         CA-0341                               13,700.00
Cerilliant Corporation                             08/23/2021         551721                                  574.80
Henry Schein                                       08/23/2021         97786201                                160.69
IMCS, Inc.                                         08/23/2021         126771                                 5,899.00
OMG & The A Team Consulting, LLC                   08/23/2021                                                1,000.00
Polar Ice                                          08/23/2021         76515B                                  170.00
Henry Schein                                       08/24/2021         97851164                                343.96
Henry Schein                                       08/24/2021         97850979                               2,756.00
Henry Schein                                       08/24/2021         97850879                                895.11
Henry Schein                                       08/24/2021         97850709                                318.00
Rusas Printing, Inc.                               08/24/2021         1544                                   3,461.22
Wells Fargo Financial Leasing, Inc.                08/24/2021         5016488139                              557.79
Cole-Parmer                                        08/25/2021         2787435                                  92.18
Henry Schein                                       08/25/2021         97935586                                925.06
Henry Schein                                       08/25/2021         97935338                               1,060.00
JAMS, Inc.                                         08/25/2021         5840560                                3,850.00
Tek-Pette                                          08/25/2021         TPC32606162                            1,912.00
Wells Fargo Financial Leasing, Inc.                08/25/2021         5016498404                               68.76
Gerald Cain                                        08/26/2021                                               20,000.00
Lapeer Health Properties, LLC                      08/26/2021                                                1,500.00
Molecular BioProducts, Inc.                        08/26/2021         790159                                 2,300.00
Unifirst Corporation                               08/26/2021         1390023845                              121.77
College of American Pathologists                   08/27/2021         2550556                                 552.47
Henry Schein                                       08/27/2021         98053742                                499.69
Henry Schein                                       08/27/2021         98053551                                288.55
Henry Schein                                       08/27/2021         98053455                                173.19
Henry Schein                                       08/27/2021         98053419                              11,335.53
Henry Schein                                       08/27/2021         98053313                                720.97
Henry Schein                                       08/27/2021         98053225                                577.11
Henry Schein                                       08/27/2021         98053184                                477.00
Henry Schein                                       08/27/2021         98053113                                646.39
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Internal Revenue Service                           08/27/2021                                                 34,391.45
Labtek, Incorporated                               08/27/2021         11929                                     369.38
Mettler-Toledo Rainin, LLC                         08/27/2021         678687930                               10,119.27
Mettler-Toledo Rainin, LLC                         08/27/2021         678687931                                1,535.85
Polar Ice                                          08/27/2021         76542                                     170.00
Rusas Printing, Inc.                               08/27/2021         1551                                      227.90
Edge Solutions                                     08/28/2021         385248                                   1,239.62
Life Technologies Corporation                      08/29/2021         77153262                                 7,440.00
Axiom Diagnostics                                  08/30/2021         210731                                    193.28
Clean Air Testing, Inc                             08/30/2021         114475                                    503.10
Henry Schein                                       08/30/2021         97697979                                   52.66
Mercedes Scientific                                08/30/2021         2497574                                   185.50
People 2.0 Global LP                               08/30/2021         511004212                               14,000.00
Detroit Athletic Club                              08/31/2021         8312021                                   364.00
JSW Consulting, LLC                                08/31/2021         1088                                     6,250.00
Polar Ice                                          08/31/2021         76578                                     170.00
Reliable Delivery                                  08/31/2021         223052                                   5,517.04
Superior Medical Waste Disposal                    08/31/2021         10304                                     659.00
Superior Medical Waste Disposal                    08/31/2021         10085                                    2,532.00
6600 Highland, LLC                                 09/01/2021                                                 19,791.87
AB Sciex, LLC                                      09/01/2021         210169517                                2,777.66
AB Sciex, LLC                                      09/01/2021         210171218                               14,773.85
Airport Boulevard Associates                       09/01/2021                                                  1,000.00
Alpha Cleaners LLC                                 09/01/2021         1172621                                  2,400.00
Alpha Cleaners LLC                                 09/01/2021         1172611                                  3,600.00
Amro Almradi MDPC PLLC                             09/01/2021         July 2021                                3,000.00
Auburn Hills Medical Properties, LLC               09/01/2021                                                   991.00
Beckman Coulter                                    09/01/2021         4429749                                 18,730.00
Benkoff Health Law, PLLC                           09/01/2021         2198                                     3,636.00
Block Scientific, Inc.                             09/01/2021         69925                                    3,125.00
Brian O. Tierney Living Trust                      09/01/2021                                                 10,333.33
Darren Cain                                        09/01/2021                                                 26,000.00
Deidra Denee Marshall                              09/01/2021                                                  5,000.00
Detroit Pistons Basketball Company                 09/01/2021         LCAINV010585                            80,000.00
Easter Seals of Michigan                           09/01/2021                                                  6,276.00
Evoqua Water Technologies LLC                      09/01/2021         905053713                                1,287.00
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Fisher Healthcare                                  09/01/2021         0785622                                 1,379.17
Gemini Lab Group                                   09/01/2021                                               144,000.00
Gemini Lab Group                                   09/01/2021                                               176,000.00
Global Office Solutions                            09/01/2021         PINV242832                               466.50
Henry Schein                                       09/01/2021         98244887                                 147.36
Henry Schein                                       09/01/2021         98233841                               11,644.83
Henry Schein                                       09/01/2021         98201812                                 841.76
Holly Manssur                                      09/01/2021         28                                      2,000.00
Life Technologies Corporation                      09/01/2021         80003948                                 149.99
Lisa Lindsay, C.F.N.P., MSN                        09/01/2021                                                  492.71
Medcare MSO                                        09/01/2021         1946                                  167,188.74
Mutual of Omaha                                    09/01/2021         001254599826                           12,089.82
Mutual of Omaha                                    09/01/2021         001240854902                             618.86
Nameer Kiminaia Trust                              09/01/2021                                                10,333.33
Newbsknob, LLC                                     09/01/2021                                                 2,875.00
Omnitech Health, Inc.                              09/01/2021         US1128                                 10,250.00
Optimal Care Associates LLC                        09/01/2021                                                20,000.00
Orchard Software Corporation                       09/01/2021         2021-14522                              5,000.00
Orchard Software Corporation                       09/01/2021         2020-12115                             12,720.00
Orion Medical Solutions, LLC                       09/01/2021         Sept 2021                              35,000.00
Pure Psychiatry of Michigan PLLC                   09/01/2021                                                  705.70
Recovery Pathways                                  09/01/2021                                                  887.45
Robert Skalski                                     09/01/2021                                                 7,500.00
The Medical Real Estate Group                      09/01/2021                                                31,323.42
The Sports Marketing Agency, INC                   09/01/2021                                                75,000.00
Tri-City Treatment                                 09/01/2021                                                  308.58
Uline                                              09/01/2021         138159207                                101.95
Unasource Health, LLC                              09/01/2021                                                  891.00
VWR International, LLC                             09/01/2021         8804827216                              1,525.87
VWR International, LLC                             09/01/2021         8804403936                              1,175.19
VWR International, LLC                             09/01/2021         8804394091                              5,523.73
VWR International, LLC                             09/01/2021         8804253050                              3,221.97
VWR International, LLC                             09/01/2021         8803986723                              1,938.53
Wachler and Associates, P.C.                       09/01/2021         18691                                    272.50
Wachler and Associates, P.C.                       09/01/2021         18599                                   2,090.00
Zuehlke Iliades                                    09/01/2021                                                 1,530.00
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AB Sciex, LLC                                               09/02/2021         210171289                                508.67
Arkstone Medical                                            09/02/2021         22112                                   5,000.00
MedMatch                                                    09/02/2021         11615                                  30,000.00
Advance II                                                  09/03/2021         991.42                                   991.42
De Lage Landen Financial Services, Inc.                     09/03/2021         15221119                                 716.11
Global Industrial                                           09/03/2021         118680969                              26,108.82
Henry Schein                                                09/03/2021         98244886                                5,748.04
LabPath Consulting                                          09/03/2021         1294                                    8,000.00
Orchard Software Corporation                                09/03/2021         2021-15192                              3,312.50
Polar Ice                                                   09/03/2021         76611B                                   170.00
Abbott Laboratories                                         09/05/2021         830795732                               1,213.00
Blue Cross Blue Shield of Michigan                          09/05/2021         129013398                              43,656.18
Blue Cross Blue Shield of Michigan                          09/05/2021         129013107                               5,938.39
Amro Almradi MDPC PLLC                                      09/07/2021         Aug/Sept 2021                           6,000.00
Axiom Diagnostics                                           09/07/2021         210753                                  2,958.15
BioPathogenix                                               09/07/2021         1304                                  103,000.00
Blue Care Network                                           09/07/2021         212500069243                           28,518.00
Polar Ice                                                   09/07/2021         76743B                                   170.00
Polar Ice                                                   09/07/2021         76630B                                   170.00
Labtek, Incorporated                                        09/08/2021         11962                                   2,104.60
Labtek, Incorporated                                        09/08/2021         11964                                   1,000.00
Michigan Power Systems                                      09/08/2021         10954                                   3,612.57
Cole-Parmer                                                 09/09/2021         2806769                                  136.74
Denny's Heating, Cooling & Refrigeration Service Inc.       09/09/2021         S21941                                     71.25
Denny's Heating, Cooling & Refrigeration Service Inc.       09/09/2021         S21935                                   237.50
Everest Collegiate High School & Academy                    09/09/2021                                                 5,000.00
Data Innovations, LLC                                       09/10/2021         84811                                   1,590.00
Downey Brand                                                09/10/2021         564589                                  9,759.58
Peachstate Health Management                                09/10/2021         August-2021                             4,350.00
Polar Ice                                                   09/10/2021         76649B                                   170.00
Wells Fargo Financial Leasing, Inc.                         09/10/2021         5016754011                                 76.30
Abbott Laboratories                                         09/13/2021         830796856                               1,100.00
Detroit Pistons Basketball Company                          09/13/2021                                                10,000.00
Labtek, Incorporated                                        09/13/2021         12006                                   2,671.20
Labtek, Incorporated                                        09/13/2021         11980                                   1,573.54
Shalini Muralidhar                                          09/13/2021         9.13.21                                  225.37
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Wachler and Associates, P.C.                       09/13/2021         18799                                  2,912.50
Wells Fargo Financial Leasing, Inc.                09/13/2021         5016780557                              593.60
Polar Ice                                          09/14/2021         76723                                   170.00
Abbott Laboratories                                09/15/2021         830789897                              5,795.00
Comcast                                            09/15/2021         130724123                              1,147.35
Gerald Cain                                        09/15/2021                                               20,000.00
M-4 Enterprise                                     09/15/2021                                               15,000.00
Data Innovations, LLC                              09/16/2021         76526-1                                  90.00
Data Innovations, LLC                              09/16/2021         76526                                  1,500.00
Labtek, Incorporated                               09/16/2021         12002                                  1,490.37
Advance II                                         09/17/2021         51575                                  1,669.57
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       09/17/2021         10519565650                            1,464.83
I Care MI, LLC                                     09/17/2021         INV/2021/0569                          1,560.00
TASC                                               09/17/2021         IN2138639                               237.00
Uline                                              09/17/2021         13798240                                387.73
StrengthPoint Advisors                             09/19/2021         CA-0354                               13,300.00
Abbott Laboratories                                09/20/2021         830798821                              1,060.00
Labtek, Incorporated                               09/20/2021         12007                                  5,369.40
Mutual of Omaha                                    09/20/2021         001256996793                          12,437.22
Mutual of Omaha                                    09/20/2021         001256996792                            648.49
Uline                                              09/20/2021         138847143                               437.36
Henry Schein                                       09/21/2021         99051505                                 75.64
Henry Schein                                       09/21/2021         Late Fees                               109.53
Polar Ice                                          09/21/2021         76761                                   170.00
Henry Schein                                       09/22/2021         99051507                                779.27
Uline                                              09/22/2021         138981911                               248.17
James Grossi                                       09/23/2021         reimb-9                               17,710.70
Wells Fargo Financial Leasing, Inc.                09/23/2021         5016904524                              557.79
Mettler-Toledo Rainin, LLC                         09/24/2021         678704168                              1,535.85
Polar Ice                                          09/24/2021         76781                                   170.00
Wells Fargo Financial Leasing, Inc.                09/24/2021         5016915132                              137.52
Labtek, Incorporated                               09/27/2021         12036                                  3,909.78
Labtek, Incorporated                               09/27/2021         12035                                  2,671.20
Uline                                              09/27/2021         139174772                              1,099.52
Edge Solutions                                     09/28/2021         397679                                 1,419.78
Labtek, Incorporated                               09/28/2021         12047                                   816.48
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Polar Ice                                          09/28/2021         76798B                                  170.00
Rusas Printing, Inc.                               09/28/2021         1601                                    238.50
Labtek, Incorporated                               09/29/2021         12053                                   737.76
Cerilliant Corporation                             09/30/2021         553997                                 1,527.20
Detroit Athletic Club                              09/30/2021         3600594/95                              314.00
Healthcare Appraisers                              09/30/2021         343777                                 2,250.00
Mayo Collaborative Services                        09/30/2021         7041224-093021                         8,654.00
Molecular BioProducts, Inc.                        09/30/2021         790259                                 1,480.00
Rockford Leasing LLC                               09/30/2021         6100036954                             1,737.50
Superior Medical Waste Disposal                    09/30/2021         10527                                  1,476.00
Advance II                                         10/01/2021         51646                                  5,725.89
Advance II                                         10/01/2021         51625                                  1,288.07
Alcor Scientific                                   10/01/2021         96840                                  2,740.00
Alpha Cleaners LLC                                 10/01/2021         1172582                                2,400.00
Alpha Cleaners LLC                                 10/01/2021         1172650                                2,400.00
Alpha Cleaners LLC                                 10/01/2021         1172600                                1,661.54
Alpha Cleaners LLC                                 10/01/2021         1172654                                 780.00
Alpha Cleaners LLC                                 10/01/2021         1172638                                3,600.00
Axiom Diagnostics                                  10/01/2021         210818                                 1,292.71
Evoqua Water Technologies LLC                      10/01/2021         905095819                              1,287.00
Hill Clinic, LLC.                                  10/01/2021         10012021                               4,000.80
Holly Manssur                                      10/01/2021         29                                     2,000.00
Immunalysis Corporation                            10/01/2021         0180352-IN                             2,188.30
Immunalysis Corporation                            10/01/2021         0176550-IN                             5,451.42
Immunalysis Corporation                            10/01/2021         0173288-IN                             4,240.00
Immunalysis Corporation                            10/01/2021         0173164-IN                             2,187.24
Labtek, Incorporated                               10/01/2021         11886                                  7,833.90
Labtek, Incorporated                               10/01/2021         11885                                  1,144.80
Labtek, Incorporated                               10/01/2021         11884                                  5,639.20
Labtek, Incorporated                               10/01/2021         11831                                  3,660.68
Life Technologies Corporation                      10/01/2021         80138737                              67,481.23
Life Technologies Corporation                      10/01/2021         79992507                               2,746.46
Life Technologies Corporation                      10/01/2021         79875560                              67,481.23
Life Technologies Corporation                      10/01/2021         79732379                                956.12
Molecular Biology Products, Inc.                   10/01/2021         790259                                 1,480.00
Molecular Biology Products, Inc.                   10/01/2021         790159                                 2,300.00
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Orchard Software Corporation                       10/01/2021         2021-14523                             5,000.00
Orchard Software Corporation                       10/01/2021         2020-12116                            12,720.00
Polar Ice                                          10/01/2021         76818                                   170.00
SiriusIQ Mobile, LLC.                              10/01/2021         2429                                   2,500.00
Superior Medical Waste Disposal                    10/01/2021         10278                                  3,284.00
Unifirst Corporation                               10/01/2021         1392281735                                87.00
Unifirst Corporation                               10/01/2021         1390033066                              133.35
Unifirst Corporation                               10/01/2021         1390031238                              133.35
Unifirst Corporation                               10/01/2021         1390029464                              133.35
Unifirst Corporation                               10/01/2021         1390027659                              121.77
Unifirst Corporation                               10/01/2021         1390025773                              121.77
Unifirst Corporation                               10/01/2021         1390021891                              121.77
Unifirst Corporation                               10/01/2021         1390020088                              121.77
Unifirst Corporation                               10/01/2021         1390018288                              121.77
Unifirst Corporation                               10/01/2021         1390016488                              121.77
Unifirst Corporation                               10/01/2021         1390014644                              121.77
Wells Fargo Financial Leasing, Inc.                10/01/2021         5017000613                              220.83
AB Sciex, LLC                                      10/02/2021         210173949                            215,824.27
Benkoff Health Law, PLLC                           10/02/2021         2556                                   2,772.00
Arkstone Medical                                   10/04/2021         22136                                  7,150.00
Axiom Diagnostics                                  10/04/2021         210829                                  128.54
IMCS, Inc.                                         10/04/2021         127277                                 5,899.00
LabPath Consulting                                 10/04/2021         1300                                   3,000.00
Life Technologies Corporation                      10/04/2021         80157585                                999.58
People 2.0 Global LP                               10/04/2021         511004326                             12,400.00
Uline                                              10/04/2021         139499903                               447.20
Abbott Laboratories                                10/05/2021         830802157                              1,213.00
Blue Cross Blue Shield of Michigan                 10/05/2021         130326287                             13,759.36
Blue Cross Blue Shield of Michigan                 10/05/2021         130326557                             45,594.15
Henry Schein                                       10/05/2021         99483571                                823.01
Polar Ice                                          10/05/2021         76838                                   170.00
Safe n Simple                                      10/05/2021         82954                                  5,857.50
Uline                                              10/05/2021         139524968                               270.12
Uline                                              10/05/2021         139524912                               120.08
Henry Schein                                       10/06/2021         11165262                                145.70
Sysmex America, Inc.                               10/06/2021         93897099                                570.11
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Fisher Healthcare                                   10/07/2021         7891972                                  658.21
Sysmex America, Inc.                                10/07/2021         93898910                                 533.18
BioPathogenix                                       10/08/2021         Woo921                                117,000.00
Blue Care Network                                   10/08/2021         212810082170                           31,029.81
Daniel Brian Advertising                            10/08/2021         26149                                  25,000.00
Downey Brand                                        10/08/2021         565408                                 19,937.44
Labtek, Incorporated                                10/08/2021         12084                                    684.20
Labtek, Incorporated                                10/08/2021         12083                                   5,037.12
Polar Ice                                           10/08/2021         76865                                    170.00
PODS Enterprises, LLC                               10/10/2021         ZA67000146748                            210.94
Cerilliant Corporation                              10/11/2021         554531                                   512.00
Immunalysis Corporation                             10/11/2021         0181341-IN                              2,624.19
CLIA Laboratory Program                             10/12/2021         23D1104676-2021                         2,738.00
Polar Ice                                           10/12/2021         76883                                    170.00
TASC                                                10/12/2021         IN2161337                                  46.74
Wells Fargo Financial Leasing, Inc.                 10/12/2021         5017233722                                 76.30
Abbott Laboratories                                 10/13/2021         830804024                               1,100.00
Axiom Diagnostics                                   10/13/2021         210858                                   250.56
Dell Marketing LP c/o Lam, Lyn & Philip P.C.        10/13/2021         10513789185                             9,038.75
Peachstate Health Management                        10/13/2021         Sep-2020                                2,550.00
Community Electric Service, LLC                     10/14/2021         13433                                   4,250.00
Wells Fargo Financial Leasing, Inc.                 10/14/2021         5017252097                               593.60
Advance II                                          10/15/2021         51697                                   9,396.30
Advance II                                          10/15/2021         51679                                    671.39
Alpha Cleaners LLC                                  10/15/2021         1172596                                 3,600.00
Comcast                                             10/15/2021         132691385                               1,119.90
Polar Ice                                           10/15/2021         76901                                    170.00
StrengthPoint Advisors                              10/17/2021         CA-0359                                13,300.00
TASC                                                10/17/2021         IN2174010                                237.00
Labtek, Incorporated                                10/18/2021         12122                                   7,555.68
Labtek, Incorporated                                10/18/2021         12121                                   2,520.12
Abell Pest Control                                  10/19/2021         A1920150                                   55.00
Abell Pest Control                                  10/19/2021         A1920152                                 155.00
American Proficiency Institute                      10/19/2021         606010                                  3,496.00
College of American Pathologists                    10/19/2021         2561933                                  395.00
Mutual of Omaha                                     10/19/2021         001268939204                             687.58
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Mutual of Omaha                                             10/19/2021         001268939205                          13,391.50
Polar Ice                                                   10/19/2021         76917                                   170.00
Abbott Laboratories                                         10/20/2021         830805127                              1,060.00
College of American Pathologists                            10/20/2021         2561674                               17,679.42
Denny's Heating, Cooling & Refrigeration Service Inc.       10/20/2021         S21821                                  673.50
Life Technologies Corporation                               10/21/2021         80247176                              27,324.68
Fisher Healthcare                                           10/22/2021         1893995                                 626.24
Henry Schein                                                10/22/2021         11885863                               1,340.76
Polar Ice                                                   10/22/2021         76934                                   170.00
Uline                                                       10/22/2021         140328450                              2,239.18
Wells Fargo Financial Leasing, Inc.                         10/22/2021         5017355685                              557.79
Edge Solutions                                              10/23/2021         6671                                    474.38
Labtek, Incorporated                                        10/25/2021         12147                                  2,226.00
Labtek, Incorporated                                        10/25/2021         12144                                  1,000.00
Life Technologies Corporation                               10/25/2021         80260375                               7,892.80
People 2.0 Global LP                                        10/25/2021         511004393                             16,000.00
Wells Fargo Financial Leasing, Inc.                         10/25/2021         5017383855                               27.56
Cerilliant Corporation                                      10/26/2021         555352                                 1,708.60
Labtek, Incorporated                                        10/26/2021         12155                                   392.20
Labtek, Incorporated                                        10/26/2021         12154                                  5,037.12
Life Technologies Corporation                               10/26/2021         77157038                               7,440.00
Netalytics                                                  10/26/2021         2021-12347                              500.00
PODS Enterprises, LLC                                       10/26/2021         ZA67000148326                           185.50
USA Scientific                                              10/26/2021         4801826292                             7,070.04
Allied Media                                                10/27/2021         16022                                   101.26
Henry Schein                                                10/27/2021         12109395                               3,367.07
Henry Schein                                                10/27/2021         12095524                               1,738.94
Henry Schein                                                10/27/2021         12095510                               5,629.38
Henry Schein                                                10/27/2021         12095391                               2,428.29
Henry Schein                                                10/27/2021         12095377                              20,444.03
Henry Schein                                                10/27/2021         12095231                               2,896.14
Henry Schein                                                10/27/2021         12095191                                655.69
Henry Schein                                                10/27/2021         12095150                                425.23
Henry Schein                                                10/27/2021         12095113                               1,491.28
Henry Schein                                                10/27/2021         12095038                               2,324.45
Henry Schein                                                10/27/2021         12094950                               2,427.72
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Henry Schein                                       10/27/2021         12094870                               285.65
Henry Schein                                       10/27/2021         12094812                               422.94
Henry Schein                                       10/27/2021         12094732                               337.16
Henry Schein                                       10/27/2021         12094684                              1,927.34
Polar Ice                                          10/27/2021         76950                                  170.00
Edge Solutions                                     10/28/2021         410330                                1,538.36
Henry Schein                                       10/28/2021         12131839                               296.49
Henry Schein                                       10/28/2021         12131239                              5,504.10
Henry Schein                                       10/28/2021         12129043                               333.57
Henry Schein                                       10/28/2021         12160892                               391.94
Henry Schein                                       10/28/2021         12160876                               169.19
Henry Schein                                       10/28/2021         12160872                              1,408.17
Henry Schein                                       10/28/2021         12160869                             34,279.12
Henry Schein                                       10/28/2021         12160590                               645.73
Henry Schein                                       10/28/2021         12160572                               583.12
Henry Schein                                       10/28/2021         12160556                              4,961.69
Henry Schein                                       10/28/2021         12160535                              1,053.69
Henry Schein                                       10/28/2021         12156403                               198.80
Henry Schein                                       10/28/2021         12156382                              2,266.30
Henry Schein                                       10/28/2021         12156372                             21,135.16
Henry Schein                                       10/28/2021         12109410                              2,756.00
Henry Schein                                       10/28/2021         11956027                              6,992.64
Life Technologies Corporation                      10/28/2021         80284525                              7,867.85
Advance II                                         10/29/2021         51743                                10,051.28
Advance II                                         10/29/2021         51727                                  696.48
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       10/29/2021         10529925712                           4,823.96
Healthcare Appraisers                              10/29/2021         344551                                5,000.00
Orchard Software Corporation                       10/29/2021         2021-16347                            7,870.50
Polar Ice                                          10/29/2021         76966                                  170.00
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       10/30/2021         10529938970                          14,827.51
Detroit Athletic Club                              10/31/2021         10312021                               418.00
Esker Inc                                          10/31/2021         460206169                             1,699.20
Mayo Collaborative Services                        10/31/2021         7041224-103121                       23,605.80
PODS Enterprises, LLC                              10/31/2021         ZA67000148791                          196.10
Superior Medical Waste Disposal                    10/31/2021         10470                                 2,744.00
AB Sciex, LLC                                      11/01/2021         210175213                            12,502.71
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AB Sciex, LLC                                      11/01/2021         210173316                             12,502.71
Alpha Cleaners LLC                                 11/01/2021         1172683                                2,400.00
Alpha Cleaners LLC                                 11/01/2021         1172624                                 780.00
Alpha Cleaners LLC                                 11/01/2021         1172687                                 780.00
Alpha Cleaners LLC                                 11/01/2021         1172671                                3,600.00
Ancona Controls                                    11/01/2021         20847                                   750.00
Cerilliant Corporation                             11/01/2021         554738                                  677.00
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       11/01/2021         10530432573                            5,023.88
Evoqua Water Technologies LLC                      11/01/2021         905132207                              1,287.00
Henry Schein                                       11/01/2021         98244888                                119.96
Henry Schein                                       11/01/2021         11918628                                200.59
Henry Schein                                       11/01/2021         11885864                                221.87
Henry Schein                                       11/01/2021         11165264                                322.05
Henry Schein                                       11/01/2021         98563442                                544.82
Henry Schein                                       11/01/2021         12095511                                563.88
Henry Schein                                       11/01/2021         12095271                               1,269.60
Henry Schein                                       11/01/2021         98563395                                162.74
Henry Schein                                       11/01/2021         98563299                                321.37
Holly Manssur                                      11/01/2021         30                                     2,000.00
Mettler-Toledo Rainin, LLC                         11/01/2021         678724597                              1,535.85
Netalytics                                         11/01/2021         2021-11163                              500.00
Netalytics                                         11/01/2021         2021-10098                              500.00
Netalytics                                         11/01/2021         2021-9056                               500.00
Netalytics                                         11/01/2021         2021-7954                               500.00
Netalytics                                         11/01/2021         2021-5836                               100.00
Orchard Software Corporation                       11/01/2021         2021-14524                             7,385.00
Orchard Software Corporation                       11/01/2021         2020-12117                            12,720.00
PODS Enterprises, LLC                              11/01/2021         ZA67000145555                           196.10
PODS Enterprises, LLC                              11/01/2021         ZA67000145004                           185.50
PODS Enterprises, LLC                              11/01/2021         ZA67000143360                           210.94
PODS Enterprises, LLC                              11/01/2021         ZA67000142324                           196.10
PODS Enterprises, LLC                              11/01/2021         ZA67000141877                           185.50
PODS Enterprises, LLC                              11/01/2021         ZA67000140486                           421.88
PODS Enterprises, LLC                              11/01/2021         ZA67000140484                           392.20
Reliable Delivery                                  11/01/2021         225087                                12,218.54
Reliable Delivery                                  11/01/2021         223971                                10,566.51
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Restek Corporation                                 11/01/2021         CD50221852                              4,001.52
Restek Corporation                                 11/01/2021         CD50221851                              2,836.01
Sigma-Aldrich Inc.                                 11/01/2021         553945210                               6,187.16
VWR International, LLC                             11/01/2021         8805431321                               595.39
Zef Scientific, Inc.                               11/01/2021         11503/10711                            37,631.00
Arkstone Medical                                   11/02/2021         22165                                   7,325.00
Benkoff Health Law, PLLC                           11/02/2021         2311                                    4,698.00
Henry Schein                                       11/02/2021         12050833                                  41.28
Immunalysis Corporation                            11/02/2021         0182228-IN                              3,267.95
Kimberly W. Stout                                  11/02/2021         11022021                               15,000.00
LabPath Consulting                                 11/02/2021         1306                                    3,000.00
Polar Ice                                          11/02/2021         76981                                    170.00
Wells Fargo Financial Leasing, Inc.                11/02/2021         5017489184                               345.83
6600 Highland, LLC                                 11/03/2021                                                 6,110.00
BioPathogenix                                      11/03/2021         Woo946                                 10,000.00
Horiba Instruments Incorporated                    11/03/2021         5102889211                              2,922.89
Kelley Brothers LC                                 11/03/2021         Q1929                                    680.45
The Medical Real Estate Group                      11/03/2021                                                15,004.50
1st Providers Choice, Inc.                         11/04/2021         4937                                    8,000.00
Abbott Laboratories                                11/05/2021         830801598                               1,213.00
Blue Cross Blue Shield of Michigan                 11/05/2021         132025755                              43,997.02
Blue Cross Blue Shield of Michigan                 11/05/2021         132025430                              12,593.31
Evoqua Water Technologies LLC                      11/05/2021         905137370                                542.50
Henry Schein                                       11/05/2021         12441965                                 113.28
Peachstate Health Management                       11/05/2021         Oct-2021                                1,700.00
Polar Ice                                          11/05/2021         76997                                    170.00
Axiom Diagnostics                                  11/08/2021         210938                                  2,943.72
BioPathogenix                                      11/08/2021         Woo952                                 95,750.00
Daniel Brian Advertising                           11/08/2021         26364                                  25,000.00
Henry Schein                                       11/08/2021         12322047                                  20.63
Labtek, Incorporated                               11/08/2021         12199                                   1,303.80
Labtek, Incorporated                               11/08/2021         12198                                    651.90
Labtek, Incorporated                               11/08/2021         12197                                   5,037.12
Labtek, Incorporated                               11/08/2021         12196                                  13,091.00
Labtek, Incorporated                               11/08/2021         12195                                   1,807.80
Uline                                              11/08/2021         141061225                                849.73
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USA Scientific                                    11/08/2021         4801834069                               211.47
Blue Care Network                                 11/09/2021         213130041824                           26,563.29
Polar Ice                                         11/09/2021         77014                                    170.00
USA Scientific                                    11/09/2021         4801834152                               491.05
BioPathogenix                                     11/10/2021         Woo956                                 10,000.00
James Grossi                                      11/10/2021         reimb-10                                7,270.39
PODS Enterprises, LLC                             11/10/2021         ZA67000149864                            210.94
Uline                                             11/10/2021         141138260                                531.57
BioPathogenix                                     11/11/2021         Woo958                                 10,000.00
Downey Brand                                      11/11/2021         566532                                   594.80
DTE Energy                                        11/11/2021         11112021/89310                              8.45
DTE Energy                                        11/11/2021         11112021/89278                            16.93
DTE Energy                                        11/11/2021         11112021/89237                            18.41
DTE Energy                                        11/11/2021         11112021/87421                            20.04
DTE Energy                                        11/11/2021         11112021/11698                           700.93
Tek-Pette                                         11/11/2021         TPC32959697                             2,106.00
Wells Fargo Financial Leasing, Inc.               11/11/2021         5017645975                               152.60
Advance II                                        11/12/2021         51791                                   6,151.67
Advance II                                        11/12/2021         51773                                    886.96
Polar Ice                                         11/12/2021         77028                                    170.00
South-Tek Systems, LLC                            11/12/2021         24635                                  12,944.78
USA Scientific                                    11/12/2021         4801836810                                42.40
Wells Fargo Financial Leasing, Inc.               11/12/2021         5017656224                               593.60
Abbott Laboratories                               11/14/2021         830810378                               1,100.00
StrengthPoint Advisors                            11/14/2021         CA-0376                                13,900.00
AB Sciex, LLC                                     11/15/2021         210176009                               5,648.64
Lippitt O'Keefe, PLLC                             11/15/2021         11152021                                5,000.00
Henry Schein                                      11/16/2021         12925132                                  29.69
Mutual of Omaha                                   11/16/2021         001279967547                             722.94
Polar Ice                                         11/16/2021         77046                                    170.00
LCA                                               11/17/2021         11172021                               15,000.00
Madisyn Codron                                    11/17/2021         REFUND11172021                           100.00
Molecular Biology Products, Inc.                  11/17/2021         790415                                  2,810.00
SCCE                                              11/17/2021         3260675                                  155.00
TASC                                              11/17/2021         IN2200371                                237.00
Cerilliant Corporation                            11/18/2021         556716                                  1,652.40
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Henry Schein                                      11/18/2021         13069442                                 318.32
Henry Schein                                      11/19/2021         13118816                                2,714.24
Henry Schein                                      11/19/2021         13119147                                3,051.12
Henry Schein                                      11/19/2021         13118257                                 215.24
Henry Schein                                      11/19/2021         13118514                                 977.59
Polar Ice                                         11/19/2021         77063                                    170.00
Shayona Real Estate, LLC                          11/19/2021         11192021                                1,225.25
BioPathogenix                                     11/22/2021         Woo973                                 42,000.00
Former Players Inc.                               11/22/2021         11222021                                6,000.00
Henry Schein                                      11/22/2021         13194437                                 781.17
Henry Schein                                      11/22/2021         13194408                                1,110.01
Henry Schein                                      11/22/2021         13194325                                 108.18
Henry Schein                                      11/22/2021         13069443                                 975.48
James Grossi                                      11/22/2021         reimb-11                               13,134.22
I Care MI, LLC                                    11/23/2021         S00175                                   216.00
Polar Ice                                         11/23/2021         77081                                    170.00
USA Scientific                                    11/23/2021         4801841589                               944.08
Advance II                                        11/24/2021         51841                                   8,288.94
Advance II                                        11/24/2021         51822                                   1,045.17
Michigan Sports Academies, LLC                    11/24/2021         11242021                                4,500.00
Netalytics                                        11/26/2021         2021-13489                               750.00
Polar Ice                                         11/26/2021         77094                                    170.00
Edge Solutions                                    11/28/2021         423113                                  1,539.06
Dun & Bradstreet                                  11/29/2021         050010000185757                         6,250.00
Mettler-Toledo Rainin, LLC                        11/29/2021         678739541                               1,535.85
LabPath Consulting                                11/30/2021         1311                                    8,000.00
Mayo Collaborative Services                       11/30/2021         7041224-113021                         41,385.09
Polar Ice                                         11/30/2021         77110                                    170.00
AB Sciex, LLC                                     12/01/2021         210177084                              12,502.71
Abbott Laboratories                               12/01/2021         830810933                               1,060.00
Abell Pest Control                                12/01/2021         A3765772                                 155.00
Abell Pest Control                                12/01/2021         A3765632                                  55.00
Allied Media                                      12/01/2021         16118                                    101.26
Allied Media                                      12/01/2021         15772                                    372.38
Allied Media                                      12/01/2021         16142                                     68.59
Alpha Cleaners LLC                                12/01/2021         1172721                                 2,400.00
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Alpha Cleaners LLC                                 12/01/2021         1172728                                  780.00
Alpha Cleaners LLC                                 12/01/2021         1172725                                 3,600.00
American Association of Bioanalysts                12/01/2021         22015                                   5,280.00
Amro Almradi MDPC PLLC                             12/01/2021         11232021                                6,000.00
Ancona Controls                                    12/01/2021         21438                                  86,637.24
Arkstone Medical                                   12/01/2021         22187                                   5,675.00
Axiom Diagnostics                                  12/01/2021         210810                                  2,849.05
Axiom Diagnostics                                  12/01/2021         211001                                  2,637.98
Axiom Diagnostics                                  12/01/2021         210578A                                  140.00
Bultynck & Co. CPA                                 12/01/2021         222103836                                900.00
Bultynck & Co. CPA                                 12/01/2021         222093386                                900.00
Cerilliant Corporation                             12/01/2021         556542                                   431.70
Cerilliant Corporation                             12/01/2021         557324                                  2,922.10
Cole-Parmer                                        12/01/2021         2902381                                  118.54
Comcast                                            12/01/2021         134679126                               1,119.90
Comerica Commercial Lending Services               12/01/2021         11262021                                8,788.00
Detroit Athletic Club                              12/01/2021         11302021                                 688.00
Detroit Pistons Basketball Company                 12/01/2021         LCAINV010677                           21,250.00
DTE Energy                                         12/01/2021         11042021/70187                             24.47
Empirical Biosciences                              12/01/2021         4527                                   11,702.40
Empirical Biosciences                              12/01/2021         4321                                  226,517.76
Eppendorf North America, Inc.                      12/01/2021         4009164949                               116.00
Eppendorf North America, Inc.                      12/01/2021         4001082982                              2,603.36
Esker Inc                                          12/01/2021         460208287                               1,358.80
Evoqua Water Technologies LLC                      12/01/2021         905168460                               1,287.00
Fisher Healthcare                                  12/01/2021         5874250                                  564.87
Formulatrix                                        12/01/2021         9220                                    2,685.00
Henry Schein                                       12/01/2021         13354468                                   57.70
Holly Manssur                                      12/01/2021         31                                      2,000.00
Horiba Instruments Incorporated                    12/01/2021         5102928253                               669.65
IMCS, Inc.                                         12/01/2021         127802                                  7,357.00
Life Technologies Corporation                      12/01/2021         80377888                               10,297.90
Life Technologies Corporation                      12/01/2021         77158843                               12,660.00
Mclaren Medical Laboratory                         12/01/2021         2035.5                                  3,771.79
Mclaren Medical Laboratory                         12/01/2021         2035.4                                  4,420.55
Mclaren Medical Laboratory                         12/01/2021         2035.3                                  3,375.22
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Med Water Systems                                 12/01/2021         INV/2021/3226                           1,350.00
Medcare MSO                                       12/01/2021         2039                                  161,201.24
Medcare MSO                                       12/01/2021         1986                                  155,749.38
MedMatch                                          12/01/2021         11624                                   9,568.00
Mercedes Scientific                               12/01/2021         2531278                                 5,830.00
Mettler-Toledo Rainin, LLC                        12/01/2021         678740184                                802.11
Mutual of Omaha                                   12/01/2021         001279967546                           12,703.65
Orchard Software Corporation                      12/01/2021         2021-14525                              7,385.00
Orchard Software Corporation                      12/01/2021         2020-12118                             12,720.00
Pension Plan Service, Inc.                        12/01/2021         19553                                   1,000.00
Reliable Delivery                                 12/01/2021         226060                                 11,562.16
Rusas Printing, Inc.                              12/01/2021         1703                                     238.50
Stericycle Inc                                    12/01/2021         4010567034                                 93.78
Superior Medical Waste Disposal                   12/01/2021         10735                                   3,102.00
Superior Medical Waste Disposal                   12/01/2021         10670                                    984.00
Superior Medical Waste Disposal                   12/01/2021         10774                                    984.00
Sysmex America, Inc.                              12/01/2021         93968658                                 387.12
Tek-Pette                                         12/01/2021         TPC3306                                  169.00
Uline                                             12/01/2021         141408302                                283.30
Uline                                             12/01/2021         140714951                                109.30
Uline                                             12/01/2021         140668229                                154.70
Uline                                             12/01/2021         139431940                               2,944.19
Uline                                             12/01/2021         141907208                                317.54
Uline                                             12/01/2021         141745366                                304.34
VWR International, LLC                            12/01/2021         8805959297                               141.59
VWR International, LLC                            12/01/2021         8805182426                              1,880.17
Wachler and Associates, P.C.                      12/01/2021         19026                                   7,817.98
Waterford Township Treasurer                      12/01/2021         12012021B                                276.77
Waterford Township Treasurer                      12/01/2021         12012021                                 332.10
Wells Fargo Financial Leasing, Inc.               12/01/2021         5017797610                                 68.76
Wells Fargo Financial Leasing, Inc.               12/01/2021         5017787285                               557.79
BioPathogenix                                     12/02/2021         Woo987                                 36,000.00
Fisher Healthcare                                 12/02/2021         6326063                                 1,137.40
Henry Schein                                      12/02/2021         13399067                                 165.61
Owen-Ames-Kimball Co.                             12/02/2021         12368                                    470.00
Polar Ice                                         12/03/2021         77128                                    170.00
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Wells Fargo Financial Leasing, Inc.               12/03/2021         5017915749                               345.83
Sysmex America, Inc.                              12/04/2021         93974954                                 670.06
Abbott Laboratories                               12/05/2021         830814333                               1,213.00
Blue Cross Blue Shield of Michigan                12/05/2021         133524521                              40,773.83
Blue Cross Blue Shield of Michigan                12/05/2021         133521371                              10,416.70
Rusas Printing, Inc.                              12/05/2021         1718                                    1,572.72
Blue Care Network                                 12/07/2021         213410028912                           31,460.33
VWR International, LLC                            12/07/2021         8806948291                              1,492.97
VWR International, LLC                            12/07/2021         8806945303                              1,743.79
Abbott Laboratories                               12/08/2021         830804799                               1,910.00
Henry Schein                                      12/08/2021         13793583                                 287.38
Westmaas Electric Company                         12/08/2021         21-3585                                  360.00
Empirical Biosciences                             12/09/2021         4635                                  161,798.40
Advance II                                        12/10/2021         51894                                   6,331.89
Advance II                                        12/10/2021         51876                                    339.34
BioPathogenix                                     12/10/2021         Woo998                                   250.00
Block Scientific, Inc.                            12/10/2021         71279                                   3,125.00
Opdyke Medical, PLLC                              12/10/2021         1867820                                  145.00
Opdyke Medical, PLLC                              12/10/2021         1849860                                  115.00
Orchard Software Corporation                      12/10/2021         2021-17204                              2,502.50
Orchard Software Corporation                      12/10/2021         2021-17203                              3,832.50
PODS Enterprises, LLC                             12/10/2021         ZA67000152921                            210.94
Polar Ice                                         12/10/2021         77162                                    170.00
Restek Corporation                                12/10/2021         CD50229457                              3,397.14
Wells Fargo Financial Leasing, Inc.               12/10/2021         5018057416                               152.60
StrengthPoint Advisors                            12/12/2021         CA-0385                                14,500.00
Abbott Laboratories                               12/13/2021         830816049                               1,100.00
Polar Ice                                         12/13/2021         77178                                    170.00
Henry Schein                                      12/14/2021         14176960                                1,952.93
Henry Schein                                      12/14/2021         14176804                                 159.00
Henry Schein                                      12/14/2021         14176602                                5,972.72
Henry Schein                                      12/14/2021         14176054                                 350.39
Henry Schein                                      12/14/2021         14176026                               41,143.19
Henry Schein                                      12/14/2021         14175276                                1,534.39
Henry Schein                                      12/14/2021         14175164                                1,946.69
Henry Schein                                      12/14/2021         14174940                               13,150.31
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Henry Schein                                        12/14/2021         14176817                               159.00
Henry Schein                                        12/14/2021         13793584                                59.95
Immunalysis Corporation                             12/14/2021         0183725-IN                            3,274.39
Translational Software, Inc.                        12/14/2021         6959                                 14,700.00
Uline                                               12/14/2021         142635439                              487.24
Uline                                               12/14/2021         142634172                              554.02
VWR International, LLC                              12/14/2021         8807023972                           13,752.59
VWR International, LLC                              12/14/2021         8807023973                            1,119.35
Wells Fargo Financial Leasing, Inc.                 12/14/2021         5018095007                             593.60
Bridgeton Area Brothers United                      12/15/2021         12152021                              7,500.00
Comcast                                             12/15/2021         001000214226                          1,119.90
Daniel Brian Advertising                            12/15/2021         26527                                25,000.00
Benkoff Health Law, PLLC                            12/16/2021         2378                                  6,480.00
Cerilliant Corporation                              12/16/2021         558101                                1,914.50
James Grossi                                        12/16/2021         12162021                              8,377.32
Medline Industries, Inc.                            12/16/2021         542873642                             6,950.10
Mettler-Toledo Rainin, LLC                          12/16/2021         678750087                             3,208.40
Mutual of Omaha                                     12/16/2021         001292489809                         12,975.57
BioPathogenix                                       12/17/2021         Woo1010                               2,500.00
Henry Schein                                        12/17/2021         14360896                             34,428.18
Henry Schein                                        12/17/2021         14360873                              1,058.07
Henry Schein                                        12/17/2021         12111450                              5,296.97
Polar Ice                                           12/17/2021         77197                                  170.00
Rusas Printing, Inc.                                12/18/2021         1747                                  1,568.80
TASC                                                12/18/2021         IN2245452                              237.00
UPS                                                 12/18/2021         000005F64R511                           33.00
Henry Schein                                        12/20/2021         14510934                             16,497.20
Henry Schein                                        12/20/2021         14481563                               645.73
Henry Schein                                        12/20/2021         14438521                              1,408.17
Henry Schein                                        12/20/2021         14436038                               129.28
Henry Schein                                        12/20/2021         14420799                              3,647.72
Abell Pest Control                                  12/21/2021         A3780203                                55.00
Henry Schein                                        12/21/2021         14566846                              2,194.41
Henry Schein                                        12/21/2021         14515124                              1,718.06
Henry Schein                                        12/21/2021         14176847                              1,094.77
Modern Office Furniture                             12/21/2021         194816                                9,809.00
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Orchard Software Corporation                        12/21/2021         2021-17351                            11,554.00
Polar Ice                                           12/21/2021         77223                                   170.00
BioPathogenix                                       12/22/2021         Woo1021                               62,000.00
Advance II                                          12/23/2021         51934                                  7,037.81
Polar Ice                                           12/23/2021         77233                                   170.00
PODS Enterprises, LLC                               12/26/2021         ZA67000154261                           185.50
James Grossi                                        12/27/2021         12272021                               7,136.23
Edge Solutions                                      12/28/2021         436032                                 1,607.81
Polar Ice                                           12/28/2021         77244                                   170.00
Daniel Brian Advertising                            12/31/2021         26582                                 25,000.00
AB Sciex, LLC                                       01/01/2022         210178985                             12,502.71
Abbott Laboratories                                 01/01/2022         830777273                              1,060.00
Abbott Laboratories                                 01/01/2022         830762807                              1,060.00
Abbott Laboratories                                 01/01/2022         830759912                              1,213.00
Abbott Laboratories                                 01/01/2022         830817526                              1,060.00
Agena Bioscience, Inc.                              01/01/2022         9000136824                            43,972.88
Alpha Cleaners LLC                                  01/01/2022         1172767                                 780.00
Alpha Cleaners LLC                                  01/01/2022         1172754                                3,600.00
Alpha Cleaners LLC                                  01/01/2022         1172750                                2,400.00
Axiom Diagnostics                                   01/01/2022         211049                                  155.00
BioPathogenix                                       01/01/2022         Woo1041                               20,000.00
Brown & Brown of Detroit, Inc.                      01/01/2022         7491184                               42,903.43
Brown & Brown of Detroit, Inc.                      01/01/2022         7490804                               19,246.00
Brown & Brown of Detroit, Inc.                      01/01/2022         7490227                                7,673.00
Brown & Brown of Detroit, Inc.                      01/01/2022         7489670                                8,964.00
Brown & Brown of Detroit, Inc.                      01/01/2022         7489573                               70,398.00
Brown & Brown of Detroit, Inc.                      01/01/2022         7489560                                2,486.00
Deidra Denee Marshall                               01/01/2022         01012022                                281.25
Dell Marketing LP c/o Lam, Lyn & Philip P.C.        01/01/2022         10533962818                            1,831.05
Detroit Athletic Club                               01/01/2022         12312021                                548.00
eClinicalWorks, LLC                                 01/01/2022         0002285540                             3,710.00
Esker Inc                                           01/01/2022         460210167                              1,818.25
Evoqua Water Technologies LLC                       01/01/2022         905204602                              1,287.00
Fisher Healthcare                                   01/01/2022         7648695                                1,128.74
Fisher Healthcare                                   01/01/2022         7648694                                 277.41
Fisher Healthcare                                   01/01/2022         7610352                                7,722.84
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Healthcare Appraisers                              01/01/2022         345708                                  459.00
Holly Manssur                                      01/01/2022         32                                     2,000.00
IMCS, Inc.                                         01/01/2022         128234                                 7,357.00
Kelley Brothers LC                                 01/01/2022         I3396                                  6,527.00
Labtek, Incorporated                               01/01/2022         12345                                   851.68
Labtek, Incorporated                               01/01/2022         12343                                   424.00
Labtek, Incorporated                               01/01/2022         12342                                  3,816.00
Labtek, Incorporated                               01/01/2022         12316                                     42.40
Labtek, Incorporated                               01/01/2022         12313                                     82.68
Labtek, Incorporated                               01/01/2022         12312                                  3,599.20
Labtek, Incorporated                               01/01/2022         12287                                  1,908.00
Labtek, Incorporated                               01/01/2022         12286                                  3,440.20
Labtek, Incorporated                               01/01/2022         12253                                   106.00
Labtek, Incorporated                               01/01/2022         12252                                  6,817.92
Life Technologies Corporation                      01/01/2022         80561977                               2,977.12
Life Technologies Corporation                      01/01/2022         80566401                              17,596.00
Life Technologies Corporation                      01/01/2022         80567612                                801.36
MAC Pizza, LLC                                     01/01/2022         01012022                               2,882.00
Mayo Collaborative Services                        01/01/2022         7041224-123121                        51,447.32
Mclaren Medical Laboratory                         01/01/2022         2035.6                                 4,830.72
MCW Partners, LLC                                  01/01/2022         49177                                   302.10
Medcare MSO                                        01/01/2022         2084                                 137,551.68
Medcare MSO                                        01/01/2022         2050                                 128,283.07
Michigan Legislative Consultants, Inc.             01/01/2022         5513                                   6,000.00
Mutual of Omaha                                    01/01/2022         001292489808                            768.49
Netalytics                                         01/01/2022         2021-14499                              750.00
Orchard Software Corporation                       01/01/2022         2021-17692                            28,143.00
Orchard Software Corporation                       01/01/2022         2021-14526                             7,385.00
Orchard Software Corporation                       01/01/2022         2021-17691                            23,108.00
Orchard Software Corporation                       01/01/2022         2020-12119                            12,720.00
Peachstate Health Management                       01/01/2022         Nov-2021                               2,040.00
Perspectus Architecture                            01/01/2022         17708                                  2,000.00
Polar Ice                                          01/01/2022         77260                                   170.00
Reliable Delivery                                  01/01/2022         226971                                12,116.33
Stericycle Inc                                     01/01/2022         4010634761                              175.42
Superior Medical Waste Disposal                    01/01/2022         11037                                  2,920.00
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Superior Medical Waste Disposal                    01/01/2022         11240                                   984.00
Taylor Door and Window                             01/01/2022         14970                                  3,258.36
Taylor Door and Window                             01/01/2022         14968                                   272.50
Uline                                              01/01/2022         142960830                               420.28
USA Scientific                                     01/01/2022         4801855947                             6,849.40
USA Scientific                                     01/01/2022         4801857834                              186.36
Wells Fargo Financial Leasing, Inc.                01/01/2022         5018220061                               68.76
Wells Fargo Financial Leasing, Inc.                01/01/2022         5018220060                              557.79
Rusas Printing, Inc.                               01/02/2022         1759                                   2,134.76
Deidra Denee Marshall                              01/03/2022         01032021                               5,000.00
Global Office Solutions                            01/03/2022         01032022                               2,900.00
Harmony Lab & Safety Supplies                      01/03/2022         139009                                 1,412.62
LabPath Consulting                                 01/03/2022         1316                                   3,000.00
Labtek, Incorporated                               01/03/2022         12378                                  3,991.40
Blue Cross Blue Shield of Michigan                 01/04/2022         134991111                             15,547.31
Blue Cross Blue Shield of Michigan                 01/04/2022         134991376                             46,844.20
Fisher Healthcare                                  01/04/2022         7679751                                1,111.63
Polar Ice                                          01/04/2022         77272                                   170.00
Rusas Printing, Inc.                               01/04/2022         1762                                   1,446.90
Abbott Laboratories                                01/05/2022         830820514                              1,213.00
Harmony Lab & Safety Supplies                      01/05/2022         139099                                 5,271.11
Marc Blitz                                         01/05/2022         01052022                                700.00
Mercedes Scientific                                01/05/2022         2543622                                5,830.00
S & K Printing                                     01/05/2022         16057                                   795.00
Phenomenex, Inc                                    01/06/2022         CIUS-22001073                          5,301.45
Advance II                                         01/07/2022         51984                                  1,005.68
Benkoff Health Law, PLLC                           01/07/2022         2437                                   9,756.00
Blue Care Network                                  01/07/2022         220070043947                          29,288.85
Life Technologies Corporation                      01/07/2022         80604097                                559.95
Polar Ice                                          01/07/2022         77292                                   170.00
Uline                                              01/07/2022         143460248                              1,444.32
VWR International, LLC                             01/07/2022         8807203638                            13,760.23
Cerilliant Corporation                             01/10/2022         559312                                 1,567.00
James Grossi                                       01/10/2022         01102022                               3,136.33
Life Technologies Corporation                      01/10/2022         80609568                               5,553.34
AVL-Creative                                       01/11/2022         22-0165                                4,012.04
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Henry Schein                                       01/11/2022         15520831                                 403.64
Henry Schein                                       01/11/2022         15071894                                 823.01
Peachstate Health Management                       01/11/2022         Dec-2021                                 510.00
Polar Ice                                          01/11/2022         77309                                    170.00
Restek Corporation                                 01/11/2022         CD50237942                              1,495.81
USA Scientific                                     01/11/2022         4801861772                                 56.07
Henry Schein                                       01/12/2022         15591562                                 200.35
Henry Schein                                       01/12/2022         15520832                                 571.85
MedMatch                                           01/12/2022         11638                                  18,500.00
USA Scientific                                     01/12/2022         4801862633                               274.87
College of American Pathologists                   01/13/2022         2592817                                 1,613.98
Empirical Biosciences                              01/13/2022         4754                                  165,034.37
James Grossi                                       01/13/2022         01132022                                7,533.67
Opdyke Medical, PLLC                               01/13/2022         1869800                                  115.00
Perspectus Architecture                            01/13/2022                                                 4,325.06
Taylor Data Systems                                01/13/2022         37128                                  31,406.64
Henry Schein                                       01/14/2022         15597285                                 325.48
Henry Schein                                       01/14/2022         14107089                                 242.95
Polar Ice                                          01/14/2022         77325                                    170.00
Labtek, Incorporated                               01/16/2022         12430                                   2,268.40
Labtek, Incorporated                               01/16/2022         12432                                   2,920.80
Labtek, Incorporated                               01/16/2022         12431                                   1,791.40
Henry Schein                                       01/17/2022         14520752                                 731.34
Life Technologies Corporation                      01/17/2022         80645719                               27,456.12
People 2.0 Global LP                               01/17/2022         511004710                              30,000.00
StrengthPoint Advisors                             01/17/2022         CA-0396                                12,900.00
Alex Scherle                                       01/18/2022         01182022                                 300.00
Billy Newman                                       01/18/2022         01182022                                 300.00
Brian Lopez                                        01/18/2022         01182022                                 300.00
Chris Galle                                        01/18/2022         01182022                                 300.00
Evan Noga                                          01/18/2022         01182022                                 300.00
Fisher Healthcare                                  01/18/2022         8359199                                  624.44
John Dreer                                         01/18/2022         01182022                                 300.00
Jon Risi                                           01/18/2022         01182022                                 300.00
Joseph Grossi                                      01/18/2022         01182022                                 300.00
Labtek, Incorporated                               01/18/2022         12446                                    424.00
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Life Technologies Corporation                      01/18/2022         80651599                              16,776.09
Polar Ice                                          01/18/2022         77349                                   170.00
Stephan Riachi                                     01/18/2022         01182022                                300.00
Zack Stegmeyer                                     01/18/2022         01182022                                300.00
Allied Media                                       01/19/2022         16553                                   129.20
Harmony Lab & Safety Supplies                      01/19/2022         139774                                 3,516.06
Harmony Lab & Safety Supplies                      01/19/2022         139779                                 5,760.10
Life Technologies Corporation                      01/19/2022         80655799                              35,446.40
Mettler-Toledo Rainin, LLC                         01/19/2022         678764775                              3,612.29
Molecular Biology Products, Inc.                   01/19/2022         790588                                 4,175.00
Mutual of Omaha                                    01/19/2022         001307619682                            710.82
Abbott Laboratories                                01/20/2022         830822741                              1,060.00
CE Stars                                           01/20/2022         0120222                                3,000.00
Fisher Healthcare                                  01/20/2022         8491186                                2,423.39
Mettler-Toledo Rainin, LLC                         01/21/2022         678765947                              8,552.03
Polar Ice                                          01/21/2022         77365                                   170.00
Labtek, Incorporated                               01/23/2022         12463                                   302.60
Abell Pest Control                                 01/24/2022         A3868383                                 55.00
Global Office Solutions                            01/24/2022         PINV253327                             1,742.00
Henry Schein                                       01/24/2022         16078507                                613.26
Immunalysis Corporation                            01/24/2022         0185146-IN                             4,371.20
Fisher Healthcare                                  01/25/2022         8684026                               29,807.34
Fisher Healthcare                                  01/25/2022         8684024                                 618.24
James Grossi                                       01/25/2022         01252022                               4,132.23
Mettler-Toledo Rainin, LLC                         01/25/2022         678767349                               162.27
Polar Ice                                          01/25/2022         77380                                   170.00
Brehob CORPORATION                                 01/26/2022         790971                                44,149.00
Healthcare Appraisers                              01/26/2022         346433                                  616.00
BioPathogenix                                      01/27/2022         994                                   38,160.00
Fisher Healthcare                                  01/27/2022         8796035                               22,273.39
Fisher Healthcare                                  01/28/2022         8855249                                 965.12
Fisher Healthcare                                  01/28/2022         8855248                                3,657.88
Fisher Healthcare                                  01/28/2022         8855246                                5,468.23
Polar Ice                                          01/28/2022         77397                                   170.00
AB Sciex, LLC                                      02/01/2022         210180870                             12,502.71
Abbott Laboratories                                02/01/2022         830825686                             14,556.00
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Abbott Laboratories                               02/01/2022         830822047                               1,100.00
Advance II                                        02/01/2022         52050                                  11,700.18
Advance II                                        02/01/2022         52037                                      46.80
Agena Bioscience, Inc.                            02/01/2022         9000137190                            256,226.38
Agena Bioscience, Inc.                            02/01/2022         9000137300                             34,000.00
Agena Bioscience, Inc.                            02/01/2022         9000137559                             22,648.76
Alliance Architecture of Maryland, PC             02/01/2022         12.21.33MD                              3,540.00
Alliance Architecture of Maryland, PC             02/01/2022         11.21.04MD                             12,285.00
Alpha Cleaners LLC                                02/01/2022         1172783                                 3,600.00
Alvons Electric, Inc.                             02/01/2022         8                                       6,000.00
Arkstone Medical                                  02/01/2022         22215                                   6,850.00
Arkstone Medical                                  02/01/2022         22247                                   4,325.00
Athenahealth, Inc.                                02/01/2022         INV-182623                               366.00
AVL-Creative                                      02/01/2022         22-0165B                                 995.89
Axiom Diagnostics                                 02/01/2022         220100                                  5,737.42
Axiom Diagnostics                                 02/01/2022         220048                                  3,477.89
Axiom Diagnostics                                 02/01/2022         220035                                   208.55
BioPathogenix                                     02/01/2022         998                                    44,520.00
Cerilliant Corporation                            02/01/2022         560588                                   836.00
College of American Pathologists                  02/01/2022         2590967                                  900.62
Comcast                                           02/01/2022         001000237880                            2,239.80
Detroit Athletic Club                             02/01/2022         01312022                                 986.80
Detroit Pistons Basketball Company                02/01/2022         LCAINV010746                           21,250.00
Detroit Pistons Basketball Company                02/01/2022         LCAINV010706                           21,250.00
DTE Energy                                        02/01/2022         11292021/14                              473.12
DTE Energy                                        02/01/2022         11292021/11                              386.69
DTE Energy                                        02/01/2022         11292021/15                              371.81
DTE Energy                                        02/01/2022         11292021/22                              442.34
DTE Energy                                        02/01/2022         11292021/12A                             741.15
Edge Solutions                                    02/01/2022         450480                                  1,796.78
Edge Solutions                                    02/01/2022         7116                                     877.16
Electrical Workers                                02/01/2022         12212021                                 300.00
Eric Vasseur                                      02/01/2022         000005                                  1,929.99
Evoqua Water Technologies LLC                     02/01/2022         905241449                               1,287.00
Ferrellgas                                        02/01/2022         5006797219                              1,903.04
Fisher Healthcare                                 02/01/2022         8626027                                 8,473.62
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Hamilton Company                                   02/01/2022         INV-001201                               3,557.12
Hamilton Company                                   02/01/2022         E01470086                                4,213.64
Henry Schein                                       02/01/2022         16018231                                15,633.09
I Care MI, LLC                                     02/01/2022         S00188                                   2,030.00
Impact 100 Metro Detroit                           02/01/2022         45611                                   12,100.00
INTEGRA Biosciences Corp.                          02/01/2022         223403438                                9,638.34
INTEGRA Biosciences Corp.                          02/01/2022         223400357                               13,781.40
LabSoft, Inc.                                      02/01/2022         21230-3637-562                           1,750.00
Labtek, Incorporated                               02/01/2022         12443                                     278.59
Labtek, Incorporated                               02/01/2022         12254                                    1,585.20
Labtek, Incorporated                               02/01/2022         12478                                   21,990.20
Life Technologies Corporation                      02/01/2022         80670318                                30,443.20
Mayo Collaborative Services                        02/01/2022         7041224-013122                          36,274.33
MedMatch                                           02/01/2022         11630                                   18,000.00
Michigan Legislative Consultants, Inc.             02/01/2022         5583                                     6,000.00
Microgenics Corporation                            02/01/2022         911667                                   4,627.18
Modern Office Furniture                            02/01/2022         222182                                      65.00
Mutual of Omaha                                    02/01/2022         001307619683                            13,176.25
Netalytics                                         02/01/2022         2022-695                                  750.00
Orchard Software Corporation                       02/01/2022         2020-12120                              12,720.00
PODS Enterprises, LLC                              02/01/2022         ZA67-CS1014082-02                         196.10
Polar Ice                                          02/01/2022         77143                                     170.00
Polar Ice                                          02/01/2022         77413                                     170.00
Reliable Delivery                                  02/01/2022         228035                                  13,702.93
Salesforce.com, Inc.                               02/01/2022         21546022                               108,777.36
Solaris Diagnostics                                02/01/2022         3350                                      240.00
Solaris Diagnostics                                02/01/2022         3246                                      120.00
Solaris Diagnostics                                02/01/2022         3085                                      240.00
Solaris Diagnostics                                02/01/2022         2998                                      240.00
Solaris Diagnostics                                02/01/2022         2797                                        50.00
Solaris Diagnostics                                02/01/2022         2645                                      120.00
Stericycle Inc                                     02/01/2022         4010702320                                333.36
Superior Medical Waste Disposal                    02/01/2022         11461                                    1,291.00
Sysmex America, Inc.                               02/01/2022         94088232                                  388.22
Sysmex America, Inc.                               02/01/2022         94084672                                  325.43
TASC                                               02/01/2022         IN2281991                                 309.09
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Uline                                              02/01/2022         144136836                              422.98
VWR International, LLC                             02/01/2022         8806931949                            6,613.60
Wells Fargo Financial Leasing, Inc.                02/01/2022         5018651116                              68.76
Wells Fargo Financial Leasing, Inc.                02/01/2022         5018640265                             557.79
Wells Fargo Financial Leasing, Inc.                02/01/2022         5018517519                             593.60
Wells Fargo Financial Leasing, Inc.                02/01/2022         5018497788                              76.30
Wells Fargo Financial Leasing, Inc.                02/01/2022         5018306926                             345.83
Holly Manssur                                      02/02/2022         33                                    2,000.00
LabPath Consulting                                 02/02/2022         1323                                  3,000.00
Life Technologies Corporation                      02/02/2022         80702161                              1,475.52
Life Technologies Corporation                      02/02/2022         80696477                              9,055.58
Life Technologies Corporation                      02/02/2022         80692449                              1,865.60
Wells Fargo Financial Leasing, Inc.                02/02/2022         5018759833                             726.25
Benkoff Health Law, PLLC                           02/03/2022         2499                                  7,182.00
LabSoft, Inc.                                      02/03/2022         2223-931-4741                          200.00
Life Technologies Corporation                      02/03/2022         80744140                              1,266.17
Solaris Diagnostics                                02/03/2022         3417                                  3,000.00
Superior Medical Waste Disposal                    02/03/2022         11166                                 3,739.00
Advance II                                         02/04/2022         52106                                12,731.17
Blue Care Network                                  02/04/2022         220350046913                         15,627.52
Blue Cross Blue Shield of Michigan                 02/04/2022         136898674                            46,844.20
Blue Cross Blue Shield of Michigan                 02/04/2022         136895425                            13,370.68
Fink Bressack PLLC                                 02/04/2022         FBHELIX-1002                           562.50
Fink Bressack PLLC                                 02/04/2022         FBHELIX-1001                          5,769.25
Hamilton Company                                   02/04/2022         SO-023146-4                          26,875.46
Hamilton Company                                   02/04/2022         SO-023122-8                          88,585.74
Polar Ice                                          02/04/2022         77426                                  185.00
Taylor Door and Window                             02/04/2022         14997                                  453.00
Abbott Laboratories                                02/05/2022         830826810                             1,213.00
Life Technologies Corporation                      02/05/2022         80752658                               434.60
Lotus Lab Consulting                               02/05/2022         0002                                 20,000.00
Abbott Laboratories                                02/06/2022         830820788                             2,426.00
Axiom Diagnostics                                  02/07/2022         220120                                  82.09
IMCS, Inc.                                         02/07/2022         128828                                7,365.00
Life Technologies Corporation                      02/07/2022         80758745                             10,531.10
Solaris Diagnostics                                02/07/2022         3444                                   360.00
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StreamlineHR Services, LLC                                  02/07/2022         5425R                                    8,320.00
Complete Handyman Services, LLC                             02/08/2022         02082022                                 1,800.00
Denny's Heating, Cooling & Refrigeration Service Inc.       02/08/2022         S23678                                    261.25
Henry Schein                                                02/08/2022         16612908                                  956.63
Peachstate Health Management                                02/08/2022         Jan-2022                                 1,190.00
Polar Ice                                                   02/08/2022         77442                                     170.00
Abbott Laboratories                                         02/09/2022         551764                                      41.68
Abbott Laboratories                                         02/09/2022         551725                                   1,277.30
James Grossi                                                02/09/2022         02092022                                 2,572.98
Abbott Laboratories                                         02/10/2022         551882                                      10.25
BioPathogenix                                               02/10/2022         1409                                    24,380.00
Mettler-Toledo Rainin, LLC                                  02/10/2022         678775531                                3,418.44
Mettler-Toledo Rainin, LLC                                  02/11/2022         678776328                                3,418.44
Polar Ice                                                   02/11/2022         77457                                     170.00
South-Tek Systems, LLC                                      02/11/2022         25364                                   27,887.91
Abbott Laboratories                                         02/13/2022         830815577                                1,130.80
Abbott Laboratories                                         02/14/2022         552297                                 323,088.00
Harmony Lab & Safety Supplies                               02/14/2022         141050                                   3,815.89
Harmony Lab & Safety Supplies                               02/14/2022         141049                                   5,569.28
Harmony Lab & Safety Supplies                               02/14/2022         141048                                   5,723.84
Labtek, Incorporated                                        02/14/2022         12517                                    2,253.00
Phenomenex, Inc                                             02/14/2022         CIUS-22011458                             686.88
USA Scientific                                              02/14/2022         4801877569                                  90.68
Abbott Laboratories                                         02/15/2022         Q26627                                   5,936.00
Cerilliant Corporation                                      02/15/2022         561434                                    990.00
Microgenics Corporation                                     02/15/2022         914398                                   4,168.17
Polar Ice                                                   02/15/2022         77472                                     170.00
Washington Capital, LLC                                     02/15/2022         02152022                                 8,250.00
Harmony Lab & Safety Supplies                               02/16/2022         141179                                   5,723.84
Harmony Lab & Safety Supplies                               02/16/2022         141178                                   3,815.89
Mutual of Omaha                                             02/16/2022         001323416255                              717.29
TASC                                                        02/16/2022         IN2312909                                 209.09
Fisher Healthcare                                           02/17/2022         9664831                                   197.88
Fisher Healthcare                                           02/17/2022         9664827                                   908.62
Fisher Healthcare                                           02/17/2022         9664826                                   908.03
Fisher Healthcare                                           02/17/2022         9664819                                   918.70
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Fisher Healthcare                                  02/17/2022         9664825                                 1,253.66
StrengthPoint Advisors                             02/17/2022         CA-0405                                14,700.00
AB Sciex, LLC                                      02/18/2022         210182051                               2,138.97
Advance II                                         02/18/2022         152166                                 15,228.34
James Grossi                                       02/18/2022         02182022                                2,239.01
Polar Ice                                          02/18/2022         77485                                    170.00
Seyburn Kahn Attorneys & Counselors                02/18/2022         02182022                                2,500.00
Spartan Wealth Management Inc.                     02/18/2022         100                                     2,353.99
Labtek, Incorporated                               02/20/2022         12540                                   5,946.60
ASR Health Benefits                                02/22/2022         02222022                                 220.00
ASR Health Benefits                                02/22/2022         02222022                                 160.00
MAC Pizza, LLC                                     02/22/2022         02012022                                1,310.00
Polar Ice                                          02/22/2022         77497                                    170.00
Life Technologies Corporation                      02/23/2022         80855279                               25,281.53
Tek-Pette                                          02/23/2022         TPA4479                                  688.00
Tek-Pette                                          02/23/2022         TPA4478                                 1,127.00
Tek-Pette                                          02/23/2022         TPA4477                                    80.00
Comerica Bank - Cost Center 048-95890              02/24/2022         009784.000001 LRS                        949.00
Healthcare Appraisers                              02/24/2022         347091                                  9,421.00
Immunalysis Corporation                            02/24/2022         0186363-IN                              5,459.52
Labtek, Incorporated                               02/25/2022         12561                                    805.04
Polar Ice                                          02/25/2022         77513                                    170.00
6600 Highland, LLC                                 03/01/2022         4134                                    1,050.00
AB Sciex, LLC                                      03/01/2022         210182779                              12,502.71
AB Sciex, LLC                                      03/01/2022         210182409                               4,081.63
Abbott Laboratories                                03/01/2022         830829608                               1,089.68
Abbott Laboratories                                03/01/2022         553984                                 15,891.99
Abbott Laboratories                                03/01/2022         553964                                288,287.82
Abbott Laboratories                                03/01/2022         553962                                 48,900.72
Abell Pest Control                                 03/01/2022         A3877418                                   55.00
Agena Bioscience, Inc.                             03/01/2022         9000137833                             21,671.07
Alliance Architecture of Maryland, PC              03/01/2022         01.22.36MD                             15,829.96
Alpha Cleaners LLC                                 03/01/2022         1172823                                 3,600.00
Alpha Cleaners LLC                                 03/01/2022         1172818                                 3,380.00
Alpha Cleaners LLC                                 03/01/2022         1172779                                 3,380.00
Arkstone Medical                                   03/01/2022         22278                                   4,925.00
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Axiom Diagnostics                                   03/01/2022         220175                                 6,156.99
Axiom Diagnostics                                   03/01/2022         220101                                 1,467.40
Axiom Diagnostics                                   03/01/2022         220152                                  183.29
Beckman Coulter                                     03/01/2022         109713652                              1,464.44
Benkoff Health Law, PLLC                            03/01/2022         2564                                   8,702.00
Brown & Brown of Detroit, Inc.                      03/01/2022         03012022                                234.00
Comcast                                             03/01/2022         001000268960                           1,119.90
Detroit Pistons Basketball Company                  03/01/2022         LCAINV010779                          21,250.00
Edge Solutions                                      03/01/2022         464268                                 1,333.74
Esker Inc                                           03/01/2022         460214173                              1,016.95
Evoqua Water Technologies LLC                       03/01/2022         905278018                              1,287.00
Hamilton Company                                    03/01/2022         INV-063123                             9,727.87
Harmony Lab & Safety Supplies                       03/01/2022         141857                                 3,413.13
Henry Schein                                        03/01/2022         13116306                               5,600.31
Henry Schein                                        03/01/2022         13115631                               2,428.29
Henry Schein                                        03/01/2022         17552445                                181.07
Henry Schein                                        03/01/2022         17330868                                 80.53
Henry Schein                                        03/01/2022         17330866                                566.36
Henry Schein                                        03/01/2022         16184741                               1,618.56
Holly Manssur                                       03/01/2022         34                                     2,500.00
Kelley Brothers LC                                  03/01/2022         I2945                                   421.20
Labtek, Incorporated                                03/01/2022         12404                                  1,854.04
Labtek, Incorporated                                03/01/2022         12399                                  3,964.40
Labtek, Incorporated                                03/01/2022         12361                                  7,928.80
Labtek, Incorporated                                03/01/2022         12360                                  2,253.00
LGC Clinical Diagnostics, Inc.                      03/01/2022         90175205                               3,034.84
Life Technologies Corporation                       03/01/2022         77164710                               7,740.00
Lippitt O'Keefe, PLLC                               03/01/2022         12284                                  6,266.00
Lippitt O'Keefe, PLLC                               03/01/2022         12199                                  7,289.00
MAC Pizza, LLC                                      03/01/2022         03012022                               1,310.00
Mayo Collaborative Services                         03/01/2022         7041224-022822                        23,188.91
Mclaren Medical Laboratory                          03/01/2022         2035.8                                 1,691.51
Mclaren Medical Laboratory                          03/01/2022         MLMHEL022822                           6,155.04
Mercedes Scientific                                 03/01/2022         2563113                                7,314.00
Michigan Legislative Consultants, Inc.              03/01/2022         5656                                   6,000.00
Molecular Biology Products, Inc.                    03/01/2022         790643                                 1,670.00
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Molecular Biology Products, Inc.                   03/01/2022         790456                                 5,665.00
Movement Search, LLC                               03/01/2022         13874                                 43,400.00
Mutual of Omaha                                    03/01/2022         001323416254                          12,872.65
Netalytics                                         03/01/2022         2022-1638                               750.00
Nova Biomedical Corp                               03/01/2022         90965422                               8,853.60
Orchard Software Corporation                       03/01/2022         2021-14527                             7,385.00
Orchard Software Corporation                       03/01/2022         2020-12121                            12,720.00
Phenomenex, Inc                                    03/01/2022         CIUS-22013726                          1,261.40
Phenomenex, Inc                                    03/01/2022         CIUS-22013671                          5,045.60
Phenomenex, Inc                                    03/01/2022         CIUS-22012727                          4,214.56
Polar Ice                                          03/01/2022         77527                                   170.00
Reliable Delivery                                  03/01/2022         228953                                12,826.87
Restek Corporation                                 03/01/2022         CD50250492                             1,563.61
Stericycle Inc                                     03/01/2022         4010770094                                    -
StreamlineHR Services, LLC                         03/01/2022         5463                                   8,320.00
StreamlineHR Services, LLC                         03/01/2022         5464                                   8,320.00
Superior Medical Waste Disposal                    03/01/2022         11478                                  2,721.00
Taylor Door and Window                             03/01/2022         14873                                   672.80
The Medical Real Estate Group                      03/01/2022         4260                                    700.00
UPS                                                03/01/2022         000053XF87092                            43.50
USA Scientific                                     03/01/2022         4801862634                              439.11
USA Scientific                                     03/01/2022         4801861744                             3,597.64
USA Scientific                                     03/01/2022         4801856860                              352.56
USA Scientific                                     03/01/2022         4801855946                              404.50
USA Scientific                                     03/01/2022         4801850265                             7,543.16
USA Scientific                                     03/01/2022         4801849511                             7,094.04
Wells Fargo Financial Leasing, Inc.                03/01/2022         5019068251                              137.52
Wells Fargo Financial Leasing, Inc.                03/01/2022         5019057990                              557.79
Wells Fargo Financial Leasing, Inc.                03/01/2022         5018932818                             1,187.20
Westmaas Electric Company                          03/01/2022         22-3013                                 255.00
Fink Bressack PLLC                                 03/02/2022         FBHELIX-1004                           1,217.02
Fink Bressack PLLC                                 03/02/2022         FBHELIX-1003                          17,693.50
General Treasurer, State of Rhode Island           03/02/2022         03022022                                      -
Life Technologies Corporation                      03/02/2022         77164856                               7,740.00
Wells Fargo Financial Leasing, Inc.                03/02/2022         5019179675                              345.83
Agena Bioscience, Inc.                             03/03/2022         03032022                                      -
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LabPath Consulting                                 03/03/2022         1332                                   3,000.00
McKinley and Company Recruitment, Inc              03/03/2022         0001194-51-0L2-IN                      1,464.50
Mercedes Scientific                                03/03/2022         03032022                                      -
Microgenics Corporation                            03/03/2022         917237                                 4,024.31
Molecular BioProducts, Inc.                        03/03/2022         1282419                                 278.05
Molecular BioProducts, Inc.                        03/03/2022         03032022                               3,780.00
Uline                                              03/03/2022         145870607                              1,423.32
Unifirst Corporation                               03/03/2022         03032022                                      -
Unifirst Corporation                               03/03/2022         03032022                                121.77
UPS                                                03/03/2022         03032022                                      -
Advance II                                         03/04/2022         52229                                  9,824.11
BioPathogenix                                      03/04/2022         1435                                   5,300.00
Blue Cross Blue Shield of Michigan                 03/04/2022         137387875                             51,679.00
Blue Cross Blue Shield of Michigan                 03/04/2022         138387613                             13,370.68
Polar Ice                                          03/04/2022         77541                                   170.00
Abbott Laboratories                                03/05/2022         830826593                              1,213.00
Abbott Laboratories                                03/06/2022         830818958                              2,426.00
Axiom Diagnostics                                  03/07/2022         220200                                  125.55
Sysmex America, Inc.                               03/07/2022         94139411                               1,121.67
Blue Care Network                                  03/08/2022         220670072732                          24,022.39
Henry Schein                                       03/08/2022         17942563                              11,778.32
Henry Schein                                       03/08/2022         17942407                               1,766.66
Henry Schein                                       03/08/2022         17942356                                294.66
Henry Schein                                       03/08/2022         17942340                               1,090.26
Henry Schein                                       03/08/2022         17942306                                731.34
Henry Schein                                       03/08/2022         17942136                                258.29
Henry Schein                                       03/08/2022         17942084                                537.38
Henry Schein                                       03/08/2022         17940709                                147.33
Henry Schein                                       03/08/2022         17940605                                903.33
Henry Schein                                       03/08/2022         17940562                               2,115.16
Henry Schein                                       03/08/2022         17940468                               6,626.71
Henry Schein                                       03/08/2022         17940409                               7,854.92
Henry Schein                                       03/08/2022         17940350                                348.72
Henry Schein                                       03/08/2022         17871931                               1,184.51
JSW Consulting, LLC                                03/08/2022         1120                                   7,500.00
McKinley and Company Recruitment, Inc              03/08/2022         000195-51-0L2-IN                         43.50
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                            Payee                              Payment Date                 No.              Total
Polar Ice                                                   03/08/2022         77557                                   170.00
Sysmex America, Inc.                                        03/08/2022         94137925                                204.96
AKH Servuces, LLC                                           03/09/2022         AKH20011                               2,400.00
Coriell Institute, Inc.                                     03/09/2022         111182                                 2,052.00
Henry Schein                                                03/09/2022         17982270                                159.00
Henry Schein                                                03/09/2022         17970421                                288.55
Henry Schein                                                03/09/2022         17922885                               3,089.35
Henry Schein                                                03/09/2022         18000138                               1,713.89
Henry Schein                                                03/09/2022         17983705                              12,003.82
Henry Schein                                                03/09/2022         17983620                               2,221.34
Henry Schein                                                03/09/2022         17980587                               1,749.15
Henry Schein                                                03/09/2022         17980332                              15,207.70
Henry Schein                                                03/09/2022         17984039                               4,377.49
Henry Schein                                                03/09/2022         17983901                               2,826.45
Henry Schein                                                03/09/2022         17982195                                447.55
Henry Schein                                                03/09/2022         17871932                                371.46
Bultynck & Co. CPA                                          03/10/2022         222107415                              1,010.00
Farnell Equipment Co.                                       03/10/2022         14624                                  3,179.00
Nova Biomedical Corp                                        03/10/2022         90973067                               8,074.37
Nova Biomedical Corp                                        03/10/2022         90973357                               1,948.07
Amro Almradi MDPC PLLC                                      03/11/2022         03112022                              12,000.00
Polar Ice                                                   03/11/2022         77573                                   170.00
The Medical Real Estate Group                               03/11/2022         271                                    1,415.75
Abbott Laboratories                                         03/13/2022         830828078                              1,130.80
StrengthPoint Advisors                                      03/13/2022         CA-0418                               15,300.00
Agena Bioscience, Inc.                                      03/14/2022         9000137987                            22,797.16
Agena Bioscience, Inc.                                      03/14/2022         9000137976                            35,270.00
Athenahealth, Inc.                                          03/14/2022         INV-197389                              470.00
Denny's Heating, Cooling & Refrigeration Service Inc.       03/14/2022         S23687                                  287.50
Labtek, Incorporated                                        03/14/2022         12598                                   316.38
Mercedes Scientific                                         03/14/2022         2568256                                2,438.00
Phenomenex, Inc                                             03/14/2022         CIUS-22019410                          5,303.11
Solaris Diagnostics                                         03/14/2022         3533                                    240.00
Uline                                                       03/14/2022         146302773                               109.83
Wells Fargo Financial Leasing, Inc.                         03/14/2022         5019356183                               76.30
Henry Schein                                                03/15/2022         13853582                                823.01
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Labtek, Incorporated                               03/15/2022         12605                                   519.40
Labtek, Incorporated                               03/15/2022         12604                                  1,982.20
Mettler-Toledo Rainin, LLC                         03/15/2022         678792678                              3,612.29
Microgenics Corporation                            03/15/2022         919387                                 4,013.60
Polar Ice                                          03/15/2022         77584                                   170.00
McKinley and Company Recruitment, Inc              03/16/2022         0001197-51-0L2-IN                       826.50
Henry Schein                                       03/17/2022         18305876                                341.27
Advance II                                         03/18/2022         52296                                  3,283.34
Fisher Healthcare                                  03/18/2022         0862048                                1,112.58
Fisher Healthcare                                  03/18/2022         0862047                                1,163.11
Henry Schein                                       03/18/2022         18305870                               1,336.09
Med National Staffing Solutions, Inc.              03/18/2022         101855                                 1,020.00
Polar Ice                                          03/18/2022         77600                                   170.00
Labtek, Incorporated                               03/20/2022         12622                                  1,065.80
Labtek, Incorporated                               03/20/2022         12621                                  1,982.20
Agena Bioscience, Inc.                             03/21/2022         9000138074                            22,648.76
James Grossi                                       03/21/2022         03212022                               3,822.27
Microgenics Corporation                            03/21/2022         920441                                 4,011.66
Mutual of Omaha                                    03/21/2022         001338714812                            746.66
Agena Bioscience, Inc.                             03/22/2022         9000138086                            46,022.21
Cerilliant Corporation                             03/22/2022         563505                                 1,972.00
Henry Schein                                       03/22/2022         18328887                                248.62
Labtek, Incorporated                               03/22/2022         12632                                   199.28
Labtek, Incorporated                               03/22/2022         12631                                   415.40
Mutual of Omaha                                    03/22/2022         001338714811                          14,284.81
Polar Ice                                          03/22/2022         37212                                   170.00
USA Scientific                                     03/22/2022         4801895154                             1,702.36
IMCS, Inc.                                         03/23/2022         129425                                 4,449.00
Abell Pest Control                                 03/24/2022         A4042193                                155.00
Abell Pest Control                                 03/24/2022         A4032780                                 55.00
James Grossi                                       03/25/2022         03252022                               4,132.28
Polar Ice                                          03/25/2022         37229                                   170.00
Ferrellgas                                         03/27/2022         506927978                               412.50
Mercedes Scientific                                03/28/2022         2572970                                2,120.00
Microgenics Corporation                            03/28/2022         921735                                 4,206.06
Polar Ice                                          03/29/2022         37245                                   170.00
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Holzman Law, PLLC                                           03/30/2022         03302022                               5,254.22
AB Sciex, LLC                                               04/01/2022         210185142                             12,502.71
Abbott Laboratories                                         04/01/2022         558291                                26,310.28
Abbott Laboratories                                         04/01/2022         830835683                              1,089.68
Advance II                                                  04/01/2022         52363                                  6,880.45
Alliance Architecture of Maryland, PC                       04/01/2022         02.22.43MD                            20,625.57
Allied Media                                                04/01/2022         16824                                   144.04
Alpha Cleaners LLC                                          04/01/2022         1172859                                3,600.00
Alpha Cleaners LLC                                          04/01/2022         1172855                                3,380.00
Arkstone Medical                                            04/01/2022         22314                                 10,625.00
Benkoff Health Law, PLLC                                    04/01/2022         2609                                   3,724.00
College of American Pathologists                            04/01/2022         2611047                                 508.03
Cotiviti Inc.                                               04/01/2022         04012022                               3,725.00
Criterion Lab Consulting, LLC                               04/01/2022         4800                                   1,900.00
Definitive Healthcare, LLC                                  04/01/2022         INV38984                              49,999.00
Denny's Heating, Cooling & Refrigeration Service Inc.       04/01/2022         S24049                                  223.75
eClinicalWorks, LLC                                         04/01/2022         0002328088                             5,300.00
eClinicalWorks, LLC                                         04/01/2022         0002328042                             5,300.00
eClinicalWorks, LLC                                         04/01/2022         0002330160                             5,300.00
Edge Solutions                                              04/01/2022         478199                                 1,431.31
Evoqua Water Technologies LLC                               04/01/2022         905320296                              1,287.00
Healthcare Appraisers                                       04/01/2022         347821                                 3,036.50
Henry Schein                                                04/01/2022         17954789                                729.79
Henry Schein                                                04/01/2022         18941339                              12,382.56
Henry Schein                                                04/01/2022         18941100                               1,555.98
Henry Schein                                                04/01/2022         18940994                                 68.86
Henry Schein                                                04/01/2022         18940990                                288.50
Henry Schein                                                04/01/2022         18940812                               3,573.48
Henry Schein                                                04/01/2022         18940691                              53,565.12
Henry Schein                                                04/01/2022         18940383                                582.49
Henry Schein                                                04/01/2022         18940320                                657.43
Henry Schein                                                04/01/2022         18939645                                215.24
Henry Schein                                                04/01/2022         18838752                               3,326.07
Henry Schein                                                04/01/2022         18753202                               2,334.14
Henry Schein                                                04/01/2022         18753188                                427.75
Henry Schein                                                04/01/2022         18753132                              11,233.16
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Henry Schein                                        04/01/2022         18753010                               3,004.37
Henry Schein                                        04/01/2022         18752898                                255.97
Henry Schein                                        04/01/2022         18752783                               1,451.56
Henry Schein                                        04/01/2022         18752739                              12,382.56
Henry Schein                                        04/01/2022         18752325                                808.85
Henry Schein                                        04/01/2022         18752208                               4,142.30
Henry Schein                                        04/01/2022         18751875                               1,354.50
Henry Schein                                        04/01/2022         18751762                                666.72
Holly Manssur                                       04/01/2022         35                                     2,500.00
LabSoft, Inc.                                       04/01/2022         22322-105-2061                          200.00
LabSoft, Inc.                                       04/01/2022         452-22125                               950.00
Labtek, Incorporated                                04/01/2022         12658                                   554.06
Mayo Collaborative Services                         04/01/2022         7041224-033122                        23,042.80
Mclaren Medical Laboratory                          04/01/2022         2035.7                                 9,585.49
Mclaren Medical Laboratory                          04/01/2022         2035.2                                  335.21
Mclaren Medical Laboratory                          04/01/2022         2035.9                                  282.40
Mclaren Medical Laboratory                          04/01/2022         MLMHEL033122                          10,762.93
McShane Welding, Inc.                               04/01/2022         136934                                 1,057.75
Michigan Legislative Consultants, Inc.              04/01/2022         5736                                   6,000.00
Netalytics                                          04/01/2022         2022-2552                               750.00
Orchard Software Corporation                        04/01/2022         2022-19568                             1,251.25
Orchard Software Corporation                        04/01/2022         2021-14529                            16,185.00
Orchard Software Corporation                        04/01/2022         2021-14528                            15,885.00
Orchard Software Corporation                        04/01/2022         2020-12122                            12,720.00
Orchard Software Corporation                        04/01/2022         2022-18927                             6,996.00
Polar Ice                                           04/01/2022         77611                                   170.00
Reliable Delivery                                   04/01/2022         229888                                10,441.76
Safe n Simple                                       04/01/2022         84588                                  6,175.00
Signtext Incorporated                               04/01/2022         063457                                   53.00
Stericycle Inc                                      04/01/2022         4010836926                              140.46
Superior Medical Waste Disposal                     04/01/2022         11142-3                                 686.00
Superior Medical Waste Disposal                     04/01/2022         20085                                   988.50
Superior Medical Waste Disposal                     04/01/2022         12143                                  3,438.00
Taylor Door and Window                              04/01/2022         15035                                   210.00
Training Camp                                       04/01/2022         41036                                  3,995.00
Translational Software, Inc.                        04/01/2022         7191                                   1,500.00
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Translational Software, Inc.                        04/01/2022         7168                                   2,656.46
Translational Software, Inc.                        04/01/2022         7097                                   2,700.00
Wells Fargo Financial Leasing, Inc.                 04/01/2022         5019582365                              345.83
Wells Fargo Financial Leasing, Inc.                 04/01/2022         5019488303                              151.44
Wells Fargo Financial Leasing, Inc.                 04/01/2022         5019477598                              557.79
LabPath Consulting                                  04/02/2022         1338                                   3,000.00
BioPathogenix                                       04/04/2022         1467                                   3,286.00
Fink Bressack PLLC                                  04/04/2022         FBHELIX-1007                           1,589.43
Fink Bressack PLLC                                  04/04/2022         FBHELIX-1006                            682.75
Fink Bressack PLLC                                  04/04/2022         FBHELIX-1005                          10,568.75
Abbott Laboratories                                 04/05/2022         830838594                              1,213.00
Mercedes Scientific                                 04/05/2022         2576206                                  86.92
Peachstate Health Management                        04/05/2022         MAR-2022                               1,190.00
Peachstate Health Management                        04/05/2022         FEB-2022                               1,360.00
Phenomenex, Inc                                     04/05/2022         CIUS-22025569                         13,615.42
Polar Ice                                           04/05/2022         77623                                   170.00
Abbott Laboratories                                 04/06/2022         830834493                              2,426.00
Allied Media                                        04/06/2022         17079                                   134.50
James Grossi                                        04/06/2022         04062022                               5,231.73
Labtek, Incorporated                                04/06/2022         12683                                  1,791.40
Seyburn Kahn Attorneys & Counselors                 04/06/2022         294719                                 8,150.00
JSW Consulting, LLC                                 04/07/2022         1126                                   7,500.00
Lotus Lab Consulting                                04/07/2022         0004                                   5,000.00
MedSchenker, Inc.                                   04/07/2022         INV-08333                              1,005.00
Blue Care Network                                   04/08/2022         220980037069                          19,674.08
Blue Cross Blue Shield of Michigan                  04/08/2022         140022217                             48,473.74
Blue Cross Blue Shield of Michigan                  04/08/2022         140021950                             14,769.93
Fisher Healthcare                                   04/08/2022         1624549                                2,816.70
Fisher Healthcare                                   04/08/2022         1624545                                 754.17
George Jamison                                      04/08/2022         04082022                                903.02
I Care MI, LLC                                      04/08/2022         INV/2022/0231                          2,470.00
James Grossi                                        04/08/2022         04082022                               3,655.43
MedMatch                                            04/08/2022         11657                                 30,000.00
Polar Ice                                           04/08/2022         77649                                   170.00
UHY, LLP                                            04/08/2022         550415911                             55,000.00
College of American Pathologists                    04/11/2022         2613652                                 477.00
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Mercedes Scientific                               04/11/2022         2578061                                 869.20
Microgenics Corporation                           04/11/2022         924289                                 4,011.66
The Alan Group, Inc.                              04/11/2022         1861                                   2,816.00
Wells Fargo Financial Leasing, Inc.               04/11/2022         5019746558                               76.30
IMCS, Inc.                                        04/12/2022         129656                                 4,449.00
Polar Ice                                         04/12/2022         77668                                   170.00
Solaris Diagnostics                               04/12/2022         3591                                    360.00
Athenahealth, Inc.                                04/13/2022         INV-219037                              615.00
College of American Pathologists                  04/13/2022         2614035                                 477.00
Henry Schein                                      04/13/2022         19422937                                640.90
Perspectus Architecture                           04/13/2022         18260                                  2,714.69
Wells Fargo Financial Leasing, Inc.               04/13/2022         5019765074                              593.60
Henry Schein                                      04/14/2022         19486175                                447.55
Henry Schein                                      04/14/2022         19444899                               8,558.46
Henry Schein                                      04/14/2022         17954818                                868.35
James Grossi                                      04/14/2022         04142022                               6,758.42
Advance II                                        04/15/2022         52438                                  2,956.39
Comcast                                           04/15/2022         001000325342                           1,119.90
Henry Schein                                      04/15/2022         19489992                               2,329.73
Henry Schein                                      04/15/2022         19422938                                 82.48
Polar Ice                                         04/15/2022         77686                                   170.00
Henry Schein                                      04/18/2022         19530616                               5,207.08
Kelley Brothers LC                                04/18/2022         I6154                                   750.00
Cerilliant Corporation                            04/19/2022         565316                                 1,677.80
General Treasurer, State of Rhode Island          04/19/2022         04192022                                650.00
Henry Schein                                      04/19/2022         19584777                                 90.46
Polar Ice                                         04/19/2022         77700                                   170.00
Abbott Laboratories                               04/20/2022         830839986                              1,089.68
Abell Pest Control                                04/20/2022         A4135659                                 55.00
Abell Pest Control                                04/20/2022         A4119742                                155.00
Daniel Brian Advertising                          04/20/2022         26992                                 11,444.00
Henry Schein                                      04/20/2022         19648627                                535.04
Microgenics Corporation                           04/20/2022         926103                                 4,234.98
Cerilliant Corporation                            04/21/2022         565422                                  215.00
Allied Media                                      04/22/2022         17231                                   111.18
James Grossi                                      04/22/2022         04222022                               3,127.99
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Mercedes Scientific                                 04/22/2022         2582211                                2,120.00
Mutual of Omaha                                     04/22/2022         001351812437                          13,527.67
Polar Ice                                           04/22/2022         77721                                   170.00
Law Offices of Brian M. Legghio                     04/26/2022         04262022                               7,500.00
Polar Ice                                           04/26/2022         77738                                   170.00
AB Sciex, LLC                                       05/01/2022         210187259                              2,351.00
AB Sciex, LLC                                       05/01/2022         210187153                             12,502.71
Abbott Laboratories                                 05/01/2022         830840350                              1,130.80
Advance II                                          05/01/2022         52520                                  3,273.37
Alpha Cleaners LLC                                  05/01/2022         1172896                                 830.76
Alpha Cleaners LLC                                  05/01/2022         1172892                                1,533.84
Arkstone Medical                                    05/01/2022         22356                                 11,880.00
Axiom Diagnostics                                   05/01/2022         220371                                 2,908.17
Axiom Diagnostics                                   05/01/2022         220359                                  203.48
BioPathogenix                                       05/01/2022         1555                                  15,900.00
Blue Cross Complete of Michigan.                    05/01/2022         01212022-2                             1,030.71
Blue Cross Complete of Michigan.                    05/01/2022         01212022                                359.41
Brown & Brown of Detroit, Inc.                      05/01/2022         8513058                                1,408.00
Bultynck & Co. CPA                                  05/01/2022         222111923                               379.00
Clean Air Testing, Inc                              05/01/2022         115246                                 1,097.82
College of American Pathologists                    05/01/2022         2612317                                 129.28
Cotiviti Inc.                                       05/01/2022         02182022                                131.56
Daniel Brian Advertising                            05/01/2022         26993                                 11,443.00
Davis Wright Tremaine LLP                           05/01/2022         6898596                                9,484.50
Davis Wright Tremaine LLP                           05/01/2022         6890874                                1,680.00
Davis Wright Tremaine LLP                           05/01/2022         6882558                               17,065.00
Davis Wright Tremaine LLP                           05/01/2022         6875855                                6,951.00
Davis Wright Tremaine LLP                           05/01/2022         6869007                                1,560.00
Davis Wright Tremaine LLP                           05/01/2022         6863059                                3,572.50
Davis Wright Tremaine LLP                           05/01/2022         6851904                                2,600.00
Davis Wright Tremaine LLP                           05/01/2022         6844189                                 975.00
Davis Wright Tremaine LLP                           05/01/2022         6820721                                 487.50
Dell Marketing LP c/o Lam, Lyn & Philip P.C.        05/01/2022         10566253379                           10,392.88
Dell Marketing LP c/o Lam, Lyn & Philip P.C.        05/01/2022         10563983902                            8,314.29
Dell Marketing LP c/o Lam, Lyn & Philip P.C.        05/01/2022         10561839070                            1,804.46
Dell Marketing LP c/o Lam, Lyn & Philip P.C.        05/01/2022         10551858527                            5,023.88
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Dell Marketing LP c/o Lam, Lyn & Philip P.C.       05/01/2022         10551296005                            2,036.25
Dell Marketing LP c/o Lam, Lyn & Philip P.C.       05/01/2022         10546312568                            5,023.88
e2o Health Inc.                                    05/01/2022         2419                                   4,800.00
Edge Solutions                                     05/01/2022         491990                                 1,418.55
Evoqua Water Technologies LLC                      05/01/2022         905356073                              1,287.00
Evoqua Water Technologies LLC                      05/01/2022         905349230                               530.00
Fisher Healthcare                                  05/01/2022         9594708                                1,811.56
Fisher Healthcare                                  05/01/2022         0354955                               18,331.78
Fisher Healthcare                                  05/01/2022         1624543                                4,675.89
Fishman Stewart, PLLC                              05/01/2022         898997                                   71.80
GK Holdings, Inc.                                  05/01/2022         00221428                               2,000.00
Henry Schein                                       05/01/2022         19925505                                198.21
Henry Schein                                       05/01/2022         19499023                                195.76
Henry Schein                                       05/01/2022         18838944                              11,259.45
Holly Manssur                                      05/01/2022         36                                     2,500.00
Humana                                             05/01/2022         04202022-2                              246.92
Humana                                             05/01/2022         04202022                                740.76
Humana                                             05/01/2022         04242022                                309.06
HUMANA MILITARY                                    05/01/2022         03012022                                 88.69
HUMANA MILITARY                                    05/01/2022         04162022                                164.52
Key Benefit Administrators                         05/01/2022         04202022                                111.78
Labtek, Incorporated                               05/01/2022         12719                                   367.72
Labtek, Incorporated                               05/01/2022         12706                                   735.08
Labtek, Incorporated                               05/01/2022         12694                                   213.62
Labtek, Incorporated                               05/01/2022         12735                                   640.74
Life Technologies Corporation                      05/01/2022         79062019A                              9,574.45
Life Technologies Corporation                      05/01/2022         81174471                              12,585.95
Life Technologies Corporation                      05/01/2022         80415991                              44,920.68
Lippitt O'Keefe, PLLC                              05/01/2022         12547                                  3,910.00
Mayo Collaborative Services                        05/01/2022         7041224-043022                        19,754.67
McShane Welding, Inc.                              05/01/2022         136992                                 2,484.29
Medicare Part B                                    05/01/2022         04182022                                175.00
MedMatch                                           05/01/2022         11660                                 18,000.00
Mercedes Scientific                                05/01/2022         2584562                                2,226.00
Michigan Legislative Consultants, Inc.             05/01/2022         5812                                   6,000.00
Molecular BioProducts, Inc.                        05/01/2022         1300269                                 167.25
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Molina Healthcare Of Kentucky                      05/01/2022         04142022                                 80.00
Mutual of Omaha                                    05/01/2022         001351812438                            701.56
Netalytics                                         05/01/2022         2022-3408                               750.00
Orchard Software Corporation                       05/01/2022         2020-12123                            12,720.00
Orchard Software Corporation                       05/01/2022         2021-14530                            16,185.00
Polar Ice                                          05/01/2022         77758                                   170.00
Progressive Counters and Remodeling                05/01/2022         1345A                                  5,745.00
PRS                                                05/01/2022         04182022                                240.00
Reliable Delivery                                  05/01/2022         230822                                 7,650.16
Stericycle Inc                                     05/01/2022         4010906589                              157.94
StrengthPoint Advisors                             05/01/2022         CA-0440                               13,100.00
Superior Medical Waste Disposal                    05/01/2022         11653                                  3,800.00
The Rawlings Company, LLC                          05/01/2022         02082021                                237.50
UnitedHealthcare                                   05/01/2022         04282022                                 60.82
UnitedHealthcare                                   05/01/2022         02182022                                229.72
UnitedHealthcare                                   05/01/2022         12282021                                177.78
UnitedHealthcare                                   05/01/2022         02172022                                 99.00
UnitedHealthcare Community Plan                    05/01/2022         02102022                                100.00
Wells Fargo Financial Leasing, Inc.                05/01/2022         5019877248                              123.88
Wells Fargo Financial Leasing, Inc.                05/01/2022         5019877247                              557.79
Avairis, Inc.                                      05/02/2022         1495                                   9,450.00
Benkoff Health Law, PLLC                           05/02/2022         2667                                   4,066.00
Henry Schein                                       05/02/2022         20131789                               2,080.30
James Grossi                                       05/02/2022         05022022                               4,673.21
Labtek, Incorporated                               05/02/2022         12842                                   721.84
Life Technologies Corporation                      05/02/2022         81235520                               1,348.89
Abbott Laboratories                                05/03/2022         561691                                 2,022.16
Abbott Laboratories                                05/03/2022         561690                                 1,015.51
Abbott Laboratories                                05/03/2022         561684                                18,841.37
LabPath Consulting                                 05/03/2022         1346                                   3,000.00
Medica*                                            05/03/2022         05032022                                225.00
Polar Ice                                          05/03/2022         77778                                   170.00
Wells Fargo Financial Leasing, Inc.                05/03/2022         5020000110                              345.83
Beckman Coulter                                    05/04/2022         109869282                               440.86
BioPathogenix                                      05/04/2022         1574                                     45.58
Blue Cross Blue Shield of Michigan                 05/04/2022         141642768                             13,215.20
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Blue Cross Blue Shield of Michigan                  05/04/2022         141643032                             56,854.21
Humana                                              05/04/2022         05042022                                 90.83
I Care MI, LLC                                      05/04/2022         INV/2022/0262                            99.00
Mercedes Scientific                                 05/04/2022         2586632                                1,738.40
UnitedHealthcare                                    05/04/2022         05042022                                168.46
VWR International, LLC                              05/04/2022         8808401289                              376.57
Abbott Laboratories                                 05/05/2022         830837787                              1,213.00
Allscripts Healthcare, LLC                          05/05/2022         1000169755                              233.70
BioPathogenix                                       05/05/2022         1592                                  18,550.00
Henry Schein                                        05/05/2022         20316913                                940.82
Henry Schein                                        05/05/2022         20260053                                222.24
Life Technologies Corporation                       05/05/2022         81257473                                214.12
Lifepoint Informatics                               05/05/2022         1179300                                2,700.00
Microgenics Corporation                             05/05/2022         928815                                 4,006.96
Seyburn Kahn Attorneys & Counselors                 05/05/2022         295055                                  750.00
Abbott Laboratories                                 05/06/2022         830845603                              2,426.00
Brown & Brown of Detroit, Inc.                      05/06/2022         8667514                                8,176.98
Celltreat Scientific                                05/06/2022         2227231                                 258.47
Celltreat Scientific                                05/06/2022         2227231B                                782.34
Cerilliant Corporation                              05/06/2022         566358                                 1,113.50
Cigna                                               05/06/2022         05062022                                 25.00
Henry Schein                                        05/06/2022         20320878                              12,068.47
Humana Military*                                    05/06/2022         05062022B                                94.47
Humana Military*                                    05/06/2022         05062022                                321.70
Labtek, Incorporated                                05/06/2022         12791                                   170.44
Life Technologies Corporation                       05/06/2022         81262797                                769.88
Mariners Inn.                                       05/06/2022         05062022                                630.20
Polar Ice                                           05/06/2022         77800                                   170.00
Davis Wright Tremaine LLP                           05/09/2022         6904059                               17,285.00
George Jamison                                      05/09/2022         05092022                                583.02
Henry Schein                                        05/09/2022         20326523                               1,261.29
Labtek, Incorporated                                05/09/2022         12792                                    96.46
Mettler-Toledo Rainin, LLC                          05/09/2022         678819840                              3,373.99
Thomas Scientific                                   05/09/2022         2633337                                  39.89
Axiom Diagnostics                                   05/10/2022         220397                                 2,499.94
BCC Distribution, Inc.                              05/10/2022         SOI0013942                             6,470.96
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Blue Care Network                                  05/10/2022         221300081118                           25,667.36
Phenomenex, Inc                                    05/10/2022         CIUS-22034812                           5,220.00
Polar Ice                                          05/10/2022         77818                                    170.00
SevenPoints Consulting, Inc.                       05/10/2022         2775                                   32,857.50
Solaris Diagnostics                                05/10/2022         3734                                     240.00
UnitedHealthcare                                   05/10/2022         05102022                                 366.57
Comerica Bank - Cost Center 048-95890              05/11/2022         017591.000001-LRS                       3,098.29
Henry Schein                                       05/11/2022         20131790                                3,239.95
Immunalysis Corporation                            05/11/2022         0189155-IN                              1,652.11
Peachstate Health Management                       05/11/2022         Apr-2022                                2,380.00
ASR Health Benefits                                05/12/2022         05122022                                  60.00
Athenahealth, Inc.                                 05/12/2022         INV-229238                               548.00
Microgenics Corporation                            05/12/2022         903199                                  5,328.74
Wells Fargo Financial Leasing, Inc.                05/12/2022         5020165020                               103.83
Abbott Laboratories                                05/13/2022         830846617                               1,130.80
Advance II                                         05/13/2022         52578                                   2,349.65
Life Technologies Corporation                      05/13/2022         77169822                                1,206.66
Polar Ice                                          05/13/2022         77845                                    170.00
The Rawlings Company, LLC                          05/13/2022         05132022                                 200.00
Wells Fargo Financial Leasing, Inc.                05/13/2022         5020174872                               593.60
Cotiviti Inc.                                      05/14/2022         05142022B                                100.00
Cotiviti Inc.                                      05/14/2022         05142022                                 100.00
PACCAIR                                            05/14/2022         7010                                    2,100.00
CI Web Design, Inc                                 05/15/2022         9436                                     279.00
Comcast                                            05/16/2022         001000367023                            1,119.90
Consult4HealthXP, Inc.                             05/16/2022         1003                                     750.00
Priority Health                                    05/16/2022         05162022                                 231.80
Axiom Diagnostics                                  05/17/2022         220417                                   263.74
Bryan D. Marcus, PS Lawyer's Trust Account         05/17/2022         05172022                                 340.00
eClinicalWorks, LLC                                05/17/2022         0002393929                              5,300.00
Henry Schein                                       05/17/2022         20518359                                 969.99
Labtek, Incorporated                               05/17/2022         12824                                    623.28
Labtek, Incorporated                               05/17/2022         12823                                   6,784.00
Labtek, Incorporated                               05/17/2022         12822                                   1,871.40
Medicare Part B                                    05/17/2022         05172022                                 260.88
Polar Ice                                          05/17/2022         77867                                    170.00
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VWR International, LLC                             05/17/2022         8808521674                             2,172.70
VWR International, LLC                             05/17/2022         8808521673                             2,172.70
VWR International, LLC                             05/17/2022         8808521672                             2,719.23
VWR International, LLC                             05/17/2022         8808521671                             2,719.23
BioPathogenix                                      05/18/2022         1626                                  37,100.00
eClinicalWorks, LLC                                05/18/2022         0002394019                             5,300.00
Henry Schein                                       05/18/2022         20758283                               3,825.79
Labtek, Incorporated                               05/18/2022         12831                                    56.18
Mercedes Scientific                                05/18/2022         2591637                                4,123.40
Mutual of Omaha                                    05/18/2022         001365178422                            665.45
Fisher Healthcare                                  05/19/2022         2966125                                4,734.87
Fisher Healthcare                                  05/19/2022         2966130                                3,427.24
Fisher Healthcare                                  05/19/2022         2966129                                4,934.96
Fisher Healthcare                                  05/19/2022         2966127                                3,426.82
Fisher Healthcare                                  05/19/2022         2966126                                 496.45
Henry Schein                                       05/19/2022         20879218                               4,283.43
Henry Schein                                       05/19/2022         20830110                               9,527.53
Henry Schein                                       05/19/2022         20793753                               1,209.75
USA Scientific                                     05/19/2022         4801924284                             1,793.30
VWR International, LLC                             05/19/2022         8808552239                             2,757.49
VWR International, LLC                             05/19/2022         8808552238                              881.79
Abbott Laboratories                                05/20/2022         830848249                              1,089.68
Henry Schein                                       05/20/2022         20883383                                279.19
James Grossi                                       05/20/2022         05202022                               3,375.31
Polar Ice                                          05/20/2022         77888                                   170.00
USA Scientific                                     05/20/2022         4801925205                              907.36
PACCAIR                                            05/21/2022         7011                                   3,500.00
StrengthPoint Advisors                             05/22/2022         CA-0447                               13,900.00
Life Technologies Corporation                      05/23/2022         81345075                               4,943.89
UHY, LLP                                           05/23/2022         640431100                             10,085.00
Farnell Equipment Co.                              05/24/2022         14659                                  3,179.00
Immunalysis Corporation                            05/24/2022         0189572-IN                              229.70
Life Technologies Corporation                      05/24/2022         81349921                              14,201.39
Microgenics Corporation                            05/24/2022         932055                                 5,339.45
Polar Ice                                          05/24/2022         77916                                   170.00
Succurro's Painting, Inc.                          05/24/2022         11992                                  9,372.00
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Wells Fargo Financial Leasing, Inc.                05/24/2022         5020303184                              557.79
Henry Schein                                       05/25/2022         20835626                               2,261.19
Wells Fargo Financial Leasing, Inc.                05/25/2022         5020313333                              151.44
BioPathogenix                                      05/26/2022         1646                                   3,180.00
Life Technologies Corporation                      05/26/2022         81364319                               1,133.05
Netalytics                                         05/26/2022         2022-4274                               750.00
Scalabull                                          05/26/2022         1093                                   7,000.00
Polar Ice                                          05/27/2022         77938                                   170.00
Progressive Counters and Remodeling                05/27/2022         1345B                                  5,745.00
USA Scientific                                     05/27/2022         4801927821                             3,946.53
Edge Solutions                                     05/28/2022         505804                                 1,486.55
PACCAIR                                            05/28/2022         7027                                   2,100.00
Polar Ice                                          05/31/2022         77954                                   170.00
AB Sciex, LLC                                      06/01/2022         210189102                             12,502.71
Abbott Laboratories                                06/01/2022         564639                                 2,284.11
Abell Pest Control                                 06/01/2022         A4149836                                155.00
Abell Pest Control                                 06/01/2022         A4166800                                 55.00
Advance II                                         06/01/2022         52644                                   216.68
Agena Bioscience, Inc.                             06/01/2022         INV-545447                             1,245.82
Agena Bioscience, Inc.                             06/01/2022         INV-545444                             1,444.93
ASR Health Benefits                                06/01/2022         04122022                                 60.00
ASR Health Benefits                                06/01/2022         04012022                                206.69
Athenahealth, Inc.                                 06/01/2022         INV-194285                              539.00
Avairis, Inc.                                      06/01/2022         1501                                   8,800.00
AVL-Creative                                       06/01/2022         22-0758                                4,929.46
Blue Care Network                                  06/01/2022         221580056346                          25,931.67
Blue Cross and Blue Shield of Illinois             06/01/2022         04132022                                208.35
Blue Cross Blue Shield of Michigan                 06/01/2022         143411069                             65,503.31
Blue Cross Blue Shield of Michigan                 06/01/2022         143408048                             10,805.36
Cerilliant Corporation                             06/01/2022         567540                                 1,340.90
Cole-Parmer                                        06/01/2022         2789559                                 136.74
Comerica Commercial Lending Services               06/01/2022         05272022                               9,613.00
Cotiviti Inc.                                      06/01/2022         03052022B                               214.64
Cotiviti Inc.                                      06/01/2022         03052022                                 75.00
Cotiviti Inc.                                      06/01/2022         05182022                                100.00
Cotiviti Inc.                                      06/01/2022         05202022                                 81.68
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Dell Marketing LP c/o Lam, Lyn & Philip P.C.       06/01/2022         10580118123                            6,028.65
Dropoff Inc.                                       06/01/2022         2623-4937                              3,665.00
Equain, LLC                                        06/01/2022         04042022                                188.22
Evoqua Water Technologies LLC                      06/01/2022         905394486                              1,287.00
Evoqua Water Technologies LLC                      06/01/2022         905388569                               530.00
Fisher Healthcare                                  06/01/2022         3050317                                1,072.75
Fishman Stewart, PLLC                              06/01/2022         900772                                 1,525.20
Gena's Timeless Cleaning, LLC                      06/01/2022         002                                    6,000.00
Gena's Timeless Cleaning, LLC                      06/01/2022         001                                    6,000.00
George King Bio-Medical, Inc.                      06/01/2022         101591                                 1,603.70
Henry Schein                                       06/01/2022         19584778                              20,637.54
Henry Schein                                       06/01/2022         20511536                               3,793.64
Holly Manssur                                      06/01/2022         37                                     2,500.00
HUMANA MILITARY                                    06/01/2022         05172022                                164.25
IMCS, Inc.                                         06/01/2022         130183                                 4,456.00
James Grossi                                       06/01/2022         06012022                                800.00
Key Benefit Administrators                         06/01/2022         03092022                                 55.34
LabPath Consulting                                 06/01/2022         1355                                   3,000.00
LabSoft, Inc.                                      06/01/2022         452-22156                               950.00
Labtek, Incorporated                               06/01/2022         12874                                  7,118.40
Labtek, Incorporated                               06/01/2022         12880                                   366.20
Life Technologies Corporation                      06/01/2022         81378289                                192.71
Lifepoint Informatics                              06/01/2022         1179434                                 200.00
Lippitt O'Keefe, PLLC                              06/01/2022         12461                                  5,612.50
Mayo Collaborative Services                        06/01/2022         7041224-053122                        28,787.68
Mclaren Medical Laboratory                         06/01/2022         MLMHEL053122                           7,816.74
Mclaren Medical Laboratory                         06/01/2022         MLMHEL043022                          10,068.81
mCubed Staffing, LLC                               06/01/2022         1440                                  19,800.00
Mercedes Scientific                                06/01/2022         2593448                                 159.00
Mercedes Scientific                                06/01/2022         2593254                                6,582.60
Mercedes Scientific                                06/01/2022         2593206                                 318.00
Michigan Legislative Consultants, Inc.             06/01/2022         5888                                   6,000.00
Mutual of Omaha                                    06/01/2022         001365178421                          13,486.74
Omega Bio-Tek                                      06/01/2022         34036                                   886.43
Orchard Software Corporation                       06/01/2022         2021-14531                            16,185.00
Orchard Software Corporation                       06/01/2022         2020-12124                            12,720.00
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Reliable Delivery                                   06/01/2022         231908                                 6,053.49
SAI Graphics                                        06/01/2022         2593                                    800.00
SAI Graphics                                        06/01/2022         2585                                   1,491.10
SAI Graphics                                        06/01/2022         2584                                   1,270.30
SAI Graphics                                        06/01/2022         2580                                   3,795.00
SAI Graphics                                        06/01/2022         2588                                  15,900.00
SAI Graphics                                        06/01/2022         2591                                    800.00
SAI Graphics                                        06/01/2022         2595                                   1,600.00
SAI Graphics                                        06/01/2022         2594                                    800.00
SAI Graphics                                        06/01/2022         2575                                   7,284.44
SAI Graphics                                        06/01/2022         2574                                    922.00
Signtext Incorporated                               06/01/2022         063456                                 1,136.31
Stericycle Inc                                      06/01/2022         4010974116                              182.94
Superior Medical Waste Disposal                     06/01/2022         20279                                  3,663.00
Sysmex America, Inc.                                06/01/2022         94234973                                580.13
Sysmex America, Inc.                                06/01/2022         94222178                                206.18
Sysmex America, Inc.                                06/01/2022         94222177                                259.00
Sysmex America, Inc.                                06/01/2022         94183055                                326.91
Sysmex America, Inc.                                06/01/2022         94181626                                389.52
Thomas Scientific                                   06/01/2022         2654323                                  42.57
Translational Software, Inc.                        06/01/2022         7383                                   5,959.00
Uline                                               06/01/2022         149482911                               207.69
Uline                                               06/01/2022         149048006                               552.10
Uline                                               06/01/2022         149046984                               622.38
United States Plastic Corporation                   06/01/2022         6838822                                  95.64
VWR International, LLC                              06/01/2022         8808662195                             5,268.13
Mercedes Scientific                                 06/02/2022         2596629                                3,042.20
Mercedes Scientific                                 06/02/2022         2596509                                 296.80
Wells Fargo Financial Leasing, Inc.                 06/02/2022         5020418356                              397.49
Arkstone Medical                                    06/03/2022         22404                                 12,475.00
Benkoff Health Law, PLLC                            06/03/2022         2721                                   2,280.00
Henry Schein                                        06/03/2022         21363757                               6,205.85
Henry Schein                                        06/03/2022         21348024                                338.49
Peachstate Health Management                        06/03/2022         May-2022                               2,210.00
Polar Ice                                           06/03/2022         77996                                   170.00
Siemens Healthcare Diagnostics                      06/03/2022         952749824                              1,190.04
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PACCAIR                                                     06/04/2022         7039                                   2,100.00
Abbott Laboratories                                         06/05/2022         830849155                              1,213.00
Abbott Laboratories                                         06/06/2022         830844269                              2,426.00
Cole-Parmer                                                 06/06/2022         3145690                                 206.28
George Jamison                                              06/06/2022         06062022                                481.92
Henry Schein                                                06/06/2022         21458865                              21,962.46
Labtek, Incorporated                                        06/06/2022         12893                                   650.28
A-Fordable Plumbing & Mechanical                            06/07/2022         33778975                               1,435.00
Axiom Diagnostics                                           06/07/2022         220475                                  108.81
BioPathogenix                                               06/07/2022         1672                                  23,850.00
Henry Schein                                                06/07/2022         17948963                                824.44
James Grossi                                                06/07/2022         06072022                               2,362.46
Microbiologics                                              06/07/2022         967978                                  430.65
Polar Ice                                                   06/07/2022         78025                                   170.00
James Grossi                                                06/08/2022         06082022                              12,826.21
Microgenics Corporation                                     06/08/2022         934834                                 5,331.44
Nicholas Cogdell                                            06/08/2022         06082022                                214.83
Seyburn Kahn Attorneys & Counselors                         06/08/2022         295544                                 3,637.50
Thomas Scientific                                           06/08/2022         2661506                                 151.14
USA Scientific                                              06/08/2022         4801932584                              136.09
Amro Almradi MDPC PLLC                                      06/09/2022         06092022                               6,000.00
eClinicalWorks, LLC                                         06/09/2022         0002412693                             5,300.00
Fisher Healthcare                                           06/09/2022         3579007                                2,560.85
Henry Schein                                                06/09/2022         21445521                                290.40
MedSpeed, LLC                                               06/09/2022         26241                                  9,349.23
Amazing Charts                                              06/10/2022         00000000053625                         7,500.00
Cardinal Health                                             06/10/2022         7148643801                             1,251.84
Dell Marketing LP c/o Lam, Lyn & Philip P.C.                06/10/2022         10590620533                           11,985.70
Dell Marketing LP c/o Lam, Lyn & Philip P.C.                06/10/2022         10590620525                            2,967.86
Polar Ice                                                   06/10/2022         78053                                   170.00
Wells Fargo Financial Leasing, Inc.                         06/10/2022         5020565783                              103.86
PACCAIR                                                     06/11/2022         7049                                   3,500.00
Dropoff Inc.                                                06/12/2022         2323-4943                               660.00
Labtek, Incorporated                                        06/12/2022         12926                                   416.02
Abbott Laboratories                                         06/13/2022         830845187                              1,130.80
Denny's Heating, Cooling & Refrigeration Service Inc.       06/13/2022         S24893                                 1,053.85
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EHR MED BILLING                                     06/13/2022         47601                                  7,150.00
Henry Schein                                        06/13/2022         21799779                                177.06
Henry Schein                                        06/13/2022         21781952                              16,716.44
Henry Schein                                        06/13/2022         21781948                               1,063.98
VWR International, LLC                              06/13/2022         8808771059                             3,304.17
Davis Wright Tremaine LLP                           06/14/2022         6913519                               10,237.00
Henry Schein                                        06/14/2022         21799837                                728.98
Immunalysis Corporation                             06/14/2022         0190249-IN                              223.58
Polar Ice                                           06/14/2022         78083                                   170.00
Allscripts Healthcare, LLC                          06/15/2022         1000171155                              916.30
Celltreat Scientific                                06/15/2022         2232893                                3,157.87
Comcast                                             06/15/2022         001000395828                           1,136.70
Gena's Timeless Cleaning, LLC                       06/15/2022         003                                    6,000.00
Tek-Pette                                           06/15/2022         TPA4622                                 905.00
Tek-Pette                                           06/15/2022         TPA4621                                  80.00
Tek-Pette                                           06/15/2022         TPA4620                                1,494.00
Athenahealth, Inc.                                  06/16/2022         INV-241294                              650.00
Axiom Diagnostics                                   06/16/2022         220498                                  311.69
Fisher Healthcare                                   06/16/2022         3799861                                1,365.26
Henry Schein                                        06/16/2022         21803637                               1,379.70
Henry Schein                                        06/16/2022         21445457                                193.82
Life Technologies Corporation                       06/16/2022         81471282                              30,879.43
Axiom Diagnostics                                   06/17/2022         220505                                 1,677.00
Henry Schein                                        06/17/2022         21961477                               2,305.44
James Grossi                                        06/17/2022         06172022                               4,893.22
Polar Ice                                           06/17/2022         78119                                   170.00
Translational Software, Inc.                        06/17/2022         7385                                   3,098.00
Translational Software, Inc.                        06/17/2022         7384                                   2,259.00
Allscripts Healthcare, LLC                          06/18/2022         4004028182                             1,380.10
PACCAIR                                             06/18/2022         7060                                   2,800.00
Palmer Moving Services                              06/18/2022         81633                                 10,224.00
StrengthPoint Advisors                              06/19/2022         CA-0465                               13,500.00
Abbott Laboratories                                 06/20/2022         830852861                              1,089.68
Agena Bioscience, Inc.                              06/20/2022         INV-550172                              111.29
BioPathogenix                                       06/20/2022         1699                                  34,980.00
Edge Solutions                                      06/20/2022         7836                                    114.00
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Labtek, Incorporated                              06/20/2022         12952                                  2,009.20
Labtek, Incorporated                              06/20/2022         12951                                    58.30
Labtek, Incorporated                              06/20/2022         12950                                   267.12
Mutual of Omaha                                   06/20/2022         001378520093                            678.37
Thomas Scientific                                 06/20/2022         2671376                                  42.38
James Grossi                                      06/21/2022         06212022                               3,310.91
Polar Ice                                         06/21/2022         78147                                   170.00
McShane Welding, Inc.                             06/22/2022         137824                                 1,837.20
AB Sciex, LLC                                     06/23/2022         210190485                              1,093.25
Labtek, Incorporated                              06/23/2022         12971                                  1,459.35
Mercedes Scientific                               06/23/2022         2603663                                1,017.60
Microgenics Corporation                           06/23/2022         937757                                 5,344.38
Polar Ice                                         06/24/2022         78185                                   170.00
Alvons Electric, Inc.                             06/25/2022         33                                     1,200.00
Netalytics                                        06/26/2022         2022-5143                               750.00
Ellkay, LLC                                       06/27/2022         148668                                 4,340.00
Labtek, Incorporated                              06/27/2022         12973                                  5,973.60
Orchard Software Corporation                      06/27/2022         2022-21371                             1,272.00
Orchard Software Corporation                      06/27/2022         2022-21334                             1,149.75
Edge Solutions                                    06/28/2022         519566                                 1,486.33
Polar Ice                                         06/28/2022         78221                                   170.00
eMDS Inc.                                         06/29/2022         508693                                 6,351.60
Foley & Lardner LLP                               06/29/2022         50430646                               6,095.50
Orchard Software Corporation                      06/29/2022         2022-21585                             4,004.00
Orchard Software Corporation                      06/29/2022         2022-21584                             5,005.00
George Jamison                                    06/30/2022         06302022                                477.24
James Grossi                                      06/30/2022         06302022                               3,893.65
John Dreer                                        06/30/2022         06302022                               4,800.00
Macomb County Health Dept                         06/30/2022         06302022                               2,400.00
Tom Camaj                                         06/30/2022         06302022                               3,450.00
AB Sciex, LLC                                     07/01/2022         210191127                             12,502.71
Abell Pest Control                                07/01/2022         A4264789                                 55.00
Abell Pest Control                                07/01/2022         A4219898                                155.00
Allied Media                                      07/01/2022         17860                                   123.78
Arkstone Medical                                  07/01/2022         22448                                 11,050.00
Avairis, Inc.                                     07/01/2022         1506                                   5,384.00
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Axiom Diagnostics                                  07/01/2022         220547                                 3,044.67
BioPathogenix                                      07/01/2022         1715                                  16,960.00
Celltreat Scientific                               07/01/2022         2233759                                1,167.46
Coronis Health RCM, LLC                            07/01/2022         CHRCM5502                             90,503.73
Coronis Health RCM, LLC                            07/01/2022         CHRCM5178                             92,028.29
Coronis Health RCM, LLC                            07/01/2022         CHRCM4712                             84,526.74
Coronis Health RCM, LLC                            07/01/2022         CHRCM4456                             12,205.03
Evoqua Water Technologies LLC                      07/01/2022         905436608                              1,287.00
Fisher Healthcare                                  07/01/2022         3533344                                 178.11
Gena's Timeless Cleaning, LLC                      07/01/2022         004                                    6,000.00
Healthcare Appraisers                              07/01/2022         349802                                 4,307.50
Henry Schein                                       07/01/2022         22559401                                 30.63
Henry Schein                                       07/01/2022         22509046                                155.81
Henry Schein                                       07/01/2022         22506879                               8,341.19
Henry Schein                                       07/01/2022         22503003                              20,688.45
Henry Schein                                       07/01/2022         22502280                                462.03
Henry Schein                                       07/01/2022         22502276                                430.69
Henry Schein                                       07/01/2022         22484507                                203.28
Henry Schein                                       07/01/2022         22484498                               3,067.20
Henry Schein                                       07/01/2022         20556902                                250.03
Hogan Lovells US LLP                               07/01/2022         22200189461                            6,149.15
Holly Manssur                                      07/01/2022         38                                     2,500.00
James Grossi                                       07/01/2022         07012022                               1,836.41
Kerr, Russell and Weber, PLC                       07/01/2022         597349                                 2,104.75
Kerr, Russell and Weber, PLC                       07/01/2022         577372                                 2,038.29
LabPath Consulting                                 07/01/2022         1360                                   3,000.00
Life Technologies Corporation                      07/01/2022         81505525                                268.82
Life Technologies Corporation                      07/01/2022         81424262                               5,980.22
Life Technologies Corporation                      07/01/2022         81478456                                469.16
Lifepoint Informatics                              07/01/2022         1180465                                 500.00
Lifepoint Informatics                              07/01/2022         1179967                                 200.00
Lifepoint Informatics                              07/01/2022         1180429                                 500.00
Lippitt O'Keefe, PLLC                              07/01/2022         12727                                  1,020.00
Lippitt O'Keefe, PLLC                              07/01/2022         12649                                  3,612.50
MCW Partners, LLC                                  07/01/2022         61675                                   302.10
MCW Partners, LLC                                  07/01/2022         60454                                   302.10
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MCW Partners, LLC                                   07/01/2022         51142/50749                            302.10
Medcare MSO                                         07/01/2022         2343                                 17,714.64
MedMatch                                            07/01/2022         11666                                10,400.00
Michigan Legislative Consultants, Inc.              07/01/2022         5959                                  6,000.00
Mutual of Omaha                                     07/01/2022         001378520092                         14,505.97
Orchard Software Corporation                        07/01/2022         2021-14532                           16,185.00
Orchard Software Corporation                        07/01/2022         2020-12125                           12,720.00
PACCAIR                                             07/01/2022         7073                                  3,500.00
Phenomenex, Inc                                     07/01/2022         CIUS-22046943                         5,567.40
Phenomenex, Inc                                     07/01/2022         CIUS-22046639                         1,609.08
Phenomenex, Inc                                     07/01/2022         CIUS-22046437                         3,218.16
Polar Ice                                           07/01/2022         78249                                  170.00
Restek Corporation                                  07/01/2022         CD50281136                            2,974.48
Sci Floor Covering, Inc.                            07/01/2022         CG226009                              6,470.00
Solaris Diagnostics                                 07/01/2022         3812                                   120.00
Stericycle Inc                                      07/01/2022         4011040908                             167.84
Superior Medical Waste Disposal                     07/01/2022         20555                                 3,845.00
Translational Software, Inc.                        07/01/2022         7398                                  5,982.00
USA Scientific                                      07/01/2022         4801940616                            2,633.20
VWR International, LLC                              07/01/2022         8810025449                             259.30
Waterford Township Treasurer                        07/01/2022         07012022                             46,445.00
WebConnection (CC)                                  07/01/2022         9810                                  2,500.00
Wells Fargo Financial Leasing, Inc.                 07/01/2022         5020805482                             345.83
Wells Fargo Financial Leasing, Inc.                 07/01/2022         5020720480                              13.64
Wells Fargo Financial Leasing, Inc.                 07/01/2022         5020709888                             557.79
Wells Fargo Financial Leasing, Inc.                 07/01/2022         5020590940                             597.20
Benkoff Health Law, PLLC                            07/02/2022         2787                                   608.00
Siemens Healthcare Diagnostics                      07/03/2022         952770380                             1,190.04
PACCAIR                                             07/04/2022         7086                                  7,622.00
Axiom Diagnostics                                   07/05/2022         220558                                1,220.39
Blue Care Network                                   07/05/2022         221890087893                         26,564.62
Blue Cross Blue Shield of Michigan                  07/05/2022         144788107                             5,339.61
Blue Cross Blue Shield of Michigan                  07/05/2022         144788365                            56,219.31
CLIA Laboratory Program                             07/05/2022         07052022B                              180.00
CLIA Laboratory Program                             07/05/2022         07052022                               180.00
Labtek, Incorporated                                07/05/2022         13001                                 1,502.02
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Labtek, Incorporated                               07/05/2022         13000                                  3,816.50
Phenomenex, Inc                                    07/05/2022         CIUS-22049182                          8,334.00
Polar Ice                                          07/05/2022         78275                                   170.00
Abbott Laboratories                                07/06/2022         830875252                              1,213.00
Abbott Laboratories                                07/06/2022         830857253                              2,426.00
BioPathogenix                                      07/06/2022         1721                                  15,900.00
Cerilliant Corporation                             07/06/2022         569711                                 3,775.60
Empirical Biosciences                              07/06/2022         5238                                  16,503.44
IMCS, Inc.                                         07/06/2022         130751                                 5,889.00
Microgenics Corporation                            07/06/2022         939968                                 5,342.57
Peachstate Health Management                       07/06/2022         June2022                               4,760.00
Phenomenex, Inc                                    07/06/2022         CIUS-22049444                          4,827.24
Evoqua Water Technologies LLC                      07/07/2022         905440517                               568.00
MedSpeed, LLC                                      07/08/2022         26411                                 12,514.21
Polar Ice                                          07/08/2022         78324                                   170.00
Seyburn Kahn Attorneys & Counselors                07/08/2022         295841                                  825.00
Labtek, Incorporated                               07/10/2022         13017                                  2,009.20
Labtek, Incorporated                               07/10/2022         13019                                   837.40
BioPathogenix                                      07/11/2022         1730                                  10,600.00
Medical Training Solutions                         07/11/2022         29046                                  3,770.00
PACCAIR                                            07/11/2022         7096                                   6,592.00
Allscripts Healthcare, LLC                         07/12/2022         1000172025                             2,865.00
BioPathogenix                                      07/12/2022         1733                                   5,300.00
CLIA Laboratory Program                            07/12/2022         07122022                                180.00
Mercedes Scientific                                07/12/2022         2609817                                2,973.30
Phenomenex, Inc                                    07/12/2022         CIUS-22050868                          1,609.08
USA Scientific                                     07/12/2022         4801946664                             5,132.68
Wells Fargo Financial Leasing, Inc.                07/12/2022         5020978580                              131.42
Abbott Laboratories                                07/13/2022         830852573                              1,130.80
Life Technologies Corporation                      07/13/2022         77171759                               1,206.66
Solaris Diagnostics                                07/13/2022         3914                                    360.00
Athenahealth, Inc.                                 07/14/2022         INV-251425                              771.00
Kelley Brothers LC                                 07/14/2022         I8193                                   710.00
Rusas Printing, Inc.                               07/14/2022         2079                                    190.80
Wells Fargo Financial Leasing, Inc.                07/14/2022         502996759                               712.32
Comcast                                            07/15/2022         001000420639                           1,136.70
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Gena's Timeless Cleaning, LLC                       07/15/2022         005                                    6,000.00
James Grossi                                        07/15/2022         07152022                               2,190.00
Orchard Software Corporation                        07/15/2022         2022-22019                             5,005.00
Polar Ice                                           07/15/2022         78388                                   170.00
StrengthPoint Advisors                              07/17/2022         CA-0479                               13,300.00
Amro Almradi MDPC PLLC                              07/18/2022         07182022                               3,000.00
Dave's Electric Services, Inc.                      07/18/2022         16981                                  2,485.00
Microgenics Corporation                             07/18/2022         942165                                 3,684.35
PACCAIR                                             07/18/2022         7111                                   7,040.00
TRIARQ Practice Services                            07/18/2022         79210                                  1,004.88
TRIARQ Practice Services                            07/18/2022         79209                                  9,010.00
6600 Highland, LLC                                  07/19/2022         09152022                              40,032.58
Gazam, Inc.                                         07/19/2022         1513                                   3,500.00
Labtek, Incorporated                                07/19/2022         13043                                  4,426.79
Mutual of Omaha                                     07/19/2022         001390835080                          15,292.96
Polar Ice                                           07/19/2022         78419                                   170.00
The Medical Real Estate Group                       07/19/2022         07152022                              71,742.09
Abbott Laboratories                                 07/20/2022         830860049                              1,089.68
Abbott Laboratories                                 07/20/2022         615630998                              2,206.19
Allscripts Healthcare, LLC                          07/20/2022         1000172362                              178.00
Henry Schein                                        07/20/2022         23288322                                 63.35
Henry Schein                                        07/20/2022         23245682                                162.96
Henry Schein                                        07/20/2022         23222321                                169.98
Lifepoint Informatics                               07/20/2022         1180500                                 500.00
Lifepoint Informatics                               07/20/2022         1180499                                2,000.00
Henry Schein                                        07/21/2022         23302062                                 30.63
Henry Schein                                        07/21/2022         23292440                               4,409.07
Lifepoint Informatics                               07/21/2022         1180503                                 500.00
Medline Industries, Inc.                            07/21/2022         2220741291                             2,547.09
Henry Schein                                        07/22/2022         23343538                               2,691.52
Polar Ice                                           07/22/2022         78455                                   170.00
Wells Fargo Financial Leasing, Inc.                 07/22/2022         5021096087                              557.79
Bizmatics, Inc.                                     07/25/2022         BIZ22-134364                           5,500.00
Cerilliant Corporation                              07/25/2022         570954                                  327.40
Life Technologies Corporation                       07/25/2022         81661648                               6,592.14
Microgenics Corporation                             07/25/2022         943257                                 5,588.62
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PACCAIR                                           07/25/2022         7127                                    7,810.00
Wells Fargo Financial Leasing, Inc.               07/25/2022         5021124676                                68.76
Labtek, Incorporated                              07/26/2022         13068                                   1,982.20
Mercedes Scientific                               07/26/2022         2615524                                12,921.40
Netalytics                                        07/26/2022         2022-5990                                750.00
Polar Ice                                         07/26/2022         78488                                    170.00
Medline Industries, Inc.                          07/27/2022         07272022                               25,077.19
George Jamison                                    07/29/2022         07292022                                 535.02
AB Sciex, LLC                                     08/01/2022         210192975                              12,502.71
Abell Pest Control                                08/01/2022         A4300317                                  55.00
Abell Pest Control                                08/01/2022         A4297739                                 155.00
Allied Media                                      08/01/2022         17159                                     59.36
Applied Innovation                                08/01/2022         707134-0                                 223.74
Applied Innovation                                08/01/2022         1976204                                  185.00
Applied Innovation                                08/01/2022         707929-0                                 132.25
Arkstone Medical                                  08/01/2022         22497                                  10,875.00
Avairis, Inc.                                     08/01/2022         1511                                    4,470.00
Benkoff Health Law, PLLC                          08/01/2022         2835                                     152.00
Cerilliant Corporation                            08/01/2022         571374                                  2,260.80
Davis Wright Tremaine LLP                         08/01/2022         6919473                                 3,117.50
Detroit Athletic Club                             08/01/2022         08282022                                 507.00
Detroit Athletic Club                             08/01/2022         07282022                                 448.00
Discount Office Equipment                         08/01/2022         46572                                   3,216.04
Dropoff Inc.                                      08/01/2022         2623-4969                               3,114.35
Edge Solutions                                    08/01/2022         537521                                  1,538.80
Evoqua Water Technologies LLC                     08/01/2022         905474138                               1,508.83
Fisher Healthcare                                 08/01/2022         5013282                                 1,604.37
Fisher Healthcare                                 08/01/2022         4678663                                 2,419.76
Fisher Healthcare                                 08/01/2022         5053565                                  357.69
Fisher Healthcare                                 08/01/2022         5053566                                 1,366.26
Fisher Healthcare                                 08/01/2022         5013281                                 2,419.76
Fisher Healthcare                                 08/01/2022         4678664                                 2,184.58
Fisher Healthcare                                 08/01/2022         4550048                                 1,222.55
Gena's Timeless Cleaning, LLC                     08/01/2022         006                                     6,000.00
Henry Schein                                      08/01/2022         23570869                               21,042.00
Henry Schein                                      08/01/2022         23437086                                2,251.43
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Henry Schein                                       08/01/2022         23540485                                331.09
Henry Schein                                       08/01/2022         23655101                                181.07
Hogan Lovells US LLP                               08/01/2022         22200192865                           49,685.30
Immunalysis Corporation                            08/01/2022         0191875-IN                              440.37
Immunalysis Corporation                            08/01/2022         0191198-IN                             2,194.89
James Grossi                                       08/01/2022         08012022                                836.33
Kerr, Russell and Weber, PLC                       08/01/2022         598813                                 1,374.75
LabPath Consulting                                 08/01/2022         1365                                  33,000.00
Labtek, Incorporated                               08/01/2022         13081                                   305.28
Labtek, Incorporated                               08/01/2022         13080                                  2,009.20
Labtek, Incorporated                               08/01/2022         13061                                   408.60
Life Technologies Corporation                      08/01/2022         77173759                               1,206.66
Life Technologies Corporation                      08/01/2022         77168024                               1,206.66
Lifepoint Informatics                              08/01/2022         1181032                                 750.00
Lifepoint Informatics                              08/01/2022         1180545                                 200.00
Lifepoint Informatics                              08/01/2022         1180997                                 500.00
Lippitt O'Keefe, PLLC                              08/01/2022         12828                                   356.00
Mayo Collaborative Services                        08/01/2022         7041224-063022                         4,431.01
MCW Partners, LLC                                  08/01/2022         62185                                    47.70
MCW Partners, LLC                                  08/01/2022         61809                                    47.70
Mutual of Omaha                                    08/01/2022         001390835081                            682.66
Orchard Software Corporation                       08/01/2022         2021-14533                            16,185.00
Orchard Software Corporation                       08/01/2022         2022-22280                             1,149.75
Orchard Software Corporation                       08/01/2022         2020-12126                            12,720.00
PACCAIR                                            08/01/2022         7138                                   7,810.00
Polar Ice                                          08/01/2022         78526                                   170.00
Sigma-Aldrich Inc.                                 08/01/2022         557402228                               111.68
Sigma-Aldrich Inc.                                 08/01/2022         557395853                              2,308.85
Staples                                            08/01/2022         3513160371                              228.90
Staples                                            08/01/2022         3512894174                               37.09
Staples                                            08/01/2022         3512761987                              228.90
Staples                                            08/01/2022         3512656378                              120.80
Staples                                            08/01/2022         3512418217                               78.07
Staples                                            08/01/2022         3512187147                               52.44
Staples                                            08/01/2022         3512187146                              359.83
Staples                                            08/01/2022         3512187145                               63.59
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Staples                                             08/01/2022         3512019331                               70.48
Staples                                             08/01/2022         3512019328                              314.74
Staples                                             08/01/2022         3510482194                               77.95
Staples                                             08/01/2022         3510408162                              670.33
Staples                                             08/01/2022         3510408161                              114.45
Staples                                             08/01/2022         3510303940                               18.01
Staples                                             08/01/2022         3510185528                              267.05
Staples                                             08/01/2022         3510185525                              157.31
Staples                                             08/01/2022         3510066317                               76.30
Staples                                             08/01/2022         3509043736                              212.93
Staples                                             08/01/2022         3509043735                              213.33
Staples                                             08/01/2022         3509043734                               47.29
Staples                                             08/01/2022         3509043733                              160.93
Stericycle Inc                                      08/01/2022         4011109841                              157.94
Superior Medical Waste Disposal                     08/01/2022         20897                                  3,363.00
Translational Software, Inc.                        08/01/2022         7478                                   5,844.00
United Courier Service, Inc.                        08/01/2022         00002                                  1,204.00
WebConnection (CC)                                  08/01/2022         9835                                   2,500.00
MedSpeed, LLC                                       08/02/2022         26518                                 11,077.95
Polar Ice                                           08/02/2022         78567                                   170.00
Wells Fargo Financial Leasing, Inc.                 08/02/2022         5021229279                              380.42
Axiom Diagnostics                                   08/03/2022         220631                                  113.45
Siemens Healthcare Diagnostics                      08/03/2022         952789046                              1,190.04
Blue Cross Blue Shield of Michigan                  08/04/2022         146382868                             16,032.61
Blue Cross Blue Shield of Michigan                  08/04/2022         146383129                             60,156.93
Fink Bressack PLLC                                  08/04/2022         FBHELIX-1011                          17,146.78
Abbott Laboratories                                 08/05/2022         830860564                              1,213.00
Mercedes Scientific                                 08/05/2022         2619283                                 211.74
Polar Ice                                           08/05/2022         78599                                   170.00
Abbott Laboratories                                 08/06/2022         830863146                              2,426.00
Dropoff Inc.                                        08/08/2022         2623-4971                              3,392.37
IMCS, Inc.                                          08/08/2022         131119                                 3,702.00
Lifepoint Informatics                               08/08/2022         1181051                                 500.00
Orchard Software Corporation                        08/08/2022         2022-22470                              985.50
PACCAIR                                             08/08/2022         7151                                   7,810.00
Polar Ice                                           08/08/2022         78630                                   170.00
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Axiom Diagnostics                                    08/09/2022         220657                                  181.62
Blue Care Network                                    08/09/2022         222210052592                          20,933.75
Staples                                              08/09/2022         3514915442                              780.20
Microgenics Corporation                              08/10/2022         946627                                  198.65
Omega Bio-Tek                                        08/10/2022         36008                                   869.37
Staples                                              08/10/2022         3514981191                              152.95
Victoria Tice                                        08/10/2022         08102022                                172.50
James Grossi                                         08/11/2022         08112022                               5,000.00
6600 Highland, LLC                                   08/12/2022         081202022                             26,688.39
Polar Ice                                            08/12/2022         78665                                   170.00
The Medical Real Estate Group                        08/12/2022         08122022                              47,828.06
Wells Fargo Financial Leasing, Inc.                  08/12/2022         5021384086                              593.60
Wells Fargo Financial Leasing, Inc.                  08/12/2022         5021384085                              103.86
Abbott Laboratories                                  08/13/2022         830864460                              1,130.80
Life Technologies Corporation                        08/13/2022         77175646                               1,206.66
StrengthPoint Advisors                               08/14/2022         CA-0489                               12,700.00
Athenahealth, Inc.                                   08/15/2022         INV-268405                              985.00
Comcast                                              08/15/2022         001000455148                           1,136.95
Davis Wright Tremaine LLP                            08/15/2022         6928420                                2,150.00
Dropoff Inc.                                         08/15/2022         2623-4975                              3,250.49
Gena's Timeless Cleaning, LLC                        08/15/2022         007                                    6,000.00
Labtek, Incorporated                                 08/15/2022         13129                                  2,385.50
Labtek, Incorporated                                 08/15/2022         13128                                  1,106.64
Microgenics Corporation                              08/15/2022         947256                                 3,523.79
PACCAIR                                              08/15/2022         7160                                   7,810.00
Microgenics Corporation                              08/16/2022         947902                                 1,872.73
Polar Ice                                            08/16/2022         78695                                   170.00
Rusas Printing, Inc.                                 08/16/2022         2136                                     63.60
eClinicalWorks, LLC                                  08/17/2022         0002460048                               16.90
Trajan Scientific Americas Inc.                      08/17/2022         10074490                                 86.16
Amazon                                               08/18/2022         08182022                                344.81
BioPathogenix                                        08/19/2022         1376                                  10,600.00
Brehob CORPORATION                                   08/19/2022         201286                                 2,169.37
Hogan Lovells US LLP                                 08/19/2022         22200195919                           29,242.27
Mercedes Scientific                                  08/19/2022         2623354                                2,236.60
Polar Ice                                            08/19/2022         78734                                   170.00
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Abbott Laboratories                               08/21/2022         830865930                             1,089.68
Dropoff Inc.                                      08/21/2022         2623-4977                             3,656.48
Data Innovations, LLC                             08/22/2022         84599                                 1,590.00
LabSoft, Inc.                                     08/22/2022         22822-151-5117                         200.00
Microgenics Corporation                           08/22/2022         948774                                2,830.84
PACCAIR                                           08/22/2022         7172                                  7,810.00
Polar Ice                                         08/23/2022         78770                                  170.00
Practice Fusion                                   08/23/2022         5500022040                              38.00
Henry Schein                                      08/25/2022         24743651                              1,293.98
Wells Fargo Financial Leasing, Inc.               08/25/2022         5021534866                              68.76
Wells Fargo Financial Leasing, Inc.               08/25/2022         5021524415                             613.57
Henry Schein                                      08/26/2022         24743655                              5,646.40
Henry Schein                                      08/26/2022         24807823                              9,294.92
Henry Schein                                      08/26/2022         24659736                               358.18
Polar Ice                                         08/26/2022         78798                                  170.00
Staples                                           08/27/2022         3516454613                              70.48
Edge Solutions                                    08/28/2022         552504                                1,546.31
Labtek, Incorporated                              08/29/2022         13171                                 2,274.20
Labtek, Incorporated                              08/29/2022         13170                                  737.76
PACCAIR                                           08/29/2022         7185                                  7,313.00
James Grossi                                      08/30/2022         08302022                              3,750.00
Henry Schein                                      08/31/2022         24807822                               760.86
AB Sciex, LLC                                     09/01/2022         210195061                            12,503.28
Abbott Laboratories                               09/01/2022         615780272                              552.98
Abell Pest Control                                09/01/2022         A4398116                                55.00
Abell Pest Control                                09/01/2022         A4374285                               155.00
Advancing Health Inc.                             09/01/2022         001B                                 15,000.00
Advancing Health Inc.                             09/01/2022         002                                  25,000.00
Advancing Health Inc.                             09/01/2022         003                                  25,000.00
Arkstone Medical                                  09/01/2022         22549                                12,037.50
Avairis, Inc.                                     09/01/2022         1516                                  6,870.00
BillionToOne, Inc.                                09/01/2022         8242083122                            8,400.00
Blue Care Network                                 09/01/2022         22490046348                          23,214.87
Blue Cross Blue Shield of Michigan                09/01/2022         148117608                            45,223.97
Cerbo, LLC                                        09/01/2022         43149BWC                              2,900.00
Cerilliant Corporation                            09/01/2022         573147                                1,265.90
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CI Web Design, Inc                                 09/01/2022         9714                                    940.00
Dropoff Inc.                                       09/01/2022         2623-4981                              1,397.07
eClinicalWorks, LLC                                09/01/2022         0002462084                             3,710.00
Eric Vasseur                                       09/01/2022         000019                                 2,685.00
Evoqua Water Technologies LLC                      09/01/2022         905516692                              1,508.83
Fisher Healthcare                                  09/01/2022         6129612                               10,987.38
FrontRunnerHC Inc                                  09/01/2022         20161068                               3,017.11
FrontRunnerHC Inc                                  09/01/2022         201609900                               884.52
Gazam, Inc.                                        09/01/2022         1514                                   3,880.00
Gena's Timeless Cleaning, LLC                      09/01/2022         008                                    6,000.00
George Jamison                                     09/01/2022         09012022                                682.44
Henry Schein                                       09/01/2022         24874118                               4,416.54
Henry Schein                                       09/01/2022         24832905                               7,122.82
Henry Schein                                       09/01/2022         24830394                                374.46
Henry Schein                                       09/01/2022         24811469                                322.81
Labtek, Incorporated                               09/01/2022         13148                                   885.60
Labtek, Incorporated                               09/01/2022         12793                                  1,556.08
Labtek, Incorporated                               09/01/2022         13187                                    33.92
Lifepoint Informatics                              09/01/2022         1181581                                 500.00
Lifepoint Informatics                              09/01/2022         1181611                                 500.00
Lifepoint Informatics                              09/01/2022         1181128                                 200.00
Lifepoint Informatics                              09/01/2022         1181124                                 750.00
MCW Partners, LLC                                  09/01/2022         62859                                   302.10
MCW Partners, LLC                                  09/01/2022         62534                                    47.70
Michigan Legislative Consultants, Inc.             09/01/2022         6114                                   6,000.00
Microgenics Corporation                            09/01/2022         950896                                 1,879.88
Microgenics Corporation                            09/01/2022         950634                                 3,520.97
Molecular BioProducts, Inc.                        09/01/2022         1250370                                 271.93
Mutual of Omaha                                    09/01/2022         001405483479                            606.77
Mutual of Omaha                                    09/01/2022         001405483478                          12,937.99
Netalytics                                         09/01/2022         2022-6908                               750.00
Orchard Software Corporation                       09/01/2022         2021-14534                             7,685.00
Orchard Software Corporation                       09/01/2022         2020-12127                            12,720.00
Peachstate Health Management                       09/01/2022         July-2022                              3,740.00
Polar Ice                                          09/01/2022         78828                                   170.00
Restek Corporation                                 09/01/2022         CD50260677                             1,756.75
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Solaris Diagnostics                                 09/01/2022         4254                                   1,120.00
Sony Varghese (ACH)                                 09/01/2022         09012022                               2,160.00
Stericycle Inc                                      09/01/2022         4011177962                              182.94
Translational Software, Inc.                        09/01/2022         7556                                   6,672.00
LabPath Consulting                                  09/02/2022         1371                                   3,000.00
Polar Ice                                           09/02/2022         78866                                   170.00
Wells Fargo Financial Leasing, Inc.                 09/02/2022         5021643708                              569.69
Siemens Healthcare Diagnostics                      09/03/2022         952809515                              1,190.04
Dropoff Inc.                                        09/04/2022         2623-4982                              1,830.00
PACCAIR                                             09/05/2022         7196                                   5,460.00
Abbott Laboratories                                 09/06/2022         830869503                              2,425.00
Abbott Laboratories                                 09/06/2022         830869502                              1,213.00
DoctorsManagement, LLC                              09/06/2022         93393                                  5,000.00
Polar Ice                                           09/06/2022         78888                                   170.00
IMCS, Inc.                                          09/07/2022         131509                                 3,702.00
Lifepoint Informatics                               09/07/2022         1181631                                9,190.00
Abbott Laboratories                                 09/08/2022         615836035                              1,170.19
Comerica Bank - Cost Center 048-95890               09/08/2022         09082022                               1,486.00
Fink Bressack PLLC                                  09/08/2022         FBHELIX-1012                           4,568.75
Immunalysis Corporation                             09/08/2022         0193460-IN                             8,211.77
Lifepoint Informatics                               09/08/2022         1181640                                 500.00
Lifepoint Informatics                               09/09/2022         1181646                                2,000.00
Lifepoint Informatics                               09/09/2022         1181645                                 500.00
Polar Ice                                           09/09/2022         78916                                   170.00
Staples                                             09/09/2022         3517548674                              101.71
Wells Fargo Financial Leasing, Inc.                 09/09/2022         5021796042                              125.17
StrengthPoint Advisors                              09/11/2022         CA-0505                               12,700.00
Raves Cooler Doors                                  09/12/2022         4710                                    319.63
Abbott Laboratories                                 09/13/2022         830870911                              1,130.80
BioPathogenix                                       09/13/2022         1785                                  10,600.00
Fisher Healthcare                                   09/13/2022         2256-3299-06                           9,418.37
Henry Schein                                        09/13/2022         25469974                               1,656.18
Henry Schein                                        09/13/2022         25432159                                338.39
Henry Schein                                        09/13/2022         25432126                               1,233.24
Henry Schein                                        09/13/2022         25432118                                825.23
Life Technologies Corporation                       09/13/2022         77177407                               1,206.66
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Life Technologies Corporation                      09/13/2022         81925750                               7,353.75
Lifepoint Informatics                              09/13/2022         1181659                                 500.00
Lifepoint Informatics                              09/13/2022         1181658                                 500.00
Lifepoint Informatics                              09/13/2022         1181652                                 500.00
Linda Calvin                                       09/13/2022         09132022                                329.00
Microgenics Corporation                            09/13/2022         953359                                 5,320.15
Polar Ice                                          09/13/2022         78940                                   170.00
Wells Fargo Financial Leasing, Inc.                09/13/2022         5021833515                              910.47
Allscripts Healthcare, LLC                         09/14/2022         1000174308                              230.00
Athenahealth, Inc.                                 09/14/2022         INV-278515                             1,298.00
Henry Schein                                       09/14/2022         25479942                               8,268.65
Henry Schein                                       09/14/2022         25474162                                215.24
Immunalysis Corporation                            09/14/2022         0193706-IN                             7,495.68
Lifepoint Informatics                              09/14/2022         1181660                                 500.00
6600 Highland, LLC                                 09/15/2022         09150022                              13,344.20
Comcast                                            09/15/2022         001000485658                            388.15
Gena's Timeless Cleaning, LLC                      09/15/2022         009                                    6,000.00
Henry Schein                                       09/15/2022         25526479                               1,771.50
Labtek, Incorporated                               09/15/2022         13244                                   263.94
Labtek, Incorporated                               09/15/2022         13242                                   922.20
Labtek, Incorporated                               09/15/2022         13243                                  1,610.64
Staples                                            09/15/2022         3517953628                              154.82
Staples                                            09/15/2022         3517953626                              140.81
The Medical Real Estate Group                      09/15/2022         09162022                              23,914.03
BioPathogenix                                      09/16/2022         1793                                   9,275.00
Fisher Healthcare                                  09/16/2022         6471210                                4,317.02
Fisher Healthcare                                  09/16/2022         6471211                                 460.71
Henry Schein                                       09/16/2022         25432127                                650.03
Polar Ice                                          09/16/2022         78964                                   170.00
Abell Pest Control                                 09/19/2022         A4475366                                155.00
Abell Pest Control                                 09/19/2022         A4473505                                 55.00
Henry Schein                                       09/19/2022         25627869                                 57.53
Immunalysis Corporation                            09/19/2022         0193804-IN                              651.63
Mutual of Omaha                                    09/19/2022         001418651961                            625.29
Mutual of Omaha                                    09/19/2022         001418651960                          14,466.02
Tek-Pette                                          09/19/2022         TPA4736                                1,495.00
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Tryco Inc.                                        09/19/2022         217445                                  408.36
Abbott Laboratories                               09/20/2022         830672338                              1,089.68
Fisher Healthcare                                 09/20/2022         6552322                                7,169.46
George Jamison                                    09/20/2022         09202022                                141.78
Immunalysis Corporation                           09/20/2022         0193884-IN                             1,892.15
Polar Ice                                         09/20/2022         78988                                   170.00
Agena Bioscience, Inc.                            09/21/2022         INV-569339                             4,727.61
Fisher Healthcare                                 09/21/2022         6596484                                1,466.64
Henry Schein                                      09/21/2022         25829100                                371.05
Henry Schein                                      09/21/2022         25820321                                840.54
Immunalysis Corporation                           09/21/2022         0193945-IN                             4,389.35
LabSoft, Inc.                                     09/21/2022         2292-1038-5307                          200.00
BioPathogenix                                     09/22/2022         1807                                   9,540.00
CareTracker Inc.                                  09/22/2022         00000000064776                         6,818.91
Henry Schein                                      09/22/2022         25781069                                201.77
Henry Schein                                      09/22/2022         25833553                                241.58
Henry Schein                                      09/22/2022         25842506                              20,148.15
Immunalysis Corporation                           09/22/2022         0193984-IN                             3,763.64
Labtek, Incorporated                              09/22/2022         13267                                   159.00
Labtek, Incorporated                              09/22/2022         13266                                   527.88
Labtek, Incorporated                              09/22/2022         13265                                  1,346.70
Lawrence Manghese                                 09/22/2022         09222022                                 35.32
Practice Fusion                                   09/22/2022         5500022496                              300.00
Sony Varghese (ACH)                               09/22/2022         09222022                               1,665.00
Fisher Healthcare                                 09/23/2022         6676967                                6,339.08
George Jamison                                    09/23/2022         09232022                                 92.70
Henry Schein                                      09/23/2022         25891110                               3,935.30
Lifepoint Informatics                             09/23/2022         1181697                                2,000.00
Polar Ice                                         09/23/2022         79011                                   170.00
Wells Fargo Financial Leasing, Inc.               09/23/2022         5021957268                              114.05
Wells Fargo Financial Leasing, Inc.               09/23/2022         5021957267                              847.51
Cerilliant Corporation                            09/26/2022         574882                                 1,821.60
George Stewart Photography                        09/26/2022         509                                     250.00
Microgenics Corporation                           09/26/2022         955827                                 3,527.03
Netalytics                                        09/26/2022         2022-7996                               750.00
BioPathogenix                                     09/27/2022         1819                                  10,600.00
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Fisher Healthcare                                09/27/2022         2270-3571-22                           4,317.65
Henry Schein                                     09/27/2022         26021115                               1,189.87
Immunalysis Corporation                          09/27/2022         0194172-IN                             9,287.55
Immunalysis Corporation                          09/27/2022         0194171-IN                              658.59
Polar Ice                                        09/27/2022         79034                                   170.00
Edge Solutions                                   09/28/2022         566676                                 1,551.52
Immunalysis Corporation                          09/28/2022         0194231-IN                              134.19
Immunalysis Corporation                          09/28/2022         0194228-IN                               54.01
Brad Cieslak                                     09/29/2022         09292022                               7,000.00
Mark Beauchamp                                   09/29/2022         09292022                               7,000.00
Labtek, Incorporated                             09/30/2022         13298                                  1,874.58
Staples                                          09/30/2022         3519265304                              737.63
6600 Highland, LLC                               10/01/2022         10012022                              26,688.39
Advancing Health Inc.                            10/01/2022         004                                   25,000.00
Amro Almradi MDPC PLLC                           10/01/2022         09272022                               9,000.00
Arkstone Medical                                 10/01/2022         22603                                 14,152.50
Auburn Hills Medical Properties, LLC             10/01/2022         10012022                                991.00
Avairis, Inc.                                    10/01/2022         1521                                   3,700.00
Beckman Coulter                                  10/01/2022         110157385                              2,010.26
Beckman Coulter                                  10/01/2022         4467680                                4,916.63
BioPathogenix                                    10/01/2022         1829                                  10,600.00
Blue Care Network                                10/01/2022         222800067391                          17,188.14
Blue Cross Blue Shield of Michigan               10/01/2022         149522675                             20,130.62
Blue Cross Blue Shield of Michigan               10/01/2022         149522949                             64,815.09
Catherine J. Davis                               10/01/2022         09162022                               1,175.00
Catherine J. Davis                               10/01/2022         09272022                                487.50
CT Corporation                                   10/01/2022         24456075-RI                             557.00
DoctorsManagement, LLC                           10/01/2022         93393A                                 2,070.00
Dropoff Inc.                                     10/01/2022         2623-4992                              4,046.38
Dropoff Inc.                                     10/01/2022         2623-4989                              3,646.69
Dropoff Inc.                                     10/01/2022         2623-4985                              2,832.75
Dropoff Inc.                                     10/01/2022         2623-4980                              3,385.86
eClinicalWorks, LLC                              10/01/2022         0002462089                             5,300.00
eClinicalWorks, LLC                              10/01/2022         0002483811                              288.00
EMedicalNotes                                    10/01/2022         07112022                               2,500.00
Evoqua Water Technologies LLC                    10/01/2022         905559314                              1,508.83
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Fisher Healthcare                                       10/01/2022         6850349                                 4,571.29
Fisher Healthcare                                       10/01/2022         6850348                                 4,385.10
Foley & Lardner LLP                                     10/01/2022         50482651                                3,520.00
FrontRunnerHC Inc                                       10/01/2022         20161687                                2,648.09
Gemini Lab Group                                        10/01/2022         10012022                              200,000.00
Gemini Lab Group                                        10/01/2022         09012022                               42,800.00
Gemini Lab Group                                        10/01/2022         07012022                              175,000.00
Gemini Lab Group                                        10/01/2022         06012022                               48,750.00
Gena's Timeless Cleaning, LLC                           10/01/2022         010                                     6,000.00
Hogan Lovells US LLP                                    10/01/2022         22200198674                            38,872.19
Holly Manssur                                           10/01/2022         39                                       864.00
LabPath Consulting                                      10/01/2022         1378                                    3,000.00
LabSoft, Inc.                                           10/01/2022         452-22311                                950.00
Labtek, Incorporated                                    10/01/2022         13343                                   1,874.58
Labtek, Incorporated                                    10/01/2022         13344                                    228.96
Labtek, Incorporated                                    10/01/2022         13345                                      99.64
Liam Dillon                                             10/01/2022         09142022                                   90.00
Lifepoint Informatics                                   10/01/2022         1182216                                  125.00
Lifepoint Informatics                                   10/01/2022         1181726                                  750.00
Lifepoint Informatics                                   10/01/2022         1181722                                  200.00
Lippitt O'Keefe, PLLC                                   10/01/2022         13011                                   1,667.50
Lippitt O'Keefe, PLLC                                   10/01/2022         12915                                    489.64
Marosa School of Phelbotomy & Healthcare Trades, Inc.   10/01/2022         09132022                                4,800.00
MCW Partners, LLC                                       10/01/2022         62996                                      47.70
Medcare MSO                                             10/01/2022         2544                                  161,891.46
Medline Industries, Inc.                                10/01/2022         10312022                                3,975.83
Medline Industries, Inc.                                10/01/2022         09302022                               37,956.64
Medline Industries, Inc.                                10/01/2022         08302022                                2,667.52
Medline Industries, Inc.                                10/01/2022         08312022                               29,172.85
Medline Industries, Inc.                                10/01/2022         07312022                               38,238.35
Medline Industries, Inc.                                10/01/2022         2022Interest                            5,291.91
MedSpeed, LLC                                           10/01/2022         26858                                  24,195.70
Microbiologics                                          10/01/2022         963620                                   484.19
Mutual of Omaha                                         10/01/2022         001433177334                             586.10
Mutual of Omaha                                         10/01/2022         001433177333                           14,369.10
Polar Ice                                               10/01/2022         79050                                    170.00
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Restek Corporation                                  10/01/2022         CD50303319                             1,810.65
Sony Varghese (ACH)                                 10/01/2022         10012022                               1,755.00
Staples                                             10/01/2022         3519578144                                72.07
Stericycle Inc                                      10/01/2022         4011247277                              167.84
Superior Medical Waste Disposal                     10/01/2022         21416                                  5,387.00
Superior Medical Waste Disposal                     10/01/2022         21494                                  5,478.00
Sysmex America, Inc.                                10/01/2022         94410905                                205.86
Sysmex America, Inc.                                10/01/2022         94410904                                860.65
Sysmex America, Inc.                                10/01/2022         94406373                                580.13
Sysmex America, Inc.                                10/01/2022         94393975                                317.89
Sysmex America, Inc.                                10/01/2022         94379908                               1,835.53
Sysmex America, Inc.                                10/01/2022         94360331                                580.13
Sysmex America, Inc.                                10/01/2022         94360215                                325.09
Sysmex America, Inc.                                10/01/2022         94358732                                205.86
Sysmex America, Inc.                                10/01/2022         94335798                               1,835.53
Sysmex America, Inc.                                10/01/2022         94330240                                645.59
Sysmex America, Inc.                                10/01/2022         94328589                                205.86
Sysmex America, Inc.                                10/01/2022         94319481                                580.13
Sysmex America, Inc.                                10/01/2022         94312694                                833.89
Sysmex America, Inc.                                10/01/2022         94310006                                206.47
Sysmex America, Inc.                                10/01/2022         94296315                               1,835.53
Sysmex America, Inc.                                10/01/2022         94276046                                580.13
Sysmex America, Inc.                                10/01/2022         94259104                                205.99
Sysmex America, Inc.                                10/01/2022         94259103                                210.59
The Medical Real Estate Group                       10/01/2022         10012022                              47,828.06
The Sports Marketing Agency, INC                    10/01/2022         10012022                             132,000.00
The Sports Marketing Agency, INC                    10/01/2022         09012022                              89,589.00
The Sports Marketing Agency, INC                    10/01/2022         08012022                             102,719.00
The Sports Marketing Agency, INC                    10/01/2022         11012022                              74,000.00
Translational Software, Inc.                        10/01/2022         7385B                                     70.24
Translational Software, Inc.                        10/01/2022         7383B                                   149.61
Translational Software, Inc.                        10/01/2022         7384B                                     37.66
Translational Software, Inc.                        10/01/2022         7636                                   7,109.00
Tryco Inc.                                          10/01/2022         217896                                  421.08
Tseghai Berhe MD                                    10/01/2022         10012022                               5,821.50
UHY, LLP                                            10/01/2022         640436594                              1,730.00
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Wells Fargo Financial Leasing, Inc.               10/01/2022         5022044608                             345.83
Benkoff Health Law, PLLC                          10/02/2022         2948                                   152.00
BioPathogenix                                     10/03/2022         1831                                 10,600.00
eClinicalWorks, LLC                               10/03/2022         0002499340                            5,300.00
Immunalysis Corporation                           10/03/2022         0194339-IN                            4,125.81
Microgenics Corporation                           10/03/2022         957327                                1,879.88
Omega Bio-Tek                                     10/03/2022         37701                                  799.73
Siemens Healthcare Diagnostics                    10/03/2022         952829796                             1,190.04
BioPathogenix                                     10/04/2022         1834                                 19,080.00
Fink Bressack PLLC                                10/04/2022         FBHELIX-1013                          4,743.75
Fisher Healthcare                                 10/04/2022         7092667A                              4,397.36
IMCS, Inc.                                        10/04/2022         131846                                3,721.98
Polar Ice                                         10/04/2022         79073                                  170.00
Robert Read                                       10/04/2022         10042022                               904.00
AB Sciex, LLC                                     10/05/2022         210197443                            12,502.71
Abbott Laboratories                               10/05/2022         830875239                             1,213.00
A-Fordable Plumbing & Mechanical                  10/05/2022         37587360                              1,085.00
Cerilliant Corporation                            10/05/2022         575509                                1,653.70
Jennifer Lambert                                  10/05/2022         10052022                               136.00
Jessica Hickey                                    10/05/2022         10052022                               297.00
Staples                                           10/05/2022         3519867695                             256.21
Staples                                           10/05/2022         3519867698                             117.54
Staples                                           10/05/2022         3519867697                             169.53
Staples                                           10/05/2022         3519867696                              61.47
Staples                                           10/05/2022         3519867694                             491.76
Staples                                           10/05/2022         3519867693                              23.84
AB Sciex, LLC                                     10/06/2022         210197551                             3,129.10
Henry Schein                                      10/06/2022         26461595                               202.80
Henry Schein                                      10/06/2022         26443113                              1,348.96
Immunalysis Corporation                           10/06/2022         0194545-IN                             159.00
Labtek, Incorporated                              10/06/2022         13315                                  339.70
Labtek, Incorporated                              10/06/2022         13317                                 1,847.58
Labtek, Incorporated                              10/06/2022         13318                                  313.76
Labtek, Incorporated                              10/06/2022         13316                                  922.20
Staples                                           10/06/2022         3519937353                              28.08
Empirical Biosciences                             10/07/2022         5483                                 16,503.45
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Fisher Healthcare                                     10/07/2022         7092667B                                172.93
Henry Schein                                          10/07/2022         26395348                               1,026.97
Polar Ice                                             10/07/2022         79096                                   170.00
Henry Schein                                          10/10/2022         26560810                               5,921.80
Henry Schein                                          10/10/2022         26582761                                425.54
Henry Schein                                          10/10/2022         26512335                              21,771.36
Immunalysis Corporation                               10/10/2022         0194673-IN                             9,773.74
Henry Schein                                          10/11/2022         26582763                                 56.49
Polar Ice                                             10/11/2022         79113                                   170.00
Fisher Healthcare                                     10/12/2022         7336775A                               4,397.36
Henry Schein                                          10/12/2022         26805578                                746.81
Wells Fargo Financial Leasing, Inc.                   10/12/2022         5022230900                              131.42
Abbott Laboratories                                   10/13/2022         830852764                              1,130.80
BioPathogenix                                         10/13/2022         1850                                  15,635.00
BioPathogenix                                         10/13/2022         1854                                    265.00
Henry Schein                                          10/13/2022         26916255                              13,244.88
Henry Schein                                          10/13/2022         26879861                                370.10
Life Technologies Corporation                         10/13/2022         82113679                              10,515.20
Life Technologies Corporation                         10/13/2022         77179692                               1,206.66
Abell Pest Control                                    10/14/2022         A4497387                                155.00
Abell Pest Control                                    10/14/2022         A4509080                                 55.00
Athenahealth, Inc.                                    10/14/2022         INV-291567                             1,095.00
Henry Schein                                          10/14/2022         26919300                              15,857.35
Henry Schein                                          10/14/2022         26925658                                160.31
Henry Schein                                          10/14/2022         26953533                               2,057.67
Polar Ice                                             10/14/2022         79133                                   170.00
Wells Fargo Financial Leasing, Inc.                   10/14/2022         5022250586                              712.32
Credential Check Corporation                          10/15/2022         288451                                  208.00
Gena's Timeless Cleaning, LLC                         10/15/2022         011                                    6,000.00
StrengthPoint Advisors                                10/15/2022         CA-0519                               13,100.00
BioPathogenix                                         10/17/2022         1858                                   3,180.00
Carolina Coastal Paper & Janitorial Supply, LLC       10/17/2022         28525                                   745.39
Comcast                                               10/17/2022         001000518169                            651.95
Fisher Healthcare                                     10/17/2022         7336775B                                 92.16
Fisher Healthcare                                     10/17/2022         7463201A                                703.26
Fisher Healthcare                                     10/17/2022         7463200A                               4,477.92
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Fisher Healthcare                                  10/17/2022         7379051                                4,397.36
Henry Schein                                       10/17/2022         26965160                                241.58
Henry Schein                                       10/17/2022         26021116                                100.69
Immunalysis Corporation                            10/17/2022         0194910-IN                             6,543.40
Microgenics Corporation                            10/17/2022         959714                                 3,580.34
Microgenics Corporation                            10/17/2022         959713                                 1,879.88
Agena Bioscience, Inc.                             10/18/2022         INV-573955                            23,579.56
Agena Bioscience, Inc.                             10/18/2022         INV-573954                              458.98
Fisher Healthcare                                  10/18/2022         7379051B                                172.93
Henry Schein                                       10/18/2022         27069831                               1,148.84
Henry Schein                                       10/18/2022         27030571                                199.22
Immunalysis Corporation                            10/18/2022         0194988-IN                              222.60
Polar Ice                                          10/18/2022         79148                                   170.00
Fisher Healthcare                                  10/19/2022         9072839A                                142.65
Insync Healthcare Solutions                        10/19/2022         260318                                 3,500.00
Omega Bio-Tek                                      10/19/2022         37832                                   799.88
Abbott Laboratories                                10/20/2022         830877612                              1,089.68
Abbott Laboratories                                10/20/2022         616006023                              2,206.19
BioPathogenix                                      10/20/2022         1874                                  10,600.00
Fisher Healthcare                                  10/20/2022         7463201B                                 43.77
Fisher Healthcare                                  10/20/2022         7463200B                                118.43
Labtek, Incorporated                               10/20/2022         13373                                  1,874.58
Labtek, Incorporated                               10/20/2022         13374                                   402.80
Labtek, Incorporated                               10/20/2022         13375                                   156.88
Labtek, Incorporated                               10/20/2022         13376                                   836.34
Practice Fusion                                    10/20/2022         5500023177                              798.00
eClinicalWorks, LLC                                10/21/2022         0002481484                               16.90
Fisher Healthcare                                  10/21/2022         7503336                                 919.82
Polar Ice                                          10/21/2022         79170                                   170.00
BioPathogenix                                      10/24/2022         1388                                  19,080.00
Fisher Healthcare                                  10/24/2022         7666322A                               4,316.59
Immunalysis Corporation                            10/24/2022         0195191-IN                             7,469.59
Immunalysis Corporation                            10/24/2022         0195162-IN                               58.44
eClinicalWorks, LLC                                10/25/2022         0002506132                             5,300.00
Evoqua Water Technologies LLC                      10/25/2022         905582762                               642.20
Polar Ice                                          10/25/2022         79185                                   170.00
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Catherine J. Davis                                    10/26/2022         10262022                               105.00
Edge Solutions                                        10/26/2022         10262022                                25.00
Fisher Healthcare                                     10/26/2022         7708947A                              1,391.62
Immunalysis Corporation                               10/26/2022         0195283-IN                            6,244.28
Immunalysis Corporation                               10/26/2022         0195272-IN                             183.39
Microgenics Corporation                               10/26/2022         961743                                1,450.80
Netalytics                                            10/26/2022         2022-8729                              750.00
Wells Fargo Financial Leasing, Inc.                   10/26/2022         5022381834                              96.32
Fisher Healthcare                                     10/27/2022         7790824A                              4,975.17
Fisher Healthcare                                     10/27/2022         7666322B                               172.93
Immunalysis Corporation                               10/27/2022         0195332-IN                              84.80
Fisher Healthcare                                     10/28/2022         7708947B                               108.44
Labtek, Incorporated                                  10/28/2022         13404                                  184.44
Labtek, Incorporated                                  10/28/2022         13405                                 1,874.58
Polar Ice                                             10/28/2022         79198                                  170.00
AB Sciex, LLC                                         11/01/2022         210199221                             3,129.10
Agena Bioscience, Inc.                                11/01/2022         INV-581101                           25,105.04
Amro Almradi MDPC PLLC                                11/01/2022         10262022                              3,000.00
Arkstone Medical                                      11/01/2022         22659                                13,702.50
Avairis, Inc.                                         11/01/2022         1526                                  3,150.00
Beckman Coulter                                       11/01/2022         31327390                              2,233.49
BioPathogenix                                         11/01/2022         2004                                 13,780.00
Blue Care Network                                     11/01/2022         223120046829                         18,512.87
Carolina Coastal Paper & Janitorial Supply, LLC       11/01/2022         28623                                 1,043.55
Credential Check Corporation                          11/01/2022         288949                                 260.00
Detroit Athletic Club                                 11/01/2022         11012022                               473.00
Edge Solutions                                        11/01/2022         580752                                1,515.06
Evoqua Water Technologies LLC                         11/01/2022         905597573                             1,508.83
Evoqua Water Technologies LLC                         11/01/2022         905544636                              812.00
Fisher Healthcare                                     11/01/2022         7790824B                               172.68
FrontRunnerHC Inc                                     11/01/2022         20161962                              1,900.00
Gena's Timeless Cleaning, LLC                         11/01/2022         012                                   6,000.00
Henry Schein                                          11/01/2022         27487987                              1,831.28
Henry Schein                                          11/01/2022         27433151                               275.18
Henry Schein                                          11/01/2022         27585965                               976.82
Henry Schein                                          11/01/2022         27415790                              9,027.94
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Hogan Lovells US LLP                                11/01/2022         22200203113                            45,244.72
Immunalysis Corporation                             11/01/2022         0195417-IN                              8,027.52
LabPath Consulting                                  11/01/2022         1386                                    3,000.00
LabSoft, Inc.                                       11/01/2022         452-22342                                950.00
Lifepoint Informatics                               11/01/2022         1182820                                  125.00
Lifepoint Informatics                               11/01/2022         1182818                                  125.00
Lifepoint Informatics                               11/01/2022         1182805                                  125.00
Lifepoint Informatics                               11/01/2022         1182798                                  125.00
Lifepoint Informatics                               11/01/2022         1182312                                  875.00
Lifepoint Informatics                               11/01/2022         1182307                                  200.00
MCW Partners, LLC                                   11/01/2022         63383                                      47.70
Microgenics Corporation                             11/01/2022         962786                                  1,870.59
Microgenics Corporation                             11/01/2022         962494                                  2,828.54
Mutual of Omaha                                     11/01/2022         001447028308                           10,415.63
Mutual of Omaha                                     11/01/2022         001447028307                             586.64
Orchard Software Corporation                        11/01/2022         2022-24199                              9,010.00
Orchard Software Corporation                        11/01/2022         2021-14536                             13,620.00
Orchard Software Corporation                        11/01/2022         2020-12129                             12,720.00
Polar Ice                                           11/01/2022         79214                                    170.00
SAR Consulting Services, LLC                        11/01/2022         11012022                                5,000.00
Solaris Diagnostics                                 11/01/2022         4315                                     360.00
Sony Varghese (ACH)                                 11/01/2022         11012022                                2,520.00
Stericycle Inc                                      11/01/2022         4011316073                               157.94
Superior Medical Waste Disposal                     11/01/2022         21804                                   4,851.00
Taylor Door and Window                              11/01/2022         15117                                    870.00
Taylor Door and Window                              11/01/2022         14946                                   1,856.50
The Sports Marketing Agency, INC                    11/01/2022         11012022                              150,000.00
Translational Software, Inc.                        11/01/2022         7708                                    6,741.00
Fisher Healthcare                                   11/02/2022         7958809A                                3,079.09
Henry Schein                                        11/02/2022         27794837                                 455.85
Henry Schein                                        11/02/2022         27838460                                4,395.49
Immunalysis Corporation                             11/02/2022         0195569-IN                               116.34
Landaal Packaging Systems                           11/02/2022         210481                                  1,508.72
Microbix Biosystems Inc.                            11/02/2022         00033467                                 322.00
Solaris Diagnostics                                 11/02/2022         4670                                     120.00
Staples                                             11/02/2022         3522311328                               107.04
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Wells Fargo Financial Leasing, Inc.                11/02/2022         5022489856                             415.01
BioPathogenix                                      11/03/2022         1484                                  3,180.00
Evoqua Water Technologies LLC                      11/03/2022         905599398                              532.00
Henry Schein                                       11/03/2022         27585968                               664.09
Henry Schein                                       11/03/2022         27842438                               900.28
Henry Schein                                       11/03/2022         27794928                              5,662.46
Principal Financial Group                          11/03/2022         11/03/2022                            1,048.59
Siemens Healthcare Diagnostics                     11/03/2022         952847638                             1,190.04
Allied Media                                       11/04/2022         19458                                   70.75
Henry Schein                                       11/04/2022         27960241                             14,997.44
Labtek, Incorporated                               11/04/2022         13428                                 1,874.58
Polar Ice                                          11/04/2022         79231                                  170.00
Staples                                            11/04/2022         3522447621                              76.30
Staples                                            11/05/2022         3522624010                              82.66
Abbott Laboratories                                11/06/2022         830881633                             2,426.00
Fisher Healthcare                                  11/07/2022         7958809B                               137.54
Labtek, Incorporated                               11/07/2022         13429                                  922.20
BioPathogenix                                      11/08/2022         1493                                  9,540.00
Fisher Healthcare                                  11/08/2022         8509431A                              3,584.60
Immunalysis Corporation                            11/08/2022         0195731-IN                           17,156.59
Polar Ice                                          11/08/2022         79253                                  170.00
Bett Kimutai                                       11/09/2022         11092022                              2,423.20
Henry Schein                                       11/09/2022         27327188                              3,446.11
LabSoft, Inc.                                      11/09/2022         22119-1119-5422                        200.00
Microgenics Corporation                            11/09/2022         964278                                1,872.73
Mettler-Toledo Rainin, LLC                         11/10/2022         678900252                              441.61
Charter Communications                             11/11/2022         0422386111122                          176.97
Labtek, Incorporated                               11/11/2022         13459                                  308.96
Polar Ice                                          11/11/2022         79277                                  170.00
Staples                                            11/11/2022         3522900237                             176.53
Wells Fargo Financial Leasing, Inc.                11/11/2022         5022652763                             593.60
Wells Fargo Financial Leasing, Inc.                11/11/2022         5022652762                              76.30
Abbott Laboratories                                11/13/2022         830883415                             1,130.80
Life Technologies Corporation                      11/13/2022         77181524                              1,206.66
Fink Bressack PLLC                                 11/14/2022         FBHELIX-1014                          3,137.50
Henry Schein                                       11/14/2022         29123972                               666.95
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                            Payee                    Payment Date                 No.              Total
Henry Schein                                      11/14/2022         29084758                                1,448.65
Henry Schein                                      11/14/2022         29084757                                 302.37
Henry Schein                                      11/14/2022         28686463                                5,921.80
Henry Schein                                      11/14/2022         28673314                                1,330.09
Henry Schein                                      11/14/2022         28653198                                6,461.58
Henry Schein                                      11/14/2022         28586691                                 255.28
Comcast                                           11/15/2022         001000548069                             609.95
Gena's Timeless Cleaning, LLC                     11/15/2022         013                                     6,000.00
Athenahealth, Inc.                                11/16/2022         INV-303512                              1,383.00
Fisher Healthcare                                 11/16/2022         9109260A                               10,524.95
Fisher Healthcare                                 11/16/2022         9206354A                               10,524.95
Agena Bioscience, Inc.                            11/17/2022         INV-580773                             24,636.35
Bett Kimutai                                      11/17/2022         11-7                                    1,211.60
Ernest Packing Solutions                          11/17/2022         90662156                                 191.28
IMCS, Inc.                                        11/17/2022         132425                                  3,700.00
Labtek, Incorporated                              11/17/2022         13476                                    793.38
Labtek, Incorporated                              11/17/2022         13478                                    263.94
Labtek, Incorporated                              11/17/2022         13477                                   1,583.64
BioPathogenix                                     11/21/2022         2021                                   14,611.04
BioPathogenix                                     11/21/2022         2005                                   10,600.00
Immunalysis Corporation                           11/21/2022         0196279-IN                               559.67
Practice Fusion                                   11/21/2022         5500023510                                 24.00
Eric Vasseur                                      11/22/2022         000036                                  2,464.00
Henry Schein                                      11/22/2022         28654747                                 724.89
Henry Schein                                      11/22/2022         29177191                                 879.04
Henry Schein                                      11/22/2022         29128093                               10,734.96
Labtek, Incorporated                              11/22/2022         13487                                    447.69
Polar Ice                                         11/22/2022         79328                                    170.00
Agena Bioscience, Inc.                            11/23/2022         INV-584744                              1,040.86
BioPathogenix                                     11/23/2022         2029                                    3,180.00
College of American Pathologists                  11/23/2022         2660248                                16,430.19
Evoqua Water Technologies LLC                     11/23/2022         905620329                                604.20
Wells Fargo Financial Leasing, Inc.               11/23/2022         5022790159                               557.79
Wells Fargo Financial Leasing, Inc.               11/24/2022         5022802119                                 68.76
6600 Highland, LLC                                11/25/2022         11252022                               26,688.39
Gemini Lab Group                                  11/25/2022         11012022                              200,000.00
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The Medical Real Estate Group                      11/25/2022         11252022                              47,828.06
Abell Pest Control                                 11/28/2022         A4593987                                 55.00
Abell Pest Control                                 11/28/2022         A4552500                                155.00
Edge Solutions                                     11/28/2022         595222                                 1,457.52
Fisher Healthcare                                  11/28/2022         8712754/8753953A                       4,691.77
Fisher Healthcare                                  11/28/2022         8753955/8797784A                      20,187.06
Empirical Biosciences                              11/29/2022         5586                                  16,503.45
Gladys Hylarides                                   11/29/2022         11292022                                330.00
Polar Ice                                          11/29/2022         79356                                   170.00
Robert Thompson                                    11/29/2022         11292022                                266.00
Credential Check Corporation                       11/30/2022         290044                                  104.00
MCW Partners, LLC                                  11/30/2022         63747                                    47.70
MCW Partners, LLC                                  11/30/2022         64042                                   302.10
AB Sciex, LLC                                      12/01/2022         210199188                             12,502.71
Abbott Laboratories                                12/01/2022         830874983                              1,213.00
Abbott Laboratories                                12/01/2022         830885604                              1,028.00
Applied Capital, LLC                               12/01/2022         32530426                                498.77
Applied Capital, LLC                               12/01/2022         32738327                                419.14
Applied Capital, LLC                               12/01/2022         32758285                                348.74
Applied Capital, LLC                               12/01/2022         32924750                                366.27
Applied Innovation                                 12/01/2022         2094139                                 853.30
Applied Innovation                                 12/01/2022         2090893                                 476.68
Applied Innovation                                 12/01/2022         2072598                                 442.18
Applied Innovation                                 12/01/2022         2093426                                 442.18
Applied Innovation                                 12/01/2022         2083781                                 339.20
Arkstone Medical                                   12/01/2022         22720                                 10,550.00
Avairis, Inc.                                      12/01/2022         1531                                   1,184.00
Beckman Coulter                                    12/01/2022         110142188                              1,974.37
BillionToOne, Inc.                                 12/01/2022         8242093022                            28,500.00
BioPathogenix                                      12/01/2022         2049                                   6,360.00
Blue Care Network                                  12/01/2022         223430032804                          16,683.28
Blue Cross Blue Shield of Michigan                 12/01/2022         152648542                              9,274.45
Blue Cross Blue Shield of Michigan                 12/01/2022         152648827                             42,887.43
Blue Cross Blue Shield of Michigan                 12/01/2022         151272262                              7,728.72
Blue Cross Blue Shield of Michigan                 12/01/2022         151275145                             39,912.58
Blue Cross Blue Shield of Michigan                 12/01/2022         007043844-0001                         7,045.68
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                            Payee                        Payment Date                  No.            Total
Brehob CORPORATION                                    12/01/2022         202274                                  394.20
Carolina Coastal Paper & Janitorial Supply, LLC       12/01/2022         28883                                   149.08
Cerilliant Corporation                                12/01/2022         578712                                 1,460.40
CI Web Design, Inc                                    12/01/2022         9941                                    125.00
Comcast                                               12/01/2022         11272022/0670846                        121.90
Comcast                                               12/01/2022         11222022/0945842                        169.90
Comcast                                               12/01/2022         11172022/0808982                        159.19
De Lage Landen Financial Services, Inc.               12/01/2022         78339893                                301.49
De Lage Landen Financial Services, Inc.               12/01/2022         78193842                                301.49
eClinicalWorks, LLC                                   12/01/2022         0002501207                             5,300.00
Esker Inc                                             12/01/2022         460232940                              1,455.20
Evoqua Water Technologies LLC                         12/01/2022         905635519                              1,508.83
Fed Ex                                                12/01/2022         7-962-63396                            1,076.43
Fisher Healthcare                                     12/01/2022         8509432B                                147.46
Fisher Healthcare                                     12/01/2022         8509431B                                147.46
Fisher Healthcare                                     12/01/2022         8919769A                               2,130.55
Fisher Healthcare                                     12/01/2022         8753953/8712754B                        144.70
Fisher Healthcare                                     12/01/2022         8509432A                               5,842.29
Fishman Stewart, PLLC                                 12/01/2022         898999                                 3,332.50
Fishman Stewart, PLLC                                 12/01/2022         898998                                    80.00
Fishman Stewart, PLLC                                 12/01/2022         900773                                 1,525.20
Gemini Lab Group                                      12/01/2022         12012022                             245,000.00
Gena's Timeless Cleaning, LLC                         12/01/2022         014                                    6,000.00
Henry Schein                                          12/01/2022         29892065                                396.86
Henry Schein                                          12/01/2022         29885053                              11,543.44
Henry Schein                                          12/01/2022         29883600                                250.37
Henry Schein                                          12/01/2022         29730007                               7,649.29
Henry Schein                                          12/01/2022         29899960                                191.13
Highland Milford Family Clinic                        12/01/2022         12012022                                541.39
Highland Milford Family Clinic                        12/01/2022         11012022                                541.39
Hogan Lovells US LLP                                  12/01/2022         22200206284                           22,855.63
Immunalysis Corporation                               12/01/2022         0195570-IN                              139.11
Iron Mountain                                         12/01/2022         HBPN831                                1,281.65
Labcorp                                               12/01/2022         74763320                              46,252.38
Labcorp                                               12/01/2022         74482759                              51,586.67
Labcorp                                               12/01/2022         74166919                              42,437.59
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LabPath Consulting                                  12/01/2022         1394                                    3,000.00
Labtek, Incorporated                                12/01/2022         13509                                    412.34
Labtek, Incorporated                                12/01/2022         13510                                   2,272.08
Labtek, Incorporated                                12/01/2022         13511                                    179.14
Labtek, Incorporated                                12/01/2022         13512                                   1,319.70
Labtek, Incorporated                                12/01/2022         13513                                    527.88
Leasing Associates of Barrington, INC.              12/01/2022         1670865                                 2,406.20
Leasing Associates of Barrington, INC.              12/01/2022         1667320                                 2,406.20
Lifepoint Informatics                               12/01/2022         1182880                                 1,125.00
Lifepoint Informatics                               12/01/2022         1182879                                  200.00
Little Sonia Real Estate LLC                        12/01/2022         12012022                                1,698.75
Little Sonia Real Estate LLC                        12/01/2022         11012022                                1,698.75
MAC Pizza, LLC                                      12/01/2022         12012022                                1,310.00
MAC Pizza, LLC                                      12/01/2022         11012022                                1,310.00
Mclaren Medical Laboratory                          12/01/2022         MLMHEL113022                           23,969.59
Mclaren Medical Laboratory                          12/01/2022         MLMHEL103122                           29,304.46
Mclaren Medical Laboratory                          12/01/2022         MLMHEL093022                           27,034.77
Mclaren Medical Laboratory                          12/01/2022         MLMHEL083122                           14,917.52
Mclaren Medical Laboratory                          12/01/2022         MLMHEL073122                            6,585.62
Mclaren Medical Laboratory                          12/01/2022         MLMHEL063022                            6,717.79
McShane Welding, Inc.                               12/01/2022         138825                                  2,635.45
Med Water Systems                                   12/01/2022         INV/2022/3823                            355.00
Medcare MSO                                         12/01/2022         2610                                  128,919.58
Medcare MSO                                         12/01/2022         2590                                  202,230.11
MedSpeed, LLC                                       12/01/2022         27263                                  25,985.44
MedSpeed, LLC                                       12/01/2022         27180                                 132,550.93
MedSpeed, LLC                                       12/01/2022         27134                                 138,186.69
MedSpeed, LLC                                       12/01/2022         26972                                  31,938.35
Mercedes Scientific                                 12/01/2022         2645063                                  559.17
Michael McKelvey, Architect                         12/01/2022         950.00                                   500.00
Netalytics                                          12/01/2022         2022-9645                                750.00
Newbsknob, LLC                                      12/01/2022         12012022                                2,875.00
Newbsknob, LLC                                      12/01/2022         11012022                                2,875.00
Orchard Software Corporation                        12/01/2022         2021-14537                              7,985.00
Orchard Software Corporation                        12/01/2022         2020-12130                             12,720.00
Peachstate Health Management                        12/01/2022         Sep-2022                                1,360.00
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Peachstate Health Management                        12/01/2022         Aug-2022                               1,360.00
Polar Ice                                           12/01/2022         79341                                   170.00
Polar Ice                                           12/01/2022         79313                                   170.00
Polar Ice                                           12/01/2022         79294                                   170.00
Principal Financial Group                           12/01/2022         11252022                               2,776.81
Principal Financial Group                           12/01/2022         12022022                               3,735.09
Principal Financial Group                           12/01/2022         09092022                               7,558.02
Principal Financial Group                           12/01/2022         09192022                                960.58
Principal Financial Group                           12/01/2022         09232022                               7,014.76
Principal Financial Group                           12/01/2022         09302022                                818.22
Procurement Partners-Hybrent, Inc                   12/01/2022         11107                                  1,000.00
Procurement Partners-Hybrent, Inc                   12/01/2022         10832                                   840.00
Recovery Pathways                                   12/01/2022         12012022                                887.45
Recovery Pathways                                   12/01/2022         11012022                                887.45
SAR Consulting Services, LLC                        12/01/2022         12012022                               5,000.00
SCCE                                                12/01/2022         4912167                                 325.00
Staples                                             12/01/2022         3521431765                               76.09
Staples                                             12/01/2022         3521431764                              201.77
Staples                                             12/01/2022         3521431763                             1,229.39
Staples                                             12/01/2022         3520670735                               26.67
Staples                                             12/01/2022         3520325729                              296.59
Staples                                             12/01/2022         917860                                   85.80
Staples                                             12/01/2022         3514008457                              190.75
Stericycle Inc                                      12/01/2022         4011385352                              157.94
StrengthPoint Advisors                              12/01/2022         CA-0536                               12,500.00
Superior Medical Waste Disposal                     12/01/2022         22130                                  5,566.00
The Hartford                                        12/01/2022         11082022                              18,835.96
Translational Software, Inc.                        12/01/2022         7838                                   7,247.00
Tri-City Treatment                                  12/01/2022         12012022                                308.58
Verizon                                             12/01/2022         9921004510                              367.33
Waterford Township Treasurer                        12/01/2022         12012022                              20,747.82
Younis Enterprises                                  12/01/2022         11012022                               5,001.95
Younis Enterprises                                  12/01/2022         12012022                               5,001.95
Applied Capital, LLC                                12/02/2022         32958288                                216.24
Peninsula Capital Partners, LLC                     12/02/2022         12022022                               5,117.38
Polar Ice                                           12/02/2022         79376                                   170.00
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Staples                                             12/02/2022         3524676134                               114.36
Bett Kimutai                                        12/03/2022         11222022                                2,423.20
Siemens Healthcare Diagnostics                      12/03/2022         952865579                               1,190.04
UPS                                                 12/03/2022         00005299W9492                              36.00
UPS                                                 12/03/2022         0000W352F1492                              36.00
UPS                                                 12/03/2022         00000604W0492                            471.36
UPS                                                 12/03/2022         0000070R21492                           1,632.33
UPS                                                 12/03/2022         000053XF87492                              27.30
UPS                                                 12/03/2022         000005F64R492                              36.00
UPS                                                 12/03/2022         00003R5378492                              36.00
Wells Fargo Financial Leasing, Inc.                 12/03/2022         5022908340                               345.83
Wintegrity                                          12/03/2022         2428                                   10,000.00
Abbott Laboratories                                 12/05/2022         830888547                               1,213.00
American Proficiency Institute                      12/05/2022         12052022                                3,733.00
Henry Schein                                        12/05/2022         29892067                                 587.86
Immunalysis Corporation                             12/05/2022         0196629-IN                              4,462.27
Labtek, Incorporated                                12/05/2022         13521                                    184.44
Pipedrive, Inc.                                     12/05/2022         2375693                                  539.10
6600 Highland, LLC                                  12/06/2022         12012022                               26,688.39
Abbott Laboratories                                 12/06/2022         830888266                               2,426.00
Auburn Hills Medical Properties, LLC                12/06/2022         12012022                                 991.00
BioPathogenix                                       12/06/2022         2058                                   10,600.00
Henry Schein                                        12/06/2022         30096975                                 152.63
IMCS, Inc.                                          12/06/2022         132606                                  3,700.00
MedSpeed, LLC                                       12/06/2022         27436                                 125,187.81
Polar Ice                                           12/06/2022         79392                                    170.00
The Medical Real Estate Group                       12/06/2022         12012022                               47,828.06
The Sports Marketing Agency, INC                    12/06/2022         12012022                              150,000.00
Fed Ex                                              12/07/2022         7-969-48665                              429.94
Leasing Associates of Barrington, INC.              12/07/2022         1671235                                  788.82
Riverview Health & Rehab North                      12/07/2022         12072022                                2,400.00
Riverview Health & Rehab South                      12/07/2022         12072022                                 600.00
St. Joseph’s                                        12/07/2022         12072022                                1,100.00
Symphony Tri-Cities                                 12/07/2022         12072022                                 100.00
The Rivers of Grosse Pointe.                        12/07/2022         12072022                                 100.00
Villa at the Park.                                  12/07/2022         12072022                                 600.00
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Amazon                                           12/08/2022         12082022                                25.40
Detroit Athletic Club                            12/08/2022         12082022                               498.00
Fisher Healthcare                                12/08/2022         8753955/8797784B                       173.70
Fisher Healthcare                                12/08/2022         8797783B                               138.20
Fisher Healthcare                                12/08/2022         8797783A                              2,719.22
Henry Schein                                     12/08/2022         30632908                               229.82
Henry Schein                                     12/08/2022         30171362                               248.77
Immunalysis Corporation                          12/08/2022         0196855-IN                             656.73
Mercedes Scientific                              12/08/2022         2659191                                431.96
Staples                                          12/08/2022         3525081733                             282.44
Cintas Corp. (ACH)                               12/09/2022         4139941624                             159.36
Cintas Corp. (ACH)                               12/09/2022         4139939983                             899.72
Henry Schein                                     12/09/2022         30822920                               825.23
James Grossi                                     12/09/2022         12092022                               816.67
Labtek, Incorporated                             12/09/2022         13533                                  370.44
Labtek, Incorporated                             12/09/2022         13536                                  438.84
Labtek, Incorporated                             12/09/2022         13534                                  368.88
Labtek, Incorporated                             12/09/2022         13535                                 1,847.58
Microsoft                                        12/09/2022         G017686164                            1,359.55
Polar Ice                                        12/09/2022         79408                                  170.00
Practice Fusion                                  12/09/2022         5500024082                             894.00
Principal Financial Group                        12/09/2022         10142022                              4,056.88
Principal Financial Group                        12/09/2022         10212022                              6,670.29
Principal Financial Group                        12/09/2022         10282022                              4,002.49
Principal Financial Group                        12/09/2022         10272022                                67.26
Principal Financial Group                        12/09/2022         11042022                              3,990.40
Principal Financial Group                        12/09/2022         11072022                               629.81
Principal Financial Group                        12/09/2022         11082022                               787.00
Principal Financial Group                        12/09/2022         11102022                              3,484.68
Principal Financial Group                        12/09/2022         11182022                              5,009.70
Principal Financial Group                        12/09/2022         12092022                              3,051.25
State of Arkansas                                12/09/2022         L0299853008                            727.39
Comcast                                          12/10/2022         12102022/0687196                       269.17
Microsoft                                        12/10/2022         G017433187                             174.16
Microsoft                                        12/10/2022         E0400L83C6                              57.24
Microsoft                                        12/10/2022         E0400L81HX                             250.31
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Microsoft                                         12/10/2022         E0400L81HW                              153.91
Microsoft                                         12/10/2022         E0400L81HV                                 4.00
Microsoft                                         12/10/2022         E0400L8B2P                               61.94
Microsoft                                         12/10/2022         E0400L8AZ7                                 8.00
Microsoft                                         12/10/2022         E0400L7WYA                               45.00
Microsoft                                         12/10/2022         E0400L7WY9                              852.79
UPS                                               12/10/2022         0000W352F1502                            36.00
UPS                                               12/10/2022         00005299W9502                            36.00
UPS                                               12/10/2022         00000604W0502                           641.02
UPS                                               12/10/2022         0000070R21502                          1,019.80
UPS                                               12/10/2022         000053XF87502                            27.30
UPS                                               12/10/2022         000005F64R502                            36.00
UPS                                               12/10/2022         00003R5378502                            36.00
Charter Communications                            12/11/2022         0422386121122                           179.76
Fisher Healthcare                                 12/12/2022         9041390A                                171.94
Henry Schein                                      12/12/2022         31045334                               1,469.80
Henry Schein                                      12/12/2022         31041197                               1,642.42
Henry Schein                                      12/12/2022         30927995                               3,719.18
Henry Schein                                      12/12/2022         30822917                                302.37
Immunalysis Corporation                           12/12/2022         0197001-IN                             7,757.79
Mercedes Scientific                               12/12/2022         2660372                                 267.65
Twilio Inc.                                       12/12/2022         12122022                                 90.70
Wells Fargo Financial Leasing, Inc.               12/12/2022         5023059205                              131.42
Abbott Laboratories                               12/13/2022         830689769                              1,130.80
Applied Innovation                                12/13/2022         2103972                                 339.20
De Lage Landen Financial Services, Inc.           12/13/2022         78480993                                301.49
DTE Energy                                        12/13/2022         12132022/05876                         2,303.01
DTE Energy                                        12/13/2022         12132022/42246                         1,896.53
DTE Energy                                        12/13/2022         12132022/41356                         1,113.49
DTE Energy                                        12/13/2022         12132022/42341                          492.35
DTE Energy                                        12/13/2022         12132022/27118                          100.75
DTE Energy                                        12/13/2022         12132022/14054                           14.79
Fisher Healthcare                                 12/13/2022         8919769B                                133.90
Henry Schein                                      12/13/2022         31116335                                651.69
Henry Schein                                      12/13/2022         31090753                              21,591.71
Henry Schein                                      12/13/2022         30501302                                855.52
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Henry Schein                                       12/13/2022         31407832                                   76.04
Immunalysis Corporation                            12/13/2022         0197169-IN                               954.00
Ion Diagnostics Laboratories                       12/13/2022         14                                     11,558.00
Life Technologies Corporation                      12/13/2022         77183387                                1,206.66
Mercedes Scientific                                12/13/2022         2660791                                    47.17
Mercedes Scientific                                12/13/2022         2660804                                  169.60
Mercedes Scientific                                12/13/2022         2660799                                  547.65
Mercedes Scientific                                12/13/2022         2660790                                 2,922.97
Microgenics Corporation                            12/13/2022         970535                                  3,660.90
Microgenics Corporation                            12/13/2022         970464                                  2,138.62
Mutual of Omaha                                    12/13/2022         001460467169                            7,569.65
Polar Ice                                          12/13/2022         79423                                    170.00
Amazon                                             12/14/2022         12142022                                 402.70
Athenahealth, Inc.                                 12/14/2022         INV-318260                              1,339.00
BioPathogenix                                      12/14/2022         2081                                    6,360.00
Fed Ex                                             12/14/2022         7-976-78644                              501.35
Fed Ex                                             12/14/2022         7-976-78645                                10.75
Gemini Lab Group                                   12/14/2022         11012022                               45,000.00
Gemini Lab Group                                   12/14/2022         10012022                               45,000.00
Gemini Lab Group                                   12/14/2022         09012022                              102,500.00
Gemini Lab Group                                   12/14/2022         08012022                              102,500.00
Gemini Lab Group                                   12/14/2022         07012022                              127,500.00
Gemini Lab Group                                   12/14/2022         06012022                               77,500.00
Henry Schein                                       12/14/2022         31568602                                 742.90
Henry Schein                                       12/14/2022         31407838                                    8.28
Henry Schein                                       12/14/2022         31389709                                1,004.86
Henry Schein                                       12/14/2022         29910276                                 200.22
Mercedes Scientific                                12/14/2022         2661356                                 3,661.93
Mercedes Scientific                                12/14/2022         2661319                                  503.50
Wells Fargo Financial Leasing, Inc.                12/14/2022         5023077764                               712.32
Comcast                                            12/15/2022         001000580022                             635.39
Credential Check Corporation                       12/15/2022         290591                                     52.00
Gena's Timeless Cleaning, LLC                      12/15/2022         15                                      6,000.00
General Treasurer, State of Rhode Island           12/15/2022         12152022                                1,304.00
Hogan Lovells US LLP                               12/15/2022         22200208749                            47,335.46
iPatientCare, LLC                                  12/15/2022         2022/HD1215-Q-SHC                       5,000.00
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Mercedes Scientific                              12/15/2022         2661453                                1,017.60
Phenomenex, Inc                                  12/15/2022         CIUS-22088332                         12,561.00
Superior Medical Waste Disposal                  12/15/2022         21804B                                   35.00
The Sports Marketing Agency, INC                 12/15/2022         07012022                              74,000.00
Cintas Corp. (ACH)                               12/16/2022         4140640638                               81.24
Cintas Corp. (ACH)                               12/16/2022         4140639570                              892.41
Costco                                           12/16/2022         12162022                                248.89
Diane Zurchauer                                  12/16/2022         12162022                                465.00
Fisher Healthcare                                12/16/2022         9041390B                                 56.40
Labtek, Incorporated                             12/16/2022         13563                                   343.44
Labtek, Incorporated                             12/16/2022         13562                                   368.88
Labtek, Incorporated                             12/16/2022         13561                                  1,874.58
Labtek, Incorporated                             12/16/2022         13560                                  5,490.80
Med Water Systems                                12/16/2022         INV/2022/4219                           355.00
Mutual of Omaha                                  12/16/2022         001460467170                            479.51
Polar Ice                                        12/16/2022         79444                                   170.00
Principal Financial Group                        12/16/2022         12162022                               3,600.09
Bett Kimutai                                     12/17/2022         12172022                               2,423.20
Comcast                                          12/17/2022         12172022/0808982                        159.19
Staples                                          12/17/2022         3525843729                              301.35
UPS                                              12/17/2022         0000W352F1512                            36.00
UPS                                              12/17/2022         00005299W9512                            36.00
UPS                                              12/17/2022         00000604W0512                          1,281.66
UPS                                              12/17/2022         0000070R21512                           350.41
UPS                                              12/17/2022         000053XF87512                            27.30
UPS                                              12/17/2022         000005F64R512                            36.00
UPS                                              12/17/2022         00003R5378512                            36.00
StrengthPoint Advisors                           12/18/2022         CA-0552                               12,900.00
Agena Bioscience, Inc.                           12/19/2022         INV-590796                            25,471.84
Agena Bioscience, Inc.                           12/19/2022         INV-589941                             3,005.82
ClickUp                                          12/19/2022         T14387243-121922                        190.00
Fisher Healthcare                                12/19/2022         9145365A                               7,009.73
Henry Schein                                     12/19/2022         31811936                               9,168.56
Immunalysis Corporation                          12/19/2022         0197298-IN                             4,602.16
Mercedes Scientific                              12/19/2022         2662638                                  65.70
Abbott Laboratories                              12/20/2022         830890563                              1,028.00
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Amazon                                                12/20/2022         12202022                                382.24
Applied Innovation                                    12/20/2022         2108578                                 635.51
Fisher Healthcare                                     12/20/2022         9109260B                                119.20
Henry Schein                                          12/20/2022         31916156                                971.76
James Grossi                                          12/20/2022         12202022                               5,000.00
Polar Ice                                             12/20/2022         79456                                   170.00
Practice Fusion                                       12/20/2022         5500024650                              970.00
Verizon                                               12/20/2022         9923387341                              689.71
Amazon                                                12/21/2022         12212022                                 79.86
BioPathogenix                                         12/21/2022         2095                                  18,285.00
Fed Ex                                                12/21/2022         7-984-39494                             430.26
Fisher Healthcare                                     12/21/2022         9145365B                                172.90
Grainger                                              12/21/2022         12212022                                211.32
Henry Schein                                          12/21/2022         32006698                               1,330.09
Henry Schein                                          12/21/2022         32005211                                 43.42
Henry Schein                                          12/21/2022         31977104                               1,046.86
Henry Schein                                          12/21/2022         31967751                              10,039.20
James Grossi                                          12/21/2022         12212022                               4,978.00
Microgenics Corporation                               12/21/2022         972600                                 2,198.31
Amazon                                                12/22/2022         12222022                                179.88
Carolina Coastal Paper & Janitorial Supply, LLC       12/22/2022         29131                                  2,087.09
Comcast                                               12/22/2022         12222022/0945842                        169.90
Henry Schein                                          12/22/2022         32041200                               1,330.09
Henry Schein                                          12/22/2022         32025153                                404.20
Henry Schein                                          12/22/2022         31621923                               2,255.57
Polar Ice                                             12/22/2022         79475                                   170.00
Uhaul                                                 12/22/2022         12222022                                 55.40
UHY, LLP                                              12/22/2022         640441545                              2,180.00
Applied Innovation                                    12/23/2022         2110802                                 650.27
Cintas Corp. (ACH)                                    12/23/2022         4141354318                              159.36
Cintas Corp. (ACH)                                    12/23/2022         4141353007                              899.72
Fisher Healthcare                                     12/23/2022         9206354B                                119.20
Henry Schein                                          12/23/2022         32094588                                212.92
Henry Schein                                          12/23/2022         31621916                                442.16
Principal Financial Group                             12/23/2022         12232022                               3,099.17
Wells Fargo Financial Leasing, Inc.                   12/23/2022         5023192900                               96.32
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Wells Fargo Financial Leasing, Inc.               12/23/2022         5023192899                             613.57
Comcast                                           12/24/2022         12242022/0308322                       455.00
UPS                                               12/24/2022         00000604W0522                          477.86
UPS                                               12/24/2022         0000070R21522                         1,394.36
UPS                                               12/24/2022         000053XF87522                           27.30
UPS                                               12/24/2022         0000W352F1522                           36.00
UPS                                               12/24/2022         00005299W9522                           36.00
UPS                                               12/24/2022         000005F64R522                           36.00
UPS                                               12/24/2022         00003R5378522                           36.00
Atlassian                                         12/25/2022         AT-214883277                           783.55
CheckRun                                          12/25/2022         9Fe97E7A-0023                           50.00
TASC                                              12/25/2022         IN2619988                              693.59
Netalytics                                        12/26/2022         2022-10521                             750.00
Agena Bioscience, Inc.                            12/27/2022         INV-590206                              87.24
BioPathogenix                                     12/27/2022         2098                                  7,155.00
Comcast                                           12/27/2022         12272022/0670846                       121.90
DTE Energy                                        12/27/2022         12272022/41394                          43.83
Fisher Healthcare                                 12/27/2022         9226903B                                69.27
Fisher Healthcare                                 12/27/2022         9271121/9341111A                      8,372.89
Fisher Healthcare                                 12/27/2022         9226903A                               301.16
Jobs Core Inc.                                    12/27/2022         12272022                               449.00
Labtek, Incorporated                              12/27/2022         13582                                 1,044.10
Labtek, Incorporated                              12/27/2022         13581                                 1,874.58
Labtek, Incorporated                              12/27/2022         13580                                  368.88
Labtek, Incorporated                              12/27/2022         13579                                   80.56
ClickUp                                           12/28/2022         T14387243-122822                        28.19
Edge Solutions                                    12/28/2022         609334                                1,552.67
Fed Ex                                            12/28/2022         7-991-48481                            280.52
Fisher Healthcare                                 12/28/2022         9271122A                              6,846.49
Immunalysis Corporation                           12/28/2022         0197543-IN                            4,854.64
Immunalysis Corporation                           12/28/2022         0197531-IN                             140.23
Darren Cain                                       12/29/2022         12292022                             13,500.00
James Grossi                                      12/30/2022         12302022                              4,738.84
Principal Financial Group                         12/30/2022         12292022                              1,127.13
Principal Financial Group                         12/30/2022         12302022                              3,735.09
6600 Highland, LLC                                01/01/2023         01012023                             26,688.39
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Abbott Laboratories                                   01/01/2023         830889769                            1,130.80
Abbott Laboratories                                   01/01/2023         830872338                            1,089.68
Abbott Laboratories                                   01/01/2023         830857252                            1,213.00
Abbott Laboratories                                   01/01/2023         830844380                            2,426.00
Abbott Laboratories                                   01/01/2023         616276278                           12,598.08
Amazon                                                01/01/2023         12202022                              355.60
Amazon                                                01/01/2023         01062023                               92.01
Applied Capital, LLC                                  01/01/2023         33134689                              327.44
Auburn Hills Medical Properties, LLC                  01/01/2023                                               991.00
Avairis, Inc.                                         01/01/2023         1535                                 2,666.00
Bett Kimutai                                          01/01/2023         01012023                             2,423.20
BillionToOne, Inc.                                    01/01/2023         8242123122                          30,134.60
BillionToOne, Inc.                                    01/01/2023         8242113022                          17,140.00
Bio Rad Laboratories, Inc.                            01/01/2023         905640882                              46.01
Blue Care Network                                     01/01/2023         230110075028                        18,057.76
Blue Cross Blue Shield of Michigan                    01/01/2023         154500818                           25,573.03
Blue Cross Blue Shield of Michigan                    01/01/2023         15450558                             4,529.37
Careviso, Inc.                                        01/01/2023         2426                                 5,000.00
Carolina Coastal Paper & Janitorial Supply, LLC       01/01/2023         28853                                1,938.01
CI Web Design, Inc                                    01/01/2023         9984                                  940.00
CI Web Design, Inc                                    01/01/2023         10078                                 940.00
Cintas Corp. (ACH)                                    01/01/2023         4142020289                             81.24
Cintas Corp. (ACH)                                    01/01/2023         4142018812                            892.41
COLA Inc.                                             01/01/2023         A0089386                            10,417.00
Comcast                                               01/01/2023         001000580022B                          26.85
CoreBioLabs                                           01/01/2023         824                                 43,015.00
De Lage Landen Financial Services, Inc.               01/01/2023         78626260                              301.49
Ebay                                                  01/01/2023         12302022                              572.40
Eden Software Solutions, LLC                          01/01/2023         0001                                 1,500.00
Esker Inc                                             01/01/2023         460235501                            1,195.45
Evoqua Water Technologies LLC                         01/01/2023         905671773                            1,508.83
Fink Bressack PLLC                                    01/01/2023         FBHELIX-1010                          188.78
Fink Bressack PLLC                                    01/01/2023         FBHELIX-1009                          187.50
Fink Bressack PLLC                                    01/01/2023         FBHELIX-1008                         1,406.25
Fire Alarm Services                                   01/01/2023         INV-1863303                          1,250.80
Fisher Healthcare                                     01/01/2023         9717082/9649136B                      247.71
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Fisher Healthcare                                   01/01/2023         9271122B                                 143.90
Gemini Lab Group                                    01/01/2023         01012023                              245,000.00
Gena's Timeless Cleaning, LLC                       01/01/2023         016                                     6,000.00
Google                                              01/01/2023         4631631344                                 79.20
Henry Schein                                        01/01/2023         32252309                                 263.17
Henry Schein                                        01/01/2023         32252308                                 381.58
Highland Milford Family Clinic                      01/01/2023         01012023                                 541.39
Highland Milford Family Clinic                      01/01/2023         08012022                                 296.82
Highland Milford Family Clinic                      01/01/2023         10012022                                 541.39
Highland Milford Family Clinic                      01/01/2023         09012022                                 541.39
Immunalysis Corporation                             01/01/2023         0197464-IN                              2,733.09
Iron Mountain                                       01/01/2023         HCSP978                                  916.70
James Grossi                                        01/01/2023         12192022                                5,000.00
Labcorp                                             01/01/2023         21032030083122                          1,995.00
Labcorp                                             01/01/2023         75032586                               39,703.26
LabSoft, Inc.                                       01/01/2023         452-23032                                  95.00
Lifepoint Informatics                               01/01/2023         1183434                                  200.00
Lifepoint Informatics                               01/01/2023         1183429                                 1,125.00
Little Sonia Real Estate LLC                        01/01/2023                                                 1,698.75
MAC Pizza, LLC                                      01/01/2023                                                 1,310.00
MCW Partners, LLC                                   01/01/2023         64200                                      47.70
Medcare MSO                                         01/01/2023         2664                                  102,918.28
Mercedes Scientific                                 01/01/2023         2666011                                  890.40
Mercedes Scientific                                 01/01/2023         2666091                                  324.54
Mercedes Scientific                                 01/01/2023         2659191B                                   39.17
Mercedes Scientific                                 01/01/2023         2663499                                 1,033.50
Mercedes Scientific                                 01/01/2023         2664143                                 2,325.28
Mercedes Scientific                                 01/01/2023         2664710                                 2,216.33
Mercedes Scientific                                 01/01/2023         2665012                                  129.30
Newbsknob, LLC                                      01/01/2023                                                 2,875.00
Orchard Software Corporation                        01/01/2023         2021-14538                              7,685.00
Orchard Software Corporation                        01/01/2023         2020-12131                             12,000.00
Polar Ice                                           01/01/2023         79483                                    170.00
Polar Ice                                           01/01/2023         78353                                    170.00
Polar Ice                                           01/01/2023         79498                                    170.00
Principal Financial Group                           01/01/2023         09302022                                9,904.54
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Recovery Pathways                                   01/01/2023                                                887.45
SAR Consulting Services, LLC                        01/01/2023                                               5,000.00
Solaris Diagnostics                                 01/01/2023         4784                                   120.00
Splashtop (CC)                                      01/01/2023         01042023                              3,000.00
Staples                                             01/01/2023         3521145152                             614.69
Staples                                             01/01/2023         3517953627                             154.74
Stericycle Inc                                      01/01/2023         4011455185                             157.94
Superior Medical Waste Disposal                     01/01/2023         22350                                 2,887.00
Sysmex America, Inc.                                01/01/2023         94535537                               208.09
Sysmex America, Inc.                                01/01/2023         94512744                              1,835.53
Sysmex America, Inc.                                01/01/2023         94504232                               324.34
Sysmex America, Inc.                                01/01/2023         94502654                               208.73
Sysmex America, Inc.                                01/01/2023         94493574                               580.13
Sysmex America, Inc.                                01/01/2023         94490409                               206.31
Sysmex America, Inc.                                01/01/2023         94483517                               486.51
Sysmex America, Inc.                                01/01/2023         94467808                              1,835.53
Sysmex America, Inc.                                01/01/2023         94461397                               759.06
Sysmex America, Inc.                                01/01/2023         94459686                               206.03
Sysmex America, Inc.                                01/01/2023         94450982                               580.13
Sysmex America, Inc.                                01/01/2023         94442297                               649.82
Sysmex America, Inc.                                01/01/2023         94440738                               205.66
Sysmex America, Inc.                                01/01/2023         94423300                              1,835.53
The Hartford                                        01/01/2023         12012022                              6,323.04
The Medical Real Estate Group                       01/01/2023                                              47,828.06
The Sports Marketing Agency, INC                    01/01/2023         01012023                            150,000.00
Theranostix Inc.                                    01/01/2023         2HXD1122                             15,094.00
Theranostix Inc.                                    01/01/2023         1HXD1022                              3,024.00
Theranostix Inc.                                    01/01/2023         3HXD1222                              5,796.00
Translational Software, Inc.                        01/01/2023         7865A                                 9,410.00
Tri-City Treatment                                  01/01/2023                                                308.58
UPS                                                 01/01/2023         0000070R21532                         1,087.37
UPS                                                 01/01/2023         000053XF87532                            18.00
UPS                                                 01/01/2023         0000W352F1532                            30.00
UPS                                                 01/01/2023         00005299W9532                            30.00
UPS                                                 01/01/2023         000005F64R532                            30.00
UPS                                                 01/01/2023         00003R5378532                            30.00
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                            Payee                    Payment Date                  No.             Total
Younis Enterprises                                01/01/2023                                                5,001.95
Applied Capital, LLC                              01/02/2023         33152857                                179.28
Applied Innovation                                01/02/2023         2113302                                 853.30
Henry Schein                                      01/02/2023         32282550                                675.74
Wells Fargo Financial Leasing, Inc.               01/02/2023         5023313588                              380.42
AB Sciex, LLC                                     01/03/2023         210203137                              6,258.20
AB Sciex, LLC                                     01/03/2023         210203131                             25,005.42
Agena Bioscience, Inc.                            01/03/2023         INV-591868                             4,508.71
Applied Innovation                                01/03/2023         2114268                                 446.47
DTE Energy                                        01/03/2023         01032023/29742                          178.22
DTE Energy                                        01/03/2023         01032033/29726                          113.83
DTE Energy                                        01/03/2023         01032023/29783                           99.88
DTE Energy                                        01/03/2023         01032023/29635                           97.81
DTE Energy                                        01/03/2023         01032023/29833                           79.31
DTE Energy                                        01/03/2023         01032023/29866                           20.32
eClinicalWorks, LLC                               01/03/2023         0002562527                              900.00
Labtek, Incorporated                              01/03/2023         13591                                  1,874.58
Labtek, Incorporated                              01/03/2023         13592                                    80.56
Labtek, Incorporated                              01/03/2023         13593                                   179.14
Labtek, Incorporated                              01/03/2023         13594                                  1,628.16
Leasing Associates of Barrington, INC.            01/03/2023         1673817                                2,406.20
Polar Ice                                         01/03/2023         79509                                   170.00
Siemens Healthcare Diagnostics                    01/03/2023         952883175                              1,190.04
Atlassian                                         01/04/2023         AT-216333004                             73.50
Fed Ex                                            01/04/2023         7-998-11677                             321.48
First Insurance Funding                           01/04/2023         01042023                              12,100.00
Health Equity                                     01/04/2023         01042023                                 20.00
Henry Schein                                      01/04/2023         32548014                                294.58
Henry Schein                                      01/04/2023         32537637                                208.25
Immunalysis Corporation                           01/04/2023         0197781-IN                             3,906.13
James Grossi                                      01/04/2023         01042023                               5,000.00
Mercedes Scientific                               01/04/2023         2666851                                2,040.49
Meritain Health                                   01/04/2023         01042023                                180.00
Meritain Health                                   01/04/2023         01042023                                135.00
Abbott Laboratories                               01/05/2023         830893863                              1,213.00
BioPathogenix                                     01/05/2023         2122                                   3,710.00
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Cardinal Health                                  01/05/2023         01052023                                1,507.59
Henry Schein                                     01/05/2023         32558428                               30,336.41
Henry Schein                                     01/05/2023         32552149                                4,461.11
Henry Schein                                     01/05/2023         32389801                                 118.37
James Grossi                                     01/05/2023         01052023                                2,500.00
Labtek, Incorporated                             01/05/2023         13618                                      33.92
Labtek, Incorporated                             01/05/2023         13619                                   1,874.58
MedSpeed, LLC                                    01/05/2023         27674                                 107,920.45
Mercedes Scientific                              01/05/2023         2667590                                 2,459.03
Pipedrive, Inc.                                  01/05/2023         2406670                                  539.10
Solaris Diagnostics                              01/05/2023         4892                                     600.00
Abbott Laboratories                              01/06/2023         830890695                               2,426.00
Amazon                                           01/06/2023         01062023                                 115.43
Cintas Corp. (ACH)                               01/06/2023         4142714306                               159.36
Cintas Corp. (ACH)                               01/06/2023         4142713142                               899.72
Costco                                           01/06/2023         01062023                                 485.01
Fisher Healthcare                                01/06/2023         9494968/9454411A                        7,999.35
Henry Schein                                     01/06/2023         32670894                                2,646.52
Mercedes Scientific                              01/06/2023         2667989                                    67.84
Mercedes Scientific                              01/06/2023         2667950                                  201.40
Mercedes Scientific                              01/06/2023         2667949                                  102.82
Polar Ice                                        01/06/2023         79525                                    170.00
Principal Financial Group                        01/06/2023         01062023                                3,199.67
Staples                                          01/07/2023         3527458360                               108.68
UPS                                              01/07/2023         00000604W0013                            428.00
UPS                                              01/07/2023         0000070R21013                            763.87
UPS                                              01/07/2023         000053XF87013                              18.00
UPS                                              01/07/2023         0000W352F1013                              30.00
UPS                                              01/07/2023         00005299W9013                              30.00
UPS                                              01/07/2023         000005F64R013                              30.00
UPS                                              01/07/2023         00003R5378013                              30.00
Adobe (ACH)                                      01/09/2023         2374907527                               599.71
Amazon                                           01/09/2023         01092023                                 127.19
Applied Innovation                               01/09/2023         2120471                                  538.64
ClickUp                                          01/09/2023         T14387243-010923                           47.19
CoreBioLabs                                      01/09/2023         835                                    10,280.00
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                          Payee                   Payment Date                  No.             Total
Evoqua Water Technologies LLC                  01/09/2023         905677991                               642.20
Immunalysis Corporation                        01/09/2023         0197965-IN                             6,112.13
Immunalysis Corporation                        01/09/2023         0197864-IN                             8,393.31
Labtek, Incorporated                           01/09/2023         13632                                   383.72
Labtek, Incorporated                           01/09/2023         13616                                   358.28
Labtek, Incorporated                           01/09/2023         13617                                   292.56
Microsoft                                      01/09/2023         G018630987                             1,402.93
Pipedrive, Inc.                                01/09/2023         2410547                                  52.34
Comcast                                        01/10/2023         01102023/0687196                        273.64
First Insurance Funding                        01/10/2023         01102023                               7,159.54
Henry Schein                                   01/10/2023         32836252                              11,603.91
Henry Schein                                   01/10/2023         32681542                                605.75
James Grossi                                   01/10/2023         01102023B                              2,500.00
James Grossi                                   01/10/2023         01102023                               2,000.00
Jimmy John's                                   01/10/2023         01102023                                101.17
Mercedes Scientific                            01/10/2023         2668906                                 101.75
Mercedes Scientific                            01/10/2023         2668854                                1,033.50
Mercedes Scientific                            01/10/2023         2668813                                 381.60
Microgenics Corporation                        01/10/2023         975344                                 5,490.08
Microsoft                                      01/10/2023         G018359665                              178.47
Microsoft                                      01/10/2023         E0400LLYIO                              174.90
Microsoft                                      01/10/2023         E0400LM47H                                 8.00
Microsoft                                      01/10/2023         E0400LM47G                               23.32
Microsoft                                      01/10/2023         E0400LM1XP                               49.95
Microsoft                                      01/10/2023         E0400LM1X1                               45.00
Microsoft                                      01/10/2023         E0400LM1X0                              894.64
Microsoft                                      01/10/2023         E0400LM0LB                               57.24
Microsoft                                      01/10/2023         E0400LLYIP                              299.16
Microsoft                                      01/10/2023         E0400LLYIN                                 4.00
Polar Ice                                      01/10/2023         79538                                   170.00
Taylor Door and Window                         01/10/2023         15159                                   442.50
Amazon                                         01/11/2023         01112023                                 48.63
BioPathogenix                                  01/11/2023         2139                                   3,180.00
Brehob CORPORATION                             01/11/2023         01112023                                 76.90
Cardinal Health                                01/11/2023         7157019521                              175.30
Fed Ex                                         01/11/2023         8-004-26505                             350.30
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First Insurance Funding                           01/11/2023         01112023                               3,415.46
Immunalysis Corporation                           01/11/2023         0198103-IN                             5,819.93
James Grossi                                      01/11/2023         01112023                               3,000.00
James Grossi                                      01/11/2023         01112023                               1,147.64
Mercedes Scientific                               01/11/2023         2669544                                2,494.36
Amazon                                            01/12/2023         01122023B                               166.92
Amazon                                            01/12/2023         01122023                                 97.02
Applied Innovation                                01/12/2023         2124142                                 339.20
Cardinal Health                                   01/12/2023         7157065111                              223.46
DTE Energy                                        01/12/2023         01122023/41356                         1,186.94
DTE Energy                                        01/12/2023         01122023/05876                         2,580.27
DTE Energy                                        01/12/2023         01122023/42246                         2,047.74
DTE Energy                                        01/12/2023         01122023/42341                          520.26
DTE Energy                                        01/12/2023         01122023/27118                          105.34
DTE Energy                                        01/12/2023         01122023/14064                           14.79
Fisher Healthcare                                 01/12/2023         0432121A                              31,556.15
Henry Schein                                      01/12/2023         32827368                               1,722.45
Henry Schein                                      01/12/2023         32994313                               1,745.91
INTEGRA Biosciences Corp.                         01/12/2023         233401064                              1,570.43
Jeffrey Williamson                                01/12/2023         01122023                                461.43
Med Water Systems                                 01/12/2023         INV/2023/0130                            64.72
Sigma-Aldrich Inc.                                01/12/2023         558952593                              1,991.66
Sysmex America, Inc.                              01/12/2023         94580410                                580.13
Sysmex America, Inc.                              01/12/2023         94580169                                206.68
Wells Fargo Financial Leasing, Inc.               01/12/2023         5023467160                              103.86
Abbott Laboratories                               01/13/2023         830896654                              1,130.80
Athenahealth, Inc.                                01/13/2023         INV-332807                             1,059.00
Cardinal Health                                   01/13/2023         7157125577                               81.89
Cintas Corp. (ACH)                                01/13/2023         4143412159                               81.24
Cintas Corp. (ACH)                                01/13/2023         4143410775                              892.41
ClickUp                                           01/13/2023         T14387243-011223                           9.81
De Lage Landen Financial Services, Inc.           01/13/2023         78770705                                301.49
Fisher Healthcare                                 01/13/2023         9494968/9454411B                        252.09
Fisher Healthcare                                 01/13/2023         9271121/9341111B                        172.91
Fisher Healthcare                                 01/13/2023         9649135/9682145/9909A                  2,956.29
Fisher Healthcare                                 01/13/2023         9717082/9649136A                      19,974.91
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Henry Schein                                       01/13/2023         32989316                                200.46
James Grossi                                       01/13/2023         01132023                               1,527.80
Life Technologies Corporation                      01/13/2023         77185592                               1,206.66
Polar Ice                                          01/13/2023         79558                                   170.00
Sysmex America, Inc.                               01/13/2023         94581671                                703.12
Wells Fargo Financial Leasing, Inc.                01/13/2023         5023484634                              593.60
UPS                                                01/14/2023         00000604W0023                           529.15
UPS                                                01/14/2023         0000070R21023                           964.84
UPS                                                01/14/2023         000053XF87023                            18.00
UPS                                                01/14/2023         0000W352F1023                            30.00
UPS                                                01/14/2023         00005299W9023                            30.00
UPS                                                01/14/2023         000005F64R023                            30.00
UPS                                                01/14/2023         00003R5378023                            30.00
Bett Kimutai                                       01/15/2023         01202023                               2,423.20
Credential Check Corporation                       01/15/2023         291544                                  156.00
Gena's Timeless Cleaning, LLC                      01/15/2023         017                                    6,000.00
ClickUp                                            01/16/2023         T14387243-011423                           3.68
IMCS, Inc.                                         01/16/2023         133059                                 3,700.00
Immunalysis Corporation                            01/16/2023         0198292-IN                             4,230.75
LabSoft, Inc.                                      01/16/2023         23116-1227-5467                         200.00
Labtek, Incorporated                               01/16/2023         13636                                  1,789.78
Labtek, Incorporated                               01/16/2023         13637                                  1,847.58
Med Water Systems                                  01/16/2023         INV/2023/0165                           355.00
Mercedes Scientific                                01/16/2023         2670724                                 604.20
Mercedes Scientific                                01/16/2023         2670715                                1,812.60
Shawna Willaeys                                    01/16/2023         1                                        29.97
StrengthPoint Advisors                             01/16/2023         CA-0577                               12,700.00
BioPathogenix                                      01/17/2023         2144                                   3,180.00
Comcast                                            01/17/2023         001000612333                            644.91
Comcast                                            01/17/2023         01172023/0808982                        168.50
FastSpring                                         01/17/2023         ZEB230117-4113-73202                    365.70
Fisher Healthcare                                  01/17/2023         9792159A                              15,975.00
Henry Schein                                       01/17/2023         32994315                                747.76
Henry Schein                                       01/17/2023         33172408                                729.15
Immunalysis Corporation                            01/17/2023         0198338-IN                               65.35
Immunalysis Corporation                            01/17/2023         0198347-IN                             5,481.69
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James Grossi                                          01/17/2023         01172023                               5,212.67
Life Technologies Corporation                         01/17/2023         40632466                              13,920.00
Medicare                                              01/17/2023         01172023                                688.00
Microgenics Corporation                               01/17/2023         976608                                 2,305.64
Mutual of Omaha                                       01/17/2023         001477736099                          10,054.04
Mutual of Omaha                                       01/17/2023         001477736098                            475.81
Polar Ice                                             01/17/2023         79571                                   170.00
Abbott Laboratories                                   01/18/2023         616376570                              1,170.19
Abbott Laboratories                                   01/18/2023         616386391                               611.28
Abbott Laboratories                                   01/18/2023         616376569                              1,958.35
Amazon                                                01/18/2023         01182023                                153.16
Amazon                                                01/18/2023         01182023                                 79.62
Amro Almradi MDPC PLLC                                01/18/2023         01182023                               9,000.00
Carolina Coastal Paper & Janitorial Supply, LLC       01/18/2023         29280                                  2,832.48
Fed Ex                                                01/18/2023         8-0011-95443                            428.92
Henry Schein                                          01/18/2023         33221058                                576.44
Henry Schein                                          01/18/2023         33221033                                417.94
Henry Schein                                          01/18/2023         33172199                                500.52
Henry Schein                                          01/18/2023         33172161                                662.18
James Grossi                                          01/18/2023         01182023                               2,500.00
Labtek, Incorporated                                  01/18/2023         13651                                   197.16
Mercedes Scientific                                   01/18/2023         2671783                                3,743.81
Staples                                               01/18/2023         3528094545                              272.50
Vistaprint                                            01/18/2023         01182023                               1,315.45
Cerilliant Corporation                                01/19/2023         01192023                               2,454.40
Digital Check Corp                                    01/19/2023         SLS264604                                39.52
Henry Schein                                          01/19/2023         33237570                              10,319.10
Henry Schein                                          01/19/2023         33237564                              15,804.27
Henry Schein                                          01/19/2023         33058405                                191.13
Immunalysis Corporation                               01/19/2023         0198463-IN                             2,062.61
Jobs Core Inc.                                        01/19/2023         01192023                                449.00
Practice Fusion                                       01/19/2023         5500025099                              810.00
Cerilliant Corporation                                01/20/2023         581400                                  515.60
Cerilliant Corporation                                01/20/2023         581392                                 4,771.30
Cintas Corp. (ACH)                                    01/20/2023         4144116166                              159.36
Cintas Corp. (ACH)                                    01/20/2023         4144114754                              899.72
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                            Payee                    Payment Date                  No.             Total
ClickUp                                           01/20/2023         T14387243-011923                        418.00
Cotiviti Inc.                                     01/20/2023         01202023                               2,275.00
Labtek, Incorporated                              01/20/2023         13666                                    25.44
Labtek, Incorporated                              01/20/2023         13662                                   368.88
Labtek, Incorporated                              01/20/2023         13663                                   412.34
Labtek, Incorporated                              01/20/2023         13664                                  2,010.26
Labtek, Incorporated                              01/20/2023         13665                                    63.60
Paylocity                                         01/20/2023         INV1249575                             3,302.99
CI Web Design, Inc                                01/21/2023         10182                                   940.00
James Grossi                                      01/21/2023         01212023                                225.75
Amazon                                            01/22/2023         01222023                                122.94
Comcast                                           01/22/2023         01222023/0945842                        169.90
Amazon                                            01/23/2023         01232023                                376.15
Fisher Healthcare                                 01/23/2023         9909335/0066246A                      16,099.24
James Grossi                                      01/23/2023         01232023                                103.69
Mercedes Scientific                               01/23/2023         2673211                                 540.60
Principal Financial Group                         01/23/2023         01232023                               3,546.10
Regner Limited Trust Fund                         01/23/2023         01232023                               5,000.00
Barcode Factory                                   01/24/2023         209538                                  508.32
BioPathogenix                                     01/24/2023         2159                                  21,200.00
DTE Energy                                        01/24/2023         01242023/41394                           69.83
Henry Schein                                      01/24/2023         33172409                                144.56
Immunalysis Corporation                           01/24/2023         0198619-IN                             5,537.85
Immunalysis Corporation                           01/24/2023         0198608-IN                             5,497.35
James Grossi                                      01/24/2023         01242023                               5,000.00
Polar Ice                                         01/24/2023         38169                                   170.00
Rusas Printing, Inc.                              01/24/2023         2390                                    127.20
Silverman Consulting Inc.                         01/24/2023         SIL110944                             14,000.00
Viviano Flower Shop                               01/24/2023         01242023                                182.60
Wells Fargo Financial Leasing, Inc.               01/24/2023         5023606826                              669.35
Atlassian                                         01/25/2023         AT-219882810                           1,223.95
CheckRun                                          01/25/2023         9FE97E7A-0024                            50.00
Fed Ex                                            01/25/2023         8-018-21691                             296.20
Fisher Healthcare                                 01/25/2023         9649135/9682145/9909B                   159.52
Henry Schein                                      01/25/2023         33665013                                305.13
James Grossi                                      01/25/2023         01252023                               2,500.00
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Mercedes Scientific                               01/25/2023         2674031                                 381.60
Pipedrive, Inc.                                   01/25/2023         2427208                                  21.37
Principal Financial Group                         01/25/2023         01252023                               5,888.55
Sysmex America, Inc.                              01/25/2023         94595359                               1,835.53
TASC                                              01/25/2023         IN2651324                               693.59
Wells Fargo Financial Leasing, Inc.               01/25/2023         5023619186                              138.43
Cerilliant Corporation                            01/26/2023         581749                                   43.40
Henry Schein                                      01/26/2023         33665014                                249.39
Applied Innovation                                01/27/2023         2134116                                 554.32
Comcast                                           01/27/2023         01272023/0670846                        121.90
De Lage Landen Financial Services, Inc.           01/27/2023         78904132                                301.49
Health Equity                                     01/27/2023         01272023                                 28.62
James Grossi                                      01/27/2023         01272023                                 98.87
James Grossi                                      01/27/2023                                                3,482.30
Polar Ice                                         01/27/2023         38190                                   170.00
Principal Financial Group                         01/27/2023         01272023                               6,198.55
Edge Solutions                                    01/28/2023         624575                                 1,214.57
James Grossi                                      01/28/2023         01312023                              11,589.39
James Grossi                                      01/28/2023         01282023                               1,837.32
Mass Mutual                                       01/28/2023                                                 811.28
UPS                                               01/28/2023         00000604W0043                           783.45
UPS                                               01/28/2023         0000070R21043                          1,049.84
UPS                                               01/28/2023         000053XF87043                            18.00
UPS                                               01/28/2023         0000W352F1043                            30.00
UPS                                               01/28/2023         00005299W9043                            30.00
UPS                                               01/28/2023         000005F64R043                            30.00
UPS                                               01/28/2023         00003R5378043                            30.00
6600 Highland, LLC                                02/01/2023         02012023                              26,688.39
AB Sciex, LLC                                     02/01/2023         210204785                             12,502.71
AB Sciex, LLC                                     02/01/2023         210204807                              3,129.10
Abbott Laboratories                               02/01/2023         830877897                              1,028.00
Abbott Laboratories                               02/01/2023         616398645                              6,361.38
Abbott Laboratories                               02/01/2023         616391992                               611.28
Allscripts Healthcare, LLC                        02/01/2023         4004195075                              636.00
Allscripts Healthcare, LLC                        02/01/2023         1000176326                             2,865.00
Amazon                                            02/01/2023         02012023                                 84.23
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Amazon                                                      02/01/2023         01312023                                 633.88
Amazon                                                      02/01/2023         02012023                                 180.19
Amazon                                                      02/01/2023         01312023                                   61.36
Applied Capital, LLC                                        02/01/2023         33337181                                 366.27
Applied Innovation                                          02/01/2023         2137313                                  853.30
Applied Innovation                                          02/01/2023         2136568                                  446.47
Arkstone Medical                                            02/01/2023         22779                                  10,625.00
Auburn Hills Medical Properties, LLC                        02/01/2023                                                  991.00
Avairis, Inc.                                               02/01/2023         1539                                    3,166.00
Avis                                                        02/01/2023         01302023                                 198.33
Bett Kimutai                                                02/01/2023         01292023                                2,423.20
BillionToOne, Inc.                                          02/01/2023         8242013123                             35,919.00
Blue Care Network                                           02/01/2023         230380038556                           18,459.73
Blue Cross Blue Shield of Michigan                          02/01/2023         157204268                               5,583.88
Blue Cross Blue Shield of Michigan                          02/01/2023         157204553                              34,804.90
Cardinal Health                                             02/01/2023         7157555194                               539.13
Careviso, Inc.                                              02/01/2023         2456                                    3,500.00
Charter Communications                                      02/01/2023         0422386011123                              77.97
Cintas Corp. (ACH)                                          02/01/2023         4144814297                                 81.24
Cintas Corp. (ACH)                                          02/01/2023         4144813135                               892.41
ClickUp                                                     02/01/2023         T14387243-012623                           30.65
Cotiviti Inc.                                               02/01/2023         01202023                                 100.00
Credential Check Corporation                                02/01/2023         291987                                   257.40
Denny's Heating, Cooling & Refrigeration Service Inc.       02/01/2023         S27894                                   394.00
Denny's Heating, Cooling & Refrigeration Service Inc.       02/01/2023         Q13196                                  7,370.00
Denny's Heating, Cooling & Refrigeration Service Inc.       02/01/2023         Q13123                                  1,315.00
eClinicalWorks, LLC                                         02/01/2023         0002438944                              5,300.00
Empirical Biosciences                                       02/01/2023         5677                                   16,503.45
Esker Inc                                                   02/01/2023         460238066                               1,141.50
Evoqua Water Technologies LLC                               02/01/2023         905711739                               1,508.83
Fast Fingerprints                                           02/01/2023         02012023                                   99.00
Fed Ex                                                      02/01/2023         8-025-51433                              297.00
Fisher Healthcare                                           02/01/2023         9989434                                 4,900.47
Fisher Healthcare                                           02/01/2023         9909335/0066246B                         198.50
FrontRunnerHC Inc                                           02/01/2023         20162651                                1,900.00
Gemini Lab Group                                            02/01/2023                                               245,000.00
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Gena's Timeless Cleaning, LLC                       02/01/2023         018                                    6,000.00
Google                                              02/01/2023         4652943166                               79.20
Great Lakes Express Delivery, LLC                   02/01/2023         4753                                  17,248.26
Great Lakes Express Delivery, LLC                   02/01/2023         4684                                  20,677.27
Great Lakes Express Delivery, LLC                   02/01/2023         4525                                   8,675.00
Great Lakes Express Delivery, LLC                   02/01/2023         4603                                   7,267.70
Henry Schein                                        02/01/2023         34034883                               8,993.33
Henry Schein                                        02/01/2023         33682451                               1,802.61
Henry Schein                                        02/01/2023         33668373                              10,477.69
Henry Schein                                        02/01/2023         33500900                                594.87
Henry Schein                                        02/01/2023         33247019                                243.69
Hogan Lovells US LLP                                02/01/2023         22200212564                           55,341.39
Immunalysis Corporation                             02/01/2023         0198910-IN                             3,709.14
Immunalysis Corporation                             02/01/2023         0198948-IN                            10,613.34
Immunalysis Corporation                             02/01/2023         0198770-IN                              145.56
Immunalysis Corporation                             02/01/2023         0198725-IN                             1,639.29
Immunalysis Corporation                             02/01/2023         0198664-IN                              147.37
Immunalysis Corporation                             02/01/2023         0198556-IN                              348.80
INTEGRA Biosciences Corp.                           02/01/2023         233403102                              1,770.53
iOpen World Inc.                                    02/01/2023         02012023                              45,000.00
Iron Mountain                                       02/01/2023         HGJJ476                                1,634.74
Labcorp                                             02/01/2023         75333481                              32,528.88
LabPath Consulting                                  02/01/2023         1404                                   1,500.00
LabSoft, Inc.                                       02/01/2023         452-27088                                95.00
Labtek, Incorporated                                02/01/2023         13694                                    18.02
Labtek, Incorporated                                02/01/2023         13686                                   184.44
Labtek, Incorporated                                02/01/2023         13685                                   696.92
Leasing Associates of Barrington, INC.              02/01/2023         1677234                                2,406.20
LGC Clinical Diagnostics, Inc.                      02/01/2023         90211985                               3,270.76
Lifepoint Informatics                               02/01/2023         1184499                                 125.00
Lifepoint Informatics                               02/01/2023         1184481                                 125.00
Lifepoint Informatics                               02/01/2023         1184007                                1,125.00
Lifepoint Informatics                               02/01/2023         1183997                                 200.00
Lippitt O'Keefe, PLLC                               02/01/2023         13378                                 13,560.00
Lippitt O'Keefe, PLLC                               02/01/2023         13273                                  1,452.50
Little Sonia Real Estate LLC                        02/01/2023                                                1,698.75
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MAC Pizza, LLC                                      02/01/2023                                                  1,310.00
Mclaren Medical Laboratory                          02/01/2023         MLMHEL123122                            17,292.73
Mclaren Medical Laboratory                          02/01/2023         MLMHEL013123                            16,680.42
MCW Partners, LLC                                   02/01/2023         63651                                       47.70
Mercedes Scientific                                 02/01/2023         2675896                                   271.36
Mercedes Scientific                                 02/01/2023         2675448                                   407.04
Mercedes Scientific                                 02/01/2023         2675834                                  2,759.95
Mercedes Scientific                                 02/01/2023         2675201                                  1,722.50
Mercedes Scientific                                 02/01/2023         2675128                                   604.20
Microgenics Corporation                             02/01/2023         977846                                   2,305.97
Mutual of Omaha                                     02/01/2023         001493925406                            10,309.31
Netalytics                                          02/01/2023         2023-761                                  750.00
Newbsknob, LLC                                      02/01/2023                                                  2,875.00
Orchard Software Corporation                        02/01/2023         2021-14535                              13,320.00
Orchard Software Corporation                        02/01/2023         2020-12128                              12,000.00
Orchard Software Corporation                        02/01/2023         2021-14539                               7,685.00
Orchard Software Corporation                        02/01/2023         2020-12132                              12,720.00
Phenomenex, Inc                                     02/01/2023         CIUS-22050938                            8,045.40
Phenomenex, Inc                                     02/01/2023         CIUS-22034812B                            345.77
Pitney Bowes                                        02/01/2023         01312023                                  100.00
Polar Ice                                           02/01/2023         79588                                     170.00
Polar Ice                                           02/01/2023         38205                                     170.00
Predictive Health Diagnostics, Inc.                 02/01/2023         2022-12-0527                             3,900.00
Recovery Pathways                                   02/01/2023                                                   887.45
SAR Consulting Services, LLC                        02/01/2023                                                  5,000.00
Stericycle Inc                                      02/01/2023         4011524584                                157.94
Superior Medical Waste Disposal                     02/01/2023         22673                                    2,977.00
The Hartford                                        02/01/2023                                                  6,265.50
The Medical Real Estate Group                       02/01/2023                                                 47,828.06
The Sports Marketing Agency, INC                    02/01/2023         02012023                               150,000.00
Translational Software, Inc.                        02/01/2023         7940                                     6,741.00
Tri-City Treatment                                  02/01/2023                                                   308.58
UPS                                                 02/01/2023         0000W352F1033                               30.00
UPS                                                 02/01/2023         00005299W9033                               30.00
UPS                                                 02/01/2023         00000604W0033                             549.83
UPS                                                 02/01/2023         000053XF87033                               18.00
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UPS                                               02/01/2023         000005F64R033                              30.00
UPS                                               02/01/2023         00003R5378033                              30.00
UPS                                               02/01/2023         0000070R21033                           1,198.87
Younis Enterprises                                02/01/2023                                                 5,001.95
Amazon                                            02/02/2023         02022023                                 160.51
Amazon                                            02/02/2023         02022023                                   31.79
BioPathogenix                                     02/02/2023         2174                                   13,780.00
DTE Energy                                        02/02/2023         02022023/29742                           166.38
DTE Energy                                        02/02/2023         02022023/29726                           110.42
DTE Energy                                        02/02/2023         02022023/29783                             92.62
DTE Energy                                        02/02/2023         02022023/29635                             77.47
DTE Energy                                        02/02/2023         02022023/29833                             77.05
DTE Energy                                        02/02/2023         02022023/29866                             20.22
Henry Schein                                      02/02/2023         34070540                                3,642.82
Henry Schein                                      02/02/2023         34035671                                1,640.52
Lifepoint Informatics                             02/02/2023         1184461                                  500.00
Sysmex America, Inc.                              02/02/2023         94607111                                 206.98
Wells Fargo Financial Leasing, Inc.               02/02/2023         5023728467                               488.21
Amazon                                            02/03/2023         02032023                                   67.84
Cintas Corp. (ACH)                                02/03/2023         4145508277                               159.36
Cintas Corp. (ACH)                                02/03/2023         4145506962                               899.72
Fink Bressack PLLC                                02/03/2023         FBHELIX-1016                            2,759.50
Henry Schein                                      02/03/2023         34087735                                3,131.80
Henry Schein                                      02/03/2023         33693815                                 210.34
Immunalysis Corporation                           02/03/2023         0198860-IN                               147.63
MedSpeed, LLC                                     02/03/2023         27877                                 114,257.33
MedSpeed, LLC                                     02/03/2023         27877                                 114,257.33
Orchard Software Corporation                      02/03/2023         2021-14534B                             5,635.00
Polar Ice                                         02/03/2023         38226                                    170.00
Siemens Healthcare Diagnostics                    02/03/2023         952903858                               1,190.04
Silverman Consulting Inc.                         02/03/2023         SIL110945                              14,000.00
Sysmex America, Inc.                              02/03/2023         94609182                                 324.99
Atlassian                                         02/04/2023         AT-221577819                               73.50
UPS                                               02/04/2023         0000W352F1053                              30.00
UPS                                               02/04/2023         00000604W0053                            720.88
UPS                                               02/04/2023         0000070R21053                           1,222.93
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UPS                                                 02/04/2023         000053XF87053                            18.00
UPS                                                 02/04/2023         00005299W9053                            30.00
UPS                                                 02/04/2023         000005F64R053                            30.00
UPS                                                 02/04/2023         00003R5378053                            30.00
Pipedrive, Inc.                                     02/05/2023         2438684                                 479.20
Abbott Laboratories                                 02/06/2023         830901369                              2,510.92
Cardinal Health                                     02/06/2023         02062023                                272.56
Fisher Healthcare                                   02/06/2023         0432121B                                117.15
Labtek, Incorporated                                02/06/2023         13717                                  1,847.58
Labtek, Incorporated                                02/06/2023         13713                                  2,221.20
Solaris Diagnostics                                 02/06/2023         4989                                    120.00
Team Financial Group (ACH)                          02/06/2023         02062023/702691                        6,732.00
Amazon                                              02/07/2023         02072023                                281.65
Amazon                                              02/07/2023         02072023                                130.42
Cerilliant Corporation                              02/07/2023         582584                                 9,755.30
Costco                                              02/07/2023         02072023                                182.51
Henry Schein                                        02/07/2023         34046742                                616.23
Mercedes Scientific                                 02/07/2023         2678625                                 117.63
Orchard Software Corporation                        02/07/2023         2022-26274                             6,063.20
Polar Ice                                           02/07/2023         79606                                   170.00
Translational Software, Inc.                        02/07/2023         7838B                                    60.15
Applied Innovation                                  02/08/2023         2145454                                 870.46
BioPathogenix                                       02/08/2023         2191                                  10,600.00
Fed Ex                                              02/08/2023         8-032-25920                             355.51
BioPathogenix                                       02/09/2023         2193                                  21,200.00
Cardinal Health                                     02/09/2023         7158116051                              407.43
Henry Schein                                        02/09/2023         34377132                                697.06
Henry Schein                                        02/09/2023         34361191                                503.63
Henry Schein                                        02/09/2023         34318106                               1,528.22
Henry Schein                                        02/09/2023         33518069                                133.26
Henry Schein                                        02/09/2023         33135517                                357.84
IMCS, Inc.                                          02/09/2023         133393                                 3,704.00
James Grossi                                        02/09/2023         02092023                               2,500.00
Microsoft                                           02/09/2023         G019265007                              176.17
Microsoft                                           02/09/2023         G019148992                             1,402.59
State of Michigan                                   02/09/2023         02092023                                 25.00
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Wells Fargo Financial Leasing, Inc.                         02/09/2023         5023875164                               92.44
AB Sciex, LLC                                               02/10/2023         02102023                               2,000.00
Amazon                                                      02/10/2023         02102023                                123.43
Applied Innovation                                          02/10/2023         2147200                                 339.20
Cardinal Health                                             02/10/2023         7158154524                             1,438.12
Cintas Corp. (ACH)                                          02/10/2023         4146203705                               81.24
Cintas Corp. (ACH)                                          02/10/2023         4146202457                              892.41
Comcast                                                     02/10/2023         02102023/0687196                        273.64
De Lage Landen Financial Services, Inc.                     02/10/2023         78953051                                301.49
Denny's Heating, Cooling & Refrigeration Service Inc.       02/10/2023         S28093                                  469.00
First Insurance Funding                                     02/10/2023         02282023                               7,159.54
Henry Schein                                                02/10/2023         34386641                               2,744.40
Henry Schein                                                02/10/2023         34381162                              24,681.19
James Grossi                                                02/10/2023         02102023                                750.00
La Marsa                                                    02/10/2023         02102023                                249.63
Labtek, Incorporated                                        02/10/2023         13737                                   395.88
Labtek, Incorporated                                        02/10/2023         13738                                   957.18
Microsoft                                                   02/10/2023         02102023                                245.23
Microsoft                                                   02/10/2023         E0400M0F13                               49.95
Microsoft                                                   02/10/2023         E0400M058M                               57.24
Microsoft                                                   02/10/2023         E0400M083N                              302.40
Microsoft                                                   02/10/2023         E0400M083M                              174.90
Microsoft                                                   02/10/2023         E0400M0F14                               45.00
Microsoft                                                   02/10/2023         E0400M0FY5                               23.32
Microsoft                                                   02/10/2023         E0400M0F12                                 8.00
Microsoft                                                   02/10/2023         E0400M083L                                 4.00
Polar Ice                                                   02/10/2023         79626                                   170.00
Principal Financial Group                                   02/10/2023         02102023                               3,048.77
Rusas Printing, Inc.                                        02/10/2023         2423                                     31.80
Silverman Consulting Inc.                                   02/10/2023         SIL110946                             14,000.00
Wells Fargo Financial Leasing, Inc.                         02/10/2023         5023887287                              717.53
Charter Communications                                      02/11/2023         0422386021123                            77.97
UPS                                                         02/11/2023         00000604W0063                           677.55
UPS                                                         02/11/2023         0000070R21063                          1,694.44
UPS                                                         02/11/2023         000053XF87063                            18.00
UPS                                                         02/11/2023         0000W352F1063                            30.00
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UPS                                                02/11/2023         00005299W9063                            30.00
UPS                                                02/11/2023         000005F64R063                            30.00
UPS                                                02/11/2023         00003R5378063                            30.00
Bett Kimutai                                       02/12/2023         01302023/02122023                      2,432.20
Labtek, Incorporated                               02/12/2023         13740                                   179.14
Sysmex America, Inc.                               02/12/2023         94625507                                580.13
Verizon                                            02/12/2023         9925764962                              386.93
Abbott Laboratories                                02/13/2023         830902664                              1,170.38
Bett Kimutai                                       02/13/2023         02132023/02262023                      2,432.20
Comerica                                           02/13/2023         02132023                               2,428.82
Comerica                                           02/13/2023         02132023                              12,496.24
DTE Energy                                         02/13/2023         02132023/41356                         1,107.23
DTE Energy                                         02/13/2023         02132023/42341                          485.95
DTE Energy                                         02/13/2023         02132023/05876                         2,452.32
DTE Energy                                         02/13/2023         02132023/42248                         1,885.21
DTE Energy                                         02/13/2023         02132023/27118                           97.08
DTE Energy                                         02/13/2023         02132023/14064                           14.79
Henry Schein                                       02/13/2023         34409302                               1,443.30
Henry Schein                                       02/13/2023         34435399                                346.06
James Grossi                                       02/13/2023         02132023                               5,000.00
Life Technologies Corporation                      02/13/2023         77187553                               1,206.66
Mercedes Scientific                                02/13/2023         2680082                                 162.17
Principal Financial Group                          02/13/2023         02132023                               2,793.86
Amazon                                             02/14/2023         02142023                                100.45
College of American Pathologists                   02/14/2023         2679188                                1,054.44
DoorDash                                           02/14/2023         02142023                                   9.99
Immunalysis Corporation                            02/14/2023         0199415-IN                             4,549.33
Immunalysis Corporation                            02/14/2023         01994414-IN                            5,780.53
James Grossi                                       02/14/2023         02142023                               2,500.00
Polar Ice                                          02/14/2023         79635                                   170.00
The Hartford                                       02/14/2023         02142023                              12,558.00
Agena Bioscience, Inc.                             02/15/2023         INV-599980                             5,479.07
Comcast                                            02/15/2023         001000633184                            610.35
Credential Check Corporation                       02/15/2023         292588                                   52.00
Fed Ex                                             02/15/2023         8-040-41640                             330.37
Gena's Timeless Cleaning, LLC                      02/15/2023         019                                    6,000.00
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Henry Schein                                        02/15/2023         33346271                                 863.41
iOpen World Inc.                                    02/15/2023         02152023                              100,000.00
American Proficiency Institute                      02/16/2023         650761                                  3,733.00
Athenahealth, Inc.                                  02/16/2023         INV-342918                              1,481.00
BioPathogenix                                       02/16/2023         2212                                   15,900.00
Fisher Healthcare                                   02/16/2023         0633242/0596375A                       11,144.16
iOpen World Inc.                                    02/16/2023         02162023                               11,000.00
Med Water Systems                                   02/16/2023         INV/2023/0561                            355.00
Mercedes Scientific                                 02/16/2023         2682030                                 1,722.50
Mercedes Scientific                                 02/16/2023         2681658                                  311.10
Amazon                                              02/17/2023         02172023                                 116.59
Amazon                                              02/17/2023         02172023                                   20.13
Amazon                                              02/17/2023         02172023                                 318.51
Amazon                                              02/17/2023         02172023                                   73.14
Amazon                                              02/17/2023         02172023                                   65.68
Cintas Corp. (ACH)                                  02/17/2023         4146948300                               159.36
Cintas Corp. (ACH)                                  02/17/2023         4146947035                               899.72
Comcast                                             02/17/2023         02172023/0808982                         168.50
Mercedes Scientific                                 02/17/2023         2682059                                 2,606.54
Silverman Consulting Inc.                           02/17/2023         SIL110948                              14,000.00
Cardinal Health                                     02/18/2023         7158439560                              1,673.39
Labtek, Incorporated                                02/18/2023         13766                                    263.94
Labtek, Incorporated                                02/18/2023         13765                                    368.88
Labtek, Incorporated                                02/18/2023         13764                                   1,610.64
Labtek, Incorporated                                02/18/2023         13763                                    358.28
UPS                                                 02/18/2023         00000604W0073                            641.39
UPS                                                 02/18/2023         0000070R21073                           1,183.23
UPS                                                 02/18/2023         000053XF87073                              18.00
UPS                                                 02/18/2023         0000W352F1073                              30.00
UPS                                                 02/18/2023         00005299W9073                              30.00
UPS                                                 02/18/2023         000005F64R073                              30.00
UPS                                                 02/18/2023         00003R5378073                              30.00
ClickUp                                             02/19/2023         T14387243-021923                         418.00
Amazon                                              02/20/2023         02202023                                 102.79
Cerilliant Corporation                              02/20/2023         583438                                  5,434.20
Fisher Healthcare                                   02/20/2023         0633243                                10,642.90
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Immunalysis Corporation                           02/20/2023         0199677-IN                             7,035.55
Mercedes Scientific                               02/20/2023         2682736                                 254.40
Tricon Services LLC                               02/20/2023         3506                                   3,135.00
CI Web Design, Inc                                02/21/2023         10289                                   940.00
Comerica                                          02/21/2023         02212023                              24,129.87
DTE Energy                                        02/21/2023         02212023/41394                           54.70
Fisher Healthcare                                 02/21/2023         0670551                               21,268.40
iOpen World Inc.                                  02/21/2023         02212023                              32,000.00
James Grossi                                      02/21/2023         02212023                               5,000.00
James Grossi                                      02/21/2023         02212023                               2,500.00
Jobs Core Inc.                                    02/21/2023         02212023                                449.00
Mercedes Scientific                               02/21/2023         2683261                                  16.94
Polar Ice                                         02/21/2023         79671                                   170.00
Principal Financial Group                         02/21/2023         02212023                               2,957.35
UHY, LLP                                          02/21/2023         640444337                              2,690.00
Wells Fargo Financial Leasing, Inc.               02/21/2023         5024015113                              675.85
BioPathogenix                                     02/22/2023         2218                                   9,010.00
Comcast                                           02/22/2023         02222023/0945842                        169.90
Fed Ex                                            02/22/2023         8-046-86773                             316.65
Gimbel, Reilly, Guerin & Brown LLP                02/22/2023                                                5,000.00
IMCS, Inc.                                        02/22/2023         133566                                 3,708.00
Practice Fusion                                   02/22/2023         5500025593                              946.00
Sysmex America, Inc.                              02/22/2023         94641807                                206.25
Wells Fargo Financial Leasing, Inc.               02/22/2023         5024027375                               68.76
Henry Schein                                      02/23/2023         34840009                                859.55
Immunalysis Corporation                           02/23/2023         0199831-IN                             3,876.80
Paylocity                                         02/23/2023         INV1280665                             5,117.27
Sysmex America, Inc.                              02/23/2023         94643530                                759.35
TASC                                              02/23/2023         IN2679225                               814.75
Cintas Corp. (ACH)                                02/24/2023         4147605111                               81.24
Cintas Corp. (ACH)                                02/24/2023         4147603678                              892.41
Fisher Healthcare                                 02/24/2023         0784945                                3,625.08
Henry Schein                                      02/24/2023         34840010                                510.79
Henry Schein                                      02/24/2023         34924801                                214.11
Henry Schein                                      02/24/2023         34902414                                181.56
iOpen World Inc.                                  02/24/2023         02242023                              45,000.00
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James Grossi                                      02/24/2023         02242023                               1,836.32
Paylocity                                         02/24/2023         02242023                                193.75
Polar Ice                                         02/24/2023         79695                                   170.00
Principal Financial Group                         02/24/2023         02242023                               4,287.01
Silverman Consulting Inc.                         02/24/2023         SIL110953                             14,000.00
Atlassian                                         02/25/2023         AT-225738685                            601.50
CheckRun                                          02/25/2023         9FE97E7A-0025                            50.00
Sysmex America, Inc.                              02/25/2023         94646875                               1,835.53
UPS                                               02/25/2023         00000604W0083                           371.60
UPS                                               02/25/2023         0000070R21083                          1,117.64
UPS                                               02/25/2023         000053XF87083                            18.00
UPS                                               02/25/2023         00005299W9083                            30.00
UPS                                               02/25/2023         0000W352F1083                            30.00
UPS                                               02/25/2023         000005F64R083                            30.00
UPS                                               02/25/2023         00003R5378083                            30.00
James Grossi                                      02/27/2023         02272023                                826.93
Comerica                                          02/28/2023         02282023                              19,808.40
Edge Solutions                                    02/28/2023         640436                                 1,111.96
iOpen World Inc.                                  02/28/2023         02282023                              40,000.00
Mass Mutual                                       02/28/2023                                                 811.28
MCW Partners, LLC                                 02/28/2023         65339                                   302.10
MCW Partners, LLC                                 02/28/2023         65059                                    47.70
Superior Medical Waste Disposal                   02/28/2023         22993                                  2,239.00
6600 Highland, LLC                                03/01/2023         03012023                              26,688.39
AB Sciex, LLC                                     03/01/2023         210206920                              1,714.61
AB Sciex, LLC                                     03/01/2023         210206739                              3,129.10
AB Sciex, LLC                                     03/01/2023         210206713                             12,502.71
Abbott Laboratories                               03/01/2023         830904306                              1,063.98
Agena Bioscience, Inc.                            03/01/2023         INV-64958                             23,676.18
Allscripts Healthcare, LLC                        03/01/2023         1000179400                             2,865.00
Amazon                                            03/01/2023         02242023                               1,144.82
Amro Almradi MDPC PLLC                            03/01/2023         02272023                               3,000.00
Applied Capital, LLC                              03/01/2023         33539438                                442.06
Applied Capital, LLC                              03/01/2023         33366104                                216.24
Applied Innovation                                03/01/2023         2159363                                 853.30
Applied Innovation                                03/01/2023         2158954                                 446.47
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Applied Innovation                                03/01/2023         2156683                                  471.84
Arkstone Medical                                  03/01/2023         22911                                  10,975.00
Arkstone Medical                                  03/01/2023         22842                                  11,400.00
Auburn Hills Medical Properties, LLC              03/01/2023                                                  991.00
Avairis, Inc.                                     03/01/2023         1544                                    8,450.00
Beckman Coulter                                   03/01/2023         4483797                                 4,916.63
Beckman Coulter                                   03/01/2023         4474731                                 4,916.63
Bett Kimutai                                      03/01/2023         02/27/23-03/12/23                       1,817.40
Blue Care Network                                 03/01/2023         230660036082                           16,047.91
Blue Cross Blue Shield of Michigan                03/01/2023         158071112                              47,522.41
Cardinal Health                                   03/01/2023         7124642936                               864.61
Cardinal Health                                   03/01/2023         7124571668                              1,046.59
Cardinal Health                                   03/01/2023         7124571667                              5,581.81
Cardinal Health                                   03/01/2023         7147224546                              1,823.07
Cardinal Health                                   03/01/2023         7148272887                               146.03
Cardinal Health                                   03/01/2023         7147210379                               192.69
Cardinal Health                                   03/01/2023         7158628001                               283.74
Cardinal Health                                   03/01/2023         7158573135                               721.55
Cardinal Health                                   03/01/2023         7158218254                                 49.99
Careviso, Inc.                                    03/01/2023         2501                                    3,500.00
Costco                                            03/01/2023         03012023                                 189.02
De Lage Landen Financial Services, Inc.           03/01/2023         79171766                                 301.49
Eden Software Solutions, LLC                      03/01/2023         0003                                     400.00
Esker Inc                                         03/01/2023         460239189                                937.80
Evoqua Water Technologies LLC                     03/01/2023         905756058                               1,508.83
Fed Ex                                            03/01/2023         8-054-24720                              290.90
Fisher Healthcare                                 03/01/2023         0903276                                 1,165.23
Fisher Healthcare                                 03/01/2023         0903275                                 1,038.88
Fisher Healthcare                                 03/01/2023         0820471                                 2,972.68
Fisher Healthcare                                 03/01/2023         0633242/0596375B                         233.22
FrontRunnerHC Inc                                 03/01/2023         20162880                                1,900.00
FrontRunnerHC Inc                                 03/01/2023         20162193                                1,900.00
FrontRunnerHC Inc                                 03/01/2023         20161477                               15,423.73
FrontRunnerHC Inc                                 03/01/2023         20162421                                1,900.00
Gemini Lab Group                                  03/01/2023                                               206,000.00
Gena's Timeless Cleaning, LLC                     03/01/2023         020                                     6,000.00
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Google                                              03/01/2023         4673318813                                 79.20
Henry Schein                                        03/01/2023         34938697                                 363.60
Henry Schein                                        03/01/2023         34935268                                1,401.31
Henry Schein                                        03/01/2023         34896214                               10,694.09
Henry Schein                                        03/01/2023         34892624                                3,316.60
Henry Schein                                        03/01/2023         34892598                                 835.43
Henry Schein                                        03/01/2023         34840020                                 320.84
Henry Schein                                        03/01/2023         34801995                                1,444.76
Henry Schein                                        03/01/2023         34795504                                8,669.01
Henry Schein                                        03/01/2023         34791668                                   75.62
Henry Schein                                        03/01/2023         34745947                                1,871.80
Henry Schein                                        03/01/2023         34361192                                 338.06
Henry Schein                                        03/01/2023         34097758                                1,524.26
Immunalysis Corporation                             03/01/2023         0200016-IN                               192.24
Immunalysis Corporation                             03/01/2023         0199837-IN                              5,280.89
Immunalysis Corporation                             03/01/2023         0199916-IN                               318.00
Immunalysis Corporation                             03/01/2023         0199829-IN                                 42.40
Iron Mountain                                       03/01/2023         HHYR550                                  942.62
James Grossi                                        03/01/2023         02282023                               13,000.00
LabPath Consulting                                  03/01/2023         1411                                    1,500.00
LabSoft, Inc.                                       03/01/2023         452-27345                                  95.00
Leasing Associates of Barrington, INC.              03/01/2023         1680016                                 2,406.20
Lifepoint Informatics                               03/01/2023         1184558                                 1,375.00
Lifepoint Informatics                               03/01/2023         1184559                                  200.00
Little Sonia Real Estate LLC                        03/01/2023                                                 1,698.75
MAC Pizza, LLC                                      03/01/2023                                                 1,310.00
Mclaren Medical Laboratory                          03/01/2023         MLMHEL022823                            3,359.64
Medcare MSO                                         03/01/2023         2779                                   84,367.97
Medcare MSO                                         03/01/2023         2759                                  137,832.01
Mettler-Toledo Rainin, LLC                          03/01/2023         678911134                                441.61
Mettler-Toledo Rainin, LLC                          03/01/2023         678916676                               1,324.82
Mettler-Toledo Rainin, LLC                          03/01/2023         678937328                               1,970.46
Microgenics Corporation                             03/01/2023         983204                                  5,923.91
Mutual of Omaha                                     03/01/2023         001493925407                             458.68
Netalytics                                          03/01/2023         2023-1690                                750.00
Newbsknob, LLC                                      03/01/2023                                                 2,875.00
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OMG & The A Team Consulting, LLC                    03/01/2023         001                                   2,500.00
Orchard Software Corporation                        03/01/2023         2021-14540                            7,685.00
Orchard Software Corporation                        03/01/2023         2020-12133                           12,720.00
Payroll 02-03-2023                                  03/01/2023                                              49,765.96
Payroll 02-03-2023                                  03/01/2023         02032023                             85,195.99
Polar Ice                                           03/01/2023         79711                                  170.00
Polar Ice                                           03/01/2023         79656                                  170.00
Recovery Pathways                                   03/01/2023                                                887.45
SAR Consulting Services, LLC                        03/01/2023                                               5,000.00
Spartan Wealth Management Inc.                      03/01/2023         03012023                              2,035.98
Stericycle Inc                                      03/01/2023         4011593950                             186.84
The Medical Real Estate Group                       03/01/2023         03012023                             47,828.06
The Sports Marketing Agency, INC                    03/01/2023         03012023                            150,000.00
Translational Software, Inc.                        03/01/2023         8016                                 10,670.00
Tri-City Treatment                                  03/01/2023                                                308.58
USA Scientific                                      03/01/2023         4801921846                            5,233.38
Verizon                                             03/01/2023         9928146355                             376.63
Wendy Hutton                                        03/01/2023         03012023                               181.56
Younis Enterprises                                  03/01/2023                                               5,001.95
Applied Capital, LLC                                03/02/2023         33567925                               216.24
BioPathogenix                                       03/02/2023         1901                                 15,900.00
Cardinal Health                                     03/02/2023         7158910044                            1,260.54
Henry Schein                                        03/02/2023         35120624                               344.60
Labtek, Incorporated                                03/02/2023         13809                                 1,847.58
Labtek, Incorporated                                03/02/2023         13808                                  184.44
Labtek, Incorporated                                03/02/2023         13807                                 2,480.90
Wells Fargo Financial Leasing, Inc.                 03/02/2023         5024131506                             345.83
Amazon                                              03/03/2023         03032023                                 40.26
Cintas Corp. (ACH)                                  03/03/2023         4148310160                             159.36
Cintas Corp. (ACH)                                  03/03/2023         4148308599                             899.72
DTE Energy                                          03/03/2023         03032023/29742                         174.73
DTE Energy                                          03/03/2023         03032023/29726                         149.17
DTE Energy                                          03/03/2023         03032023/29783                           99.27
DTE Energy                                          03/03/2023         03032023/29833                           79.53
DTE Energy                                          03/03/2023         03032023/29635                           76.18
DTE Energy                                          03/03/2023         03032023/29866                           19.74
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Fisher Healthcare                                03/03/2023         0988783                                 6,916.96
iOpen World Inc.                                 03/03/2023         03032023                               40,000.00
Mercedes Scientific                              03/03/2023         2686978                                 1,305.92
Polar Ice                                        03/03/2023         79727                                    170.00
Principal Financial Group                        03/03/2023         03032023                                3,083.51
Siemens Healthcare Diagnostics                   03/03/2023         952922594                               1,190.04
Silverman Consulting Inc.                        03/03/2023         SIL110954                              14,000.00
Atlassian                                        03/04/2023         AT-227426661                               49.00
Labtek, Incorporated                             03/04/2023         13816                                    189.74
Labtek, Incorporated                             03/04/2023         13815                                    206.14
UPS                                              03/04/2023         00000604W0093                            405.43
UPS                                              03/04/2023         0000070R21093                           1,841.52
UPS                                              03/04/2023         000053XF87093                              18.00
UPS                                              03/04/2023         0000W352F1093                              30.00
UPS                                              03/04/2023         00005299W9093                              30.00
UPS                                              03/04/2023         000005F64R093                              30.00
UPS                                              03/04/2023         00003R5378093                              30.00
Abbott Laboratories                              03/05/2023         830907021                               1,213.00
Pipedrive, Inc.                                  03/05/2023         2470415                                  479.20
Abbott Laboratories                              03/06/2023         830907315                               2,510.92
BioPathogenix                                    03/06/2023         1906                                   13,780.00
INTEGRA Biosciences Corp.                        03/06/2023         233407673                               2,338.00
James Grossi                                     03/06/2023         03062023                                2,500.00
James Grossi                                     03/06/2023         03062023                                5,000.00
Payroll 03-03-2023                               03/06/2023                                                    25.00
Payroll 03-03-2023                               03/06/2023                                                28,320.68
Xavier Barber                                    03/06/2023         03062023                                 111.36
Adobe (ACH)                                      03/07/2023         2398611428                               306.20
Amazing Charts                                   03/07/2023         00000000056935                          1,060.00
Comerica                                         03/07/2023         03072023                               25,469.21
Comerica Bank - Cost Center 048-95890            03/07/2023         017591-000002 RJD                      15,000.00
Henry Schein                                     03/07/2023         34948089                                 714.86
MedSpeed, LLC                                    03/07/2023         28166                                 113,215.61
Polar Ice                                        03/07/2023         79738                                    170.00
Fed Ex                                           03/08/2023         8-061-51429                              284.49
Fisher Healthcare                                03/08/2023         1108587                                 2,896.70
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Immunalysis Corporation                           03/08/2023         0200349-IN                             4,659.16
Amazon                                            03/09/2023         03092023                                421.26
Fisher Healthcare                                 03/09/2023         9792159B                                172.89
Health Equity                                     03/09/2023         03092023                                581.25
Henry Schein                                      03/09/2023         28232057                                866.06
Immunalysis Corporation                           03/09/2023         0200449-IN                              201.14
Applied Innovation                                03/10/2023         2168651                                4,280.73
Cintas Corp. (ACH)                                03/10/2023         4149013744                               81.24
Cintas Corp. (ACH)                                03/10/2023         4149012109                              892.41
Comcast                                           03/10/2023         03102023/0687196                        273.64
First Insurance Funding                           03/10/2023         03102023                               7,159.54
Henry Schein                                      03/10/2023         204147                                12,594.71
Henry Schein                                      03/10/2023         35466711                                197.59
iOpen World Inc.                                  03/10/2023         03102023                              40,000.00
James Grossi                                      03/10/2023         03102023                               2,163.39
Mercedes Scientific                               03/10/2023         2689455                                1,927.04
Polar Ice                                         03/10/2023         79754                                   170.00
Silverman Consulting Inc.                         03/10/2023         SIL110959                             14,000.00
Sysmex America, Inc.                              03/10/2023         94665538                                208.94
Wells Fargo Financial Leasing, Inc.               03/10/2023         5024266612                              103.86
Amazon                                            03/11/2023         03112023                                 69.84
Charter Communications                            03/11/2023         0422386031123                            77.97
Labtek, Incorporated                              03/11/2023         13831                                   189.74
Labtek, Incorporated                              03/11/2023         13830                                   385.28
Labtek, Incorporated                              03/11/2023         13832                                   162.18
Sysmex America, Inc.                              03/11/2023         94667143                                324.80
UPS                                               03/11/2023         00000604W0103                           459.53
UPS                                               03/11/2023         0000070R21103                          1,285.48
UPS                                               03/11/2023         000053XF87103                            18.00
UPS                                               03/11/2023         0000W352F1103                            30.00
UPS                                               03/11/2023         00005299W9103                            30.00
UPS                                               03/11/2023         000005F64R103                            30.00
UPS                                               03/11/2023         00003R5378103                            30.00
Amazon                                            03/12/2023         03122023                                117.54
Sysmex America, Inc.                              03/12/2023         94667867                                580.13
Abbott Laboratories                               03/13/2023         830908729                              1,170.38
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Applied Innovation                                 03/13/2023         2168953                                 339.20
Comerica                                           03/13/2023         03132023                               2,284.68
Henry Schein                                       03/13/2023         35535324                                213.02
Henry Schein                                       03/13/2023         35500148                               1,088.02
Immunalysis Corporation                            03/13/2023         0200429-IN                             5,683.76
Life Technologies Corporation                      03/13/2023         77189432                               1,206.66
Mercedes Scientific                                03/13/2023         2689657                                1,722.50
Microsoft                                          03/13/2023         E0400MEOQT                               57.24
Microsoft                                          03/13/2023         E0400MEOT7                              285.68
Microsoft                                          03/13/2023         G020578500                              160.29
Microsoft                                          03/13/2023         E0400MEPM8                               52.09
Microsoft                                          03/13/2023         E0400MEPSL                               45.00
Microsoft                                          03/13/2023         E0400MEA6U                               23.32
Microsoft                                          03/13/2023         E0400MEMLK                                 8.00
Microsoft                                          03/13/2023         G020421376                             1,278.62
Microsoft                                          03/13/2023         E0400MEOT5                                 4.00
Principal Financial Group                          03/13/2023         03132023                               4,373.16
BioPathogenix                                      03/14/2023         2241                                   1,325.00
Comerica                                           03/14/2023         03142023                              32,778.67
DTE Energy                                         03/14/2023         03142023/05876                         2,441.29
DTE Energy                                         03/14/2023         03142023/42246                         1,848.26
DTE Energy                                         03/14/2023         03142023/41356                         1,104.69
DTE Energy                                         03/14/2023         03142023/42341                          495.37
DTE Energy                                         03/14/2023         03142023/27118                           97.88
DTE Energy                                         03/14/2023         03142023/14054                           15.79
Henry Schein                                       03/14/2023         35552507                                822.51
Labtek, Incorporated                               03/14/2023         13839                                   171.72
Mark Beauchamp                                     03/14/2023         03012023                              25,000.00
Polar Ice                                          03/14/2023         79769                                   170.00
Shelly Donovan                                     03/14/2023         03152023                                 20.00
Wells Fargo Financial Leasing, Inc.                03/14/2023         5024301392                              712.32
Athenahealth, Inc.                                 03/15/2023         INV-349799                             1,660.00
Costco                                             03/15/2023         03152023                                224.45
Credential Check Corporation                       03/15/2023         293636                                  117.00
Detroit Athletic Club                              03/15/2023         03152023                               1,837.98
Fed Ex                                             03/15/2023         8-069-39034                             564.00
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Gena's Timeless Cleaning, LLC                  03/15/2023         021                                     6,000.00
James Grossi                                   03/15/2023         03152023                                7,500.00
Mercedes Scientific                            03/15/2023         2690853                                  380.90
Mercedes Scientific                            03/15/2023         2690897                                  247.16
Payroll 03-17-2023                             03/15/2023                                               134,562.35
Rhoda Yoder                                    03/15/2023         03152023                                   40.13
Vernon Yoder                                   03/15/2023         03152023                                   30.42
Amazon                                         03/16/2023         03162023                                   63.56
Generac Power                                  03/16/2023         03162023                                   69.99
James Grossi                                   03/16/2023         03162023                                2,500.00
Med Water Systems                              03/16/2023         INV/2023/0925                            355.00
Mercedes Scientific                            03/16/2023         2691411                                    14.96
Mercedes Scientific                            03/16/2023         2691515                                 2,092.79
Tek-Pette                                      03/16/2023         TPA4943-44-45                           2,031.00
Avis                                           03/17/2023         03172023                                 118.72
Cardinal Health                                03/17/2023         7159459692                               722.02
Cintas Corp. (ACH)                             03/17/2023         4149722123                               159.36
Cintas Corp. (ACH)                             03/17/2023         4149720706                               899.72
Comcast                                        03/17/2023         03172023/0808982                         168.50
Gaylen Curtis                                  03/17/2023         03172023                                 600.00
Henry Schein                                   03/17/2023         35749076                                4,821.76
Henry Schein                                   03/17/2023         35723715                                1,818.57
OMG & The A Team Consulting, LLC               03/17/2023         002                                     1,000.00
Payroll 03-17-2023                             03/17/2023                                                  500.00
Polar Ice                                      03/17/2023         79786                                    170.00
UPS                                            03/18/2023         00000604W0113                            518.90
UPS                                            03/18/2023         0000070R21113                           1,099.62
UPS                                            03/18/2023         000053XF87113                              18.00
UPS                                            03/18/2023         0000W352F1113                              30.00
UPS                                            03/18/2023         00005299W9113                              30.00
UPS                                            03/18/2023         000005F64R113                              30.00
UPS                                            03/18/2023         00003R5378113                              30.00
ClickUp                                        03/19/2023         T14387243-031923                         418.00
Jobs Core Inc.                                 03/19/2023         03192023                                 449.00
Amazon                                         03/20/2023         03172023                                   87.93
BioPathogenix                                  03/20/2023         2250                                   15,900.00
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                          Payee                   Payment Date                  No.             Total
Clean Air Testing, Inc                         03/20/2023         116727                                  729.63
Henry Schein                                   03/20/2023         35795002                               1,302.78
Henry Schein                                   03/20/2023         35752372                                811.11
Immunalysis Corporation                        03/20/2023         0200713-IN                             7,730.55
Labtek, Incorporated                           03/20/2023         13853                                  1,874.58
Labtek, Incorporated                           03/20/2023         13855                                   190.80
Labtek, Incorporated                           03/20/2023         13854                                   630.43
Paylocity                                      03/20/2023         INV1321322                             3,356.76
Amazon                                         03/21/2023         03202023                                206.67
Amazon                                         03/21/2023         03202023                                 49.91
Cardinal Health                                03/21/2023         7159553985                             1,909.76
CI Web Design, Inc                             03/21/2023         10388                                   940.00
Comerica                                       03/21/2023         03212023                              34,307.75
Dorene Guarnieri                               03/21/2023         03212023                                 10.56
Elio Bucciarelli                               03/21/2023         03212023                                 52.61
Fisher Healthcare                              03/21/2023         1465444                                1,284.11
Henry Schein                                   03/21/2023         35795003                                 59.35
Henry Schein                                   03/21/2023         35789212                                538.80
iOpen World Inc.                               03/21/2023         03212023                              50,000.00
James Pinckney                                 03/21/2023         03212023                                 10.88
Lisa Slagle                                    03/21/2023         03212023                                 12.95
Suzanne Diller                                 03/21/2023         03212023                                 14.82
Amazon                                         03/22/2023         03222023                                317.50
Ellkay, LLC                                    03/22/2023         204147                                 4,340.00
Fed Ex                                         03/22/2023         7682-7534-3                             236.12
Henry Schein                                   03/22/2023         35866537                                363.60
Immunalysis Corporation                        03/22/2023         0200944-IN                              159.00
Immunalysis Corporation                        03/22/2023         35866537                                636.00
Abbott Laboratories                            03/23/2023         830911502                              3,648.16
Cardinal Health                                03/23/2023         7159650662                              903.72
DTE Energy                                     03/23/2023         03232023/41394                           66.29
Fisher Healthcare                              03/23/2023         1547871                                3,089.96
Fisher Healthcare                              03/23/2023         1547870                                5,715.58
iOpen World Inc.                               03/23/2023         03232023                              50,000.00
Abbott Laboratories                            03/24/2023         616653077                               586.39
Cerilliant Corporation                         03/24/2023         567540B                                1,410.40
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Cintas Corp. (ACH)                               03/24/2023         4150415689                              81.24
Cintas Corp. (ACH)                               03/24/2023         4150414213                             892.41
Immunalysis Corporation                          03/24/2023         0200959-IN                            1,485.54
James Grossi                                     03/24/2023         03242023                              7,500.00
James Grossi                                     03/24/2023         03242023                              2,500.00
Polar Ice                                        03/24/2023         79812                                  170.00
Principal Financial Group                        03/24/2023         03242023                              2,993.75
Silverman Consulting Inc.                        03/24/2023         SIL110977                            14,000.00
Atlassian                                        03/25/2023         AT-231782495                           784.75
CheckRun                                         03/25/2023         9FE97E7A-0026                           50.00
Sysmex America, Inc.                             03/25/2023         94687707                              1,835.53
TASC                                             03/25/2023         IN2707512                              707.80
UPS                                              03/25/2023         00000604W0123                          691.80
UPS                                              03/25/2023         0000070R21123                         1,520.40
UPS                                              03/25/2023         000053XF87123                           18.00
UPS                                              03/25/2023         0000W352F1123                           30.00
UPS                                              03/25/2023         00005299W9123                           30.00
UPS                                              03/25/2023         000005F64R123                           30.00
UPS                                              03/25/2023         00003R5378123                           30.00
Amazon                                           03/26/2023         03262023                               145.21
Comerica                                         03/27/2023         03272023                             25,011.29
Diesel Funding                                   03/27/2023         03272023                              3,747.50
Health Equity                                    03/27/2023         03272023                               193.75
Immunalysis Corporation                          03/27/2023         0201034-IN                            4,235.12
Labtek, Incorporated                             03/27/2023         13884                                  571.84
Landaal Packaging Systems                        03/27/2023         213196                                1,490.27
Principal Financial Group                        03/27/2023         03272023                              4,433.16
Sarah Markie                                     03/27/2023         03272023                                16.80
Brehob CORPORATION                               03/28/2023         212033                                 960.00
Cerilliant Corporation                           03/28/2023         585721                                5,938.70
Diesel Funding                                   03/28/2023         03282023                              3,747.50
Immunalysis Corporation                          03/28/2023         0201096-IN                            1,899.35
Mass Mutual                                      03/28/2023                                                811.28
Polar Ice                                        03/28/2023         79823                                  170.00
Principal Financial Group                        03/28/2023         03282023                               223.85
The Hartford                                     03/28/2023         03282023                              5,912.06
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The Hartford                                      03/28/2023         03282023                                6,262.50
Diesel Funding                                    03/29/2023         03292023                                3,747.50
Fed Ex                                            03/29/2023         8-083-61740                              316.78
Fed Ex                                            03/29/2023         8-083-61741                               14.81
Diesel Funding                                    03/30/2023         03302023                                3,747.50
Mercedes Scientific                               03/30/2023         2696773                                  508.80
Bett Kimutai                                      03/31/2023         03262023                                2,423.20
James Grossi                                      03/31/2023         03312023                                2,500.00
MCW Partners, LLC                                 03/31/2023         65501                                     47.70
Payroll 03-31-2023                                03/31/2023         03312023                                 252.38
Payroll 03-31-2023                                03/31/2023         03312023                               10,912.62
AB Sciex, LLC                                     04/01/2023         210208974                               3,129.10
AB Sciex, LLC                                     04/01/2023         210208942                              12,502.71
Abbott Laboratories                               04/01/2023         616673163                               7,211.67
Adobe (ACH)                                       04/01/2023         04012023                                 306.20
Applied Capital, LLC                              04/01/2023         33743816                                 366.27
Applied Innovation                                04/01/2023         2178012                                  328.36
Applied Innovation                                04/01/2023         799432-1                                 572.08
Arkstone Medical                                  04/01/2023         22982                                  11,650.00
Auburn Hills Medical Properties, LLC              04/01/2023                                                  991.00
BillionToOne, Inc.                                04/01/2023         8242022823                             25,366.00
Blue Care Network                                 04/01/2023         230970025811                           22,623.83
Blue Cross Blue Shield of Michigan                04/01/2023         159794766                               4,673.17
Blue Cross Blue Shield of Michigan                04/01/2023         159795022                              30,439.22
Careviso, Inc.                                    04/01/2023         2548                                    3,500.00
Cintas Corp. (ACH)                                04/01/2023         4151116709                               159.36
Cintas Corp. (ACH)                                04/01/2023         4151115282                               899.72
Comcast                                           04/01/2023         001000679885                            1,082.87
Comcast                                           04/01/2023         03222023/0945842                         168.50
Credential Check Corporation                      04/01/2023         294124                                    52.00
eClinicalWorks, LLC                               04/01/2023         0002617469                              5,300.00
Edge Solutions                                    04/01/2023         654799                                  1,216.82
Ellkay, LLC                                       04/01/2023         157902                                  1,440.00
Esker Inc                                         04/01/2023         460242644                               1,009.05
Evoqua Water Technologies LLC                     04/01/2023         905811689                               1,508.83
Exagen Inc.                                       04/01/2023         000040-202301                           1,045.76
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Exagen Inc.                                         04/01/2023         000040-202212                           2,652.80
Exagen Inc.                                         04/01/2023         000040-202211                           1,141.12
Exagen Inc.                                         04/01/2023         000040-202210                           1,218.56
Exagen Inc.                                         04/01/2023         000040-202208                           3,559.88
Fink Bressack PLLC                                  04/01/2023         FBHELIX-1018                             491.25
Fink Bressack PLLC                                  04/01/2023         FBHELIX-1017                            2,128.50
FrontRunnerHC Inc                                   04/01/2023         20163099                                1,900.00
Gemini Lab Group                                    04/01/2023         04012023                              206,000.00
Gena's Timeless Cleaning, LLC                       04/01/2023         022                                     6,000.00
Google                                              04/01/2023         4691140425                                 79.20
Henry Schein                                        04/01/2023         36108524                                 531.72
Hogan Lovells US LLP                                04/01/2023         22200218109                            22,648.87
Hogan Lovells US LLP                                04/01/2023         22200215490                            17,785.88
I Care MI, LLC                                      04/01/2023         INV-2022280                              409.00
IMCS, Inc.                                          04/01/2023         133955                                  3,709.00
Immunalysis Corporation                             04/01/2023         0201204-IN                                 42.40
LabPath Consulting                                  04/01/2023         1399                                    3,000.00
LabPath Consulting                                  04/01/2023         1417                                    1,500.00
LabSoft, Inc.                                       04/01/2023         452-27615                               1,140.00
Leasing Associates of Barrington, INC.              04/01/2023         1685524                                 2,406.20
Lifepoint Informatics                               04/01/2023         1185571                                  350.00
Lifepoint Informatics                               04/01/2023         1185100                                  200.00
Lifepoint Informatics                               04/01/2023         1185097                                 1,500.00
Little Sonia Real Estate LLC                        04/01/2023                                                 1,698.75
MAC Pizza, LLC                                      04/01/2023                                                 1,310.00
Mclaren Medical Laboratory                          04/01/2023         MLMHEL033123                           34,766.54
Medcare MSO                                         04/01/2023         2848                                  101,733.61
Medcare MSO                                         04/01/2023         2833                                   33,694.09
Mutual of Omaha                                     04/01/2023         001508962081                             458.68
Mutual of Omaha                                     04/01/2023         001508962080                            8,885.38
Netalytics                                          04/01/2023         2023-2711                                750.00
Newbsknob, LLC                                      04/01/2023                                                 2,875.00
Orchard Software Corporation                        04/01/2023         2021-14541                              7,685.00
Phenomenex, Inc                                     04/01/2023         CIUS-23018689                          12,600.00
Polar Ice                                           04/01/2023         79839                                    170.00
Polar Ice                                           04/01/2023         79798                                    170.00
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Practice Fusion                                     04/01/2023         5500026016                              1,008.00
Recovery Pathways                                   04/01/2023                                                  887.45
SAR Consulting Services, LLC                        04/01/2023                                                 5,000.00
Square                                              04/01/2023         04012023                                 140.00
Stericycle Inc                                      04/01/2023         4011662373                               186.84
Superior Medical Waste Disposal                     04/01/2023         23262                                   2,428.00
The Medical Real Estate Group                       04/01/2023                                                47,828.06
The Sports Marketing Agency, INC                    04/01/2023         04012023                              150,000.00
Translational Software, Inc.                        04/01/2023         8085                                    9,970.00
Tri-City Treatment                                  04/01/2023                                                  308.58
UPS                                                 04/01/2023         00000604W0133                            308.52
UPS                                                 04/01/2023         0000070R21133                           1,072.08
UPS                                                 04/01/2023         000053XF87133                              18.00
UPS                                                 04/01/2023         00005299W9133                              30.00
UPS                                                 04/01/2023         0000W352F1133                              30.00
UPS                                                 04/01/2023         000005F64R133                              30.00
UPS                                                 04/01/2023         00003R5378133                              30.00
Wells Fargo Financial Leasing, Inc.                 04/01/2023         5024511260                               380.42
Wells Fargo Financial Leasing, Inc.                 04/01/2023         5024426347                                 68.76
Wells Fargo Financial Leasing, Inc.                 04/01/2023         5024426346                               669.35
Younis Enterprises                                  04/01/2023                                                 5,001.95
Labtek, Incorporated                                04/02/2023         1392                                     190.80
Labtek, Incorporated                                04/02/2023         13903                                   1,676.36
Applied Capital, LLC                                04/03/2023         33770900                                 216.24
Applied Innovation                                  04/03/2023         2182375                                  853.30
Applied Innovation                                  04/03/2023         2181907                                  446.47
Avairis, Inc.                                       04/03/2023         1548                                    6,666.00
Diesel Funding                                      04/03/2023         04032023                                3,747.50
DTE Energy                                          04/03/2023         04032023/29742                           142.29
DTE Energy                                          04/03/2023         04032023/29635                             71.37
DTE Energy                                          04/03/2023         04032023/29726                             70.32
DTE Energy                                          04/03/2023         04032023/29783                             69.72
DTE Energy                                          04/03/2023         04032023/29833                             68.29
DTE Energy                                          04/03/2023         04032023/29866                             23.24
Fisher Healthcare                                   04/03/2023         1827266                                10,515.20
Fisher Healthcare                                   04/03/2023         1827265                                  745.21
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Great Lakes Express Delivery, LLC                04/03/2023         4838                                    1,485.00
Health Equity                                    04/03/2023         04032023                                 193.75
Henry Schein                                     04/03/2023         36108525                                 556.62
Immunalysis Corporation                          04/03/2023         0201321-IN                               188.22
Labtek, Incorporated                             04/03/2023         13909                                    189.74
Labtek, Incorporated                             04/03/2023         13908                                    179.14
Mercedes Scientific                              04/03/2023         2697732                                    50.84
Siemens Healthcare Diagnostics                   04/03/2023         952944019                               1,190.04
Atlassian                                        04/04/2023         AT-233481573                               56.00
Barcode Factory                                  04/04/2023         04042023                                 508.32
Brian Corso                                      04/04/2023         04042023                                   43.07
Dianne Longoria                                  04/04/2023         04042023                                   16.40
Diesel Funding                                   04/04/2023         04042023                                3,747.50
DTE Energy                                       04/04/2023         04212023/41394                             42.72
Fisher Healthcare                                04/04/2023         1863517                                  219.42
Henry Schein                                     04/04/2023         36288973                                4,698.83
Lynne Dalius                                     04/04/2023         04042023                                 129.25
Polar Ice                                        04/04/2023         79851                                    170.00
Principal Financial Group                        04/04/2023         04042023                                3,441.39
Diesel Funding                                   04/05/2023         04052023                                3,747.50
Fed Ex                                           04/05/2023         8-090-57884                              356.41
Fed Ex                                           04/05/2023         8-090-57885                                17.77
MedSpeed, LLC                                    04/05/2023         28330                                 111,695.64
Robert N. Bassel, ESQ                            04/05/2023         04052023                                7,500.00
Diesel Funding                                   04/06/2023         04062023                                3,747.50
Cerilliant Corporation                           04/07/2023         586409                                     26.90
Cintas Corp. (ACH)                               04/07/2023         4151832499                                 81.24
Cintas Corp. (ACH)                               04/07/2023         4151831336                               892.41
Costco                                           04/07/2023         04072023                                 124.81
Diesel Funding                                   04/07/2023         04072023                                3,747.50
Pipedrive, Inc.                                  04/07/2023         2502689                                  599.00
Polar Ice                                        04/07/2023         79873                                    170.00
UPS                                              04/08/2023         00000604W0143                            494.00
UPS                                              04/08/2023         0000070R21143                           1,189.81
UPS                                              04/08/2023         000053XF87143                              18.00
UPS                                              04/08/2023         0000W352F1143                              30.00
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UPS                                               04/08/2023         00005299W9143                            30.00
UPS                                               04/08/2023         000005F64R143                            30.00
UPS                                               04/08/2023         00003R5378143                            30.00
Bett Kimutai                                      04/09/2023         03272023/04092023                      2,423.20
Microsoft                                         04/09/2023         G021754075                              175.06
Microsoft                                         04/09/2023         G021419142                             1,405.72
Comcast                                           04/10/2023         04102023/0687196                        273.53
First Insurance Funding                           04/10/2023         04102023                               7,159.54
Great Lakes Express Delivery, LLC                 04/10/2023         4865                                    475.00
Microsoft                                         04/10/2023         E0400MSNB1                               76.70
Solaris Diagnostics                               04/10/2023         5174                                    120.00
Charter Communications                            04/11/2023         0422386041123                            77.97
First Insurance Funding                           04/11/2023         04112023                               3,400.46
Labtek, Incorporated                              04/11/2023         13936                                   358.28
Labtek, Incorporated                              04/11/2023         13940                                    33.92
Labtek, Incorporated                              04/11/2023         13939                                   153.70
Labtek, Incorporated                              04/11/2023         13937                                  1,874.58
Labtek, Incorporated                              04/11/2023         13938                                   189.74
Polar Ice                                         04/11/2023         79886                                   170.00
Wells Fargo Financial Leasing, Inc.               04/11/2023         5024686622                              103.86
De Lage Landen Financial Services, Inc.           04/12/2023         79593263                                301.49
Fed Ex                                            04/12/2023         8-098-39089                             149.47
Fisher Healthcare                                 04/12/2023         2088904                                 669.26
Liam Dillon                                       04/12/2023         04122023                              48,377.38
O'Keefe LLC                                       04/12/2023         04122023                              10,000.00
Sysmex America, Inc.                              04/12/2023         94716677                                580.13


                                                                                            $     34,737,092.17




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                         SCHEDULE D

Blue Cross Blue Shield of Michigan
Michigan Medicare
Meridian Health Plan of Michigan
United Health Care (UHC)
Molina Healthcare
McLaren Health Plan
Priority Health
Health Alliance
Aetna
Total Health Care
Cigna
Humana
ASR Health Benefits
UMR
Wellcare
Tricare East
Meritain Health
Michigan Complete Health
Amerihealth Vip Care
Healthchoice Community Care Associates, Inc.
Paramount
The Washtenaw Pace
Altrua HealthShare
CoreSource
Oxford Health Plans
Trustmark
Varipro
Medical Mutual
Midwest Health Plan
MVP Health Care
Fidelis Care
Medical Mutual of Ohio
Genesee Health Plan
Caresource Ohio
Community Care Associates
GEHA
Allied Benefit Systems
Benesys
Health Partners
Upper Peninsula Health Plan
Ambetter
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 Cofinity
 Champ VA
 Secure One Benefit Administrators
 Physicians Health Plan
 Group Resources
 The Health Plan
 Automated Benefit Services
 UPMC Health Plan
 Buckeye Community Health Plan
 Ingham Health Plan
 Meridian Health Plan of Illinois, Inc
 Employee Benefit Logistics
 Liberty Union Life Assurance Company
 Kaiser Foundation Of Northwest
 Apostrophe
 Emblem Health
 Prairie States Enterprises
 Teamcare
 Affinity Health Plan
 Kaiser Of Southern CA Region
 Healthfirst Inc New York
 Bind on-Demand Health Insurance
 Managed Health Services (Centene)
 Meridian Complete Illinois
 Healthgram Inc
 Mid-America Associates, Inc.
 Sedgwick
 Claim Choice Administrators
 Painters Union Pension Fund
 Unified Group Services
 Zing Health
 Aultcare
 CountyCare
 Healthscope Benefits
 Oscar Health




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EXHIBIT C: EXECUTORY CONTRACTS AND UNEXPIRED LEASES
TO BE ASSUMED AND ASSIGNED TO THE LIQUIDATING TRUSTEE



Policy Type:               Policy Type:       Umbrella      Policy Type:
Workers Compensation       Policy Number:                   Business Auto
Policy Number:             35XHUAU9SPC                      Policy Number:
35WEAU4D2H                 Issuing Carrier: Hartford        35UENGD2049
Issuing Carrier:           Financial Services Group Inc     Issuing Carrier:
Hartford Financial         Policy Period: 12/28/2022 –      Hartford Financial
Services Group Inc         12/28/2023                       Services Group Inc
Policy Period:                                              Policy Period:
10/01/2022 –                                                12/28/2022 –
10/01/2023                                                  12/28/2023

Policy Type:               Policy Type:       Crime         Policy Type:
Package                    Policy Number:                   Cyber Liability
Policy Number:             UC25030604.22                    Policy Number:
35UUNAU9SPA                Issuing Carrier: Hiscox          C-4LWN-129490-CYB
Issuing Carrier:           Insurance Company Inc.           ER-2022
Hartford Financial         Policy Period: 12/28/2022 –      Issuing Carrier:
Services Group Inc         12/28/2023                       Coalition
Policy Period:                                              Policy Period:
12/28/2022 –                                                12/29/2022 –
12/28/2023                                                  12/29/2023

Directors and Officers
Policy Nationwide
Management Liability
& Specialty
7 World Trade Center,
37th Floor
250 Greenwich Street
New York, NY 10007




      Debtor reserves the ability to add to, delete from, and modify the list of

Contracts to later assume other contracts, or reject any of the listed contracts if

Debtor and the Liquidating Trustee are unable to reach mutually agreeable terms for

assumption and assignment with the relevant counter-party, or if Debtor and the


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Liquidating Trustee determine that assumption and assignment of the relevant

executory contract would not be prudent.




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